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      Insurers’ Opposition to
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        for Partial Summary
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                               Expert Report
                               of Adam H. Love, Ph.D.

                               United States District Court
                               Central District of California

                               Prepared for:
                               Hayes Scott Bonino Ellingson Guslani Simonson & Clause
                               Nicolaides Fink Thorpe Michaelides & Sullivan McCloskey
                               Waring, Waisman, & Drury LLP

                               Prepared by:
                               Roux Associates, Inc.
                               555 12th Street, Suite 1725
                               Oakland, California 94607

                               February 4, 2020


                                            Arrow Electronics, Inc.

                                                              v.

                                   Aetna Casualty & Surety Co., et al.
                                         Case No. 2:17-cv-05247-JFW-JEM




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                      include unreasonable costs, but without appropriate invoice backup I was unable to
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                      claimed costs) were incurred prior to December 6, 2004, $687,333 in costs (12.66%
                      of total claimed costs) were incurred from December 6, 2004 through July 4, 2007,
                      $2,142,810 (39.45% of total claimed costs) were incurred from July 5, 2007 through
                      April 23, 2014, $93,355 (1.72% of total claimed costs) were incurred from April 24,
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Figures
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Exhibits
   A.    Professional Profile of Adam H. Love, Ph.D.
   B.    Invoice Summary
   C.    Kennedy/Jenks Task Cost Summary
   D.    Groundwater Sampling Summary




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  Introduction
  My name is Adam Hamilton Love and I am a Vice President and Principal Scientist at Roux Associates, Inc.,
  located at 555 12th Street, Suite 1725, Oakland, California 94607. I have been retained as an expert by
  Hayes Scott Bonino Ellingson Guslani Simonson & Clause and Nicolaides Fink Thorpe Michaelides &
  Sullivan on behalf of Liberty Mutual Insurance Company and McCloskey, Waring, Waisman & Drury LLP of
  behalf of Travelers Casualty and Surety Company. I was asked to provide opinions with regard to the source
  and release characteristics of the trichloroethylene observed at the former Wyle Laboratories Facility located
  in Huntsville, Alabama (Site). I was also asked to provide opinions related to the type, reasonableness, and
  timing of costs related to the environmental work performed at the Site and the expected future costs for
  addressing remaining environmental impacts. In this report I present my qualifications, summarize
  background information regarding the matter, describe the methods employed in this analysis, and present
  my opinions and the bases for those opinions. I am compensated at a rate of $335 per hour for this
  engagement. The documents upon which I relied in the preparation of this report are listed in the footnotes
  of this report.

  The conclusions stated herein represent the application of my education, training, and experience within the
  disciplines of engineering, geology, hydrogeology, chemistry, fate and transport, and environmental forensics
  to the facts and conditions associated with the site involved with this litigation. The conclusions set forth in
  this report are based, in part, upon the facts, information, and data that have been provided to me by Counsel
  and/or which I obtained during the course of my investigation. To the extent that any of the underlying facts,
  information, or data change or are amended, I reserve the right to consider modifying my conclusions and
  opinions, if necessary and appropriate.


  Qualifications
  I hold a Bachelor of Arts degree in Geosciences from Franklin & Marshall College (1996), a Master of Science
  degree from University of California at Berkeley in Material Science and Mineral Engineering (1998), and a
  Doctor of Philosophy degree from University of California at Berkeley in Civil and Environmental Engineering
  (2002). I have over 20 years of experience in environmental forensics, site characterization, remediation, and
  contamination transport analyses.

  From 1996 to 2002, I served as a graduate student researcher at University of California at Berkeley, where
  I participated in contaminant transport and environmental forensic evaluations, including the development of
  new techniques for environmental pollution reconstruction and allocation. From 2002 to 2009, I served as a
  scientist at the Forensic Science Center at Lawrence Livermore National Laboratory. My experience working
  at the Forensic Science Center included: 1) research and development projects – enhancing understanding
  of pollutant characteristics and development of technology for characterization, remediation, and source
  reconstruction/contribution analysis, and 2) operations projects – site applications of contaminant transport
  modeling and source reconstruction/contribution. From 2009 to 2013, I served as Principal Scientist at
  Johnson Wright, Inc., where I provided consultation services to various private companies and the federal
  government. I led Johnson Wright’s Environmental Forensics practice, where I performed and oversaw
  corporate best practices for determination of source, timing, and allocation analyses at contaminated sites.
  Since 2013, I have served as Principal Scientist at Roux Associates, Inc., where I am currently the corporate
  Practice Area Leader for Litigation Services and continue to provide consultation services to various




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  companies, state and local municipalities, and federal agencies regarding site investigations, remediation,
  exposure assessment, and environmental forensics.

  I have been involved in numerous projects across the United States involving the site assessment and
  remediation of trichloroethylene, other chlorinated solvents, and the degradation products of chlorinated
  solvents. I have performed site assessments of properties contaminated with chlorinated solvents and have
  determined the source and nature of release for trichloroethylene site contamination at numerous locations
  using various environmental forensic approaches. I have been involved as an expert at numerous
  contaminated sites with TCE contamination. Some recent cases involving TCE are: 1) Von Duprin LLC v.
  Moran Electric Service, Inc., Major Holdings, LLC, Major Tool and Machine, Inc., and Zimmer Paper Products
  Incorporated; 2) Chemtronics Inc. v. Northrop Grumman Systems Corp. American Arbitration Association
  Arbitration, 3) Siltronic Corporation v. Employers Insurance Company of Wausau, et al.; 4) Stanford v.
  Agilent; 4) Sunflower Redevelopment, LLC v. Illinois Union Insurance Company; 5) Lennar Mare Island, LLC
  v. Steadfast Insurance Company.

  In addition, I am frequently utilized as an expert related to Federal EPA Superfund allocations or
  apportionment of environmental liabilities in the context of litigation at both large and small sites. I lecture
  throughout the country on the topics of 1) technical approaches to divisibility and apportionment of
  environmental harm, and 2) allocation of environmental liabilities. For example, in 2019, I was a co-presenter
  for a CLE accredited webinar entitled “Marshalling the Divisibility Defense to CERCLA Liability:
  Apportionment – Is the Harm Distinguishable?” and presented a CLE-accredited lecture on “Environmental
  Forensic Tools for Establishing Divisibility.” I also co-authored an article in the Journal of Remediation in
  December 2019 titled “Allocating cleanup costs among potentially responsible parties.”

  In addition to this expert work, I have provided broader environmental consulting services at numerous
  locations across the country, some locations where TCE and/or PCB releases have occurred. In this capacity,
  I have performed site assessments, reviewed and provided technical comments on the work of other
  consultants, determined the source, timing and transport of releases, evaluated site conditions in comparison
  to clean-up requirements, achieved regulatory closure through a “No Further Action” designation, and
  evaluated the standards of practice in the industry.

  Testifying Appearances
  My expert testifying appearances within the last 4 years are listed below.

      x   Goldberg v. Goss-Jewett Company, Inc., et al., United States District Court, Central District of
          California. Case No. EDCV14-01872 DSF (AFMx). Deposition May 25, 2016; September 26, 2019.
          Expert Report. Rebuttal Report. Additional Rebuttal Report.

      x   Von Duprin LLC v. Moran Electric Service, Inc. Major Holdings, LLC, Major Tool and Machine, Inc.,
          and Zimmer Paper Products Incorporated. United States District Court, Southern District of Indiana,
          Indianapolis Division. Case No. 1:16-CV-01942-TWP-DML. Deposition June 7, 2018. Trial July 31,
          2019. Expert Report.

      x   King County, Washington v. Travelers Indemnity Co., et al. United States District Court, Western
          District of Washington. Case No. 14-cv-1957. Deposition April 9, 2019. Rebuttal Report.




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      x   Chemtronics Inc. v. Northrop Grumman Systems Corp. American Arbitration Association Arbitration
          Case No. 01-17-0007-1884. Arbitration Testimony November 12-13, 2018. Expert Report. Rebuttal
          Report. Supplemental Report.

      x   Estate of Robert Renzel, Deceased et al. v. estate of Lupe Ventura, Deceased, et al. United States
          District Court, Northern District of California. Case No. 4:15-cv-1648-HSG. Deposition August 27,
          2018. Expert Declaration. Expert Report. Rebuttal Report.

      x   Power Authority of the State of New York v. The tug M/V Ellen S. Bouchard, et al. United States
          District Court, Southern District of New York. Case No. 14-cv-4462 (PAC). Deposition May 30, 2018.
          Expert Report.

      x   Siltronic Corporation v. Employers Insurance Company of Wausau et al. United States District Court,
          Central District of Oregon. Case No. 3:11-cv-01493-BR. Deposition May 24, 2018. Expert Report.

      x   Crown Central, LLC v. Petroleum Marketing Investment Group, LLC, et al. Circuit Court for Baltimore
          County, Maryland. Case No. 03-C-16-010774 CN. Deposition December 19, 2017. Expert
          Declaration. Rebuttal Declaration.

      x   Sunflower Redevelopment, LLC v. Illinois Union Insurance Company. United States District Court,
          Western District of Missouri, Western Division. Case No. 4:15-cv-00577-DGK. Deposition November
          10, 2017. Rebuttal Report. Supplemental Report.

      x   Insurance Company of the State of Pennsylvania v. County of San Bernardino. United States District
          Court, Central District of California. Case No. 5:16-cv-00128-PSG-SS. Deposition June 15, 2017.
          Expert Report. Rebuttal Report.

      x   Lennar Mare Island, LLC v. Steadfast Insurance Company. United States District Court, Eastern
          District of California, Sacramento Division. Case No. 2:12-cv-02182-KJM-KJN. Case No.2:16-cv-
          00291-KJM-CKD860. Deposition May 26, 2017. Expert Report. Supplemental Report.

      x   860 Kaiser, LLC v. Greene’s Cleaners, Inc., Napa County Superior Court. Case No: 26-63995.
          Deposition January 11, 2016, September 12, 2016. September 26, 2016. Expert Declaration.

      x   Lewis v. Russell, United States District Court, Eastern District of California. Case No. CIV. S-03-
          02646 WBS AC. Deposition July 20, 2016. Expert Report. Rebuttal Report. Supplemental Report.

  Please also refer to my resume, which is attached as Exhibit A.




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  Background
  Site Description
  The former Wyle Laboratories Facility (the Site) is located at 7800 Highway 20 West 1 in Huntsville, Madison
  County, Alabama (Figure 1). The Site occupies approximately 125 acres of industrial and undeveloped land
  immediately to the north of State Highway 20 and Interstate 565 and is bounded to its north by a Southern
  Pacific Railroad line. Near the Site land use includes residential land to the north, northeast and south,
  commercial land to southeast and northwest along the State Highway 20/Interstate 565 corridor and
  undeveloped woodland to the south and southwest. The Site is situated at approximately 650 feet above
  mean sea level (msl) and straddles an east/west trending drainage divide between two southward-flowing
  drainages. 2 The area of the Site subject to the environmental investigations described herein is primarily
  located north of this divide in the southwestern portion of the Site (Study Area). This area is currently occupied
  by several buildings, including Buildings 2, 4 and 5, the Seismic Test lab, the High Bay, the Dynamic Testing
  building and the SRV Testing building (Figure 2). The subject area also includes portions of the onsite
  drainage known as Turtle Creek, which flows southward towards the Tennessee River and the area east of
  Turtle Creek.

  Site History
  Wyle Laboratories Inc. (Wyle Laboratories) acquired the Site by 1961 3 and the former Wyle Laboratories
  Facility began operation in 1962. 4, 5 The Site was vacant as of 1958 6 and none of the documents produced
  indicate that there were previous operations at the Site prior to 1962. The Site is currently owned by National
  Technical Systems, Inc. (NTS), and NTS is also the current operator of the Facility. 7

  Wyle Laboratories offered engineering and testing-services, 8 including specialized equipment cleaning
  operations to support the Saturn V program at the Marshal Space Flight Center (MSFC). Construction of
  buildings at the Site began in 1962 when the Wyle Laboratories Facility was first developed. Most of the
  buildings at the Site were built between 1962 and 1978. 9 The Seismic Test Lab, Building 2 and the
  northeastern portion of Building 4 were built by 1965. 10, 11, 12 The High Bay and remainder of Building 4 were


  1 Also known as 7800 Governors Drive West
  2 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,
  Alabama. June 21 (AR_HUNT00012107 at 143).
  3 Wyle Laboratories, 1961. Progress Report. October 10. (AR_HUNT00020181 at182)
  4 Wyle Laboratories, 1961. Contract to Putman for First Wyle Huntsville Building, News Release No. L-185, December

  19. (AR_HUNT00020179 at180)
  5 Wyle Laboratories, 1962. Wyle Laboratories to Expand Huntsville Test Facility. News Release No. L-225. October 11.

  (AR_HUNT00020176)
  6 Aerial photograph, May 30 1958 (AR_HUNT00021760)
  7 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 114).
  8 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 114).
  9 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 114).
  10 Aerial photograph, 1965. (AR_HUNT00021779)
  11 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at187).
  12 Kennedy/Jenks Consultants, 2018. Historical Development of Wyle Laboratories, February. (AR_HUNT00021854).




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  constructed in 1966, 13, 14 and the SRV Testing building and Dynamics Testing building were constructed in
  1978 and 1981, respectively. 15, Prior to the development and channelization of Turtle Creek in the late
  1970s, 16 the portion of the Site currently occupied by the SRV building, the northern portion of the Dynamics
  Test building, and adjacent areas was a poorly drained area reportedly referred to by employees as “the
  swamp.” 17 Prior to the construction of Turtle Creek, surface water runoff north of the onsite drainage divide
  drained northward into this area. 18

  Environmental assessments at the Site began in 1994. Between 1994 and 1999, four due diligence
  environmental investigations were conducted at the Site. 19 In 1999, evidence of a trichloroethylene (TCE)
  release was first discovered during two Phase II ESAs conducted on behalf of Wyle Laboratories. 20 Elevated
  concentrations of TCE and other volatile organic compounds (VOCs) associated with TCE degradation,
  including 1,1-dichloroethylene (1,1-DCE), cis-1,2-dichloroethylene (cis-1,2-DCE) and vinyl chloride, were
  detected in soil and grab groundwater samples collected from bore holes located northeast of the Dynamics
  Test Building. 21

  On August 2, 2000, as part of the evaluation related to the nature and extent of the detected VOCs,
  consultants on behalf of Wyle Laboratories interviewed several Wyle Laboratories employees - including Mr.
  Keith Wilson, the general manager, and Mr. John Todd, a 35-year employee of Wyle Laboratories
  Huntsville. 22 During this interview, Mr. Todd and Mr. Wilson described historical cleaning and degreasing
  operations using TCE that took place at the Site between approximately 1964 or 1965 and 1971. 23 Based on
  a recounting of the interview no other operational TCE use was identified by the Wyle Laboratories
  employees. 24 Aerial photographs on display at the Huntsville Wyle Laboratories office provided additional
  information regarding historical operations and Wyle Laboratories. According to the Site Characterization
  Report produced by Kennedy/Jenks in 2016, examination of these photographs combined with the




  13 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,
  Alabama. June 21 (AR_HUNT00012107 at 152).
  14 Aerial photograph, 1966 (AR_HUNT00021780)
  15 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 151).
  16 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 144).
  17 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 144).
  18 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 143).
  19 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 664).
  20 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 666-668).
  21 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 666-668, 688).
  22 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 668).
  23 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 662, 668).
  24 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 668-669).



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  information obtained during the employee interviews serve as the primary basis for their understanding the
  nature of historical TCE use and release at the Site. 25

  Site Geology and Hydrogeology
  The Site is located in southwestern Madison County, Alabama, within the Tennessee-Elk River subregion of
  the Tennessee River hydrologic region. 26 The area’s major drainages include the Indian and Bradford Creeks,
  which ultimately feed the Tennessee River. 27 The drainage divide between these two creeks runs through
  the southwestern portion of the Site. The majority of the Site (116.5 acres) sits north of this divide, where
  local runoff flows to the north ultimately entering Indian Creek via a network of unnamed drainages. Local
  runoff on the remainder of the site (8.5 acres) flows southwestward into drainages that connect with Bradford
  Creek. 28

  The Site occupies a location in the Highland Rim physiographic province of northern Alabama. This region is
  characterized by an upfold of Paleozoic limestone, chert and shale that dip gently southward. The Site lies
  within a karst region of limestone bedrock (containing solutionally enlarged fractures and numerous sinkholes
  and caves). These geologic features are overlain by a layer of unconsolidated rocky material (regolith) made
  up of decomposed limestone bedrock. 29, 30 Regionally, groundwater is present in both the unconsolidated
  rocky material and the bedrock fractures, with infiltration of rainfall and surface water runoff through the
  unconsolidated rocky material recharging the bedrock aquifers that supply water to all of the large-capacity
  municipal and industrial supply wells in the Huntsville area. The regional groundwater flows generally to the
  south and is the same direction as regional surface water flow. 31

  The current understanding of Site geology and hydrogeology has been developed through numerous
  environmental investigations carried out at the Site between 2000 and 2019. These investigations have
  included installation of 5 bedrock wells (MW-24; MW-27A; MW-27B; MW-31; MW-32), 17 regolith/bedrock
  interface (RBI) wells (MW-11RB – MW-16RB; MW20C; MW-21D; MW-22C; MW-25C,D; MW-26D; MW-
  28C,D; MW-29C,D; MW-30c) and 39 wells screened at various depths within the regolith (MW-1 – MW-8;
  MW-10; MW-17A,B,C; MW-18A,B; MW-19A,B,C,D; MW-20A,B; MW-21A,B,C; MW-21C; MW-22A,B; MW-
  23A,B,C; MW-25A,B; MW-26A,B,C; MW-28A,B; MW-29A,B; MW-30A,B). 32, 33 Additionally, 10 wells screened
  at various depths in the regolith (BT-1c, BT-1d, BT-2c, BT-2d, BT-3b, BT-3c, BT-3d, DR-1c, DR-2c, IW-1c)


  25 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,
  Alabama. June 21 (AR_HUNT00012107 at 147-148, 152).
  26 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 116).
  27 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 143).
  28 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 143-144).
  29 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 143).
  30 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 663).
  31 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 143).
  32 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 260-267).
  33 Kennedy/Jenks Consultants 2017. Well Installation and First Semiannual 2017 Groundwater Monitoring Report,

  Former Wyle Laboratories Facility, Huntsville, Alabama December 19. (AR_HUNT00019463 at 497).



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  were installed in advance of a proposed remediation pilot test. 34 The environmental investigations have also
  involved seismic surveys to map structural features of regolith and underlying bedrock. 35

  The Site is underlain by 60 to 125 feet of regolith that covers approximately 69 to 100 feet of Fort Payne
  Chert bedrock over a thin layer of Chattanooga Shale at approximately 185 feet below ground surface (ft
  bgs). The regolith generally consists of gravely, sandy, and/or silty clays with the occasional predominance
  of other grain sizes. 36 The regolith is thought to have formed in place as, over time, water transported the
  soluble fraction of the bedrock away leaving behind the residual insoluble clay, sand and gravel-sized
  fragments of the chert. 37 A thin transitional zone is documented immediately above and below the contact
  between the regolith and the bedrock, referred to as the regolith/bedrock interface (RBI). 38 A
  northwest/southeast trending bedrock trough has been mapped running through the Site with the deepest
  portion under the northern portion of the Dynamic Testing building and the eastern portion of the SRV testing
  building. 39 The regolith lithology is complex and no laterally extensive soil stratigraphic units have been
  mapped. However, the following five regolith water-bearing units have been identified based on spatial and
  temporal assessment of groundwater elevations. These zones are depicted in the cross section displayed in
  Figure 3 and summarized below:

      x   Upper shallow regolith (Zone 1): Zone 1 consists primarily of silty and sandy clays and is documented
          to be 20 to 35 feet thick at the Site. Perched groundwater is present at depths less than 10 feet below
          ground surface (ft bgs), with groundwater elevations similar to Turtle Creek. 40 The groundwater flow
          direction in Zone 1 is north and north-northeast, 41 following surface topography. Zone 1 remains
          saturated throughout the year. 42

      x   Lower shallow regolith (Zone 2): Zone 2 consists primarily of sandy and gravelly clays with a
          thickness of 13 to 20 feet at the Site, thickening to 30 feet in the eastern portion of the Site.
          Groundwater is perched in Zone 2 and found at depths of 15 to 20 ft bgs (generally 5 to 10 feet below
          those in Zone 1). The groundwater flow direction in Zone 2 is generally northeast but exhibits a
          north-northeast trending mound. Zone 2 remains saturated throughout the year. 43



  34 Kennedy/Jenks Consultants, 2019. Letter to ADEM Re: Amendment to Pilot Injection Plan, Former Wyle

  Laboratories Facility, Huntsville, Alabama. July 8. (AR_HUNT00025291).
  35 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 122).
  36 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 155).
  37 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 164).
  38 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 164).
  39 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 156, 194).
  40 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 155, 157).
  41 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 128).
  42 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 169).
  43 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 169).



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      x   Middle regolith (Zone 3): Zone 3 consists of gravelly and sandy clay and sand with silt and gravel
          and is 12 to 18 feet thick. Groundwater in Zone 3 is unconfined 44 and found at depths of 45 to 60 ft
          bgs. 45 The groundwater flow direction in Zone 3 is complex and varies between seasons, with flows
          towards the northwest east and northeast during the summer and fall and west and southwest during
          the winter and spring. Flow conditions in Zone 3 fluctuate seasonally between unsaturated, partially
          saturated and fully saturated. 46

      x   Deep regolith (Zone 4): Zone 4 consists of silts interbedded with sandy and silty clays. The thickness
          of Zone 4 varies between 15 feet on the eastern and western edges of the Site to 50 feet along the
          bedrock trough. 47 Groundwater is confined in Zone 4 and is generally encountered 7 to 9 feet below
          those in Zone 3. 48 Groundwater flow direction in Zone 4 are generally west to west-southwest. 49 Zone
          4 is saturated throughout the year. 50

      x   Regolith-bedrock transition (Zone 5): Zone 5 consists of the zone immediately above and below RBI.
          Zone 5 consists of chert gravel with clay, silt and sand over the Fort Payne Chert. Depths to
          groundwater in Zone 5 are typically 2 to 3 feet below those in Zone 4 but exhibit broad seasonal
          range that overlaps that of Zones 3 and 4. 51 The boundary between Zones 4 and 5 is not well
          defined. 52 The groundwater flow direction in Zone 4 is generally to the southwest 53 Zone 5 is
          saturated throughout the year. 54

  Groundwater elevations in the regolith fluctuate seasonally to varying degrees, with greater fluctuations in
  Zones 4 and 5 (20 to 30 ft) 55 that dampen closer to the surface (5 to 16 ft in Zones 1 and 2). 56 Generally,




  44 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 155).
  45 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 158).
  46 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 169).
  47 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 159).
  48 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 159).
  49 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 129).
  50 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 169).
  51 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 159).
  52 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 159).
  53 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 160, 206).
  54 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 169).
  55 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 159).
  56 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

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  water levels begin to rise in December, peak between February and April, and then drop steadily reaching a
  seasonal minimum in the late fall or early winter. 57

  Local rain water recharges Zones 1 and 2 through infiltration from ground surface through the shallow
  regolith. The infiltrating rain water cascades downward through TCE-impacted soil and groundwater,
  following preferential flow paths of higher permeability (greater sand and gravel content) and migrating
  laterally over more fine-grained clay units. Seasonal fluctuations in hydraulic head in the confined Zones 4
  and 5 influence water levels in Zone 3, causing them to rise and fall with seasonal cycles. These fluctuations
  cause Zone 3 groundwater to periodically come in contact with clay-rich units (where present) impacted by
  TCE and mix with TCE-impacted groundwater that migrated down from Zones 1 and 2. When water levels
  decline during the dry season, Zone 3 groundwater moves downward, leaving unsaturated conditions in the
  upper portion of Zone 3 and allowing dissolved-phase TCE to enter Zones 4 and 5.

  The bedrock aquifer is considered the sixth water-bearing unit (Zone 6). Groundwater in Zone 6 is generally
  encountered 4 to 5 feet below that in Zone 5. 58 Bedrock drilling at the Site has revealed horizontal bedding
  planes and vertical factures in the boreholes, although these features do not show evidence of widening by
  solution processes. Solution-enhanced features such as cavities have not been documented in the five
  bedrock wells advanced at the Site. 59




  57 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 161).
  58 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 162).
  59 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 163).



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  Timeline of Regulatory Interactions
  The Site has been the focus of nearly two decades of environmental investigation, performed by
  Kennedy/Jenks Consultants (Kennedy/Jenks), to characterize the extent and magnitude of the impacts
  stemming from the historical TCE release. This investigation consisted of routine groundwater monitoring
  and multiple rounds of Site characterization as requested by the Alabama Department of Environmental
  Management (ADEM). A timeline of regulatory interactions regarding Site characterization is as follows:

       x   August 3, 2000: Kennedy/Jenks and Wyle Laboratories representatives meet with the ADEM with
           the purpose of informing ADEM of the evidence of a historical TCE release at the Site and
           determining a path forward for further environmental activities at the Site. 60 According to
           Kennedy/Jenks, ADEM concludes that the Alabama State Groundwater Program under the Alabama
           Pollution Control Act was the appropriate program to handle Site activities related to the historical
           TCE release 61 and Wyle Laboratories subsequently enters ADEM’s voluntary cleanup program. 62
           Based on the meeting outcome, Kennedy/Jenks proceeds with the proposed soil and groundwater
           investigations without being required to get formal work plan approval from ADEM. 63

       x   October 2000 – February 2001: Kennedy/Jenks submits the Characterization Work Plan to ADEM in
           October 2000. 64 This work plan states that, “the proposed characterization program is a voluntary
           action taken by Wyle. ADEM will be kept apprised of the developments in the project as the work
           plan is implemented.” 65 In January 2001, ADEM approves the Characterization Work Plan and issues
           a groundwater incident letter to Wyle Laboratories assigning the Site Groundwater Incident No. GW
           01-01-03. 66 ADEM requests supplemental information regarding the numbers and locations of soil
           borings and monitoring wells. 67 In February 2001, Kennedy/Jenks informs ADEM that Wyle
           Electronics was purchased by Arrow Electronics, Inc. and, as the successor to Wyle Electronics, is
           assuming the characterization program at the Wyle Laboratories Facility. 68

       x   February 2002 – April 2002: Kennedy/Jenks submits the Geophysical Investigation Report and
           Characterization Work Plan Supplement in February 2002. This report provides supplemental




  60 Kennedy/Jenks Consultants, 2000. Report of a Historic Release, Wyle Laboratories Facility, 7800 Governor Drive
  West, Huntsville, Alabama, K/J 004029.00. September 21. (AR_HUNT00009978).
  61 Kennedy/Jenks Consultants, 2000. Report of a Historic Release, Wyle Laboratories Facility, 7800 Governor Drive

  West, Huntsville, Alabama, K/J 004029.00. September 21. (AR_HUNT00009978 at 979).
  62 Kennedy/Jenks Consultants, 2008. Site Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  May 5. (AR_HUNT00000261 at 266)._
  63 Kennedy/Jenks Consultants, 2000. Report of a Historic Release, Wyle Laboratories Facility, 7800 Governor Drive

  West, Huntsville, Alabama, K/J 004029.00. September 21. (AR_HUNT00009978 at 979).
  64
     Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.
  October. (AR_HUNT00008656).
  65 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 662).
  66 ADEM, 2015. Consent Order No. 15-033-CGW. February 9. (AR_HUNT00010050 at 52)
  67 Kennedy/Jenks Consultants 2001. Bimonthly Progress Report – Wyle Laboratories Facility, 7800 Governor Drive

  West, Huntsville, Alabama. February 26. (AR_HUNT00000026).
  68 Kennedy/Jenks Consultants 2001. Bimonthly Progress Report – Wyle Laboratories Facility, 7800 Governor Drive

  West, Huntsville, Alabama. February 26. (AR_HUNT00000026).



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           information requested by ADEM in January 2001. 69 In April 2002, ADEM approves the proposed
           work. 70

       x   February 2003 – August 2003: Kennedy/Jenks submits the Soil and Groundwater Investigation
           Report documenting investigation activities at the Site through 2002. The report’s recommendations
           include delineation of the horizontal and vertical extent of VOC contamination in soil and
           groundwater. 71 Upon review of the February 2003 Soil and Groundwater Investigation Report, ADEM
           concurs with the recommendation for delineation of contamination and requests that specific
           activities be included in a forthcoming work plan including characterization of the bedrock surface
           beneath the Site and surface water sampling in Turtle Creek. 72

       x   October 2003 – March 2004: Kennedy/Jenks submits the Work Plan for Continued Soil and
           Groundwater Characterization. ADEM requests revisions in January 2004. 73 Kennedy/Jenks
           submits the revised work plan in March 2004 74 and ADEM approves the revised work plan later that
           month. 75

       x   October 2004: Based on detections of TCE in a public supply well approximately one mile
           downgradient of the Site, ADEM concludes that there is a connection between the VOCs beneath
           the Site and the underlying groundwater aquifer. ADEM informs Arrow Electronics that “it is
           imperative that all assessment activities to establish the horizontal and vertical extent of the
           contamination in the underlying aquifer system as quickly possible [sic],” and should elevated
           concentrations of chlorinated hydrocarbons be present at RBI beneath the Site, “all necessary
           assessment activities to establish vertical extent of contamination in the underlying bedrock should
           be conducted without obtaining prior approval from [ADEM].” 76

       x   January 2006: Upon review of a semiannual groundwater monitoring report for the Site, ADEM
           requests additional activities be carried out as part of further characterization efforts at the Site.
           These additional activities include installation of at least one bedrock groundwater monitoring well
           and the abandonment of groundwater monitoring well MW-9. 77




  69 Kennedy/Jenks Consultants, 2002. Geophysical Investigation Report and Characterization Work Plan Supplement,
  Wyle Laboratories Facility, 7800 Governor Drive West, Huntsville, Alabama. February 11.
  70 ADEM, 2002. Groundwater Incident GW 01-01-3, Wyle Laboratories Facility, Huntsville, Alabama. April 5.

  (AR_HUNT00010000).
  71 Kennedy/Jenks Consultants 2003. Soil and Groundwater Investigation Report – 2002, Wyle Laboratories Facility,

  Huntsville, Alabama. February 25. (AR_HUNT00000047 at77).
  72 ADEM, 2003. Former Wyle Laboratories Facility, Soil and Groundwater Investigation Report – 2002, Huntsville,

  Madison County, Alabama, Groundwater Incident No. GW 01-01-03. August 14, p. 2 (NO BATES).
  73 ADEM, 2004. Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama, Groundwater Incident No.

  GW 01-01-03. January 15. (AR_HUNT00002625)
  74 Kennedy/Jenks Consultants, 2004. Revised Work Plan for Continued Soil and Groundwater Characterization, Wyle

  Laboratories Facility, Huntsville, Alabama, March 4. (AR_HUNT00016271)
  75 ADEM, 2004. Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama, Groundwater Incident No.

  GW 01-01-03. March 12. (AR_HUNT00002627).
  76 ADEM, 2004. Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama, Groundwater Incident No.

  GW 01-01-03. October 13. (AR_HUNT00002628)
  77 ADEM, 2006. Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama, Groundwater Incident No.

  GW 01-01-03. January 18. (AR_HUNT00010021)



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       x   February 2006: Kennedy Jenks submits the 2004-2005 Site Characterization Report. 78 Following
           receipt of this report ADEM requested a work plan for additional investigation be submitted. 79

       x   January 2007 - June 2007: Following an additional request for the work plan in January 2007 80,
           ADEM issues a notice of violation (NOV) to the Site in a letter dated June 26, 2007. This letter states
           that an investigation is required at the Site and a corresponding investigation work plan must be
           submitted. 81

       x   May 2008: Kennedy/Jenks submits the Site Characterization Work Plan to ADEM. The work plan is
           approved by ADEM later that month.

       x   2009: Kennedy/Jenks meets with ADEM and presents investigation findings through 2009. 82 Based
           on these findings, ADEM determined that an additional workplan was necessary to further
           characterize the extent of the contamination. 83

       x   April 2010 – May 2010: Kennedy/Jenks submits the Site Characterization and Routine Groundwater
           Monitoring work plan, 84 which is approved by ADEM in May 2010. 85

       x   February 2013: Kennedy/Jenks presents an update of site characterization activities to ADEM. It was
           determined that completion of Site characterization was required by ADEM. 86, 87

       x   February 9, 2015: Arrow Electronics and ADEM enter into a Consent Order (Order No. 15-033-CGW)
           requiring Arrow Electronics to address environmental conditions at the Site. 88

       x   June 2016: Kennedy/Jenks submits the Site Characterization Report 2008-2015. This report
           concludes that characterization of the Site is complete and that remaining data gaps will be
           addressed by remedial investigations 89 intended to “provide data necessary to screen and select
           potential remedial alternatives.” 90



  78 Kennedy/Jenks Consultants 2006. 2004 – 2005 Site Characterization Report, Wyle Laboratories Facility, Huntsville,
  Alabama. February 2. (AR_HUNT00006060).
  79 ADEM, 2015. Consent Order No. 15-033-CGW. February 9. (AR_HUNT00010050 at 52)
  80 ADEM, 2007. Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama, Groundwater Incident o. GW

  01-01-03. January 25. (AR_HUNT00010033)
  81 ADEM, 2007. Notice of Violation, Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama,

  Groundwater Incident o. GW 01-01-03. June 26. (AR_HUNT00002636)
  82 Kennedy/Jenks Consultants, 2009. Wyle Huntsville, An Environmental Overview through 2009.

  (AR_HUNT00002642)
  83 ADEM, 2015. Consent Order No. 15-033-CGW. February 9. (AR_HUNT00010050 at 53)
  84 Kennedy/Jenks Consultants, 2010. 2010 Site Characterization and Routine Groundwater Monitoring Work Plan,

  Wyle Laboratories Facility, Huntsville, Alabama. April 19. (AR_HUNT00008607)
  85
     ADEM, 2015. Consent Order No. 15-033-CGW. February 9. (AR_HUNT00010050 at 53)
  86 Kennedy/Jenks Consultants, 2013. Wyle Laboratories – Huntsville, Progress through 2012, Meeting with ADEM.

  February 21.
  87 ADEM, 2015. Consent Order No. 15-033-CGW. February 9. (AR_HUNT00010050 at 53)
  88 ADEM, 2015. Consent Order No. 15-033-CGW. February 9. (AR_HUNT00010050 at 51)
  89 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 174).
  90 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 175).



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  The site investigation concluded in June 2016 and remedial investigation activities began.

      x   May 2017, Kennedy/Jenks installed three new wells, two which were bedrock wells 91 for the purposes
          of further characterizing the presence of VOCs in the subsurface and refining the hydrogeologic
          understanding of the Site for groundwater remedy evaluations. 92

      x   In 2017-2018, soil vapor was assessed to determine the potential vapor intrusion hazard in the
          vicinity of the buildings on-site. 93, 94, 95 Thirteen of the 55 VOCs that were detected in the soil samples
          during the November 2017 sampling event were detected in one or more samples at concentrations
          that exceeded the vapor screening levels. Cancer risks and noncancer hazards were estimated for
          each chemical of potential concern (COPC) detected in soil vapor at the five building groups using
          the John-Ettinger model (JEM). JEM simulates the transport of soil vapor in the subsurface into
          indoor air and calculates an attenuation factor from soil vapor into indoor air using site-specific inputs.
          The cumulative cancer risk and noncancer index was calculated for each location. The cancer risks
          and non-cancer hazards were all below the ADEM target levels. The attenuation factors calculated
          for the second soil vapor sampling event were very low due to the high soil moisture content.
          Kennedy/Jenks concluded that vapor intrusion pathway does not appear to pose an unacceptable
          risk to workers at the Site.

      x   In May 2018, after reviewing Kennedy/Jenks’ Soil Vapor Investigation Second Report, ADEM
          concurred that the vapor intrusion pathway does not appear to pose an unacceptable risk to workers
          at the Site and that a risk assessment should be conducted to establish risk-based cleanup levels
          for addressing impacted media at the Site.


      x   In 2018-2019, Kennedy/Jenks’ performed a Risk Management Evaluation 96 to characterize the
          potential risks to human health and environment that may be posed by chemicals in the water, air,
          or soil at the Site. Kennedy/Jenks concluded that the risk from TCE in surface water was below the
          Tier II EcoTox threshold for the protection of wildlife. Kennedy/Jenks noted that the shallow
          groundwater is not a source of water for municipal water supply and no industrial or residential water
          supply wells are known to be completed in the shallow groundwater in the Site vicinity. Ultimately,
          Kennedy/Jenks’ recommendation was that risk-based target cleanup levels did not need to be
          developed and that remedial action was not necessary to address risks to human health or ecological
          receptors on-site. Kennedy/Jenks also concluded that further evaluation of groundwater as a
          potential pathway for exposure of off-site human receptors is not necessary. Kennedy/Jenks did
          propose to reduce the mass of TCE present in the onsite regolith in a Corrective Action Development
          Plan.


  91 Kennedy/Jenks Consultants, 2019. Second Semiannual 2018 Groundwater Monitoring Report - Former Wyle

  Laboratories, Huntsville, Alabama. January 21.
  92 Kennedy/Jenks Consultants, 2017. Well Installation and First Semiannual 2017 Groundwater Monitoring Report,

  Former Wyle Laboratories, Huntsville, Alabama. December 19. (AR_HUNT00019463 at 470)
  93 Kennedy/Jenks Consultants, 2017. Soil Gas Investigation Work Plan and Vapor Intrusion Pathway Assessment -

  Former Wyle Laboratories Faciliy, Huntsville, Alabama. February 3.
  94 ADEM, 2017. Soil Gas Investigation Initial Report - Former Wyle Laboratories Facility, Huntsville, Alabama.

  September 1.
  95 Kennedy/Jenks Consultants, 2018. Soil Vapor Investigation Second Report - Former Wyle Laboratories Facility,

  Huntsville, Alabama. February 6.
  96 Kennedy/Jenks Consultants, 2019. Risk Management Evaluation - Former Wyle Laboratories Facility, Huntsvillle,

  Alabama. May 1.



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       x   In July 2019, ADEM reviewed the Risk Management Evaluation for the Former Wyle Laboratories
           Facility. 97 Based on these results, ADEM concurred that soil and vapor intrusion exposure pathways
           do not appear to pose an unacceptable risk to workers at the site. To limit future/potential migration
           of COCs, ADEM concurs that shallow groundwater should be under corrective action to reduce the
           potential for impacts to bedrock groundwater. ADEM noted that the Uniform Environmental
           Covenants Program is requiring an environmental covenant on the site because impacted
           groundwater is not being remediated to residential standards.

       x   In 2019, a Corrective Action Development Plan 98 was submitted to select a remedy that will
           appropriately address chemicals of concern at the Site that present a potential risk to human health
           and the environment, including groundwater as a potential future resource on and off the Site. The
           use of groundwater as a future drinking water supply in and near the site was the basis for identifying
           actions potentially necessary to protect the future groundwater resource. Groundwater conditions at
           the site are complicated because of the variable thickness of clay-rich regolith and resulting multi-
           level groundwater flow system above bedrock. Implementation is complex due to the presence of
           buildings and active testing programs conducted over impacted areas by NTS, Inc. Kennedy/Jenks’
           remediation approach will generally consist of pilot testing the preferred technology, enhanced
           reductive dechlorination (ERD) – an in-situ groundwater remediation approach. Kennedy/Jenks’ ERD
           pilot testing is currently ongoing. 99, 100 Kennedy/Jenks expects natural attenuation can address
           residual concentrations in the groundwater resource within a predictable timeframe. 101




  Opinion and Bases for Opinion
  Opinion 1:
       x   Between approximately 1964 and 1971, there were ongoing releases
           of TCE to soil and groundwater at the former Wyle Laboratories Facility
           that resulted in the currently observed contamination of TCE and its
           degradation products at the Site.
  According to employee-provided details documented by Kennedy/Jenks, liquid TCE was used on the Site for
  the purpose of cleaning liquid oxygen (LOX) tubing and fittings (collectively LOX piping) 102 that took place
  between approximately 1964 or 65 and 1971 103 to support F-1 engine testing for the Saturn V rocket program

  97 ADEM. 2019. Risk Management Evaluation. Former Wyle Laboratories, Huntsville, Alabama. July 31.
  98 Kennedy/Jenks Consultants, 2019. Corrective Action Development Plan - Former Wyle Laboratories Facility,
  Huntsville, Alabama. February 1.
  99 Kennedy/Jenks Consultants, 2019. Amendment to Pilot Injection Plan - Former Wyle Laboratories Facility, Huntsville,

  Alabama. July 8.
  100 ADEM, 2019. Approval of Amendment to Pilot Injection Plan - Former Wyle Laboratories Facility, Huntsville,

  Alabama. July 12.
  101 Kennedy/Jenks Consultants, 2019. Corrective Action Development Plan - Former Wyle Laboratories Facility,

  Huntsville, Alabama. February 1.
  102 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 148).
  103 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 662).



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  at the MSFC. 104 The most frequent F-1 engine testing at the MSFC lasted from April 1965 through November
  1966. 105 The last Saturn V rocket was launched in 1973. 106 Additionally, TCE drum storage existed on Site
  between 1962 and 1970. 107 The details of these on-Site operational activities associated with TCE use are
  described below.

  The details of the LOX cleaning process are based on the August 2000 Wyle employee interviews conducted
  by Kennedy/Jenks and Environ, 108 Wyle employee witness statements collected by Peter Murphy in 2018, 109
  and review by Kennedy/Jenks of oblique aerial photographs on display in the Huntsville office of Wyle
  Laboratories. 110 TCE was delivered to the Site in 55-gallon drums, which were stored in an unpaved area in
  the location currently occupied by Building 5 and to the east of Building 1. 111 A review of the aerial
  photographs produced identified drums located in an alley to the east of Building 1 in 1964 and 1965. Drum
  storage locations could not be determined in other aerial photographs produced.
  The LOX cleaning operations were conducted in and adjacent to Building 2 in the area currently occupied by
  the Seismic Test lab, Loss of Coolant testing area and a tool room. A floor drain located immediately northeast
  of the present-day seismic test equipment vault is thought to have been present during the period of LOX
  cleaning operations. 112 Oil, grease and hydrocarbons were removed from larger LOX piping by dipping the
  piping in long, open, above-ground troughs containing TCE. 113 The piping was then removed from the troughs
  and carried by hand to an exterior location immediately north of Building 4 where it was hoisted on a T-bar,
  I-beam tower (referred to herein as the rinse tower) and hung vertically for inspection, spot cleaning with
  TCE, final rinsing with deionized water and drying. Dry piping was bagged in plastic and tagged as clean. 114
  Smaller LOX parts were cleaned in a vapor degreaser located at the northern portion of the present-day
  Seismic Test lab. 115

        x   The LOX cleaning operations were located on and to the north of the onsite drainage divide. Liquid
            runoff from the tower area dripped to the unpaved ground surface and drained northward across an
            open, relatively steep, rip-rapped area currently occupied by the Dynamics Test building and
            collected in the poorly drained area currently occupied by the SRV and Dynamics Test buildings and

  104 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,
  Alabama. June 21 (AR_HUNT00012107 at 115).
  105 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 147).
  106 NASA, 2010. What Was the Saturn V? https://www.nasa.gov/audience/forstudents/5-8/features/nasa-knows/what-

  was-the-saturn-v-58.html, accessed February 21, 2018.
  107 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 152).
  108 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 147, 152).
  109 Expert Report of Peter Murphy. 2018. TCE Migration at Former Wyle Laboratories, Huntsville, Alabama. March 30.

  Appendix B: Former Wyle Laboratory Witness Statements
  110 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 147, 152).
  111 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 147, 152).
  112 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 148).
  113 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 148).
  114 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656 at 662, 668).
  115 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 115).



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            adjacent areas. This area was described by Mr. Todd as having been a “swamp,” 116 and is referred
            to in the most recent Site Characterization Report as the “Former Bone Yard.” 117 A review of a
            topographic map from 1966 depicts a swampy area just south of the Southern Pacific Railroad tracks
            in the approximate location of the current SRV building and Turtle Creek. 118
  While no specific report of a TCE release at the Site has been documented, the historical LOX cleaning
  process described above would have reasonably been expected to result in routine releases of TCE through
  the following normal operations:

        x   Transfers of new pure-phase TCE within the drum storage area;
        x   Transfers of new/used pure-phase TCE in/out of the cleaning troughs, the vapor degreaser and
            drums;
        x   Drips of pure-phase TCE out of the troughs onto the concrete floor that then get washed with rinse
            water into the floor drains;
        x   Transfer of LOX piping from the troughs to the rinse tower;

        x   Spot clean LOX piping on the rinse tower;

        x   Runoff of dissolved-phase TCE from LOX piping rinsed with deionized water on the rinse tower; and,

        x   Leaks from the vapor degreaser
  TCE released to the concrete floors in the LOX cleaning area would have reached the floor drain when
  washed with rinse water and could have been released beneath the building. TCE released from parts at the
  rinse tower would have run northward and downslope collecting in the poorly drained Former Bone Yard.
  Improvements to Turtle Creek were begun as early as January 1963 and the creek was improved to its
  current configuration when the northern portion of the Site was developed in the late 1970s. 119 The surface
  water drainage system would have carried rinse water containing TCE, along with storm water, from the
  primary source areas through the three drainage systems:

        x   Until 1966 - eastward beneath the current Building 4 and the High Bay, and north down the storm
            drain along the main road to the poorly-drained area.

        x   After 1966 – northward through the 8-inch trunk line to the ditch that ran along the west side of the
            current Dynamics Test Building, to the manhole, then northwest to the outfall at Turtle Creek. 120
  Once it reached the poorly-drained area, the water containing TCE likely spread out in the quiet waters and
  remained in place for an undetermined length of time before continuing downstream in the early Turtle Creek.
  The ponding and infiltration of TCE contamination in this area resulted in a downgradient location where TCE
  accumulated and continued to migrate to the soil and groundwater below.

  The release mechanisms described above are consistent with the extent and magnitude of TCE and other
  VOCs in soil and groundwater at the Site. The highest TCE concentrations in soil are observed in three
  locations, 1) east of Building 5, 2) in the vicinity of the Dynamic Testing Building, and 3) beneath the Seismic

  116
      Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.
  October. (AR_HUNT00008656 at 662, 668).
  117 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 150).
  118 Topographic map reviewed on www.historicaerials.com for the Site location
  119 Kennedy/Jenks Consultants, 2018. Corrective Action Plan Former Wyle Laboratories, Huntsville, Alabama.

  November 20. Page 2-3.
  120 Kennedy/Jenks Consultants, 2018. Corrective Action Plan Former Wyle Laboratories, Huntsville, Alabama.

  November 20. Page 2-14.



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  Test Lab. The first location corresponds with the former drum storage area as identified by Kennedy/Jenks
  in historical aerial photographs, the second location corresponds to the location of the former LOX cleaning
  operation, and the third location corresponds to the poorly-drained area northeast and downslope of the
  former LOX cleaning operation and rinse tower (Former Bone Yard). The drum storage and LOX cleaning
  operation are the two identified locations of TCE operational use and release at the Site, while additional
  TCE-bearing water collected in and permeated through soils in the Former Bone Yard. Therefore, the
  presence of elevated concentrations of TCE in soils at these locations is also consistent with the sources and
  locations described above.

  The highest concentrations of VOCs in soil are not at the surface (as would be expected if there were recent
  releases of TCE), but instead at depths of approximately 20 - 35 feet, 121 consistent with the nearly 50 years
  that have elapsed since TCE was in use at this facility. For example, the highest TCE concentrations in soil
  east of Building 5 are at 34 feet, 122 the highest TCE concentrations in the vicinity of the Dynamic Testing
  Building are at 25 feet, and the highest TCE concentrations beneath the Seismic Test Lab are at 20 feet. 123
  During the time between operational TCE releases and the current observations, TCE that entered the
  subsurface, either in dissolved-phase in rinse water or as small drips of pure-phase product, would be
  expected to have percolated through the shallow regolith with infiltrating rainwater and then migrate laterally
  across less permeable layers. This migration would result in the TCE cascading down through clay-rich soils,
  with a portion of the VOCs diffusing into the clay layers. Over time, it is expected that shallow soil TCE
  concentrations declined as infiltrating rain water transported TCE in Zones 1 and 2 downwards into the
  deeper Zones.

  As with soil, the locations of highest concentrations of TCE and other VOCs in groundwater are consistent
  with locations of known VOC impacts to groundwater described above. The network of groundwater
  monitoring wells at the Site cover different spatial extents for each water-bearing zone within the Study Area.
  Monitoring well coverage increases with depth, with monitoring well in Zone 5 present for most of the Study
  Area. The areas of known VOC impacts to groundwater and groundwater TCE concentrations (as of March
  2015) are depicted in Figures 4a-e.
  The areas of VOC-impacted groundwater observations are expected given the directions of groundwater flow
  in each zone, the time that has elapsed since cessation of the TCE operations, and the source locations
  within and adjacent to the current Seismic Test Lab and Building 4 (LOX cleaning) and immediately north
  and east of Building 5 (drum storage). The vertical and geographic (southwest to northeast) distribution of
  TCE in groundwater throughout Zones 1-6 is shown on the cross section in Figure 3.
  Overall, TCE concentrations in groundwater beneath the Site range multiple orders of magnitude, from less
  than 5 micrograms per liter (Pg/l) in MW-25 located south of the High Bay to over 100,000 Pg/l at MW-4
  immediately to the northeast of the Dynamics Test Building at the location of the Former Bone Yard. The
  highest TCE concentrations in groundwater are found in Zone 3 (Middle Regolith). The extent of known VOC-
  impacted groundwater in Zone 3 is north of the High Bay, Building 4, Seismic Test Lab, Environmental Test
  Lab complex, stretching from the Accounting building to the west to the eastern portion of Turtle Creek to the
  east, with the highest concentrations located in the vicinity of the Former Bone Yard and north of the LOX-
  cleaning rinse tower. Again, these locations are consistent with the source areas described above, and

  121 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,
  Alabama. June 21 (AR_HUNT00012107 at 252-258).
  122 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 254).
  123 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 257).



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  presence of the highest TCE concentrations in Zone 3 is expected given the decades that have elapsed since
  the TCE was released, allow for its downward migration through Zones 1 and 2.

  TCE has been detected at the RBI at concentrations as high as 14,000 Pg/l, at one of the most downgradient
  locations at which groundwater is sampled at the RBI, and near the former drum storage area. This location
  is also where TCE-impacted water would migrate over the decades since TCE was last released. TCE has
  also been detected in bedrock at concentrations as high as 69 Pg/l at the southwestern portion of the Study
  Area. The presence of TCE at the RBI and in bedrock indicates that TCE has had the opportunity overtime
  to both diffuse into fine-grained soils beneath the Site and migrate downward and enter the bedrock where it
  can travel along fractures and bedding planes. Diffusion of TCE into the fine-grained soils and bedrock
  fractures create a persistent localized source of TCE to the surrounding groundwater.



  Opinion 2:
        x   The only documented releases of TCE from the former Wyle
            Laboratories Facility were from ongoing operational releases between
            approximately 1964 and 1971.
  The nature of the historic releases at the Wyle Laboratories Facility were from ongoing operational releases
  related to TCE storage, transfer and use between 1964 and 1971. The historical LOX cleaning process
  described in Opinion 1 would have reasonably been expected to result in routine releases of TCE through
  normal operations:
        x   Transfers of new pure-phase TCE within the drum storage area;

        x   Transfers of new/used pure-phase TCE in/out of the cleaning troughs, the vapor degreaser and
            drums;
        x   Drips of pure-phase TCE out of the troughs onto the concrete floor that then get washed with rinse
            water into the floor drains;
        x   Transfer of LOX piping from the troughs to the rinse tower;

        x   Spot clean LOX piping on the rinse tower;

        x   Runoff of dissolved-phase TCE from LOX piping rinsed with deionized water on the rinse tower; and,

        x   Leaks from the vapor degreaser

  Such releases of TCE would have been consistent with the normal handling and operations practices at the
  facility during this period from 1964-1971. In fact, the various transfers of TCE and draining of residual TCE
  onto the ground in the rinse tower area was an ongoing and deliberate part of site operations. While records
  of operational TCE use are not available for the Site, Wyle Laboratories documents indicate that TCE was
  also used in association with LOX-cleaning operations at a Wyle Laboratories facility in Norco, California. 124
  Small daily operational releases of TCE over time can explain the extent and magnitude of the TCE
  contamination observed, and no other source(s) of TCE are necessary.
  No accidents related to TCE are documented or reported by former Wyle Laboratories employees. There are
  no locations of TCE contamination at the Site that do not match the locations and transport pathways from


  124
    Wyle Associates, 1958. High-Flow Liquid/Gaseous Oxygen Facility Now Available for Missile Component Tests.
  Wyle Associates Bulletin No. 3, April 15. (AR_HUNT00020153 at 159).



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  the known areas of operational TCE use. The total quantity of TCE contamination observed does not require
  any additional specific release incident to explain the magnitude of contamination.


  Opinion 3:
        x   70% of invoiced costs as of December 2019 are site investigatory in
            nature. The remaining 30% of claimed costs are related to site
            remediation (26%) or legal costs (4%).
  As of the date of this report, Arrow Electronics has produced 229 invoices for the environmental costs related
  to work performed at the Site between August 2000 and November 2019. A summary of each invoice is
  provided in Exhibit B. Kennedy/Jenks issued invoices with 95% of all costs. Several other vendors, including
  SGS Accutest (analytical laboratory), Cascade (driller), and Clean Harbors/Safety Kleen (waste disposal)
  issued invoices directly to Arrow Electronics beginning in March 2012, with most non-Kennedy/Jenks invoices
  being submitted in 2017 or later. Based on the invoices, and without consideration for the necessity and
  reasonableness of the associated costs, Arrow Electronics incurred a total of $5,223,665 for environmental
  work associated with the Site and an additional $207,518 of costs associated with document production and
  “legal support” related to insurance company mediation and legal activities for a total of $5,431,184. Based
  on a review of Site technical documents and invoices, most invoiced costs (70%) appear to be investigatory
  in nature, while the remainder pertain to Site remedial efforts and human health risk assessment (26%) or
  document production and legal support (4%). 125 The document production and legal support costs, which
  were incurred between February 2016 and November 2019, appear to support a legal effort and are not
  considered to be part of either the investigation or remediation costs for the Site.

  The environmental work 126 conducted for the Site was carried out by Kennedy/Jenks over five general
  phases. 127 These phases and their corresponding tasks are described below and summarized in Table 1.
        x   Phase 1 – Invoiced September 2000 through July 2006: Phase 1 consisted of initial Site
            characterization activities including installation of groundwater monitoring wells screened in the
            shallow regolith and the RBI, soil sampling and a geophysical investigation. Routine groundwater
            monitoring and associated reporting commenced during Phase 1. These activities were carried out
            in accordance with the initial characterization work plan submitted in October 2000, 128
            (supplemented in February 2002 129) and the work plan for continued characterization submitted in




  125 Beginning in the March 2009 invoice, a “Communication Surcharge” is added to the total labor costs and direct
  expenses on all Kennedy/Jenks invoices. For the purposes of this evaluation, this surcharge has been distributed
  evenly among all costs (investigation, remediation and/or document production/legal support) in proportion to the cost
  category’s share of total costs on each invoice.
  126 Excluding document production and legal support tasks.
  127 The non-Kennedy/Jenks invoices are assumed to be related to the scope of work performed by Kennedy/Jenks

  during the time period in which the non-Kennedy/Jenks costs were incurred.
  128 Kennedy/Jenks Consultants 2000. Characterization Work Plan, Wyle Laboratories Facility, Huntsville, Alabama.

  October. (AR_HUNT00008656).
  129 Kennedy/Jenks Consultants, 2002. Geophysical Investigation Report and Characterization Work Plan Supplement,

  Wyle Laboratories Facility, 7800 Governor Drive West, Huntsville, Alabama. February 11.



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            October 2003. 130 The corresponding investigation results are respectively described in three
            investigation reports submitted in February 2002, 131 February 2003, 132 and February 2006. 133
        x   Phase 2 – Invoiced August 2006 through March 2010: Routine groundwater monitoring and reporting
            continued during Phase 2 along with additional Site characterization efforts. For invoices between
            August 2006 and July 2008, these characterization efforts consisted of scoping for future
            investigation. Actual Phase 2 Site investigation activities, including seismic reflection surveys and
            cone penetration testing (CPT) and membrane interface probe (MIP) testing took place between July
            and September 2008. 134 Additional regolith groundwater monitoring wells were installed between
            February and April 2009. 135 These activities were carried out in accordance with the Site
            Characterization Work Plan dated May 5, 2008 136 and are described in Site Characterization Report
            dated June 21, 2016. 137 Additionally, a screening-level indoor air survey was conducted in the High
            Bay and Seismic Test Building. 138

        x   Phase 3 – Invoiced March 2010 through April 2015: Investigation efforts at the Site continued during
            Phase 3 per the 2010 Site Characterization and Routine Groundwater Monitoring Work Plan, dated
            April 19, 2010. 139 These efforts included installation of bedrock wells and additional regolith wells.
            Development of a conceptual site model began during Phase 3 as did risk assessment activities and
            consideration of remedial options for the Site. Routine groundwater monitoring continued at the Site,
            changing in frequency from quarterly to semi-annually in 2012. 140 Phase 3 culminated with
            submission in June 2016 of the Site Characterization Report 2008-2015, which detailed all Site
            investigation activities to date and concluded that Site characterization was complete, and remaining
            data gaps would be addressed by remedial investigations. 141

        x   Phase 4 – Invoiced July 2015 through December 2018: Site investigation activities carried out
            following submission of the Site Characterization Report 2008-2015 were conducted to support
            remediation efforts at the Site. These activities include continued groundwater monitoring of select


  130 Kennedy/Jenks Consultants 2003. Work Plan for Continued Soil and Groundwater Characterization, Wyle
  Laboratories Facility, Huntsville Alabama. October 20. (AR_HUNT00016235).
  131 Kennedy/Jenks Consultants, 2002. Geophysical Investigation Report and Characterization Work Plan Supplement,

  Wyle Laboratories Facility, 7800 Governor Drive West, Huntsville, Alabama. February 11.
  132 Kennedy/Jenks Consultants 2003. Soil and Groundwater Investigation Report – 2002, Wyle Laboratories Facility,

  Huntsville, Alabama. February 25. (AR_HUNT00000047).
  133 Kennedy/Jenks Consultants 2006. 2004 – 2005 Site Characterization Report, Wyle Laboratories Facility, Huntsville,

  Alabama. February 2. (AR_HUNT00006060).
  134 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at119).
  135 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at126).
  136 Kennedy/Jenks Consultants 2008. 2008 Site Characterization Work Plan, Wyle Laboratories Facility, Huntsville,

  Alabama. May 5. (AR_HUNT00000259).
  137 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107).
  138 Kennedy/Jenks Consultants, 2009. Summary Report for Screening-Level Indoor Air Survey, High Bay and Seismic

  Test Building Evaluations, Wyle Laboratories, Huntsville, Alabama. June 17. (AR_HUNT00008474).
  139 Kennedy/Jenks Consultants, 2010. Site Characterization and Routine Groundwater Monitoring Work Plan, Wyle

  Laboratories Facility, Huntsville, Alabama, April 19. (AR_HUNT00008607).
  140 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 137).
  141 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at174).



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            wells 142 and installation of new regolith, RBI and bedrock groundwater wells. 143 Remedial and risk
            assessment planning continued during Phase 4. As of July 28, 2017, risk assessment and remedial
            activities appeared to remain in the planning stages. 144

        x   Phase 5 – Invoiced January 2019 through November 2019: Remedial and risk assessment activities
            continued during Phase 5, including preparation, submittal, and revision of a Corrective Action
            Development Plan, 145 preparation, submittal, and revision of a Risk Management Evaluation, 146 and
            implementation of bioremediation enhanced reductive dechlorination (ERD) pilot test injections with
            associated regulatory correspondence. Groundwater monitoring of select wells also continued
            through Phase 5 to support the remedy.




  142 Kennedy/Jenks Consultants, 2016. First Half 2016 Groundwater Monitoring Report, Former Wyle Laboratories –
  Huntsville, Alabama. December 30. (AR_HUNT00018031).
  143 Kennedy/Jenks Consultants 2017. Monitoring Well Installation Work Plan, MW-30, MW-31, and MW-32, Former

  Wyle Laboratories Facility, 7800 Madison Bl., Huntsville, Alabama 35806, ADEM Consent Order No. 15-033-CGW,
  April 28. (AR_HUNT00019986).
  144 Kennedy/Jenks Consultants, 2017. Invoice for Professional Services Number: 114354, 27 May through 28 July

  2017, Wyle Laboratories – Huntsville, August 7. (AR_HUNT00014433).
  145 Kennedy/Jenks Consultants. 2019. Corrective Action Development Plan, Former Wyle Laboratories, Huntsville,

  Alabama. February 1. (AR_HUNT00024124)
  146 Kennedy/Jenks Consultants. 2019. Risk Management Evaluation for the Former Wyle Laboratories Facility,

  Huntsville, Alabama. May 1. (AR_HUNT00025155)



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                  Table 1. Summary of Tasks for Environmental Work Performed at the
                  Former Wyle Laboratories Facility: September 2000 -– November 2019
    Work       Invoice              K/J Task Heading           K/J Task     Invoice Date         Invoice Date
    Phase       Period                                         Number        First Billed         Last Billed
              Sep 2000 -    General                               NA           9/21/2000            8/16/2006
      1
               Jul 2006     Site Inspection                       NA           9/21/2000            7/17/2006
              Aug 2006 -
     2-3                    Project Mgmt. & Quality Control     Task 10        8/16/2006            4/21/2015
               Apr 2015
              Aug 2006 -    Groundwater Monitoring 2006         Task 20        8/16/2006            2/27/2009
      2
               Feb 2009     Site Characterization 2006          Task 30       11/20/2006            2/27/2009
                            Quarterly Groundwater Monitoring    Task 20        3/19/2009             3/1/2010
                            Regolith Groundwater Well
                                                                Task 30        3/19/2009             2/3/2010
                            Installation & Destruction
              Mar 2009 -
      2                     Reporting for Seismic Reflection
              Mar 2010                                          Task 40        4/22/2009             2/3/2010
                            and CPT/MIP Investigations
                            High Bay Indoor Air Screening-
                                                                Task 50         7/2/2009            7/21/2009
                            Level Assessment
                            Routine Groundwater Monitoring      Task 20         5/6/2010            4/21/2015
                            Field Characterization 2010         Task 30         5/6/2010            10/8/2014
                            Remedial Investigation              Task 31       11/29/2011            7/18/2013
                            Source Area Screening &
              Mar 2010 -                                        Task 40        9/15/2011           11/27/2013
      3                     Reporting
              Apr 2015
                            Initial Risk Assessment             Task 50        9/15/2011            7/18/2013
                            Bedrock Well Installation WP        Task 60         3/1/2010            3/11/2010
                            Equipment Purchase                  Task 70       12/18/2009             1/6/2010
                            Remediation Planning                Task 80         5/6/2010            3/17/2015
                            Project Mgmt. & Agency
                                                                Task 01        7/20/2015            1/14/2019
                            Interaction
                            Site Characterization Report        Task 02        7/20/2015             8/7/2017
                            Groundwater Monitoring              Task 03        7/20/2015            1/14/2019
              Jul 2015 -    GWM Well Installation               Task 04       12/22/2016            1/14/2019
      4
               Dec 2018     RI Field Testing                    Task 05       12/22/2016            11/9/2017
                            Source Area Screening &
                                                                Task 06       10/28/2016            4/20/2018
                            Reporting
                            Risk Assessment                     Task 07        7/20/2015            8/21/2018
                            Initial Remedial Planning           Task 08       12/22/2016            1/14/2019
                            Corrective Action Plan                N/A           2/1/2019            6/11/2019
                            Communicaiton [sic] Charges           N/A           2/1/2019            12/3/2019
                            GW Monitoring                         N/A           2/1/2019            12/3/2019
      5       Jan 2019 –
                            Wellhead Maintenance                  N/A           2/1/2019            4/22/2019
               Nov 2019
                            PM/Communications                     N/A           2/1/2019            12/3/2019
                            Pilot Test                            N/A           2/1/2019            12/3/2019
  Notes:
  K/J - Kennedy/Jenks Consultants




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  With the exception of costs associated with indoor air sampling and reporting ($20,614), all costs incurred in
  Phases 1 and 2 are investigatory in nature and reflect the multiple rounds of Site characterization necessary
  to define the extent and magnitude of TCE and related VOC contamination. Site investigation activities
  continued through Phase 3. Risk assessment, remedial planning, remedial investigation, and other remedial
  action activities began during Phase 3 and continued through Phase 5.

  Costs for risk assessment were periodically incurred beginning in June 2011 through as recently as July
  2019. Based on the review of Kennedy/Jenks invoices, these costs are primarily associated with planning for
  human health risk assessment, and do not reflect Site investigation costs. Additionally, costs for one round
  of indoor air sampling were incurred between April and June 2009. This sampling was targeted at assessing
  indoor air concentrations of TCE and tetrachloroethylene (PCE) in the High Bay and was requested by Wyle
  Laboratories. 147 The indoor air sampling was intended to evaluate the operational effectiveness of building
  ventilation prior to resumption of operations within the High Bay after a period of inactivity. 148 This indoor air
  sampling was therefore not part of Site characterization activities proposed in ADEM-approved work plans
  and was instead for the purposes of scoping an appropriate mitigation or remedial strategy.

  Costs for remedial planning were first incurred in February 2010. These efforts were billed under the
  “Remediation Planning” and “Initial Remediation Planning” Kennedy/Jenks task headings. According to
  descriptions provided in invoice cover letters, these efforts consisted of discussions and considerations of
  alternatives for future remedial activities at the Site. For example, the cover letter to Kennedy/Jenks invoice
  no. 52142, dated November 22, 2010, describes costs billed under the Remediation Planning task as
  corresponding to “Onset of evaluating remediation technologies for the Site.” 149 Some of these alternatives
  were outlined in a letter report prepared by Kennedy/Jenks for Arrow Electronics dated May 28, 2010. 150
  Remedial planning was ongoing as recently as July 2019, when Kennedy/Jenks revised their remedial
  approach and pilot testing plan based on new soil and groundwater analytical data from wells installed and
  sampled in April and May of 2019. 151
  Beginning in Phase 3, Arrow Electronics incurred costs associated with remedial investigation. These costs
  were billed under the “Remedial Investigation” and “RI Field Testing” task headings assigned by
  Kennedy/Jenks. Based on a review of Site investigation documents in concert with corresponding invoices,
  it appears that costs specifically assigned to remedial investigation are associated with efforts to select
  appropriate remedial techniques and plan for future remedial efforts, while efforts to characterize the extent
  and magnitude of contamination at the Site are assigned to other investigatory tasks. For example, the cover
  letter to Kennedy/Jenks invoice no. 724873, dated April 23, 2013, describes costs billed under the Remedial
  Investigation task as corresponding to “overview of project-wide groundwater geochemistry data to assess




  147 Kennedy/Jenks Consultants, 2009. Summary Report for Screening-Level Indoor Air Survey – High Bay and Seismic
  Test Building Evaluations, Wyle Laboratories, Huntsville, Alabama. June 17. (AR_HUNT00008474).
  148 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107 at 172).
  149 Kennedy/Jenks Consultants, 2010. Invoice for Professional Services, Invoice Number 52142, 25 September through

  29 October 2010, Wyle Laboratories – Huntsville. November 22. (AR_HUNT00011558).
  150 Kennedy/Jenks Consultants, 2010. Project Summary and Preliminary Remediation Cost Estimates, Wyle

  Laboratories Facility In Huntsville, Alabama, Arrow Electronics – Wyle Huntsville. May 28 (AR_HUNT00000008).
  151 Kennedy/Jenks Consultants, 2019. Letter to ADEM Re: Amendment to Pilot Injection Plan, Former Wyle

  Laboratories Facility– Huntsville, Alabama. July 8. (AR_HUNT00025291).



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  the feasibility of remedial efforts at the Site.” 152 Therefore, for the purposes of this evaluation, costs for
  remedial investigation are considered remedial in nature.

  Project management costs were incurred throughout Phases 2 and 3 under the Kennedy/Jenks task heading
  “Project Mgmt. and Quality Control.” Billing backup that would allow for a determination of the exact nature
  of these costs was not included in the invoices reviewed. Therefore, on Phase 2 and 3 invoices that included
  remedial costs as described above, costs billed to the Project Mgmt. and Quality Control task were distributed
  between remediation and investigation based on the relative percentage of pre-project management total
  costs that each category represented.
  In Phase 4 and Phase 5, following submission of the 2008-2015 Site Characterization Report, 153 all Site
  environmental work, including groundwater monitoring and installation of new groundwater wells, is aimed at
  supporting future remedial efforts. Specifically, Kennedy/Jenks states,
           Following submittal of Kennedy/Jenks’ Site Characterization Report dated 21 June 2016,
           ADEM and Kennedy/Jenks agreed that routine groundwater monitoring of the entire Site
           for characterization purposes should be discontinued. Going forward, semiannual
           groundwater monitoring is focused on supporting the remediation efforts and closely
           watching specific wells that are trending. 154
  Therefore, with the exception of costs relating to regulatory follow up associated with the 2016 Site
  Characterization Report, 155 and costs for the preparation of the First Half 2016 Groundwater Monitoring
  Report, 156 all non-document production/legal costs incurred in Phase 4 and Phase 5 are related to risk
  assessment and remedial activities and are considered remediation costs.




  152 Kennedy/Jenks Consultants, 2010. Invoice for Professional Services, Invoice Number 72483, 26 January through
  29 March 2013, Wyle Laboratories – Huntsville. April 23. (AR_HUNT00011466).
  153 Kennedy/Jenks Consultants, 2016. Site Characterization Report 2008-2015, Former Wyle Laboratories, Huntsville,

  Alabama. June 21 (AR_HUNT00012107).
  154 Kennedy/Jenks Consultants, 2016. First Half 2016 Groundwater Monitoring Report, Former Wyle Laboratories –

  Huntsville, Alabama. December 30. (AR_HUNT00018031).
  155 In the March June and August 2017 invoices, costs are incurred for response to ADEM comments and transmittal of

  paper report copies to ADEM that are billed under the Site Characterization Report task. These costs are considered
  related to the Site Characterization report and are therefore not included with remedial costs incurred during Phase 4.
  156 The First Half 2016 groundwater monitoring event was conducted in May 2016. This event predates the submission

  of the June 21, 2016 Site Characterization report and is considered investigatory in nature. Therefore, costs associated
  with preparing this report are considered investigatory in nature as well. The First Half 2016 Groundwater Monitoring
  Report is dated December 30, 2016. Without backup descriptions of labor in the invoices, it is not possible to determine
  exactly what costs are attributable to the preparation and submission of this report. It was assumed that report
  preparation costs were incurred during the 11/26/2016 – 12/30/2016 billing period and are therefore present on Invoice
  No. 108258. However, while it is not stated on the cover letter, it is also assumed that this invoice includes costs for the
  Second Half 2016 groundwater monitoring event, which is remedial in nature, and was performed during December
  2016 according to the Second Half 2016 Groundwater Monitoring Report dated April 19, 2017 (AR_HUNT00018290).
  On Invoice No. 108258, all direct expenses and two thirds of labor costs under Task 03 – Groundwater Monitoring were
  assigned to the Second Half 2016 groundwater event (and therefore remediation) and the remainder were assigned to
  the preparation of the First Half 2016 Groundwater Monitoring Report (and therefore investigation).



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  Opinion 4:
        x   At a minimum, $996,283 of claimed costs for the environmental work157
            associated with the Site is not reasonable and necessary, of which
            $945,709 was incurred after December 6, 2004. In addition, I identified
            additional invoiced costs that appear to include unreasonable costs,
            but without appropriate invoice backup I was unable to determine to
            what degree such costs were reasonable.
  Based on a review of the invoices produced to date, Site environmental documents, and communications
  between ADEM and Arrow Electronics, the extent of environmental work (numbers, locations and depths of
  wells installed, frequency of groundwater monitoring, seismic investigations, etc.) and the long duration over
  which this work took place (nearly 20 years) is reasonable. As outlined above, ADEM repeatedly requested
  additional Site investigation work between 2000 and 2015. The scope of environmental work performed is
  also reasonable considering the complex hydrogeology. Due to this complexity, multiple rounds of
  environmental investigation were required to develop a conceptual site model and characterize the extent of
  VOC contamination to select an appropriate cleanup remedy. However, within the scope of this investigation,
  certain costs within the invoices reviewed were deemed unnecessary or unreasonable as described below.

  The Kennedy/Jenks and other vendor invoices tabulated in Exhibit B were evaluated to determine the
  necessity and reasonableness of the incurred costs. “Unnecessary” and “unreasonable” costs were identified
  and excluded based on the following definitions:

        x   “Unnecessary” costs are those response action costs which were not required to investigate and
            remediate the Site. The costs for tasks or expenses that were not required by ADEM or, in my
            professional experience, typically performed at sites similar to the Site in question were categorized
            as “unnecessary.” Examples of necessary costs are those incurred for drilling of monitoring wells,
            preparation of work plans and summary reports, and groundwater sampling, whereas unnecessary
            costs are those typically covered by a consultant’s overhead but that were billed to Arrow Electronics
            or those costs that exceed the scope required to investigate and remediate the Site.

        x   “Unreasonable” costs are those that are not within a cost range typical of industry practice for the
            particular task or scope. Evaluation of the reasonableness of costs included examining billing rates,
            subcontractor costs, expenses, markups (e.g., the “communication fee” billed on Kennedy/Jenks
            invoices) and the amount of time billed as project management to determine how costs compare with
            typical industry practice.

  The costs that remain after the specified unnecessary and unreasonable costs have been removed should
  not be understood to represent necessary and reasonable costs for the Site. Many of the invoices provided
  for review are not adequately documented in accordance with standard industry practice, and therefore the
  necessity and reasonableness of the costs incurred therein cannot be reasonably ascertained.

  Typical billing backup that is omitted from some or all invoices includes:

        1. Narrative of the scope of services performed during the billing period;

        2. Proposals under which the work was conducted;


  157 The total does not include the $207,518 expended for “document production” and “legal support” by Kennedy/Jenks
  to support the legal efforts associated with the Site. Refer to Opinion 3.



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        3. Itemized and dated billing notes for each professional;

        4. Expense reports and documentation of incurred expenses; and
        5. Subcontractor invoices.

  For example, Kennedy/Jenks’ November 2002 invoice for $16,794.68 contains no backup or documentation
  to support the incurred costs. 158 Specifically, the invoice contains 117.5 hours of labor expended, but no
  narrative or billing notes to describe the scope of services performed. Additionally, direct expenses total
  $2,266.68, and include “Delivery Services,” “Prints and Reproduction,” “Project Materials,” “Subsistence,”
  and “Travel,” yet no expense reports are included to substantiate the expenses. The invoice references a
  “proposal dated 12 July 2000” but none of the proposals associated with Kennedy/Jenks’ work were provided
  for review, and so cannot be used to understand the scope of services.
  The absence of adequate billing backup likely masks unnecessary or unreasonable billing. A third cost
  category, “Potentially Unnecessary or Unreasonable,” was created to capture those inadequately
  documented costs that, based on the limited amount of available information, appear to be unnecessary or
  unreasonable based on typical industry practice but are so poorly documented that a definitive determination
  is impossible. If a complete set of billing backup is provided, I reserve the right to revise this analysis and
  report on an updated calculation of identified costs that are unnecessary or unreasonable.

  Notwithstanding the fact that the Kennedy/Jenks invoices do not sufficiently document the costs incurred,
  and that other unnecessary and/or unreasonable costs were likely charged but could not be identified without
  the appropriate backup documentation, four types of costs were identified and specifically excluded as
  unnecessary or unreasonable: certain unnecessary administrative expense costs, costs associated with
  unnecessary travel to/from the Site, costs associated with unreasonable groundwater sampling and
  reporting, and unnecessary or unreasonable Site Investigation Report costs. Some of the unnecessary or
  unreasonable costs were incurred prior to December 6, 2004, 159 therefore the unnecessary or unreasonable
  costs incurred before December 6, 2004 and on or after December 6, 2004 are identified, where applicable.
  Furthermore, several categories of potentially unnecessary or unreasonable costs were identified. Each of
  these categories of excluded or potentially excludable costs is discussed in more detail below.
  Unnecessary administrative costs

  In at least seven separate instances, 160 it appears that Kennedy/Jenks billed Arrow Electronics for the cost
  of professional licensing in the State of Alabama. Customarily, consultants bear their own costs of
  professional licensing and do not charge clients for the costs required to obtain those licenses. While the
  total sum of the licensing is not substantial ($1,096) compared to the total cost of the project, these
  unnecessary costs demonstrate that unnecessary or unreasonable administrative billing likely took place,



  158 AR_HUNT00009598 through AR_HUNT00009599
  159 Arrow Electronics first provided Liberty Mutual Insurance Company (Liberty Mutual) and Travelers Casualty and
  Surety Company (Travelers), respectively, with a notice of potential claims (NOPC) for two Wyle Laboratories facilities
  including the Site in letters dated December 6, 2004.
  160 Invoice 11094 (8/12/2005), $165 charged for “Alabama Board of Licensure for PG”; Invoice 26031 (8/7/2007), $165

  charged for “State of Alabama – Board of Licens”; Invoice 42360 (8/12/2009), $162 charged for “State of Alabama –
  Board of Licens”; Invoice 59006 (9/15/2011), $162 charged for “Renewal of State of Alabama licensing for PG“ and
  “State of Alabama – Board of Licens”; Invoice 107374 (12/22/2016), $270 charged for “State of Alabama – Board of
  Licens.” Invoice 111600 (5/23/2017), $162 charged for “State of Alabama – Board of Licens.” Invoice 134435
  (11/11/2019), $171.60 charged for and the expense matches the receipt for “Alabama Board of Licensure for
  Professional Geologists.” The charge on invoice 111600 was reversed on invoice 114354 (8/7/2017).



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  and suggests additional unnecessary or unreasonable billing may be identified if adequate documentation
  was provided.

  Unnecessary travel costs

  Kennedy/Jenks travel costs totaling at least $266,127 161 were excluded as unnecessary. Kennedy/Jenks’
  does not have an office local to the Site, and instead flew staff to the Site from remote offices to perform a
  wide array of tasks. The travel costs could have easily been avoided if Arrow Electronics utilized one of the
  various environmental consultants local to the Huntsville, Alabama area, 162 or if Kennedy/Jenks utilized a
  local environmental services firm to perform routine tasks. In fact, in parallel to the site investigation and
  remediation activity being performed by Kennedy/Jenks, a local consultant (Mid South Testing Inc.) has been
  performing site investigation, remediation, and groundwater monitoring at the Site. 163, 164, 165 The following
  table summarizes the tasks for which unnecessary travel costs were charged. Refer to Exhibit C for a
  comprehensive summary of charges by task and travel costs.

          Task ID                                                  Travel Costs         Travel Costs       Share of Total Travel
                                                                  (pre-12/6/2006)        (all dates)         Costs (all dates)
          Task 20 - Routine Groundwater Monitoring                  $            -      $     105,830              40%
          TSK 03 - Groundwater Monitoring                           $            -      $      40,776              15%
          Task 30 - Field Characterization                          $            -      $      30,810              12%
          General                                                   $       15,804      $      24,573               9%
          Task – Pilot Test                                         $            -      $      15,674             5.9%
          Task – GW Monitoring                                      $            -      $      12,194             4.6%
          Task N.## and "**** -- Default Task"                      $            -      $        6,776            2.5%
          Task 10 - Project Mgmt. & Quality Control                 $            -      $        6,537            2.5%
          TSK 04 - GWM Well Installation                            $            -      $        5,900            2.2%
          TSK 01 - Project Mgmt. & Agency Interactions              $            -      $        5,051            1.9%
          Site Inspection                                           $          156      $        2,779            1.0%
          TSK 06 - Source Area Screening and Reporting              $            -      $        2,387            0.9%
          Travel that Cannot be Assigned to a Task                  $        1,949      $        1,949            0.7%
          TSK 07 - Risk Assessment                                  $            -      $        1,389            0.5%
          Task – PM/Communications                                  $            -      $        1,318            0.5%
          Task 50 - High Bay Indoor Air Screening                   $            -      $        1,081            0.4%
          Task – Communicaiton [sic] Charges                        $            -      $          710            0.3%
          Task 80 - Remediation Planning                            $            -      $          276            0.1%
          Task – Wellhead Maintenance                               $            -      $          117            0.0%
          Total                                                     $       17,909      $     266,127                100%
                                Notes:
                                Excludes tasks for which no travel costs were identified.


  161 Does not include $9,057 in travel costs associated with the “Document Inventory” task or the $251 in travel costs
  associated with the “Legal” task that is unrelated to the response action.
  162 A cursory search for environmental consultants local to the Huntsville, Alabama area identified at least three

  nationally known environmental consulting firms and several local/regional consulting firms which Arrow Electronics
  could have utilized.
  163 Mid South Testing, Inc., 2016. Underground Storage Tank Corrective Action Plan - Wyle Laboratories, Huntsville,

  Alabama. July 12.
  164 Mid South Testing, Inc., 2017. Corrective Action Report Soil Remediation by Excavation - Wyle Laboratories,

  Huntsville, Alabama. May 30.
  165 Mid South Testing, Inc., 2019. Groundwater Monitoring Report - Wyle Laboratories, Huntsville, Alabama. January 7.




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                                Task IDs are from Kennedy/Jenks invoices. Some tasks include multiple names (e.g., Task 30
                                descriptions also include “Site Characterization 2006,” “Regolith GW Well Install and Destruct,”
                                and “Field Characterization 2010.”
                                Travel costs on invoice 6474 for the period 11/27/2004 to 12/31/2004 were pro-rated based
                                on the number of days in the billing period prior to December 6, 2004 (9) versus the total
                                number of days in the billing period (35).

  Excluded travel costs included airfare, car rental, and sustenance. Costs associated with a self-storage unit
  were also excluded as travel costs based on the reasoning that the self-storage unit would be unnecessary
  for a local consultant to rent because they would already have a location at which to store equipment and
  materials. Equipment and materials were not excluded based on the assumption that any consultant
  performing the work would have obtained equipment and materials, although it is reasonably expected that
  a local consultant would have had many pieces of equipment on hand and not had to rent them.

  The staff travel time billed to Arrow Electronics by Kennedy/Jenks related to transit from other offices to the
  Site were not identified, and therefore were not excluded as unnecessary costs because Kennedy/Jenks
  does not provide billing notes that identify how much time, exactly, was billed for travel time versus how much
  time was billed for work on Site. However, as discussed in the subsection that follows, the amount of field
  effort for groundwater sampling indicates that a significant amount of time is associated with travel and is, in
  fact, unreasonable.

  In total, the $266,127 of unnecessary travel costs represents 5.3% of the $4,967,390 billed by Kennedy/Jenks
  between 2000 and December 3, 2019 for response action costs (excludes insurance-related document
  production and legal support costs). Furthermore, of the $266,127 of unnecessary travel costs, $17,909
  were incurred prior to December 6, 2004 and $248,218 were incurred on or after December 6, 2004.

  Unreasonable Groundwater Sampling and Reporting Costs

  The amount of time Kennedy/Jenks staff billed for routine groundwater sampling and reporting is
  unreasonable. 166 Groundwater sampling has occurred at the Site since 2000 on regular intervals (quarterly,
  or semiannually), and been followed up by standard groundwater monitoring event reports. In the early years
  of sampling the sampling costs were combined with other tasks, but from July 1, 2006 to present groundwater
  monitoring tasks have been clearly delineated in invoice tasks. As shown in Exhibits C and D, Kennedy/Jenks
  has billed $1,646,571 for at least 30 167 groundwater monitoring events that included a total of 739 samples
  since July 1, 2006 (an average of 25 wells per event). As discussed below, at least $586,610 of groundwater
  sampling and reporting costs that were incurred over the duration of the site investigation are unreasonable.
  Each groundwater sampling event at the Site involved gauging and collecting analytical samples from up to
  several dozen groundwater monitoring wells located throughout the Site. 168 The amount of technician time
  spent during each groundwater sampling period, as well as the number of groundwater samples collected
  during each routine groundwater sampling event is tabulated in Exhibit D. Kennedy/Jenks’ staff averaged
  approximately 4.6 hours billed for each groundwater sample collected. 169 This is far outside of the norm for

  166 Due to the insufficient billing backup, Roux assumes that the tasks “Task 20 - Routine Groundwater Monitoring” and
  “TSK 03 – Groundwater Monitoring” includes all of the monitoring and reporting costs associated with groundwater
  sampling and reporting.
  167 One or more groundwater monitoring events were likely performed in 2019 based on the number of technician hours

  billed on invoices. The associated groundwater monitoring reports were not available for review.
  168 This analysis assumes the scope of work associated with the billing task “Routine GW Monitoring” is solely

  associated with groundwater monitoring and the 2019 sampling for which the groundwater monitoring report (and
  associated documentation of the number of wells sampled) was not available.
  169 859 samples collected over 3,910.5 hours. Excludes the Q4 2000 sampling for which staff billing associated with

  groundwater sampling could not be determined based on the invoice.



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  groundwater sampling, which typically averages approximately 1-2 hours per well, including time for
  mobilization between wells, calibrations, decontaminating equipment, collecting duplicates, and sample
  handling.

  Furthermore, the costs Kenney/Jenks incurred preparing groundwater monitoring reports appears excessive,
  although identifying the costs for any single report is difficult because there are insufficient billing notes.
  Examples of potentially excessive groundwater reporting costs include:

        x       Invoice 4124 (10/11/2004). The scope of work provided in Kennedy/Jenks invoice is for “Initial
                preparation of semiannual groundwater monitoring and characterization reports” [emphasis added].
                Subsequent invoices reference additional work on these monitoring reports. However, the “initial”
                costs alone total $11,563.00. At this point in the investigation (2004) Kennedy/Jenks had prepared
                several groundwater monitoring reports, which should have made this monitoring report a relatively
                streamlined product. The fact that the “initial” preparation cost over $11,000 suggests that the entire
                report cost was likely excessive. Exact report costs and the scope of work performed to prepare the
                reports cannot be determined because no billing notes are provided with the invoices.

        x       Invoices 81559, 83506, 84372, 86197, 86642 (2014, various months). All of these invoices included
                follow up from the Q1 2014 monitoring event and preparation of the Q1 2014 groundwater monitoring
                report. 170 Unlike most other invoices, there are no other tasks included in the brief billing memo that
                impede estimation of the post-monitoring costs. In total, the post-monitoring work and monitoring
                report preparation cost at least $14,185.17 and required at least 75 man-hours of labor. 171 The Q1
                2014 groundwater monitoring report consists almost exclusively of form text and summary
                information, plus a small number of tables updated with analytical results from the monitoring event.
                The groundwater monitoring report alone should not have cost over $14,000. The basis for actual
                costs incurred cannot be determined because no billing notes are provided with the invoice.
                Furthermore, the excessive cost of this monitoring report suggests other monitoring reports were
                also unreasonably costly.

  As discussed previously, Kennedy/Jenks’ billing backup is incomplete, which renders identification of
  unnecessary or unreasonable costs very difficult on any individual invoices. Nonetheless, unnecessary and
  unreasonable groundwater sampling and reporting costs can be estimated based on overall average costs
  incurred by Kenney/Jenks versus typical costs incurred for such activities by other professionals. The
  unreasonable costs associated with Kennedy/Jenks’ groundwater sampling were calculated by difference
  when compared to a reasonable cost estimate for an average groundwater sampling event consisting of 25
  wells as follows (excluding travel, laboratory, and subconsultant costs):

            x    Technician sampling of 25 wells at 2 hours per well (the high end of what is typical) at $99 per
                 hour 172 ($4,950);




  170
      Note that invoice 83506 (for services through 4/25/2014) states that it was for “initial work on the Q1 2013
  groundwater monitoring report” and invoice 84372 (for services through 6/27/2014) states that it was for “continued
  work on the Q1 2013 groundwater monitoring report” [emphases added]. The Q1 2013 groundwater report was
  submitted approximately 10 months prior to this invoicing period, on June 7, 2013. It’s assumed the invoices include a
  typographical error, and are related to the Q1 2014 groundwater monitoring report, which is contemporaneous with the
  invoicing period, instead of the Q1 2013 groundwater monitoring report.
  171 Sum of Task 20 charges on each invoice.
  172 $99 per hour is conservative because it represents the maximum technician rate billed for groundwater sampling, as

  shown on Exhibit D. Actual technician billing rates range from $73 to $99 per hour (Exhibit D).



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       x   Technician work of 8 additional hours per event to address other field scopes (gauging, surface
           water sampling, etc.) at $99 per hour ($792);

       x   Management of field effort of $2,500 per event

       x   Equipment costs of $2,500 per event;

       x   Data analysis and figure preparation of $2,000 per event;
       x   Post-sampling follow-up with laboratory, disposal company, surveyor, etc. of $2,500 per event; and

       x   Report preparation costs of $10,000 per event (assumes each event generates one report);
  In total, a reasonable cost to sample 25 wells and prepare a monitoring report is approximately $25,242
  Conservatively, for the purposes of this estimate, I rounded the reasonable estimate up to $30,000 for an
  average 25 well sampling event and associated reporting.
  As shown in the table below, I then compared that cost to the actual labor and expenses (excluding travel,
  laboratory, subconsultants, etc.) associated with groundwater sampling and reporting incurred by
  Kennedy/Jenks. The average cost incurred by Kennedy/Jenks is approximately $46,764 (excluding the
  unnecessary travel expenses discussed previously), which is substantially in excess of what is reasonable
  ($30,000). The difference between these estimates ($16,764) was multiplied by the number of events from
  7/1/2006 to present (30), and then extrapolated to the entire monitoring period from 2000 to present based
  on 86% of the site investigation samples being collected from 7/1/2006 to present. The result is that $586,610
  of Kennedy/Jenks’ groundwater sampling and reporting costs are unreasonable.

                                           7/1/2006 through Present1
       Total Cost of Groundwater Monitoring Tasks2                                        $     1,646,571
       Subconsultant Costs, Groundwater Monitoring Tasks                                  $        84,866
       Travel Expenses, Groundwater Monitoring Tasks                                      $       158,799
          Groundwater Monitoring Labor, Reporting, and Equipment                          $     1,402,906

       Number of Groundwater Samples Collected3                                                        739
                                                  3
       Number of Groundwater Sampling Events                                                            30
         Average Number of Groundwater Samples Per Event                                                25
         Average Cost (Labor, Equipment, Reporting) Per Event                             $         46,764

       Reasonable Average Cost (Labor, Equipment, Reporting) Per Event4                   $        30,000
         Potentially Unreasonable Cost Per Event                                          $        16,764
         Potentially Unreasonable Groundwater Monitoring Cost                             $       502,906
                                          2000 through Present
       Number of Groundwater Samples Collected3                                                       862
         Share of Groundwater Samples Collected 7/1/2006 through Present                               86%
         Total Potentially Unreasonable Groundwater Monitoring Costs                      $       586,610

       1
        Groundwater monitoring occurred before 6/30/2006, but the invoice task structure and
       associated billing notes do not allow for identification of unique groundwater monitoring costs.




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  The unreasonable groundwater monitoring costs incurred prior to December 6, 2004 are estimated based on
  the total number of groundwater samples collected prior to December 6, 2004 (48, as shown in Attachment
  D) versus the total number of groundwater samples collected (862). The pre-December 6, 2004 samples
  account for 5.6% all groundwater samples collected, and therefore the amount of unreasonable groundwater
  monitoring costs incurred before December 6, 2004 represents $32,665 (5.6% of $586,610), with the
  remaining $553,945 incurred on or after December 6, 2004. As discussed previously, many of the invoices
  provided for review are not adequately documented in accordance with standard industry practice. The lack
  of specificity and detail in invoices precludes a more detailed assessment of unnecessary and unreasonable
  groundwater monitoring costs prior to December 6, 2004.

  Unnecessary or Unreasonable Site Investigation Report Costs
  In 2015 Kenney/Jenks estimated that the Site Investigation Report would cost $40,000. 173 As of August
  2017, Kennedy/Jenks had expended $182,450 on the Site Investigation Characterization Report task,
  missing their original estimate by 356%.

  Site characterization reports are predictable and relatively straight forward to estimate costs for (as opposed
  to field work, which can fluctuate based on unanticipated field conditions). Kennedy/Jenks’ initial estimate of
  $40,000 is a reasonable sum, especially considering that many of the groundwater monitoring reports and
  data tabulations were already prepared during the course of the investigation. The basis for the extraordinary
  expansion of costs is not provided in the invoices, except that “the scope and budget of this report was
  misjudged” 174 by Kennedy/Jenks. The labor hours that resulted in $182,450 being incurred do not include
  billing notes, which inhibits an analysis of what portion of the Site Characterization Report preparation efforts
  were reasonable and what portion of those efforts was excessive or why Kennedy/Jenks overspent their
  budget by over $140,000. Consequently, the difference between the original Site Characterization Report
  estimate and what has been billed ($142,450) is unnecessary or unreasonable.

  Other Costs That Appear Potentially Unnecessary or Unreasonable

         x   The billing memorandum associated with Kennedy/Jenks invoice 52708 ($31,522.66) references
             “Procure groundwater dataset for Wyle Laboratories as part of pending property sale.” It is unlikely
             that consultant support for a property transaction is necessary to the response action. No itemized
             billing notes are provided to identify the scope of work, how much time was spent on unnecessary
             property transaction costs, or if similar activities were performed on behalf of Arrow Electronics and
             billed on other invoices. Without further documentation the magnitude of these potentially
             unnecessary and unreasonable costs cannot be determined.

         x   Labor rates for select staff on two Kennedy/Jenks invoices (5668 and 37458) exceed their typical
             range, and appear to be unreasonable. Specifically, a substantial multiplier is applied to certain labor
             rates that inflates certain labor costs above the Kennedy/Jenks’ standard billing rates. For example,
             on invoice 37485 technician labor is primarily billed at $95 per hour. However, there is also an entry
             for a technician billing at a rate of $51.98 per hour, with a multiplier of 3.10 applied, resulting in an
             effective billing rate of $161.14 per hour, which is a 70% increase over the standard billing rate. No
             justification for this increase is provided, and likely represents either a billing error or unreasonable
             billing practices. While this practice is not widespread, it does suggest that additional unnecessary
             or unreasonable billing practices may be identified if more complete backup is provided for review.


  173   Invoice 94131, Table 1, Task 2 Site Characterization Report Authorized Budget.
  174   Invoice 97829 billing memorandum.



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            Without further documentation the magnitude of these potentially unnecessary and unreasonable
            costs cannot be determined. On the two invoices reviewed, the excessive charges amount to $642.

        x   Kennedy/Jenks includes four hours of labor associated with a phase called “Non-Billable Effort” on
            at least one invoice (134435) totaling $988.80. Without adequate documentation, it remains uncertain
            why the labor attributed to this phase was included on the invoice and billed to Arrow Electronics.
            Non-billable labor is typically associated with overhead-related or non-project-specific tasks and is
            absorbed by the consultant. Including this labor on an invoice to Arrow Electronics represents either
            a billing error or an unreasonable billing practice. No itemized billing notes are provided to identify
            the scope of work associated with this phase.

        x   Kennedy/Jenks provides almost no documentation of expenses with their invoices. 175 I identified at
            least $212,038 176 of undocumented expenses (i.e., missing vendor invoices, missing expense
            reports) associated with equipment, materials, shipping, employee non-travel expenses, and similar
            costs. 177 Without adequate documentation it remains uncertain which expenses are unnecessary or
            unreasonable. While some of these expenses are likely reasonable and necessary (e.g., equipment
            rental costs associated with groundwater monitoring) certain expenses do not appear to fit within
            typically incurred ranges for Kennedy/Jenks’ scope of work. For example:

            o   Administrative expenses associated with professional licensing were outright excluded, as
                discussed previously, because the scope of the cost could be determined from the invoice,
                thereby demonstrating that costs Kennedy/Jenks characterizes as expenses may not be
                necessary or reasonable response action costs.
            o   On invoice 004290022 Kennedy/Jenks bills for $7,616.23 in “Project Materials.” This is a
                significant sum to invoice without documentation of the incurred costs.

            o   Charges for equipment rentals appear excessive given the scope of work on many invoices. For
                example, the “Direct Supplies, Materials, and Other” associated with the Second Quarter 2009
                Groundwater Monitoring event total at least $8,932.97 (invoice 41541), which appears
                excessive, even for a large groundwater monitoring event.
  In summary, costs that were identified as unnecessary or unreasonable are shown in the following table.
  While the other costs were identified as potentially unnecessary or unreasonable, without backup
  documentation the degree to which those costs were unnecessary or unreasonable could not be determined.




  175 Some early invoices include documentation of expenses.
  176 Excludes the administrative expenses associated with professional licensing that were clearly identifiable as
  unnecessary.
  177 Small expenses associated with tasks that are not typically documented as thoroughly, such as copying,

  communication, and mileage charges were not included in the total amount of undocumented expenses. Note that
  some expenses associated with groundwater monitoring have not been uniquely identified. Some component of the
  unnecessary and unreasonable groundwater monitoring and reporting costs may be associated with expenses that are
  included in this total.



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                                                          Unnecessary or Unreasonable Costs

   Scope of Work/Cost                    pre-December 6, 2004          December 6, 2004 or later               Total
   Administrative                                                $0                             $1,096            $1,096

   Travel                                                 $17,909                            $248,218          $266,127
   Groundwater
                                                          $32,665                            $553,945          $586,610
   Sampling/Reporting

   Site Investigation Report                                     $0                          $142,450          $142,450

   Total                                                  $50,574                            $945,709          $996,283



  Opinion 5:
        x   Of the $5,431,184 in claimed costs incurred to date, $605,479 (11.15%
            of total claimed costs) were incurred prior to December 6, 2004,
            $687,333 in costs (12.66% of total claimed costs) were incurred from
            December 6, 2004 through July 4, 2007, $2,142,810 (39.45% of total
            claimed costs) were incurred from July 5, 2007 through April 23, 2014,
            $93,355 (1.72% of total claimed costs) were incurred from April 24,
            2014 through February 8, 2015, and the remaining $1,902,206 (35.02%
            of total claimed costs) were incurred beginning February 9, 2015. 178
        Arrow Electronics first provided Liberty Mutual Insurance Company (Liberty Mutual) and Travelers
        Casualty and Surety Company (Travelers), respectively, with a notice of potential claims (NOPC) for two
        Wyle Laboratories facilities including the Site in letters dated December 6, 2004. 179, 180 With respect to
        the Site, this NOPC is in response to the October 2004 communication from ADEM to Arrow
        Electronics, 181 in which ADEM concludes that the underlying aquifer and a downgradient public supply
        well have been impacted from VOC contamination beneath the Site.

        In a letter dated June 26, 2007, ADEM found Arrow Electronics in violation of Alabama State code and
        required that Arrow Electronics submit a work plan for further Site investigation. Arrow Electronics
        forwarded this letter to Liberty Mutual on July 5, 2007. 182 Travelers was sent the same ADEM letter as
        Liberty Mutual on July 5, 2007, but the July 5, 2007 cover letter was addressed to Resolute Management,




  178 The cost categorization of site investigation, remediation, and mediation costs for each time period can be readily
  determined, if necessary. In addition, the costs identified within each time period that are unreasonable or unnecessary
  can be readily determined, if necessary.
  179 Arrow Electronics, Inc., 2004. Letter to Travelers Casualty and Surety Company, Attention: Claims Department.

  December 6. (TRAV00540)
  180 Arrow Electronics, Inc., 2004. Letter to Liberty Mutual Insurance Company, Attention: Claims Department.

  December 6 (LM 0000547)
  181 ADEM, 2004. Former Wyle Laboratories Facility, Huntsville, Madison County, Alabama, Groundwater Incident No.

  GW 01-01-03. October 13. (AR_HUNT00002628)
  182 Arrow Electronics, Inc. 2007. Policyholder-Arrow Electronics, Inc., as successor to Wyle Laboratories, Inc. with

  respect to the following Liability Insurance Policies: July 5 (LM 0000236)



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        Inc, and Travelers initially assumed it was copied on the communications for information purposes
        only. 183

        According to Arrow Electronics, the duty of Liberty Mutual and Travelers to pay costs that Arrow
        Electronics incurred with respect to environmental conditions at or emanating from the Huntsville Site
        commenced no later than April 24, 2014. 184, 185

        On February 9, 2015, Arrow Electronics and ADEM enter into a Consent Order (Order No. 15-033-CGW)
        requiring Arrow Electronics to address environmental conditions at the Site.

        Based on the above dates and the invoices produced by Arrow Electronics in Exhibit B, the total incurred
        costs have been tabulated for five time periods: 1) before December 6, 2004, 2) from December 6, 2004
        through July 4, 2007, 3) from July 5, 2007 through April 23, 2014, 4) from April 24, 2014 through
        February 8, 2015, and 5) beginning February 9, 2015. In lieu of billing backup for the invoices containing
        detailed efforts by date, costs billed in invoice periods that span these threshold dates were prorated at
        a daily rate by dividing the invoice total by the number of days in the invoice period. The tabulation of
        invoices and the allocation of invoiced costs that span the threshold dates as shown in Table 2. Based
        on this evaluation, $605,479 (11.15% of total claimed costs) were incurred prior to December 6, 2004,
        $687,333 in costs (12.66% of total claimed costs) were incurred from December 6, 2004 through July 4,
        2007, $2,142,810 (39.45% of total claimed costs) were incurred from July 5, 2004 through April 23, 2014,
        $93,355 (1.72% of total claimed costs) were incurred from April 24, 2014 through February 8, 2015, and
        the remaining $1,902,206 (35.02% of total claimed costs) were incurred beginning February 9, 2015.




  183 Arrow Electronics, Inc. 2007. Policyholder-Arrow Electronics, Inc., as successor to Wyle Laboratories, Inc. with
  respect to the following Liability Insurance Policies: July 5 (TRAV00596, 603)
  184 United States District Court Central District of California. Case No. 2:17-cv-05247-JFW. Plaintiff Arrow Electronics,

  Inc. Responses and Objections to Defendant Travelers Casualty and Surety Company’s Interrogatories, Set One.
  October 24, 2017, p 5.
  185 United States District Court Central District of California. Case No. 2:17-cv-05247-JFW. Plaintiff Arrow Electronics,

  Inc. Responses and Objections to Defendant Liberty Mutual Insurance Company’s Special Interrogatories, Set One.
  October 24, 2017, p 5.



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                                                                                                                    Table 2. Invoiced Costs By Time Period
                                                                                                                                                                                                                                 Case




                                                                 Time Period             Before Dec 6, 2004      Dec 6, 2004 - Jul 4, 2007   Jul 5, 2007 - Apr 23, 2014   Apr 24, 2014 - Feb 8,2015      Feb 9,2015 and later

                                                                 Target Date                 12/6/2004                   7/5/2007                    4/24/2014                    2/9/2015                    11/22/2019

                                                            Overall Invoice Period     08/01/2000 - 12/31/2004   11/27/2004 - 07/27/2007      05/26/2007 - 04/25/2014      03/28/2014 – 2/27/2015      12/26/2014 – 11/22/2019

                                                             Invoice Period Fully
                                                               Captured within         08/01/2000 - 11/26/2004   01/01/2005 - 05/25/2007      07/28/2007 - 03/28/2014      04/26/2014 - 12/26/2014      2/28/2015 – 11/22/2019
                                                                 Time Period

                                                             Costs Fully Captured
                                                                                            $601,477.16                $663,748.17                $2,126,892.19                  $85,779.84                 $1,899,289.73
                                                                                                                                                                                                                                  Case2:17-cv-05247-JFW-JEM




                                                              within Time Period

                                                           Invoice Period Capturing
                                                           Target Date (Target Date    11/27/2004 - 12/31/2004   05/26/2007 - 07/27/2007      03/28/2014 - 04/25/2014      12/26/2014 – 2/27/2015      10/26/2019 – 11/22/2019
                                                                   Invoice)
                                                                                                                                                                                                                                       2:17-cv-05247-JFW-JEM Document




                                                            Remaining Costs from
                                                            Previous Target Date                 NA                     $11,562.24                   $6,912.82                    $667.04                      $2,916.74
                                                                  Invoice
                                                                                                                                                                                                                                                                     #:16981
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                                                            No. Days Captured by
                                                                                                 35                         63                          29                           64                            28
                                                             Target Date Invoice
                                                                                                                                                                                                                                                                        191-3 Filed




                                                             Target Date Invoice
                                                                                             $15,564.55                 $18,935.12                   $9,672.12                   $9,824.80                    $21,219.73
                                                                  Amount

                                                           Target Date Invoice $/day          $444.70                    $300.56                      $333.52                     $153.51                       $757.85
                                                                                                                                                                                                                                                                               Filed04/03/20




                                                               Prorated Period                 9 days                    40 days                      27 days                     45 days                         NA
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                                                               Prorated Amount               $4,002.31                  $12,022.30                   $9,005.08                   $6,908.06                        NA
                                                                                                                                                                                                                                                                                               Page40




                                                             Remaining Amount                $11,562.24                 $6,912.82                     $667.04                    $2,916.74                        NA
                                                                                                                                                                                                                                                                                                    40ofof89




                                                             Time Period Claimed
                                                                                            $605,479.47                $687,332.71                $2,142,810.09                  $93,354.94                 $1,902,206.47
                                                                   Costs
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                                                           % Overall Claimed Costs            11.15%                     12.66%                       39.45%                       1.72%                        35.02%




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  Opinion 6:
        x   The reasonably anticipated remaining site remediation work is
            limited to ERD and groundwater monitoring.
  Both Kennedy/Jenks’ and ADEM have concurred that soil and vapor intrusion exposure pathways do not
  pose an unacceptable risk to workers at the Site and that no additional soil or soil vapor investigation or
  remediation is necessary. 186 Shallow groundwater is currently under corrective action to reduce the potential
  for future impacts to bedrock groundwater as a future drinking water supply in and near the Site.
  Kennedy/Jenks’ preferred technology for remediation is enhanced reductive dechlorination (ERD) – an in-
  situ groundwater remediation approach. However, ERD alone is not expected to drop the TCE concentrations
  below the MCL. Kennedy/Jenks expects that after ERD, natural attenuation can address residual chlorinated
  VOC concentrations in the groundwater resource within a predictable timeframe. 187


  Roux also anticipates that once the TCE concentrations are reduced in the groundwater on-site through ERD,
  natural attenuation can address residual concentrations in the groundwater resource within a predictable
  timeframe.




  186
    ADEM. 2019. Risk Management Evaluation. Former Wyle Laboratories, Huntsville, Alabama. July 31.
  187
    Kennedy/Jenks Consultants, 2019. Corrective Action Development Plan - Former Wyle Laboratories Facility,
  Huntsville, Alabama. February 1.


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                                   FIGURES
  1. Site Vicinity Map
  2. Former Wyle Laboratories Site Study Area
  3. Site Study Area, Southwest – Northeast Cross Section
  4. Areas of Known VOC Impact In Groundwater
        a. Zone 1 (Upper Shallow Regolith)
        b. Zone 2 (Lower Shallow Regolith)
        c. Zone 3 (Middle Regolith)
        d. Zone 4 (Deep Regolith)
        e. Zone 5 (Regolith/Bedrock Interface)




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                                                          Site




                                                                    Study Area




                                                                                                   Redstone Arsenal




    Image Source: ESRI World Topographic Map
    Site Boundary Source: Kennedy/Jenks Consultants, 2016. Site
    Characterization Report 2008-2015, Former Wyle Laboratories,                           Site Vicinity Map
    Huntsville, Alabama. June 21 (AR_HUNT00012107 at 186).
    (Color version obtained from
    ADEM eFile portal)

    Site boundary and Study Area boundaries approximate
                                                                          +D\HV6FRWW%RQLQR(OOLQJVRQ*XVODQL6LPRQVRQ &ODXVH
                                                                              and McCloskey, Waring, Waisman& Drury LLP
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                                                           Wyle Laboratories, Huntsville, Alabama. June 21 (AR_HUNT00012107 at 187). (Color version
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                                                                                                                                                                                Area of Known VOC Impact
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                                                                                                                                                                                     In Groundwater
                                                                                                                                                                                 Zone1(UpperShallow
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                                                                                                                                                                                Area of Known VOC Impact
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                                                                                                                                                                                     In Groundwater
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                                                                                                                                                                                     In Groundwater
                                                                                                                                                                                     Zone 3 (Middle Regolith)
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                                                                                                                                                                                     In Groundwater
                                                                                                                                                                                      Zone4
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                                                                                                                                                                                     In Groundwater
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                                   Exhibit A
                          CV of Adam H. Love Ph.D.




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                                                                                                  Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                          Vice President/Principal Scientist, Litigation Practice Leader
       TECHNICAL SPECIALTIES                                                   EXPERIENCE SUMMARY
       Dr. Love leads Roux’s Litigation Practice Group and provides            20+     years     of    experience      in    environmental
       forensic litigation support and expert witness services to              science/engineering, use of forensic signatures to determine
       clients throughout the United States on environmental                   source and timing of contamination, and contaminant
       litigation, environmental insurance coverage, and toxic tort            assessment, transport and remediation.
       related matters. Dr. Love’s experience includes strategic and
       technical analysis and guidance regarding numerous complex              x     Roux Associates, Inc., Director, 2020-Present; Vice
       groundwater, soil, sediment, soil vapor and air contaminated                  President, Litigation Practice Group Leader 2016-Present;
       sites. He has also provided expert technical guidance for state               Principal Scientist, 2013-Present.
       legislative actions and federal advisory panels on a range of           x     Johnson Wright Inc., Principal Scientist, Environmental
       traditional and non-traditional environmental hazards. Dr.                    Forensics Practice Leader 2009-2013.
       Love’s expertise has been developed through a unique variety
       of University, Federal and post-academia work.                          x     Lawrence Livermore National Laboratory, Principal
                                                                                     Investigator/Scientist, Forensic Science Center, 2002-
       Dr. Love’s areas of expertise include:                                        2009.
       x   Environmental forensics (identifying sources and timing             x     California Department of Health Services – Drinking
           of chemical releases);                                                    Water Program/Technical Programs Branch, Standards
       x   Chemical/isotopic fingerprinting;                                         and Technology Unit Staff, 2000-2002.

       x   Contaminant transport/fate in sediments, soils, water,              x     University of California, Berkeley, Graduate Student
           groundwater, and air;                                                     Researcher/Instructor, 1996-2002.

       x   Divisibility and apportionment of contamination among               x     Franklin   &    Marshall    College,   Undergraduate
           PRPs;                                                                     Researcher/Laboratory Teaching Assistant, 1994-1996.

       x   Human (i.e. Toxic tort claims and Prop 65) and ecological           EXAMPLE PROJECTS
           exposure assessment;                                                Sediment Contamination Reconstruction
                                                                                Fox River Superfund Site, WI – Expert Witness. Prepared an
       x   Assessments of petroleum (crude oil, diesel, and gasoline),          Expert Report evaluating the technical bases for a range
           chlorinated and other solvents (PCE, TCE, TCA, 1,4-                  of methodologies used to allocate contribution of
           dioxane), pesticides, PCBs, PAHs, radionuclides,                     polychlorinated biphenyls (PCB) to contaminated
           explosives and heavy metals;                                         sediments. Performed fate and transport analyses as the
                                                                                basis for allocation to estimate mass contributions from
       x   Assessments of potential risks posed by emerging                     various PRPs.
           contaminants;
                                                                                   Kalamazoo River Superfund Site, MI – Evaluated the annual
       x   Environmental site characterization and remediation; and,               total suspended solid (TSS) discharges from 14 facilities
       x   Environmental data analysis.                                            to the Kalamazoo River sediments over the 25+ year
                                                                                   relevant period of applicable discharges. Allocated TSS
       Dr. Love’s capabilities include the use of advanced models                  discharges to generator facility when secondary facility
       and analytic methods to understand and interpret                            was used for wastewater treatment. Evaluated changes in
       contaminant characterization, transport, and fate for a range               facility TSS treatment efficiency and relative TSS
       of applications. By employing multiple lines of scientific                  contributions throughout the relevant period.
       evidence through analyses that couple field measurements,
       fate    and     transport    calculations,     and  historical              Passaic River (Diamond Alkali) Superfund Site, NJ – Expert
       operations/documents, he provides internally consistent                     Witness. Evaluated available historical data, performed fate
       opinions and results. Dr. Love is experienced at creating and               and transport analyses, and developed a detailed
       evaluating Site Conceptual Models based on an understanding                 understanding of facility operations to support the facility
       of environmental and engineered systems that involve a wide                 designation of de minimis status.
       range of matrices (i.e. soils, sorbents, air, natural waters,               Gowanus Canal Superfund Site, NY – Expert Witness.
       constructed materials, and biological tissue).                              Evaluated available historical data, performed fate and
       CREDENTIALS                                                                 transport analyses, and developed a detailed
       Post Doctorate, Forensic Science Center, Lawrence                           understanding of facility operations to support the facility
            Livermore National Laboratory, 2004;                                   designation of de minimis status.
       Ph.D., Environmental Engineering, University of California                  San Diego Harbor, CA – Expert Witness. Evaluated available
            at Berkeley, Berkeley, CA, 2002;                                       historical data, performed fate and transport analyses, and
       M.S., Material Science and Mineral Engineering -                            developed a detailed understanding of facility operations
            Hydrogeology, University of California at Berkeley,                    to support an Expert Report that evaluated potential
            Berkeley, CA, 1998; and,                                               metals, PCBs, and petroleum releases from the Silvergate
       B.A., Geoscience, Franklin & Marshall College, Lancaster,                   Power Plant.
            PA, 1996.




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                                                                                                 Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
        San Francisco Bay, CA – Collected sediment cores from                     Napa, CA – Expert Witness. Prepared an Expert
        Naval Air Station Alameda and performed isotopic and                      Declaration regarding the potential sources of PCE
        chemical analyses that enabled reconstruction of historical               contamination to soil and groundwater contamination.
        sediment contamination.
                                                                                  Davis, CA – Expert Witness. Prepared an Expert Report
       Industrial                                                                 regarding the potential sources of PCE contamination of
        Manufacturing Facilities, CA – Provided litigation support                groundwater.
        based on fate and transport analysis related to timing of
        groundwater contamination resulting from multiple                         Numerous Sites, USA – Evaluation of the source, timing,
        potential PCE, TCE, TCA and 1,4-dioxane releases to                       and/or contribution from multiple PRPs to comingled
        groundwater managed by Orange County Water District.                      PCE plumes from drycleaner sites related to
        Additional chemical fingerprinting analysis was                           environmental insurance claims.
        performed to distinguish on-site versus off-site                        Per- and Polyfluorinated Alkyl Substances (PFAS)
        contributions of chlorinated solvents and their                          AFFF PFAS Forensics – Evaluated spectrum of AFFF
        degradation products to the associated groundwater                       formulations to identify unique forensic signatures of
        plumes.                                                                  source and timing of AFFF releases and relative
        Industrial Facility, AZ – Expert Witness. Provided litigation            contributions.
        support based on fate and transport analysis related to                   Groundwater Plumes, NY – Sampled and evaluated impacts
        source and timing of groundwater contamination                            at multiple industrial sites to determine the source(s),
        resulting from potential PCE, TCE, and TCA sources.                       extent and magnitude of PFAS concentrations in
        Former Military Facility, CA. – Expert Witness. Evaluated                 groundwater.
        claimed cleanup actions and costs related to site                         Wastewater Effluent, NJ – Evaluated PFAS chemicals in
        investigation and remediation of a former military site.                  wastewater effluent in order to assess sources and relative
        Former Military Facility, KS. – Expert Witness. Evaluated                 contributions of PFAS discharges.
        claimed cleanup actions and costs related to site                         Military Base Soil/Groundwater Impacts, CA – Evaluated
        investigation and remediation of a former military site.                  extent and magnitude of PFAS impacts for in AFFF
        Aerospace Facility, CA. – Expert Witness. Evaluated available             training area and remedies that are protective of human
        historical data, performed fate and transport analyses, and               and ecological exposure endpoints.
        developed a detailed understanding of facility operations               Heavy Metals
        that provide the technical basis for assessing contribution              Battery Recycling Facility, CA – Expert Witness. Evaluated
        of PCE, TCE, and TCA from various operations.                            available historical emissions/capacity data, performed
        Transportation Spill, CA. – Expert Witness. Prepared an                  fate and transport analyses, and assessed the extent and
        Expert Report evaluating the potential ecological impact                 magnitude of lead and other heavy metals contamination
        of an ink spill into a local river.                                      in soils surrounding the Exide Technologies lead battery
                                                                                 recycling facility. Worked together with lead regulatory
        Former Military Facility, CA. – Performed site investigation             agency to develop interior/exterior assessment and
        of soil and groundwater at a former military site to                     remediation protocols. Analyzed reported results of
        determine the extent and magnitude of historical solvents                community blood lead data.
        and petroleum releases in order to inform remedial
        strategy. Obtained regulatory closure under low-threat                    Steel Manufacturing Facility, CA – Expert Witness. Evaluated
        closure criteria.                                                         available historical operations, soil lead and arsenic data,
                                                                                  and chemical signatures of steel manufacturing from soils
       Drycleaners                                                                within and adjacent to the historic steel manufacturing
        Pleasanton, CA – Evaluated site conditions and advised on                 facility.
        investigation and remediation strategy. Developed
        conceptual site model. Developed strategy for regulatory                  Facility and Regulatory Assessments of Hexavalent Chromium,
        interactions.                                                             CA - Evaluated how changes in regulatory rules and
                                                                                  enforcement would impact facilities in Los Angeles
        Santa Barbara, CA – Expert Witness. Prepared an Expert                    County. Created inventory of facilities in LA County that
        Report assessing sources of PCE contamination to soil                     emitted hexavalent chromium. Evaluated alternative
        and groundwater contamination, including drycleaner                       technology to using hexavalent chromium for metal
        discharges into sewer system and releases at adjacent sites.              plating.
        Rebuttal Expert Report also assessed the expected
        remedial costs for PCE contamination at and emanating                     GIS Database of Potential Hexavalent Chromium Sources, CA –
        from the site.                                                            Using knowledge of industrial processes combined with
                                                                                  industrial compliance and reporting documentation,
        San Jose, CA– Expert Witness. Prepared an Expert                          developed a GIS database of potential hexavalent sources
        Declaration regarding the potential sources of PCE                        for a Southern California county.
        contamination to soil and groundwater contamination
        and the divisibility of the contamination from the                        Naturally-Occurring Hexavalent Chromium in Drinking Water,
        potential sources.                                                        CA – Expert Witness. Assessed potential industrial sources



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                                          Vice President/Principal Scientist, Litigation Practice Leader
        and naturally-occurring sources of hexavalent chromium                    Documented site cleanup activities were consistent with
        to a municipal drinking water distribution system.                        State of Oklahoma’s process for regulatory closure..
        Hexavalent Chromium Air Emissions from a Metal Plating
        Facility, CA – Expert Witness. Modeled hexavalent                         Retail Gasoline Stations, CO – Expert Witness. Performed
        chromium emissions from multiple sources of hexavalent                    fate, transport and degradation analysis of gasoline to
        chromium in an industrial area, including a metal-plating                 determine the timing of gasoline releases. Prepared an
        facility. Model was calibrated and validated using actual air             Expert Report regarding the release of gasoline from 80+
        sampling data. Determined the extent and magnitude of                     fueling facilities throughout the state.
        emissions target facility and the relative contribution                   Crude Oil Refinery, CA – Expert Witness. Performed
        compared to other nearby sources.                                         evaluation of timing of release and source of
        Metal Recycling Facility, CA – Assessed facility compliance               contamination related to historical refinery operations.
        with DTSC hazardous waste regulations. Negotiated with                    Used Oil System Collection and Recycling, CA – Expert Witness.
        DTSC on behalf of client. Developed plan for hazardous                    Developed a report for the State of California on how to
        waste treatment/disposal that meets DTSC requirements.                    improve the state’s used oil recycling program. Provided
        Mixed Industrial Region, IN – Evaluated historical                        testimony to CA State legislature on proposed used oil
        operations, soil lead and arsenic data, and chemical                      recycling incentive bills. Key technical contributor to
        signatures of potential industrial sources with locations on              stakeholder discussion on ongoing CalRecycle efforts for
        and adjacent to the historic industrial manufacturing                     additional used oil recycling improvement.
        facilities.                                                               Retail Gasoline Station, MD – Expert Witness. Performed
        Metal Plating Facility, IN – Expert Witness. Prepared an                  evaluation of timing of release and source of
        Expert Report regarding the evaluation of a claimed                       contamination impacting nearby groundwater. Evaluated
        environmental release and associated costs that occurred                  contaminant contributions from adjacent property and
        during an electrical fire at a metal plating facility.                    both current and former owner/operator.

        Metal Plating Facility, CA – Expert Witness. Prepared an                  Underground Fuel Oil Tank, NY – Expert Witness. Performed
        Expert Declaration regarding the evaluation of the                        evaluation of timing of release and source of
        various former site operations that potentially contributed               contamination for fuel oil impacting groundwater.
        site contamination.                                                       Long Island Sound, NY – Expert Witness. Evaluated if the
        Mineral Processing Facility, CA – Expert Witness. Prepared an             released liquid was an oil, as per Oil Pollution Act of 1990
        Expert Report regarding the contribution of an accidental                 (OPA 90).
        elemental mercury spill at the Searles Valley Minerals                    Timing of Petroleum Release, Numerous States – Performed
        Operations Inc. site to the overall historic site                         fate, transport and degradation analysis of gasoline and
        contamination. Analyzed invoices and categorized                          fuel oil to determine the timing of releases at 200+
        cleanup costs into emergency spill costs vs. soil                         gasoline station and fuel oil sites related to environmental
        remediation activities.                                                   insurance claims.
       Petroleum                                                                Landfills
        Petroleum Transfer Facility, CA – Expert Witness. Prepared an            Groundwater solvent plume, CA – Expert Witness. Evaluated
        Expert Report assessing the release of gasoline, diesel fuel,            the available operation information, site investigation
        and crude oil over 50+ years into the soil and sediment of               data, and performed fate and transport analysis to
        Avila Beach, CA. Identified the source and timing of the                 determine the source, timing, and number of release
        historical contamination and the nature of the releases                  events at landfill operating for over 50 years.
        using multiple lines of scientific forensic techniques.
        Performed fate, transport and degradation analysis of                     Multi-COC Contamination, NJ – Evaluated the available
        gasoline, diesel fuel, and crude oil to determine the                     operation information, site investigation data, and
        divisibility of “sudden and accidental” releases from                     performed fate and transport analysis to determine the
        frequent releases related to facility operations.                         divisibility of the COC contamination among PRPs.
                                                                                  Multi-COC Contamination, WA – Evaluated the available
        Pipeline Release, CA – Expert Witness. Performed technical                operation information, site investigation data, and
        evaluation of historical operations, extent and magnitude                 performed fate and transport analysis to determine the
        of impacts, and fate and transport pathways to develop                    divisibility of the COC contamination among PRPs.
        model for an allocation of contribution among multiple
        pipeline companies, sewer operator, and oil recycling                   Radionuclides
        facility.                                                                Radionuclide-containing Products Manufacturing, PA – Expert
                                                                                 Witness. Evaluated available historical data, performed fate
        Pipeline Release, OK – Expert Witness. Performed technical               and transport analyses, and developed a detailed
        evaluation of extent and magnitude of impacts, fate and                  understanding of facility operations at the Safety Light
        transport pathways, and bioremediation potential.                        Superfund Site that provided the technical basis for
                                                                                 recommendations to DOJ on a feasible strategy for and



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PROFESSIONAL PROFILE
                                         Vice President/Principal Scientist, Litigation Practice Leader
        potential allocation of arranger liability. Site contaminated             a deflagration event that occurred in a transportation
        with numerous radionuclides (tritium [H-3], strontium                     vehicle.
        [Sr-90], cesium [Cs-137], and radium [Ra-226]).
                                                                                ADDITIONAL AREAS OF EXPERTISE AND EXPERIENCE
        Release of Radionuclides from Testing Equipment, OK –                   Weapons of Mass Destruction Preparation and
        Evaluated whether the response actions taken were                       Response
        reasonable and necessary related to the investigation and                Provide technical guidance and operational plan reviews
        remediation of a cesium [Cs-137] release.                                for responding to WMD events. Technical guidance
                                                                                 includes emergency response, site characterization, WMD
        Radionuclide Labeling Facility, CA – Sampled tree rings in               forensics, site remediation, fate and transport, site closure.
        the vicinity of a Lawrence Berkeley National Laboratory                  Co-led team in development of DHS/EPA Federal facility
        stack that emitted tritium [H-3] and analyzed tree rings in              restoration guidance document for critical infrastructure.
        order to reconstruct facility emission for >50 years.
                                                                                Development of Chemical/Isotopic Signatures/
       Pesticides                                                               Fingerprints
        Atrazine, Numerous locations in USA – Provided expert                    Develop and validate new chemical/isotopic fingerprint
        litigation support regarding the fate and transport of                   strategies as well-as utilize peer-reviewed techniques.
        atrazine, timing of release, and potential impacts to                    Experienced with numerous approaches: intended
        drinking water sources.                                                  chemical markers and additives, chemical component
        Glyphosate, Oakland, CA – Provided deposition and trial                  ratios, degradation analysis, isotope analysis, biomarkers,
        testimony regarding the source of glyphosate                             isomers/congener analysis.
        contamination causing property damage on an adjacent                    Chemical Fate and Transport Modeling
        parcel of land based on atmospheric transport, technology                Conducts analyses using a variety of industry-accepted
        dispersal capability, site conditions, and impact patterns               approaches, including analytic solutions and numerical
        on parcel.                                                               models MODFLOW, MT3D, HYDRUS, BIOCHLOR,
        Trichloropropane (1,2,3-TCP), CA – Evaluated potential                   CAMEO/ALOHA, CALPUFF, HPAC.                 Determines
        sources of trichloropropane groundwater contamination                    aqueous and/or atmospheric plume migration exposure
        in drinking water wells.                                                 duration and magnitude.
       Human Exposure Assessment                                                JOURNAL PUBLICATIONS
        Chemical Vapor Exposure, WA – Expert Witness. Evaluated                 Environmental Forensics
        the source of chemical vapors and the potential for                       Ram, N.M.; Schneider, M.W.; Gerbig, C.A., Nevins, N.;
        downwind vapor exposure to workers.                                          Love, A.H. (2019) Allocating Cleanup Costs Among
                                                                                     Potentially Responsible Parties. Remediation. 30:33-45.
        School District Astroturf, CA – Collected astroturf samples               Zdon, A.; Rainville, K.; Buckmaster, N.; Parmenter, S.; Love,
        and conducted consumer product testing to provide data                       A.H. (2019) Identification of Source Water Mixing in the
        which supported the assessment of potential exposure                         Fish Slough Spring Complex, Mono County, California,
        pathways and human health risk assessment for children,                      USA. Hydrology. 6, 26.
        workers, and recreational users.                                          Love, A.H. and Zdon, A. (2018) Use of Radiocarbon Ages to
                                                                                     Narrow Groundwater Recharge Estimates in the
        Caustic Liquid Exposure, MI – Evaluated potential sources                    Southeastern Mojave Desert, USA. Hydrology. 5(3):51.
        of caustic chemical liquids that resulted in worker skin
        burns.                                                                    Zdon, A.; Davisson, M.L.; Love, A.H. (2018)
                                                                                    Understanding the source of water for selected springs
        Proposition 65 Phthalates, CA – Collected consumer product                  within Mojave Trails National Monument, California.
        samples and conducted consumer product testing to                           Environmental Forensics. 19(2), 99-111.
        determine potential consumer exposure pathways and
        magnitude.                                                                Dorrance, L.R.; Kellogg, S.; Love, A.H. (2017) What You
                                                                                    Should Know About Per- and Polyfluoroalkyl
        Proposition 65 Heavy Metals, CA – Evaluated lead data and                   Substances (PFAS) for Environmental Claims.
        developed a testing and evaluation plan to determine                        Environmental Claims Journal, 29:4, 290-304.
        levels of naturally occurring metals in identified food
        products.                                                                 Shelley, T.M.; Love, A.H. (2015) A Question of Proof:
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       Explosive and Fire Assessment                                                 to Identify the Source of Contamination. Environmental
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        Collected field samples and evaluated chemical and
        operational information to determine the likely cause of                  Zdon, A.; Davisson, M.L.; Love, A.H. (2015) Testing the
        an explosion event at an industrial facility.                                Established Hydrogeologic Model of Source Water to
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        Forensic Deflagration Evaluation, CA – Expert Witness.                       Counties, California. Environmental Forensics. 16(4).
        Evaluated field reports, inventory, and operational
        information to determine the likely contributing causes of                Love, A.H., J.R. Hunt, J.P. Knezovich. (2004) Improving
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       x American Chemical Society (ACS), Member #2301067
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                                                                                              Adam H. Love, Ph.D.
PROFESSIONAL PROFILE
                                        Vice President/Principal Scientist, Litigation Practice Leader
       x   Donegan v. Stubblefield, Rene C. Davidson Alameda
           County Courthouse. RG12628426. Deposition July 26,
           2013. Trial August 8, 2013.
       x   Searles Valley Minerals Operations Inc. v. Advanced Steel
           Recovery Inc., et al., California Ninth District. Central
           District Court. 5:2010cv01403. Deposition January 25,
           2012. Expert Report. Rebuttal Report.




       1/2020                                         555 12th Street Suite 250 | Oakland CA 94607              9 of 9
                                                     Main: (415) 967-6000 | Direct: (415) 967-6023
                                                E-mail: alove@rouxinc.com | Website: www.rouxinc.com
                                                          Insurers' Opposition to Summary Judgment Exhibit No. 106
Case
 Case2:17-cv-05247-JFW-JEM
      2:17-cv-05247-JFW-JEM Document
                             Document200-106  Filed04/03/20
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                                                                              PageIDID
                                    #:17002
                                     #:11086



                                   Exhibit B
                                Invoice Summary




                                 Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                     Exhibit B - Invoice Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Case




                                                                              Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                         Remediation
                                                           Invoice Number    Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source        Invoice Cost Category Description(s)                Activities/Notes                               Activities Source(s)
                                                                                                                                                                                            Total
                                                                                Date         Phase                                                                                                         Total                                                                                                                                                                                                                                 Notes


                                                                                                                                                                                                                                                                                                                                8/3/2000 Meeting with ADEM to discuss
                                                                                                                                                                                                                                                                                        General, Site Inspection, Direct                                                    2000.09.21 KJ Report of Historic Release
                                                            0040290001        9/21/2000        1           NA         8/18/2000    Kennedy/Jenks    $8,133.49          $8,133.49            $0.00          $0.00       AR_HUNT00009530               2000 KJ Invoices AR_HUNT00009530                                           Site. Preparation of 10/31/2000
                                                                                                                                                                                                                                                                                        Expenses                                                                            AR_HUNT00009978
                                                                                                                                                                                                                                                                                                                                Characterization WP.


                                                            0040290002       11/20/2000        1        9/30/2000     10/27/2000   Kennedy/Jenks    $9,201.63          $9,201.63            $0.00          $0.00       AR_HUNT00009532               2000 KJ Invoices AR_HUNT00009530   General                                 Preparation of 10/31/2000                   2000.10 KJ Characterization WP

                                                                                                                                                                                                                                                                                                                                Exact tasks unknown, according to 2/26/01
                                                                                                                                                                                                                                                                                                                                                                             2001.02.26 KJ Bimonthly progress report
                                                            0040290003       12/27/2000        1       10/28/2000     11/24/2000   Kennedy/Jenks    $4,845.42          $4,845.42            $0.00          $0.00       AR_HUNT00009534               2000 KJ Invoices AR_HUNT00009530   General                                 Bimonthly Progress Report all activities are
                                                                                                                                                                                                                                                                                                                                                                             AR_HUNT00000026
                                                                                                                                                                                                                                                                                                                                based on 10/31/2000 WP.




                                                                                                                                                                                                                                                                                                                                December 2000 groundwater monitoring, 2001.02.26 KJ Bimonthly progress report
                                                            0040290004        1/30/2001        1       11/25/2000     12/22/2000   Kennedy/Jenks    $9,062.38          $9,062.38            $0.00          $0.00       AR_HUNT00009538               2001 KJ Invoices AR_HUNT00009538   General
                                                                                                                                                                                                                                                                                                                                soil sampling and geophysical investigation AR_HUNT00000026




                                                                                                                                                                                                                                                                                                                                Direct expenses associated with Dec 2000    2001.02.26 KJ Bimonthly progress report
                                                            0040290005        2/27/2001        1       12/23/2000     1/19/2001    Kennedy/Jenks    $22,190.19         $22,190.19           $0.00          $0.00       AR_HUNT00009540               2001 KJ Invoices AR_HUNT00009538   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                field work                                  AR_HUNT00000026



                                                                                                                                                                                                                                                                                                                                Exact tasks unknown, according to 2/26/01 2001.02.26 KJ Bimonthly progress report
                                                            0040290006        3/26/2001        1        1/20/2001     2/16/2001    Kennedy/Jenks    $8,398.16          $8,398.16            $0.00          $0.00       AR_HUNT00009562               2001 KJ Invoices AR_HUNT00009538   General and Direct Expenses             Bimonthly Progress Report all activities are AR_HUNT00000026
                                                                                                                                                                                                                                                                                                                                based on 10/31/2000 WP.

                                                                                                                                                                                                                                                                                                                                Preparation and submission of 2/26/01
                                                                                                                                                                                                                                                                                                                                Bimonthly Progress Report.
                                                            0040290007        4/23/2001        1        2/17/2001     3/30/2001    Kennedy/Jenks    $17,526.91         $17,526.91           $0.00          $0.00       AR_HUNT00009564               2001 KJ Invoices AR_HUNT00009538   General and Direct Expenses             Other specific tasks unknown, but          2001.07.26 KJ Progress Rpt AR_HUNT00009991
                                                                                                                                                                                                                                                                                                                                according to 7/26/01 Progress Report all
                                                                                                                                                                                                                                                                                                                                tasks are associated with the 10/31/00 WP.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                             Specific tasks unknown, but according to
                                                            0040290008        5/18/2001        1        3/31/2001     4/27/2001    Kennedy/Jenks    $1,064.00          $1,064.00            $0.00          $0.00       AR_HUNT00009566               2001 KJ Invoices AR_HUNT00009538   General                              7/26/01 Progress Report all tasks are          2001.07.26 KJ Progress Rpt AR_HUNT00009991
                                                                                                                                                                                                                                                                                                                             associated with the 10/31/00 WP.
                                                                                                                                                                                                                                                                                                                             Specific tasks unknown, but according to
                                                            0040290009        6/27/2001        1        4/28/2001     5/25/2001    Kennedy/Jenks    $4,725.20          $4,725.20            $0.00          $0.00       AR_HUNT00009568               2001 KJ Invoices AR_HUNT00009538   General and Direct Expenses          7/26/01 Progress Report all tasks are          2001.07.26 KJ Progress Rpt AR_HUNT00009991
                                                                                                                                                                                                                                                                                                                             associated with the 10/31/00 WP.
                                                                                                                                                                                                                                                                                                                             Specific tasks unknown, but according to
                                                            0040290010        7/25/2001        1        5/26/2001     6/22/2001    Kennedy/Jenks    $2,095.00          $2,095.00            $0.00          $0.00       AR_HUNT00009570               2001 KJ Invoices AR_HUNT00009538   General                              7/26/01 Progress Report all tasks are          2001.07.26 KJ Progress Rpt AR_HUNT00009991
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 #:17003




                                                                                                                                                                                                                                                                                                                             associated with the 10/31/00 WP.                                                                                                        g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  #:11087




                                                                                                                                                                                                                                                                                                                             Invoice amount inferred based on budget
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Document200-106




                                                                                                                                                                                                                                                                                                                                                                                                                            invoices 0040290001-010: 87242.38
                                                                         a                                                                                                                                                                                                                                                   recaps on July and September Invoices.
                                                            0040290011           NA            1           NA            NA        Kennedy/Jenks    $4,024.78          $4,024.78            $0.00          $0.00              NA                     2001 KJ Invoices AR_HUNT00009538   NA                                                                                  2001.07.26 KJ Progress Rpt AR_HUNT00009991      Previous billings noted on invoice 0040290012:
                                                                                                                                                                                                                                                                                                                             Based on activities surrounding this invoice
                                                                                                                                                                                                                                                                                                                                                                                                                            91,267.16
                                                                                                                                                                                                                                                                                                                             all costs assigned to Investigation
                                                                                                                                                                                                                                                                                                                             Preparation of the 8/10/01 Q4 (December)
                                                                                                                                                                                                                                                                                        General, N.## (Word Processesing)                                                   2001.08.10 KJ Q4 2000 GW Mon Rpt Transmittal
                                                             004290012        9/14/2001        1        7/21/2001     8/31/2001    Kennedy/Jenks    $1,789.07          $1,789.07            $0.00          $0.00       AR_HUNT00009572               2001 KJ Invoices AR_HUNT00009538                                        2000 GW Monitoring Report and 7/26/01
                                                                                                                                                                                                                                                                                        and Direct Expenses                                                                 sheet AR_HUNT00009995
                                                                                                                                                                                                                                                                                                                             Progress Report
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    191-3 Filed




                                                                                                                                                                                                                                                                                                                             Preparation for November 2001
                                                                                                                                                                                                                                                                                                                             groundwater monitoring
                                                             004290013       11/28/2001        1        9/1/2001      10/26/2001   Kennedy/Jenks    $2,248.00          $2,248.00            $0.00          $0.00       AR_HUNT00009574               2001 KJ Invoices AR_HUNT00009538   General and N.## (Word Processesing)                                                2002.01.17 KJ Progress Report AR_HUNT00000040
                                                                                                                                                                                                                                                                                                                             Preparation of 02/11/02 Geophysical. Invst.
                                                                                                                                                                                                                                                                                                                             Report and Characterization WP
                                                                                                                                                                                                                                                                                                                             November 2001 groundwater monitoring
                                                                                                                                                                                                                                                                                        General, Site Inspection and Direct
                                                             004290014       12/14/2001        1       10/27/2001     11/23/2001   Kennedy/Jenks    $3,374.45          $3,374.45            $0.00          $0.00       AR_HUNT00009576               2001 KJ Invoices AR_HUNT00009538                                        Preparation of 02/11/02 Geophys. Invst.        2002.01.17 KJ Progress Report AR_HUNT00000040
                                                                                                                                                                                                                                                                                        Expenses
                                                                                                                                                                                                                                                                                                                             Report and Characterization WP
                                                                                                                                                                                                                                                                                                                             Follow up from November 2001
                                                                                                                                                                                                                                                                                                                             groundwater monitoring
                                                             004290015        1/10/2002        1       11/24/2001     12/21/2001   Kennedy/Jenks    $5,367.23          $5,367.23            $0.00          $0.00       AR_HUNT00009578               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses                                                         2002.01.17 KJ Progress Report AR_HUNT00000040
                                                                                                                                                                                                                                                                                                                             Preparation of 02/11/02 Geophys. Invst.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Filed04/03/20




                                                                                                                                                                                                                                                                                                                             Report and Characterization WP
                                                                                                                                                                                                                                                                                                                                                                            2002.02.11 KJ Geophys Invst Rpt and
                                                                                                                                                                                                                                                                                        General and Site Inspection (although Preparation of 02/11/02 Geophys. Invst.
                                                                                                                                                                                                                                                                                                                                                                            Characterization WP AR_HUNT00000042
                                                             004290016        2/12/2002        1       12/22/2001     1/18/2002    Kennedy/Jenks    $5,019.34          $5,019.34            $0.00          $0.00       AR_HUNT00009580               2002 KJ Invoices AR_HUNT00009578   Site Inspection appears to pertain to Report and Characterization WP
                                                                                                                                                                                                                                                                                        Word Processing) and Direct Expenses Supplement.
                                                                                                                                                                                                                                                                                                                                                                            2002.01.17 KJ Progress Report AR_HUNT00000040

                                                                                                                                                                                                                                                                                                                                                                            2002.02.11 KJ Geophys Invst Rpt and
                                                                                                                                                                                                                                                                                                                                Preparation and submission of 02/11/02      Characterization WP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 04/08/20 Page




                                                             004290017        3/13/2002        1        1/19/2002     2/15/2002    Kennedy/Jenks    $2,387.59          $2,387.59            $0.00          $0.00       AR_HUNT00009582               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses             Geophys. Invst. Report and
                                                                                                                                                                                                                                                                                                                                Characterization WP Supplement.             2002.02.21 KJ Q4 2001 GW Mont Rpt Transmittal
                                                                                                                                                                                                                                                                                                                                                                            sheet AR_HUNT00009999
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Page62




                                                                                                                                                                                                                                                                                                                                Preparation of the 2/21/02 Nov 2001 GW      2002.02.21 KJ Q4 2001 GW Mont Rpt Transmittal
                                                             004290018        4/16/2002        1        2/16/2002     3/29/2002    Kennedy/Jenks     $542.48            $542.48             $0.00          $0.00       AR_HUNT00009584               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                                Monitoring Report.                          sheet AR_HUNT00009999
                                                                                                                                                                                                                                                                                                                                Specific tasks unknown but pertain to the
                                                                                                                                                                                                                                                                                                                                                                            2002.02.11 KJ Geophys Invst Rpt and
                                                             004290019        5/9/2002         1        3/30/2002     4/26/2002    Kennedy/Jenks    $2,084.39          $2,084.39            $0.00          $0.00       AR_HUNT00009586               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses             2/11/02 Supplemental Characterization
                                                                                                                                                                                                                                                                                                                                                                            Characterization WP
                                                                                                                                                                                                                                                                                                                                WP
                                                                                                                                                                                                                                                                                        General, Site Inspection and Direct     Preparation for June and July 2002 field    2002.02.11 KJ Geophys Invst Rpt and
                                                             004290020        6/20/2002        1        4/27/2002     5/24/2002    Kennedy/Jenks    $9,715.92          $9,715.92            $0.00          $0.00       AR_HUNT00009588               2002 KJ Invoices AR_HUNT00009578
                                                                                                                                                                                                                                                                                        Expenses                                work.                                       Characterization WP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                62ofof89




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                                                                                                                                                                                                                                                                                                                                                                            Characterization WP
                                                                                                                                                                                                                                                                                                                                Installation of seven GW monitoring wells
                                                             004290021        7/17/2002        1        5/25/2002     6/21/2002    Kennedy/Jenks    $53,068.05         $53,068.05           $0.00          $0.00       AR_HUNT00009590               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses                                                         2002.10.09 KJ Status Report AR_HUNT00000043
                                                                                                                                                                                                                                                                                                                                and advancement of six boreholes.
                                                                                                                                                                                                                                                                                                                                                                            2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
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                                                                                                                                                                                                                                    Exhibit B - Invoice Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                      Case




                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source       Invoice Cost Category Description(s)                Activities/Notes                                 Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                               Notes

                                                                                                                                                                                                                                                                                                                              Installation and sampling of seven GW         2002.02.11 KJ Geophys Invst Rpt and
                                                             004290022       8/22/2002        1        6/22/2002     7/19/2002    Kennedy/Jenks    $18,114.67         $18,114.67           $0.00          $0.00       AR_HUNT00009592               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses            monitoring wells and advancement of six       Characterization WP
                                                                                                                                                                                                                                                                                                                              boreholes.                                    2002.10.09 KJ Status Report AR_HUNT00000043

                                                                                                                                                                                                                                                                                                                              Follow up from June and July 2002 field 2002.02.11 KJ Geophys Invst Rpt and
                                                             004290023       9/23/2002        1        7/20/2002     8/30/2002    Kennedy/Jenks    $13,026.48         $13,026.48           $0.00          $0.00       AR_HUNT00009594               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses            work and preparation for September 2002 Characterization WP
                                                                                                                                                                                                                                                                                                                              field work                              2002.10.09 KJ Status Report AR_HUNT00000043

                                                                                                                                                                                                                                                                                                                                                                            2002.10.09 KJ Status Report AR_HUNT00000043
                                                             004290024      10/17/2002        1        8/31/2002     9/27/2002    Kennedy/Jenks    $10,321.22         $10,321.22           $0.00          $0.00       AR_HUNT00009596               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses            September 2002 groundwater monitoring         2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00000047

                                                                                                                                                                                                                                                                                                                              Follow up from September 2002
                                                                                                                                                                                                                                                                                                                              groundwater monitoring                        2002.10.09 KJ Status Report AR_HUNT00000043
                                                             004290025      11/14/2002        1        9/28/2002     10/25/2002   Kennedy/Jenks    $16,794.68         $16,794.68           $0.00          $0.00       AR_HUNT00009598               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses            Submission of 10/09/2002 Status Report.       2002.11.05 KJ Update on Char Rpt
                                                                                                                                                                                                                                                                                                                              Possible preparation of 2/25/03 Soil + GW     AR_HUNT00005794
                                                                                                                                                                                                                                                                                                                              Invst. Report.

                                                                                                                                                                                                                                                                                                                              Follow up from September 2002                 2002.10.09 KJ Status Report AR_HUNT00000043
                                                                                                                                                                                                                                                                                                                              groundwater monitoring                        2002.11.05 KJ Update on Char Rpt
                                                             004290026      12/13/2002        1       10/26/2002     11/22/2002   Kennedy/Jenks    $11,387.94         $11,387.94           $0.00          $0.00       AR_HUNT00009600               2002 KJ Invoices AR_HUNT00009578   General and Direct Expenses            Submission of 11/05/2002 Status Report.       AR_HUNT00005794
                                                                                                                                                                                                                                                                                                                              Possible preparation of 2/25/03 Soil + GW     2003.01.07 KJ Update on characterization and GW
                                                                                                                                                                                                                                                                                                                              Invst. Report.                                Mon Rpt AR_HUNT00000045
                                                                                                                                                                                                                                                                                                                                                                                                                                       Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                                                            2003.01.07 KJ Update on characterization and GW
                                                                                                                                                                                                                                                                                                                              Exact tasks unknown but likely include
                                                                                                                                                                                                                                                                                                                                                                            Mon Rpt AR_HUNT00000045
                                                             004290027       1/10/2003        1       11/23/2002     12/20/2002   Kennedy/Jenks    $4,697.24          $4,697.24            $0.00          $0.00       AR_HUNT00009602               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses            preparation of 2/25/03 Soil + GW Inst.
                                                                                                                                                                                                                                                                                                                                                                            2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                              Report
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                              Exact tasks unknown but likely include
                                                                                                                                                                                                                                                                                                                              preparation of 2/25/03 Soil + GW Inst.
                                                                                                                                                                                                                                                                                                                              Report.                                       2003.02.25 KJ Soil + GW Invst Rpt
                                                             004290028       2/19/2003        1       12/21/2002     1/31/2003    Kennedy/Jenks    $11,533.56         $11,533.56           $0.00          $0.00       AR_HUNT00009604               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                              Costs also include geophysical (likely from   AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                              summer 2002 field work as this had not
                                                                                                                                                                                                                                                                                                                              been previously submitted)
                                                                                                                                                                                                                                                                                                                              Submission of 2/25/03 Soil + GW Invst.   2003.02.25 KJ Soil + GW Invst Rpt
                                                             004290029       3/21/2003        1        2/1/2003      2/28/2003    Kennedy/Jenks    $10,724.52         $10,724.52           $0.00          $0.00       AR_HUNT00009606               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                              Report                                   AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                                                                       2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                                                                                                                                            2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                              Exact tasks unknown but likely include
                                                                                                                                                                                                                                                                                                                                                                       AR_HUNT00000047
                                                             004290030       4/16/2003        1        3/1/2003      3/28/2003    Kennedy/Jenks    $9,922.84          $9,922.84            $0.00          $0.00       AR_HUNT00009608               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses            preparation of 10/20/03 WP for Continued
                                                                                                                                                                                                                                                                                                                                                                       2004.01.15 ADEM response to cont site char WP
                                                                                                                                                                                                                                                                                                                              Soil + GW Characterization
                                                                                                                                                                                                                                                                                                                                                                       AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              IDW management-likely follow up from
                                                                                                                                                                                                                                                                                                                                                                            2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                              2002 field work
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00000047
                                                             004290031       5/2/2003         1        3/29/2003     4/25/2003    Kennedy/Jenks    $16,655.69         $16,655.69           $0.00          $0.00       AR_HUNT00009610               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses            Other exact tasks unknown but likely
                                                                                                                                                                                                                                                                                                                                                                            2004.01.15 ADEM response to cont site char WP
                                                                                                                                                                                                                                                                                                                              include preparation of 10/20/03 WP for
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              Continued Soil + GW Characterization
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #:17004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           #:11088




                                                                                                                                                                                                                                                                                                                                                                       2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Document200-106




                                                                                                                                                                                                                                                                                                                              Exact tasks unknown but likely include
                                                                                                                                                                                                                                                                                                                                                                       AR_HUNT00000047
                                                             004290032       7/11/2003        1        5/24/2003     6/20/2003    Kennedy/Jenks     $509.00            $509.00             $0.00          $0.00       AR_HUNT00009612               2003 KJ Invoices AR_HUNT00009602   General                                preparation of 10/20/03 WP for Continued
                                                                                                                                                                                                                                                                                                                                                                       2004.01.15 ADEM response to cont site char WP
                                                                                                                                                                                                                                                                                                                              Soil + GW Characterization
                                                                                                                                                                                                                                                                                                                                                                       AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              Exact tasks unknown but likely include
                                                                                                                                                                                                                                                                                                                                                                            2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                              preparation of 10/20/03 WP for Continued
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             191-3 Filed




                                                             004290033       9/23/2003        1        6/21/2003     8/29/2003    Kennedy/Jenks    $7,952.50          $7,952.50            $0.00          $0.00       AR_HUNT00009614               2003 KJ Invoices AR_HUNT00009602   General                                Soil + GW Characterization and preparation
                                                                                                                                                                                                                                                                                                                                                                            2004.01.15 ADEM response to cont site char WP
                                                                                                                                                                                                                                                                                                                              of information requested by ADEM in an
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              8/14/03 letter.
                                                                                                                                                                                                                                                                                                                                                                            2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                              September 2003 groundwater monitoring.
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                              Preparation of 10/20/03 WP for Continued
                                                                                                                                                                                                                                                                                                                                                                            2004.01.15 ADEM response to cont site char WP
                                                             004290034      10/14/2003        1        8/30/2003     9/26/2003    Kennedy/Jenks    $21,398.00         $21,398.00           $0.00          $0.00       AR_HUNT00009616               2003 KJ Invoices AR_HUNT00009602   General                                Soil + GW Characterization and preparation
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              of information requested by ADEM in an
                                                                                                                                                                                                                                                                                                                                                                            2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                                                                                                                                                                                                                                                                                              8/14/03 letter.
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00008736
                                                                                                                                                                                                                                                                                                                              Follow up from September 2003                 2003.02.25 KJ Soil + GW Invst Rpt
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Filed04/03/20




                                                                                                                                                                                                                                                                                                                              groundwater monitoring.                       AR_HUNT00000047
                                                                                                                                                                                                                                                                                                                              Submission of the 10/20/03 WP for             2004.01.15 ADEM response to cont site char WP
                                                             004290035      11/12/2003        1        9/27/2003     10/24/2003   Kennedy/Jenks    $9,550.09          $9,550.09            $0.00          $0.00       AR_HUNT00009618               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                              Continued Soil + GW Characterization and      AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              information requested by ADEM in an           2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                                                                                                                                                                                                                                                                                              8/14/03 letter.                               AR_HUNT00008736
                                                                                                                                                                                                                                                                                                                                                                            2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                                                                                                                                                                                                                                                                                              Follow up from September 2003                 AR_HUNT00008736
                                                             004290036      12/10/2003        1       10/25/2003     11/21/2003   Kennedy/Jenks    $8,518.86          $8,518.86            $0.00          $0.00       AR_HUNT00009620               2003 KJ Invoices AR_HUNT00009602   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                              groundwater monitoring.                       2004.01.15 ADEM response to cont site char WP
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          04/08/20 Page




                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                                                                            2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                                                                                                                                                                                                                                                                                              Exact tasks unknown but likely include
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00008736
                                                             004290037       1/13/2004        1       11/22/2003     12/19/2003   Kennedy/Jenks    $1,866.80          $1,866.80            $0.00          $0.00       AR_HUNT00009622
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page63




                                                                                                                                                                                                                                                    2004 KJ Invoices AR_HUNT00009622   General and Direct Expenses            preparation of the 8/16/04 Sept 2003 Feb
                                                                                                                                                                                                                                                                                                                                                                            2004.01.15 ADEM response to cont site char WP
                                                                                                                                                                                                                                                                                                                              2004 SA GW Monitoring Report.
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00002625
                                                                                                                                                                                                                                                                                                                              Preparation for February 2004
                                                                                                                                                                                                                                                                                                                              groundwater monitoring                    2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                             004290038       2/18/2004        1       12/20/2003     1/30/2004    Kennedy/Jenks    $12,444.24         $12,444.24           $0.00          $0.00       AR_HUNT00009624               2004 KJ Invoices AR_HUNT00009622   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                              Possible preparation of 8/16/04 Sept 2003 AR_HUNT00008736
                                                                                                                                                                                                                                                                                                                              Feb 2004 SA GW Monitoring Report
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         63ofof89




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                                                                                                                                                                                                                                                                                                                              February 2004 groundwater monitoring.
                                                                                                                                                                                                                                                                                       General, Site Inspection and Direct                                                  AR_HUNT00008736
                                                             004290039       3/19/2004        1        1/31/2004     2/27/2004    Kennedy/Jenks    $14,805.32         $14,805.32           $0.00          $0.00       AR_HUNT00009626               2004 KJ Invoices AR_HUNT00009622                                          Preparation of 3/4/04 Revised Continued
                                                                                                                                                                                                                                                                                       Expenses                                                                             2004.03.12 ADEM accepted cont site char WP
                                                                                                                                                                                                                                                                                                                              Soil + Groundwater Characterization WP.
                                                                                                                                                                                                                                                                                                                                                                            AR_HUNT00002627
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                89 Page




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                                                                                                                                                                                                                                    Exhibit B - Invoice Summary
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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source        Invoice Cost Category Description(s)                 Activities/Notes                               Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                                    Notes
                                                                                                                                                                                                                                                                                                                               April 2004 groundwater monitoring.
                                                                                                                                                                                                                                                                                       General, Site Inspection, Direct        Preparation and submission of 3/4/04          2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                                618          5/20/2004        1                      4/30/2004    Kennedy/Jenks    $41,902.08         $41,902.08           $0.00          $0.00       AR_HUNT00009628               2004 KJ Invoices AR_HUNT00009622
                                                                                                                                                                                                                                                                                       Expenses                                Revised Continued Soil + Groundwater          AR_HUNT00008736
                                                                                                                                                                                                                                                                                                                               Characterization WP.
                                                                                                                                                                                                                                                                                       General, Site Inspection, Direct        Follow up from April 2004 groundwater
                                                                1544         6/21/2004        1                      5/28/2004    Kennedy/Jenks    $14,841.58         $14,841.58           $0.00          $0.00       AR_HUNT00009633               2004 KJ Invoices AR_HUNT00009622                                                                                         2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                       Expenses                                monitoring.
                                                                                                                                                                                                                                                                                                                               Follow up from April 2004 groundwater
                                                                                                                                                                                                                                                                                                                               monitoring.                                   2004.08.16 KJ Feb 2003 Apr 2004 SA GW Mon Rpt
                                                                                                                                                                                                                                                                                                                               Preparation of 8/16/04 Sept 2003 Feb 2004     AR_HUNT00008736
                                                                                                                                                                                                                                                                                       Default Task, General, Site Inspection,
                                                                2504         7/29/2004        1        5/29/2004     6/26/2004    Kennedy/Jenks    $24,166.27         $24,166.27           $0.00          $0.00       AR_HUNT00009635               2004 KJ Invoices AR_HUNT00009622                                           SA GW Monitoring Report.                      2004 KJ Invoices AR_HUNT00009622
                                                                                                                                                                                                                                                                                       Direct Expenses
                                                                                                                                                                                                                                                                                                                               Preparation for shallow regolith drilling     2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                                                               Misc. project management                      AR_HUNT00006060


                                                                                                                                                                                                                                                                                                                               Jul 2004 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                             2004 KJ Invoices AR_HUNT00009622
                                                                                                                                                                                                                                                                                       General, Site Inspection, Direct        Preparation for and implementation of
                                                                2790         8/16/2004        1        6/27/2004     7/30/2004    Kennedy/Jenks    $41,979.94         $41,979.94           $0.00          $0.00       AR_HUNT00009640               2004 KJ Invoices AR_HUNT00009622                                                                                         2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       Expenses                                shallow regolith drilling
                                                                                                                                                                                                                                                                                                                                                                             AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                               Follow up from July 2004 groundwater
                                                                                                                                                                                                                                                                                                                               monitoring
                                                                                                                                                                                                                                                                                                                               Follow up from shallow regolith drilling      2004 KJ Invoices AR_HUNT00009622
                                                                3752         9/20/2004        1        7/31/2004     8/27/2004    Kennedy/Jenks    $40,279.85         $40,279.85           $0.00          $0.00       AR_HUNT00009644               2004 KJ Invoices AR_HUNT00009622   General and Direct Expenses
                                                                                                                                                                                                                                                                                                                               Submission of 8/16/04 Feb 2003 Apr 2004       2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                               SA GW Monitoring Report
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                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                4124        10/11/2004        1        8/28/2004     9/24/2004    Kennedy/Jenks    $23,410.59         $23,410.59           $0.00          $0.00       AR_HUNT00009664               2004 KJ Invoices AR_HUNT00009622   General and Direct Expenses             and characterization reports                  2004 KJ Invoices AR_HUNT00009622
                                                                                                                                                                                                                                                                                                                               Misc. project management

                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                                                               report                                        2004 KJ Invoices AR_HUNT00009622
                                                               5323          12/8/2004        1        9/25/2004     10/29/2004   Kennedy/Jenks    $20,925.75         $20,925.75           $0.00          $0.00       AR_HUNT00009668               2004 KJ Invoices AR_HUNT00009622   General and Direct Expenses             Review of shallow regolith drilling results   2004.10.13 ADEM Rev of SA GW Mon Rpt
                                                                                                                                                                                                                                                                                                                               Regulatory correspondence                     AR_HUNT00002628
                                                                                                                                                                                                                                                                                                                               Misc. project management

                                                                                                                                                                                                                                                                                                                               November 2004 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                       General, Site Inspection, Direct                                                      2004 KJ Invoices AR_HUNT00009622
                                                               5668         12/17/2004        1       10/30/2004     11/26/2004   Kennedy/Jenks    $16,883.77         $16,883.77           $0.00          $0.00       AR_HUNT00009672               2004 KJ Invoices AR_HUNT00009622                                           report
                                                                                                                                                                                                                                                                                       Expenses                                                                              2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                                                               report
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report
                                                                                                                                                                                                                                                                                                                                                                             2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                                                               Preparation for Jan-Feb 2005 RBI
                                                               6474          1/17/2005        1       11/27/2004     12/31/2004   Kennedy/Jenks    $15,564.55         $15,564.55           $0.00          $0.00       AR_HUNT00009674               2005 KJ Invoices AR_HUNT00009674   General and Direct Expenses                                                           2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                                                               groundwater well installation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 #:17005
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                                                                                                                                                                                                                                                                                                                               Follow up from Nov 2004 groundwater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Document200-106




                                                                                                                                                                                                                                                                                                                               monitoring
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                               Preparation and implementation of Jan-Feb
                                                                                                                                                                                                                                                                                                                               2005 RBI groundwater well installation
                                                                                                                                                                                                                                                                                                                               Preparation groundwater monitoring        2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                       General, Site Inspection, Direct
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    191-3 Filed




                                                               7184          2/10/2005        1        1/1/2005      1/28/2005    Kennedy/Jenks    $26,062.60         $26,062.60           $0.00          $0.00       AR_HUNT00009681               2005 KJ Invoices AR_HUNT00009674                                           report                                    2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       Expenses
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report    AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               Misc. project management


                                                                                                                                                                                                                                                                                                                               Implementation of Jan-Feb RBI
                                                                                                                                                                                                                                                                                                                               groundwater well installation
                                                                                                                                                                                                                                                                                                                               Preparation groundwater monitoring            2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                       General, Site Inspection, Default Task,
                                                               7931          3/21/2005        1        1/29/2005     2/25/2005    Kennedy/Jenks    $33,496.65         $33,496.65           $0.00          $0.00       AR_HUNT00009685               2005 KJ Invoices AR_HUNT00009674                                           report                                        2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       Direct Expenses
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report        AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               Misc. project management
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                                                                                                                                                                                                                                                                                                                               March 2005 groundwater monitoring
                                                                                                                                                                                                                                                                                                                               Preparation groundwater monitoring
                                                                                                                                                                                                                                                                                                                               report
                                                                                                                                                                                                                                                                                                                                                                             2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                       General, Site Inspection, Default Task, Preparation of shallow regolith report
                                                               8601          4/15/2005        1        2/26/2005     4/15/2005    Kennedy/Jenks   $116,448.15        $116,448.15           $0.00          $0.00       AR_HUNT00009693               2005 KJ Invoices AR_HUNT00009674                                                                                         2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       Direct Expenses                         IDW-related activities
                                                                                                                                                                                                                                                                                                                                                                             AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               Follow up from Jan-Feb 2005 field work
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 04/08/20 Page




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                                                                                                                                                                                                                                                                                                                               Preparation groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Page64




                                                                                                                                                                                                                                                                                                                               report
                                                                                                                                                                                                                                                                                                                                                                          2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report
                                                               8971          5/11/2005        1        3/26/2005     4/29/2005    Kennedy/Jenks    $31,795.47         $31,795.47           $0.00          $0.00       AR_HUNT00009702               2005 KJ Invoices AR_HUNT00009674   General and Direct Expenses                                                        2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                                                               Well/borehole surveying-related activities
                                                                                                                                                                                                                                                                                                                                                                          AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               IDW-related activities
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                                                                                                                             106 for IDW activities from well installation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                64ofof89




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                                                                                                                                                                                                                                                                                                                               report                                        2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                       General, Site Inspection, Direct
                                                               9766          6/17/2005        1        4/30/2005     5/27/2005    Kennedy/Jenks    $23,785.48         $23,785.48           $0.00          $0.00       AR_HUNT00009708               2005 KJ Invoices AR_HUNT00009674                                           Preparation of shallow regolith report        2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       Expenses
                                                                                                                                                                                                                                                                                                                               Follow up from Jan-Feb 2005 field work        AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       89 Page




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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source       Invoice Cost Category Description(s)                  Activities/Notes                                 Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                                   Notes
                                                                                                                                                                                                                                                                                                                              Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                               2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                                                              report
                                                               10447         7/14/2005        1        5/28/2005     6/24/2005    Kennedy/Jenks    $9,330.63          $9,330.63            $0.00          $0.00       AR_HUNT00009715               2005 KJ Invoices AR_HUNT00009674   General, Default Task, Direct Expenses                                                  2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                                                              Preparation of shallow regolith report
                                                                                                                                                                                                                                                                                                                                                                               AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                              Misc. project management
                                                                                                                                                                                                                                                                                                                               July (Q2) 2005 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                               2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                       General, Site Inspection, Default Task,                                                 2006.02.02 KJ 2004-2005 Site Char Rpt
                                                               11094         8/12/2005        1        6/25/2005     7/29/2005    Kennedy/Jenks    $23,823.78         $23,823.78           $0.00          $0.00       AR_HUNT00009718               2005 KJ Invoices AR_HUNT00009674                                           report
                                                                                                                                                                                                                                                                                       Direct Expenses                                                                         AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report
                                                                                                                                                                                                                                                                                                                                                                               2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                                                               report                                          2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                       General, Site Inspection, Default Task, Preparation of shallow regolith report          2006.02.02 KJ 2004-2005 Site Char Rpt
                                                               11731         9/19/2005        1        7/30/2005     8/26/2005    Kennedy/Jenks    $25,637.53         $25,637.53           $0.00          $0.00       AR_HUNT00009722               2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                       Direct Expenses                         Expenses from July (Q2) 2005 groundwater        AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               monitoring                                      2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                               Preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                                                               report
                                                                                                                                                                                                                                                                                                                                                                               2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                                                               Preparation of shallow regolith report
                                                               12786        10/25/2005        1        8/27/2005     9/30/2005    Kennedy/Jenks    $25,055.85         $25,055.85           $0.00          $0.00       AR_HUNT00009727               2005 KJ Invoices AR_HUNT00009674   General, Default Task, Direct Expenses                                                  2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                                                               Expenses from July (Q2) 2005 groundwater
                                                                                                                                                                                                                                                                                                                                                                               AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                               monitoring
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                               October groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                               Reporting (assume to include shallow
                                                                                                                                                                                                                                                                                                                               regolith report based on production date of
                                                                                                                                                                                                                                                                                                                               02/02/06)                                       2005 KJ Invoices AR_HUNT00009674
                                                                                                                                                                                                                                                                                                                               Meeting in Huntsville (not known if this is a   2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       General, Site Inspection, Default Task,
                                                               13733         12/8/2005        1        10/1/2005     11/25/2005   Kennedy/Jenks    $52,300.43         $52,300.43           $0.00          $0.00       AR_HUNT00009732               2005 KJ Invoices AR_HUNT00009674                                           client meeting or meeting with regulators.      AR_HUNT00006060
                                                                                                                                                                                                                                                                                       Direct Expenses
                                                                                                                                                                                                                                                                                                                               There is no mention of this meeting in          2006.01.18 ADEM GW Incident GW 01-01-03
                                                                                                                                                                                                                                                                                                                               surrounding regulatory correspondence,          AR_HUNT00010021
                                                                                                                                                                                                                                                                                                                               therefore it is assumed that this is a client
                                                                                                                                                                                                                                                                                                                               meeting)
                                                                                                                                                                                                                                                                                                                               Misc. project management
                                                                                                                                                                                                                                                                                                                              Project planning and misc. project
                                                                                                                                                                                                                                                                                                                              management
                                                                                                                                                                                                                                                                                                                              Follow up and expenses from Oct 2005        2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2:17-cv-05247-JFW-JEM Document




                                                               14561         2/8/2006         1       11/26/2005     12/30/2005   Kennedy/Jenks    $25,184.91         $25,184.91           $0.00          $0.00       AR_HUNT00009740               2006 KJ Invoives AR_HUNT00009740   General, Default Task, Direct Expenses groundwater monitoring                      2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                                                              Reporting (assume to include shallow        AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                              regolith report based on production date of
                                                                                                                                                                                                                                                                                                                              02/02/06)
                                                                                                                                                                                                                                                                                                                               Project planning and misc. project
                                                                                                                                                                                                                                                                                                                               management
                                                                                                                                                                                                                                                                                                                                                                               2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                       General, Default Task, Direct           January 2006 groundwater monitoring
                                                               15595         3/7/2006         1       12/31/2005     2/10/2006    Kennedy/Jenks    $21,975.19         $21,975.19           $0.00          $0.00       AR_HUNT00009747               2006 KJ Invoives AR_HUNT00009740                                                                                           2006.02.02 KJ 2004-2005 Site Char Rpt
                                                                                                                                                                                                                                                                                       Expenses, Site Inspection               Revision of 2004-2005 characterization
                                                                                                                                                                                                                                                                                                                                                                               AR_HUNT00006060
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    #:17006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     #:11090




                                                                                                                                                                                                                                                                                                                               report (assumed to be the same as the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Document200-106




                                                                                                                                                                                                                                                                                                                               earlier reference shallow regolith report)
                                                                                                                                                                                                                                                                                                                               Project planning and misc. project
                                                                                                                                                                                                                                                                                                                               management                                      2006 KJ Invoives AR_HUNT00009740
                                                               15980         3/14/2006        1        2/11/2006     2/24/2006    Kennedy/Jenks    $8,517.00          $8,517.00            $0.00          $0.00       AR_HUNT00009751               2006 KJ Invoives AR_HUNT00009740   General, Direct Expenses                Reporting                                       2006.05.03 KJ Q1 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                               Expenses from January 2006 sampling             AR_HUNT00017263
                                                                                                                                                                                                                                                                                                                               event
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       191-3 Filed




                                                                                                                                                                                                                                                                                                                               Project planning and misc. project
                                                                                                                                                                                                                                                                                                                                                                               2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                       General, Default Task, Site Inspection, management
                                                               16783         4/25/2006        1        2/25/2006     3/31/2006    Kennedy/Jenks    $26,883.53         $26,883.53           $0.00          $0.00       AR_HUNT00009757               2006 KJ Invoives AR_HUNT00009740                                                                                           2006.05.03 KJ Q1 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                       Direct Expenses                         Reporting
                                                                                                                                                                                                                                                                                                                                                                               AR_HUNT00017263
                                                                                                                                                                                                                                                                                                                               Expenses (sampling-related)
                                                                                                                                                                                                                                                                                                                               April (Q2) groundwater monitoring
                                                                                                                                                                                                                                                                                                                               Project planning and misc. project              2006 KJ Invoives AR_HUNT00009740
                                                               17193         5/12/2006        1        4/1/2006      4/28/2006    Kennedy/Jenks    $20,194.60         $20,194.60           $0.00          $0.00       AR_HUNT00009761               2006 KJ Invoives AR_HUNT00009740   General, Default Task, Direct Expenses management                                       2006.05.03 KJ Q1 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                               Preparation of 1Q2006 groundwater               AR_HUNT00017263
                                                                                                                                                                                                                                                                                                                               monitoring report
                                                                                                                                                                                                                                                                                                                               Follow up from April (Q2) groundwater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Filed04/03/20




                                                                                                                                                                                                                                                                                                                               monitoring
                                                                                                                                                                                                                                                                                       General, Default Task, Direct           Project planning and misc. project
                                                               17826         6/16/2006        1        4/29/2006      6/9/2006    Kennedy/Jenks    $42,849.15         $42,849.15           $0.00          $0.00       AR_HUNT00009764               2006 KJ Invoives AR_HUNT00009740                                                                                           2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                       Expenses, Site Inspection               management
                                                                                                                                                                                                                                                                                                                               Preparation of 2Q2006 groundwater
                                                                                                                                                                                                                                                                                                                               monitoring report
                                                                                                                                                                                                                                                                                                                           Preparation of 2Q2006 groundwater
                                                                                                                                                                                                                                                                                                                           monitoring report                                                                                 Total billings of 1,137,438.69 check out to this
                                                               18284         7/17/2006        1        6/10/2006     6/30/2006    Kennedy/Jenks    $7,056.03          $7,056.03            $0.00          $0.00       AR_HUNT00009775               2006 KJ Invoives AR_HUNT00009740   General, Direct Expenses                                                                2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    04/08/20 Page




                                                                                                                                                                                                                                                                                                                           Project planning and misc. project                                                                point (sum of invoice total with value stated on
                                                                                                                                                                                                                                                                                                                           management                                                                                        7/17/06 invoice (AR_HUNT00009976)
                                                                                                                                                                                                                                                                                                                           Preparation of 2Q2006 groundwater
                                                                                                                                                                                                                                                                                       General, Project Mgmt. & Quality                                                        2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                           monitoring report
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Page65




                                                               19196         8/16/2006        2        7/1/2006      7/28/2006    Kennedy/Jenks    $11,339.86         $11,339.86           $0.00          $0.00       AR_HUNT00009778               2006 KJ Invoives AR_HUNT00009740   Control, Groundwater Monitoring                                                         2006.10.30 KJ Q3 2006 GW Mon Rpt              New Task Code Headings
                                                                                                                                                                                                                                                                                                                           July (3Q) groundwater monitoring
                                                                                                                                                                                                                                                                                       2006, Direct Expenses                                                                   AR_HUNT00009312
                                                                                                                                                                                                                                                                                                                           Project planning and misc project
                                                                                                                                                                                                                                                                                                                           Preparation of ADEM hazardous waste
                                                                                                                                                                                                                                                                                                                                                                               2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                           reporting forms
                                                                                                                                                                                                                                                                                       Project Mgmt. & Quality Control,                                                        2006.06.13 ADEM Waste Gen Non Compliance
                                                                                                                                                                                                                                                                                                                           Follow up from July (3Q) groundwater
                                                               19623         9/8/2006         2        7/29/2006     8/25/2006    Kennedy/Jenks    $15,404.41         $15,404.41           $0.00          $0.00       AR_HUNT00009782               2006 KJ Invoives AR_HUNT00009740   Groundwater Monitoring 2006, Direct                                                     Warning AR_HUNT00002630
                                                                                                                                                                                                                                                                                                                           monitoring
                                                                                                                                                                                                                                                                                       Expenses                                                                                2006.10.30 KJ Q3 2006 GW Mon Rpt
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                                                                                                                                                                                                                                                                                                                                                                               AR_HUNT00009312
                                                                                                                                                                                                                                                                                                                           management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          89 Page




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                                                                                                                                                                                                                                    Exhibit B - Invoice Summary
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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source             Invoice Cost Category Description(s)                  Activities/Notes                              Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                    Notes
                                                                                                                                                                                                                                                                                                                                      Preparation of 3Q2006 groundwater
                                                                                                                                                                                                                                                                                                                                      monitoring report
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,                                                      2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                               20483        10/25/2006        2        8/26/2006     9/29/2006    Kennedy/Jenks    $6,194.61          $6,194.61            $0.00          $0.00       AR_HUNT00009791               2006 KJ Invoives AR_HUNT00009740         Groundwater Monitoring 2006, Direct                                                   2006.10.30 KJ Q3 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                                      management
                                                                                                                                                                                                                                                                                             Expenses                                                                              AR_HUNT00009312
                                                                                                                                                                                                                                                                                                                                      Expenses for 3Q2006 groundwater
                                                                                                                                                                                                                                                                                                                                      monitoring
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                                                                                                                   2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                                      management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,                                                      2006.10.30 KJ Q3 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                                      Preparation of 3Q2006 groundwater
                                                               20851        11/20/2006        2        9/30/2006     10/27/2006   Kennedy/Jenks    $12,683.74         $12,683.74           $0.00          $0.00       AR_HUNT00009794               2006 KJ Invoives AR_HUNT00009740         Groundwater Monitoring 2006, Site                                                     AR_HUNT00009312
                                                                                                                                                                                                                                                                                                                                      monitoring report
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses                                                2006.12.21 KJ Q4 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                                      October (4Q) groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                   AR_HUNT00006530
                                                                                                                                                                                                                                                                                                                                      Scoping activities
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                                                                      management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,                                                      2006 KJ Invoives AR_HUNT00009740
                                                                                                                                                                                                                                                                                                                                      Preparation of 4Q2006 groundwater
                                                               21367         12/8/2006        2       10/28/2006     11/24/2006   Kennedy/Jenks    $12,304.41         $12,304.41           $0.00          $0.00       AR_HUNT00009798               2006 KJ Invoives AR_HUNT00009740         Groundwater Monitoring 2006, Site                                                     2006.12.21 KJ Q4 2006 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                                      monitoring report
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses                                                AR_HUNT00006530
                                                                                                                                                                                                                                                                                                                                      Expense from October (4Q) groundwater
                                                                                                                                                                                                                                                                                                                                      monitoring
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                                                                      management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                      Preparation of 4Q2006 groundwater
                                                               21900         1/10/2007        2       11/25/2006     12/29/2006   Kennedy/Jenks    $7,025.01          $7,025.01            $0.00          $0.00       AR_HUNT00009807               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Direct                                                   2007 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                                                                      monitoring report
                                                                                                                                                                                                                                                                                             Expenses
                                                                                                                                                                                                                                                                                                                                      Expenses from October (4Q) groundwater
                                                                                                                                                                                                                                                                                                                                      monitoring
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                                                               22686         2/9/2007         2       12/30/2006     1/26/2007    Kennedy/Jenks    $15,223.63         $15,223.63           $0.00          $0.00       AR_HUNT00009810               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Direct management                                        2008 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                             Expenses                            1Q2007 groundwater monitoring


                                                                                                                                                                                                                                                                                                                                 Project planning and misc. project
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                 management
                                                               23131         3/8/2007         2        1/27/2007     2/23/2007    Kennedy/Jenks    $22,721.77         $22,721.77           $0.00          $0.00       AR_HUNT00009815               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Direct                                                   2009 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                                                                 Follow up from 1Q2007 groundwater
                                                                                                                                                                                                                                                                                             Expenses
                                                                                                                                                                                                                                                                                                                                 monitoring
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,         management
                                                               23754         4/25/2007        2        2/24/2007     3/30/2007    Kennedy/Jenks    $12,924.17         $12,924.17           $0.00          $0.00       AR_HUNT00009821               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Site        Follow up from 1Q2007 groundwater            2010 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses   monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                 2:17-cv-05247-JFW-JEM Document




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                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,         Project planning and misc. project
                                                               25053         6/25/2007        2        3/31/2007     5/25/2007    Kennedy/Jenks    $27,529.58         $27,529.58           $0.00          $0.00       AR_HUNT00009826               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Direct      management                                   2011 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                             Expenses                                 2Q2007 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,         management
                                                               26031         8/17/2007        2        5/26/2007     7/27/2007    Kennedy/Jenks    $18,935.12         $18,935.12           $0.00          $0.00       AR_HUNT00009835               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Site        3Q2007 groundwater monitoring event          2012 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses   Preparation of 2Q2007 groundwater
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               #:17007




                                                                                                                                                                                                                                                                                                                                      monitoring report
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                #:11091
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                                                                                                                                                                                                                                                                                                                                      management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,         Correspondence with ADEM
                                                               26718         9/11/2007        2        7/28/2007     8/31/2007    Kennedy/Jenks    $9,623.03          $9,623.03            $0.00          $0.00       AR_HUNT00009839               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Site        3Q2007 groundwater monitoring report         2013 KJ Invoices AR_HUNT00009807
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses   and follow up from 3Q2007 groundwater
                                                                                                                                                                                                                                                                                                                                      monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  191-3 Filed




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                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                                                                      management
                                                                                                                                                                                                                                                                                                                                      Preparation of 3Q2007 groundwater
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                      monitoring report                            2014 KJ Invoices AR_HUNT00009807
                                                               28687        11/28/2007        2        9/1/2007      10/26/2007   Kennedy/Jenks    $13,644.34         $13,644.34           $0.00          $0.00       AR_HUNT00009842               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Site
                                                                                                                                                                                                                                                                                                                                      Expenses from from 3Q2007 groundwater        2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses
                                                                                                                                                                                                                                                                                                                                      monitoring
                                                                                                                                                                                                                                                                                                                                      Scoping issues including accessing
                                                                                                                                                                                                                                                                                                                                      Redstone Arsenal data
                                                                                                                                                                                                                                                                                                                                      Project planning and misc. project
                                                                                                                                                                                                                                                                                                                                      management
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                                                                                                                                                                                                                                                                                                                                                                                   2015 KJ Invoices AR_HUNT00009807
                                                               28942        12/12/2007        2       10/27/2007     11/30/2007   Kennedy/Jenks    $33,590.68         $33,590.68           $0.00          $0.00       AR_HUNT00009849               2007 KJ Invoices AR_HUNT00009807         Groundwater Monitoring 2006, Site        monitoring report
                                                                                                                                                                                                                                                                                                                                                                                   2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses   4Q2007 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                      Scoping issues including accessing
                                                                                                                                                                                                                                                                                                                                      Redstone Arsenal data
                                                                                                                                                                                                                                                                                                                                      Project management
                                                                                                                                                                                                                                                                                                                                      Preparation of 3Q2007 and 4Q2007
                                                                                                                                                                                                                                                                                                                                      groundwater monitoring reports
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                                                                                                                                                                                                                                                                                                                                      Expenses from 4Q2007 groundwater             2008.01 - 2008.02 KJ Invoices AR_HUNT00009857
                                                               29718         1/13/2008        2        12/1/2007     12/28/2007   Kennedy/Jenks    $7,304.35          $7,304.35            $0.00          $0.00       AR_HUNT00009857        2008.01 - 2008.02 KJ Invoices AR_HUNT00009857   Groundwater Monitoring 2006, Site
                                                                                                                                                                                                                                                                                                                                      monitoring                                   2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses
                                                                                                                                                                                                                                                                                                                                      Scoping issues including accessing
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Page66




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                                                                                                                                                                                                                                                                                                                                      ADEM
                                                                                                                                                                                                                                                                                                                                      Project management
                                                                                                                                                                                                                                                                                                                                      Preparation for 4Q2007 groundwater
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                      monitoring report                            2008.01 - 2008.02 KJ Invoices AR_HUNT00009857
                                                               30404         2/21/2008        2       12/29/2007     1/25/2008    Kennedy/Jenks    $13,452.85         $13,452.85           $0.00          $0.00       AR_HUNT00009861        2008.01 - 2008.02 KJ Invoices AR_HUNT00009857   Groundwater Monitoring 2006, Site
                                                                                                                                                                                                                                                                                                                                      Scoping issues including accessing           2016.06.21 KJ Site Char Rpt AR_HUNT00012107
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                                                                                                                                                                                                                                                                                                                                      ADEM
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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
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                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source             Invoice Cost Category Description(s)                 Activities/Notes                            Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                 Notes
                                                                                                                                                                                                                                                                                                                                    Project management
                                                                                                                                                                                                                                                                                                                                    Labor and ODCs related to first quarter
                                                                                                                                                                                                                                                                                                                                    2008 monitoring and preparation of the
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                    first quarter 2008 monitoring report
                                                               31045         3/27/2008        2        1/26/2008     2/29/2008    Kennedy/Jenks    $31,586.66         $31,586.66           $0.00          $0.00       AR_HUNT00021858      2008.03.27 KJ Invoice AR_HUNT00021858             Groundwater Monitoring 2006, Site                                                  2008.03.27 KJ Invoice AR_HUNT00021858
                                                                                                                                                                                                                                                                                                                                    Scoping issues. Including research on
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses
                                                                                                                                                                                                                                                                                                                                    accessing Redstone Arsenal data and
                                                                                                                                                                                                                                                                                                                                    contacts. Includes interaction with ADEM
                                                                                                                                                                                                                                                                                                                                    staff.


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                                                                                                                                                                                                                                                                                                                                    Labor and ODCS related to first quarter
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                    2008 monitoring and preparation of the
                                                               31807         4/10/2008        2        3/1/2008      3/28/2008    Kennedy/Jenks    $8,712.28          $8,712.28            $0.00          $0.00       AR_HUNT00021866      2008.04.10 KJ Invoice AR_HUNT00021866             Groundwater Monitoring 2006, Site                                                 2008.04.10 KJ Invoice AR_HUNT00021866
                                                                                                                                                                                                                                                                                                                                    first quarter 2008 monitoring report
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses
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                                                                                                                                                                                                                                                                                                                                    plan. Includes interation with ADEM staff.


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                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                    2008 monitoring and preparation of the
                                                               32516         5/15/2008        2        3/29/2008     4/25/2008    Kennedy/Jenks    $10,602.36         $10,602.36           $0.00          $0.00       AR_HUNT00021869      2008.05.15 KJ Invoice AR_HUNT00021869             Groundwater Monitoring 2006, Site                                                 2008.05.15 KJ Invoice AR_HUNT00021869
                                                                                                                                                                                                                                                                                                                                    first quarter 2008 monitoring report
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses
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                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        Labor and ODCs related to prepatation of
                                                               33202         6/11/2008        2        4/26/2008     5/30/2008    Kennedy/Jenks    $4,665.45          $4,665.45            $0.00          $0.00       AR_HUNT00021872      2008.06.11 KJ Invoice AR_HUNT00021872             Groundwater Monitoring 2006, Site       the first quarter 2008 monitoring report    2008.06.11 KJ Invoice AR_HUNT00021872
                                                                                                                                                                                                                                                                                             Characterization 2006                   Scoping issues and prepatation of work
                                                                                                                                                                                                                                                                                                                                     plan. Includes interaction with ADEM staff.


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                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control, Site   Preparation of 1Q2008 groundwater          2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               33761         7/8/2008         2        5/31/2008     6/27/2008    Kennedy/Jenks    $6,621.25          $6,621.25            $0.00          $0.00       AR_HUNT00009895        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                                                                                                                                                                                                                                                             Characterization 2006                   monitoring report                          2016.06.21 KJ Site Char Rpt AR_HUNT00012107
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                                                                                                                                                                                                                                                                                                                                                                                2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               34474         8/26/2008        2        6/28/2008     7/25/2008    Kennedy/Jenks    $25,056.35         $25,056.35           $0.00          $0.00       AR_HUNT00009892        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864   Groundwater Monitoring 2006, Site      2Q2008 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses Seismic reflection surveys


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                                                                                                                                                                                                                                                                                                                                    3Q2008 groundwater monitoring               2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               35152         9/29/2008        2        7/26/2008     8/29/2008    Kennedy/Jenks    $20,026.18         $20,026.18           $0.00          $0.00       AR_HUNT00009886        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864   Groundwater Monitoring 2006, Site
                                                                                                                                                                                                                                                                                                                                    Seismic reflection surveys                  2016.06.21 KJ Site Char Rpt AR_HUNT00012107
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                                                                                                                                                                                                                                                                                                                                    CPT/MIP fieldwork preparation
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                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,       Preparation of 3Q2008 groundwater
                                                                                                                                                                                                                                                                                                                                                                                2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               35589         10/7/2008        2        8/30/2008     9/26/2008    Kennedy/Jenks    $26,786.32         $26,786.32           $0.00          $0.00       AR_HUNT00009883        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864   Groundwater Monitoring 2006, Site      monitoring report and follow up from
                                                                                                                                                                                                                                                                                                                                                                                2016.06.21 KJ Site Char Rpt AR_HUNT00012107
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                                                                                                                                                                                                                                                                                                                                    CPT/MIP fieldwork
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                                                                                                                                                                                                                                                                                                                                    Preparation of 3Q2008 groundwater
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                    monitoring report and follow up from        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               36811         12/5/2008        2        9/27/2008     10/31/2008   Kennedy/Jenks   $137,657.29        $137,657.29           $0.00          $0.00       AR_HUNT00009877        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864   Groundwater Monitoring 2006, Site
                                                                                                                                                                                                                                                                                                                                    3Q2008 groundwater monitoring               2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses
                                                                                                                                                                                                                                                                                                                                    CPT/MIP fieldwork including expenses
                                                                                                                                                                                                                                                                                                                                    Expenses from Geophysical survey

                                                                                                                                                                                                                                                                                                                                    Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,       Preparation of 2008 quarterly groundwater
                                                                                                                                                                                                                                                                                                                                                                              2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               37458        12/30/2008        2        11/1/2008     11/28/2008   Kennedy/Jenks    $25,608.67         $25,608.67           $0.00          $0.00       AR_HUNT00009871        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864   Groundwater Monitoring 2006, Site      monitoring reports
                                                                                                                                                                                                                                                                                                                                                                              2016.06.21 KJ Site Char Rpt AR_HUNT00012107
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                                                                                                                                                                                                                                                                                                                                    Evaluated CPT/MIP data and seismic data


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                                                                                                                                                                                                                                                                                                                                    Preparation of 2008 quarterly groundwater
                                                                                                                                                                                                                                                                                                                                    monitoring reports
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                    Follow up from 4Q2008 groundwater         2008.07 - 2009.01 KJ Invoices AR_HUNT00009864
                                                               37949         1/22/2009        2       11/29/2008     12/29/2008   Kennedy/Jenks    $25,349.96         $25,349.96           $0.00          $0.00       AR_HUNT00009864        2008.07 - 2009.01 KJ Invoices AR_HUNT00009864   Groundwater Monitoring 2006, Site
                                                                                                                                                                                                                                                                                                                                    monitoring                                2016.06.21 KJ Site Char Rpt AR_HUNT00012107
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                                                                                                                                                                                                                                                                                                                                    Evaluated CPT/MIP data and seismic data
                                                                                                                                                                                                                                                                                                                                    Planning for well installations
                                                                                                                                                                                                                                                                                                                                    GIS database preparation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Page67




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                                                                                                                                                                                                                                                                                                                                    Preparation of 2008 quarterly groundwater
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,       monitoring reports
                                                               38646         2/27/2009        2       12/29/2008     1/30/2009    Kennedy/Jenks    $24,310.75         $24,310.75           $0.00          $0.00       AR_HUNT00009945        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898   Groundwater Monitoring 2006, Site      Follow up and expenses from 4Q2008        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Characterization 2006, Direct Expenses groundwater monitoring
                                                                                                                                                                                                                                                                                                                                    Planning for well installations
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  89 Page




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                                                                                                                                                                                                                                    Exhibit B - Invoice Summary
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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
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                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source             Invoice Cost Category Description(s)                 Activities/Notes                               Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                                          Notes
                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                     1Q2009 groundwater monitoring report
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                     preparation                                 2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                               39124         3/19/2009        2        2/1/2009       3/6/2009    Kennedy/Jenks    $65,427.73         $65,427.73           $0.00          $0.00       AR_HUNT00009941        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898   Regolith Groundwater Well
                                                                                                                                                                                                                                                                                                                                     Regolith groundwater well                   2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Installation & Destruction, Direct
                                                                                                                                                                                                                                                                                                                                     installation/destruction activities
                                                                                                                                                                                                                                                                                             Expenses
                                                                                                                                                                                                                                                                                                                                     GIS database preparation                                                                          New Task Code Headings
                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                     1Q2009 groundwater monitoring report
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                     preparation
                                                                                                                                                                                                                                                                                             Regolith Groundwater Well
                                                               39753         4/22/2009        2        3/7/2009       4/3/2009    Kennedy/Jenks    $56,693.00         $56,693.00           $0.00          $0.00       AR_HUNT00009937        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                           Regolith groundwater well installation      2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Installation & Destruction, Reporting
                                                                                                                                                                                                                                                                                                                                     activities and expenses
                                                                                                                                                                                                                                                                                             for Seismic Reflection and CPT/MIP
                                                                                                                                                                                                                                                                                                                                     Seismic reflection and CPT/MIP data
                                                                                                                                                                                                                                                                                             Invesigations, Direct Expenses
                                                                                                                                                                                                                                                                                                                                     evaluation
                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        Preparation for 2Q2009 groundwater
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,       monitoring
                                                               40379         5/20/2009        2        4/4/2009      4/24/2009    Kennedy/Jenks    $27,098.07         $27,098.07           $0.00          $0.00       AR_HUNT00009932        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898   Regolith Groundwater Well               Regolith groundwater well development       2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Installation & Destruction, Direct      expenses, preparation of boring logs, and
                                                                                                                                                                                                                                                                                             Expenses                                land survey

                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                     2Q2009 groundwater monitoring
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                     Summary report preparation in relation to   2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Regolith Groundwater Well
                                                               41541         7/2/2009         2        4/25/2009     5/29/2009    Kennedy/Jenks    $59,868.59         $43,334.15        $16,534.44        $0.00       AR_HUNT00009927        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                           Regolith groundwater                        2009.06.17 KJ Indoor Air Screening and Seismic test
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case2:17-cv-05247-JFW-JEM




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                                                                                                                                                                                                                                                                                                                                     Indoor air sampling and preparation of      AR_HUNT00008474
                                                                                                                                                                                                                                                                                             Indoor Air Screening-Level
                                                                                                                                                                                                                                                                                                                                     figures/tables associated with High Bay
                                                                                                                                                                                                                                                                                             Assessment, Direct Expenses
                                                                                                                                                                                                                                                                                                                                     indoor air results
                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        1Q2009 and 2Q2009 groundwater
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,       monitoring report preparation
                                                                                                                                                                                                                                                                                                                                                                                 2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Regolith Groundwater Well               Summary report preparation in relation to
                                                               41730         7/21/2009        2        5/30/2009     6/26/2009    Kennedy/Jenks    $22,355.90         $18,276.57         $4,079.33        $0.00       AR_HUNT00009923        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                                                                       2009.06.17 KJ Indoor Air Screening and Seismic test
                                                                                                                                                                                                                                                                                             Installation & Destruction, High Bay    Regolith groundwater
                                                                                                                                                                                                                                                                                                                                                                                 AR_HUNT00008474
                                                                                                                                                                                                                                                                                             Indoor Air Screening-Level              Preparation of High Bay Indoor Air letter
                                                                                                                                                                                                                                                                                             Assessment, Direct Expenses             report

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2:17-cv-05247-JFW-JEM Document




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                                                                                                                                                                                                                                                                                                                                     monitoring report preparation
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                     Summary report preparation in relation to
                                                               42360         8/12/2009        2        6/27/2009     7/31/2009    Kennedy/Jenks    $33,811.82         $33,811.82           $0.00          $0.00       AR_HUNT00009919        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898   Regolith Groundwater Well                                                         2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                                                                     Regolith groundwater
                                                                                                                                                                                                                                                                                             Installation & Destruction, Report
                                                                                                                                                                                                                                                                                                                                     Seismic reflection & CPT/MIP data
                                                                                                                                                                                                                                                                                             Seismic Reflection & CPT/MIP
                                                                                                                                                                                                                                                                                                                                     evaluation


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                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,       3Q2009 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     #:17009




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      #:11093




                                                               43009         9/18/2009        2        8/1/2009      8/28/2009    Kennedy/Jenks    $53,340.97         $53,340.97           $0.00          $0.00       AR_HUNT00009915        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                                                                     2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
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                                                                                                                                                                                                                                                                                             Seismic Reflection & CPT/MIP, Direct    Seismic reflection & CPT/MIP data
                                                                                                                                                                                                                                                                                             Expenses                                evaluation
                                                                                                                                                                                                                                                                                                                                 Project management
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                                                                                                                                                                                                                                                                                                                                 3Q2009 and 4Q2009 groundwater
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                 monitoring and reporting
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        191-3 Filed




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                                                               43843        10/27/2009        2        8/28/2009     9/25/2009    Kennedy/Jenks    $40,730.06         $40,730.06           $0.00          $0.00       AR_HUNT00009911        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                       Summary report preparation in relation to 2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Installation & Destruction, Report
                                                                                                                                                                                                                                                                                                                                 Regolith groundwater
                                                                                                                                                                                                                                                                                             Seismic Reflection & CPT/MIP, Direct
                                                                                                                                                                                                                                                                                                                                 Seismic reflection & CPT/MIP data
                                                                                                                                                                                                                                                                                             Expenses
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                                                                                                                                                                                                                                                                                                                                 Follow up from 4Q2009 groundwater
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,    monitoring 4Q2009 groundwater
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,   monitoring
                                                                                                                                                                                                                                                                                             Regolith Groundwater Well           Geologic cross-section preparation
                                                               44600        12/18/2009        2        9/26/2009     10/30/2009   Kennedy/Jenks    $55,642.02         $55,642.02           $0.00          $0.00       AR_HUNT00009907        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                                                                 2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Installation & Destruction, Report  Seismic reflection & CPT/MIP data
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                                                                                                                                                                                                                                                                                             Equipment Purchase, Direct Expenses Purchase of field equipment for
                                                                                                                                                                                                                                                                                                                                 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                 ADEM project meeting coordination
                                                                                                                                                                                                                                                                                                                                 Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,    Communications with ADEM
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,   Follow up from 4Q2009 groundwater
                                                                                                                                                                                                                                                                                             Regolith Groundwater Well           monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     04/08/20 Page




                                                               45084         1/6/2010         2       10/31/2009     11/27/2009   Kennedy/Jenks    $45,313.41         $45,313.41           $0.00          $0.00       AR_HUNT00009903        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                                                                 2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Installation & Destruction, Report  Conceptual Site Model development
                                                                                                                                                                                                                                                                                             Seismic Reflection & CPT/MIP,       Seismic data evaluation
                                                                                                                                                                                                                                                                                             Equipment Purchase, Direct Expenses Field equipment - Transducer software
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                                                                                                                                                                                                                                                                                                                                 expenses
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        Project management
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,       December 2009 ADEM meeting
                                                                                                                                                                                                                                                                                                                                                                            2009.02 - 2010.02 KJ Invoices AR_HUNT00009898
                                                                                                                                                                                                                                                                                             Regolith Groundwater Well               (preparation and attendance)
                                                               45690         2/3/2010         2       11/28/2009     12/25/2009   Kennedy/Jenks    $42,297.24         $42,297.24           $0.00          $0.00       AR_HUNT00009898        2009.02 - 2010.02 KJ Invoices AR_HUNT00009898                                                                                  2009 KJ Slide Presentation Wyle Hunstville Env
                                                                                                                                                                                                                                                                                             Installation & Destruction, Report      4Q2009 groundwater monitoring expenses
                                                                                                                                                                                                                                                                                                                                                                            Overview through 2009 AR_HUNT00002642
                                                                                                                                                                                                                                                                                             Seismic Reflection & CPT/MIP, Direct    and report preparation
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           89 Page




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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
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                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source              Invoice Cost Category Description(s)                Activities/Notes                              Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                                         Notes
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                                                                                                                                                                                                                                                                                                                                   2009 quarterly groundwater monitoring
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   expenses                                       2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                                                                                                                                                                                                                                                             Quarterly Groundwater Monitoring,
                                                               46229         3/1/2010         2       12/26/2009     1/29/2010    Kennedy/Jenks    $15,530.97         $15,530.97           $0.00          $0.00       AR_HUNT00009975        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949                                         Preparation of work plan for site              2010.04.19 KJ Site Char and Routine GW Mon WP
                                                                                                                                                                                                                                                                                             Bedrock Well Installation Work Plan,
                                                                                                                                                                                                                                                                                                                                   characterization activities and routine        AR_HUNT00008607
                                                                                                                                                                                                                                                                                             Direct Expenses
                                                                                                                                                                                                                                                                                                                                   groundwater monitoring proposed for
                                                                                                                                                                                                                                                                                                                                   2010.
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,      Preparation of work plan for site              2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                               46560         3/11/2010        3        1/31/2010     2/26/2010    Kennedy/Jenks    $9,209.41          $9,209.41            $0.00          $0.00       AR_HUNT00009972        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949   Bedrock Well Installation Work Plan, characterization activities and routine         2010.04.19 KJ Site Char and Routine GW Mon WP
                                                                                                                                                                                                                                                                                             Direct Expenses                       groundwater monitoring proposed for            AR_HUNT00008607
                                                                                                                                                                                                                                                                                                                                   2010.
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                                                                                                                                                                                                                                                                                                                                   Analyze quarterly groundwater data using
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   GIS                                            2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,
                                                               47689         5/6/2010         3        2/27/2010     3/26/2010    Kennedy/Jenks    $15,700.57         $14,892.81          $807.76         $0.00       AR_HUNT00009969        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949                                         Preparation for 2010 field characterization    2010.05.28 KJ Project Summary and Prelim Remed
                                                                                                                                                                                                                                                                                             Field Characterization 2010,
                                                                                                                                                                                                                                                                                                                                   effort                                         Costs AR_HUNT00000008
                                                                                                                                                                                                                                                                                             Remediation Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   Internal discussions regarding future
                                                                                                                                                                                                                                                                                                                                   remediation alternatives
                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        Communications with ADEM
                                                               47899         5/19/2010        3        3/27/2010     4/30/2010    Kennedy/Jenks    $15,751.07         $15,751.07           $0.00          $0.00       AR_HUNT00009966        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949   Routine Groundwater Monitoring,         Revised Huntsville cost estimate letter      2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                                                                                                                                                                                                                                                             Direct Expenses                         2Q2010 groundwater monitoring
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                                                                                                                                                                                                                                                                                                                                     preparation


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                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                     Project management                                                                            Costs letter report was submitted to Arrow
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,
                                                               48567         6/22/2010        3        5/1/2010      5/28/2010    Kennedy/Jenks    $22,614.59         $22,614.59           $0.00          $0.00       AR_HUNT00009963        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949                                           2Q2010 groundwater monitoring                 2010.03 - 2010.10 KJ Invoices AR_HUNT00009949   counsel dated 5/28/10. Costs for preparing this
                                                                                                                                                                                                                                                                                             Field Characterization 2010, Direct
                                                                                                                                                                                                                                                                                                                                     Preparation for field characterization effort                                                 report do not appear in the invoices leading up
                                                                                                                                                                                                                                                                                             Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                   to its submission

                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        Groundwater monitoring report
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,         preparation                                2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                               49463         7/22/2010        3        5/29/2010     6/25/2010    Kennedy/Jenks    $25,311.43         $25,311.43           $0.00          $0.00       AR_HUNT00009960        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                                                                                                                                                                                                                                                             Field Characterization 2010, Direct     2Q2010 groundwater monitoring expenses 2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                             Expenses                                Preparation for first phase of bedrock and
                                                                                                                                                                                                                                                                                                                                     regolith well installation
                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        Groundwater monitoring report
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,         preparation                                  2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                               49964         9/3/2010         3        6/26/2010     7/30/2010    Kennedy/Jenks    $27,027.94         $26,702.75          $325.19         $0.00       AR_HUNT00009956        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                                                                                                                                                                                                                                                             Field Characterization 2010,            Preparation for first phase of bedrock and   2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Remediation Planning, Direct Expenses   regolith well installation activities
                                                                                                                                                                                                                                                                                                                                     Remediation planning expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         #:17010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #:11094




                                                                                                                                                                                                                                                                                                                                     Project management
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                                                                                                                                                                                                                                                                                                                                     3Q2010 groundwater monitoring and
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                     expenses
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,                                                      2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                               50622         9/17/2010        3        7/31/2010     8/27/2010    Kennedy/Jenks    $45,384.60         $45,384.60           $0.00          $0.00       AR_HUNT00009953        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949                                           Complete first phase of 2010 field program
                                                                                                                                                                                                                                                                                             Field Characterization 2010, Direct                                                  2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                                     (drill below grade at MW-24, perform
                                                                                                                                                                                                                                                                                             Expenses
                                                                                                                                                                                                                                                                                                                                     downhole geophysics, install regolith
                                                                                                                                                                                                                                                                                                                                     cluster wells)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            191-3 Filed




                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        3Q2010 groundwater monitoring
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,         Well development and completion              2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                               51487        10/28/2010        3        8/28/2010     9/24/2010    Kennedy/Jenks    $41,190.39         $41,190.39           $0.00          $0.00       AR_HUNT00009949        2010.03 - 2010.10 KJ Invoices AR_HUNT00009949
                                                                                                                                                                                                                                                                                             Field Characterization 2010, Direct     activities including completion of MW-6      2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                             Expenses                                and installation of flute liner into MW-24
                                                                                                                                                                                                                                                                                                                                     borehole

                                                                                                                                                                                                                                                                                                                                     Project management
                                                                                                                                                                                                                                                                                                                                     3Q2010 groundwater monitoring follow up
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,        and report preparation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Filed04/03/20




                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,         Evaluation of data derived from
                                                               52142        11/22/2010        3        9/25/2010     10/29/2010   Kennedy/Jenks    $39,290.97         $34,266.52         $5,024.45        $0.00       AR_HUNT00011558          2010.11.22 KJ Invoice AR_HUNT00011558.pdf                                                                                        2010.11.22 KJ Invoice AR_HUNT00011558.pdf
                                                                                                                                                                                                                                                                                             Field Characterization 2010,            August/September 2010 drilling effort
                                                                                                                                                                                                                                                                                             Remediation Planning, Direct Expenses   Downhole geophysical logging expenses
                                                                                                                                                                                                                                                                                                                                     Evaluation of remediation technologies for
                                                                                                                                                                                                                                                                                                                                     soil and groundwater.

                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   4Q2010 groundwater monitoring
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         04/08/20 Page




                                                               52708        12/17/2010        3       10/30/2010     11/26/2010   Kennedy/Jenks    $31,522.66         $23,743.36         $7,779.30        $0.00       AR_HUNT00011555            2010.12.17 KJ Invoice AR_HUNT00011555                                             Preparation for drilling of second bedrock     2010.12.17 KJ Invoice AR_HUNT00011555
                                                                                                                                                                                                                                                                                             Field Characterization 2010,
                                                                                                                                                                                                                                                                                                                                   well
                                                                                                                                                                                                                                                                                             Remediation Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   Evaluation of remedial alternatives
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Page69




                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                   Groundwater monitoring report
                                                                                                                                                                                                                                                                                             Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   preparation
                                                                                                                                                                                                                                                                                             Routine Groundwater Monitoring,
                                                               53773         2/3/2011         3       11/27/2010     12/31/2010   Kennedy/Jenks    $27,834.93         $21,443.54         $6,391.39        $0.00       AR_HUNT00011551            2011.02.03 KJ Invoice AR_HUNT00011551                                             4Q2010 groundwater monitoring expenses 2011.02.03 KJ Invoice AR_HUNT00011551
                                                                                                                                                                                                                                                                                             Field Characterization 2010,
                                                                                                                                                                                                                                                                                                                                   Preparation for drilling of second bedrock
                                                                                                                                                                                                                                                                                             Remediation Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   well
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        69ofof89




                                                                                                                                                                                                                                                                                                                                   Evaluation of remedial alternatives
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               89 Page




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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source         Invoice Cost Category Description(s)                    Activities/Notes                             Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                               Notes

                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   Data evaluation for Wyle Huntsville
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,                                                        2011.02.28 KJ Invoice AR_HUNT00011546
                                                               54090         2/28/2011        3        1/1/2011      1/28/2011    Kennedy/Jenks    $32,831.65         $32,831.65           $0.00          $0.00       AR_HUNT00011546            2011.02.28 KJ Invoice AR_HUNT00011546                                             groundwater monitoring events
                                                                                                                                                                                                                                                                                         Field Characterization 2010, Direct                                                    2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                                   Drill pilot borehole for MW-27 and review
                                                                                                                                                                                                                                                                                         Expenses
                                                                                                                                                                                                                                                                                                                                   geologic conditions within regolith
                                                                                                                                                                                                                                                                                                                               Project management
                                                                                                                                                                                                                                                                                                                               Onsite meeting with Arrow
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,      1Q2011 and 2Q2011 groundwater
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,       monitoring                                       2011.05.18 KJ Invoice AR_HUNT00011379
                                                               56161         5/18/2011        3        3/26/2011     4/29/2011    Kennedy/Jenks    $76,039.56         $73,548.01         $2,491.55        $0.00       AR_HUNT00011379            2011.05.18 KJ Invoice AR_HUNT00011379
                                                                                                                                                                                                                                                                                         Field Characterization 2010,          Drilling at well location MW-27                  2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                         Remediation Planning, Direct Expenses Fees associated with cancellation of down
                                                                                                                                                                                                                                                                                                                               hole geophysics
                                                                                                                                                                                                                                                                                                                               Evaluated remedial options
                                                                                                                                                                                                                                                                                                                               Project management
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,      Groundwater monitoring report
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,       preparation                                      2011.06.17 KJ Invoice AR_HUNT00011541
                                                               56895         6/17/2011        3        4/30/2011     5/27/2011    Kennedy/Jenks    $47,400.25         $45,097.74         $2,302.51        $0.00       AR_HUNT00011541            2011.06.17 KJ Invoice AR_HUNT00011541
                                                                                                                                                                                                                                                                                         Field Characterization 2010,          Drilling at well location MW-27.                 2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                         Remediation Planning, Direct Expenses Development of conceptual site model
                                                                                                                                                                                                                                                                                                                               Evaluation of remedial options

                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,          Groundwater monitoring report
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,           preparation                                  2011.07.08 KJ Invoice AR_HUNT00011537
                                                                                                                                                                                                                                                                                                                                                                                                                                       Case2:17-cv-05247-JFW-JEM




                                                               57337         7/8/2011         3        5/28/2011     6/24/2011    Kennedy/Jenks    $23,957.02         $23,461.63          $495.39         $0.00       AR_HUNT00011537            2011.07.08 KJ Invoice AR_HUNT00011537
                                                                                                                                                                                                                                                                                         Field Characterization 2010,              Waste management and data compilation        2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                         Remediation Planning, Direct Expenses     from May 2011 drilling activities
                                                                                                                                                                                                                                                                                                                                   Evaluation of remedial options


                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                   Research of F-1 rocket testing and ordering
                                                                                                                                                                                                                                                                                                                                   and examining aerial photographs
                                                                                                                                                                                                                                                                                                                                   2Q2011 groundwater monitoring report
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   preparation
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                   3Q2011 groundwater monitoring
                                                               59006         9/15/2011        3        6/25/2011     8/26/2011    Kennedy/Jenks   $108,691.67        $106,695.59         $1,996.08        $0.00       AR_HUNT00011526            2011.09.15 KJ Invoice AR_HUNT00011526   Field Characterization 2010, Source                                                   2011.09.15 KJ Invoice AR_HUNT00011526
                                                                                                                                                                                                                                                                                                                                   Development of conceptual site model
                                                                                                                                                                                                                                                                                         Area Screening & Reporting, Initial
                                                                                                                                                                                                                                                                                                                                   Interpretation of geophysical & CPT/MIP
                                                                                                                                                                                                                                                                                         Risk Assessment, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   data
                                                                                                                                                                                                                                                                                                                                                                                                                                            2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                                   Site-specific risk evaluation
                                                                                                                                                                                                                                                                                                                                   Geophysical expenses


                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                   Conceptual site model formulation
                                                                                                                                                                                                                                                                                                                                   3Q2011 groundwater monitoring report
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   preparation
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #:17011




                                                                                                                                                                                                                                                                                                                                   4Q2011 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           #:11095




                                                               60733        11/29/2011        3        9/??/2011     10/28/2011   Kennedy/Jenks    $85,441.91         $79,429.75         $6,012.16        $0.00       AR_HUNT00011521            2011.11.29 KJ Invoice AR_HUNT00011521   Field Characterization 2010, Remedial                                                  2011.11.29 KJ Invoice AR_HUNT00011521
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Document200-106




                                                                                                                                                                                                                                                                                                                                   Installation of cluster wells at MW-28 and
                                                                                                                                                                                                                                                                                         Investigation, Initial Risk Assessment,
                                                                                                                                                                                                                                                                                                                                   MW-29
                                                                                                                                                                                                                                                                                         Remediation Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   Drill pilot borehole MW-28X
                                                                                                                                                                                                                                                                                                                                   Data evaluation for preliminary risk
                                                                                                                                                                                                                                                                                                                                   screening evaluation
                                                                                                                                                                                                                                                                                                                               Project management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             191-3 Filed




                                                                                                                                                                                                                                                                                                                               4Q2011 groundwater monitoring
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                               Profiling/management of waste generated
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,
                                                               60841        12/16/2011        3       10/29/2011     11/25/2011   Kennedy/Jenks    $21,360.19         $19,551.00         $1,809.19        $0.00       AR_HUNT00011517            2011.12.16 KJ Invoice AR_HUNT00011517                                         from drilling and well development      2011.12.16 KJ Invoice AR_HUNT00011517
                                                                                                                                                                                                                                                                                         Field Characterization 2010, Remedial
                                                                                                                                                                                                                                                                                                                               Development of CSM
                                                                                                                                                                                                                                                                                         Investigation, Direct Expenses
                                                                                                                                                                                                                                                                                                                               Remedial investigation (no description
                                                                                                                                                                                                                                                                                                                               provided)

                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,      Project management
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,       4Q2011 groundwater monitoring report
                                                               61782         1/13/2012        3       11/26/2011     12/30/2011   Kennedy/Jenks    $30,511.95         $30,511.95           $0.00          $0.00       AR_HUNT00011512            2012.01.13 KJ Invoice AR_HUNT00011512                                                                                          2012.01.13 KJ Invoice AR_HUNT00011512
                                                                                                                                                                                                                                                                                         Field Characterization 2010, Direct   preparation and expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Filed04/03/20




                                                                                                                                                                                                                                                                                         Expenses                              Development of conceptual site model
                                                                                                                                                                                                                                                                                                                               Project management
                                                                                                                                                                                                                                                                                                                               4Q2011 groundwater monitoring report
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,      preparation
                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,       1Q2012 groundwater monitoring
                                                               62475         2/8/2012         3       12/31/2011     1/27/2012    Kennedy/Jenks    $24,136.58         $21,332.48         $2,804.10        $0.00       AR_HUNT00011508            2012.02.08 KJ Invoice AR_HUNT00011508                                                                                          2012.02.08 KJ Invoice AR_HUNT00011508
                                                                                                                                                                                                                                                                                         Field Characterization 2010,          preparation
                                                                                                                                                                                                                                                                                         Remediation Planning, Direct Expenses Development of conceptual site model
                                                                                                                                                                                                                                                                                                                               Remediation planning (no description
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          04/08/20 Page




                                                                                                                                                                                                                                                                                                                               provided)

                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                         Project Mgmt. & Quality Control,          1Q2012 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page70




                                                                                                                                                                                                                                                                                         Routine Groundwater Monitoring,           4Q2011 groundwater monitoring report
                                                               63140         3/7/2012         3        1/28/2012     2/24/2012    Kennedy/Jenks    $43,985.65         $41,734.85         $2,250.80        $0.00       AR_HUNT00011503             2012.03.07 KJ InvoiceAR_HUNT00011503                                                                                          2012.03.07 KJ InvoiceAR_HUNT00011503
                                                                                                                                                                                                                                                                                         Field Characterization 2010,              preparation
                                                                                                                                                                                                                                                                                         Remediation Planning, Direct Expenses     Development of conceptual site model
                                                                                                                                                                                                                                                                                                                                   Discussion of potential remedial options

                                                                                                                                                                                                                                                                                                                                   Laboratory analytical fees for analysis of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         70ofof89




                                                              C2-13471       3/8/2012         3        2/7/2012      2/14/2012    SGS Accutest     $4,800.00          $4,800.00            $0.00          $0.00       AR_HUNT00011564           2012.03.08 SGS Invoice AR_HUNT00011564   NA                                                                                     2012.03.08 SGS Invoice AR_HUNT00011564
                                                                                                                                                                                                                                                                                                                                   VOCs for 64 samples
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                89 Page




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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
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                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source            Invoice Cost Category Description(s)               Activities/Notes                               Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                              Notes


                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   4Q2011 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                   preparation
                                                               64042         4/18/2012        3        2/25/2012     3/30/2012    Kennedy/Jenks    $19,912.52         $19,345.19          $567.33         $0.00       AR_HUNT00011499            2012.04.18 KJ Invoice AR_HUNT00011499     Field Characterization 2010, Source                                              2012.04.18 KJ Invoice AR_HUNT00011499
                                                                                                                                                                                                                                                                                                                                   1Q2012 groundwater monitoring expenses
                                                                                                                                                                                                                                                                                           Area Screening & Reporting,
                                                                                                                                                                                                                                                                                                                                   Development of conceptual site model
                                                                                                                                                                                                                                                                                           Remediation Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   Discussion of potential remedial options


                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Project management
                                                               65136         5/31/2012        3        3/31/2012     4/27/2012    Kennedy/Jenks    $3,325.81          $3,325.81            $0.00          $0.00       AR_HUNT00011496            2012.05.31 KJ Invoice AR_HUNT00011496     Routine Groundwater Monitoring,       4Q2011 groundwater monitoring report          2012.05.31 KJ Invoice AR_HUNT00011496
                                                                                                                                                                                                                                                                                           Direct Expenses                       preparation
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Project management
                                                               66031         7/10/2012        3        4/28/2012     5/25/2012    Kennedy/Jenks    $5,482.24          $5,482.24            $0.00          $0.00       AR_HUNT00011493            2012.07.10 KJ Invoice AR_HUNT00011493     Routine Groundwater Monitoring,       Ongoing reporting and groundwater             2012.07.10 KJ Invoice AR_HUNT00011493
                                                                                                                                                                                                                                                                                           Direct Expenses                       monitoring data evaluation
                                                                                                                                                                                                                                                                                                                                 Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                 2Q2012 groundwater monitoring
                                                               66351         7/30/2012        3        5/26/2012     6/29/2012    Kennedy/Jenks    $42,188.32         $42,188.32           $0.00          $0.00       AR_HUNT00011490            2012.07.30 KJ Invoice AR_HUNT00011490     Routine Groundwater Monitoring,                                                     2012.07.30 KJ Invoice AR_HUNT00011490
                                                                                                                                                                                                                                                                                                                                 Preparation of 1Q2012 groundwater
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                 monitoring report
                                                                                                                                                                                                                                                                                                                                 Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Follow up from 2Q2012 groundwater
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,       monitoring
                                                               66958         9/7/2012         3        6/30/2012     7/27/2012    Kennedy/Jenks    $21,840.88         $21,431.90          $408.98         $0.00       AR_HUNT00011487            2012.09.07 KJ Invoice AR_HUNT00011487                                                                                         2012.09.07 KJ Invoice AR_HUNT00011487
                                                                                                                                                                                                                                                                                           Source Area Screening & Reporting,    Subcontractor research for Source Area
                                                                                                                                                                                                                                                                                           Remediation Planning, Direct Expenses Screening Study
                                                                                                                                                                                                                                                                                                                                                                                                                                      Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                 Discussion of future remedial efforts
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Project management
                                                               68007         9/26/2012        3        7/28/2012     8/31/2012    Kennedy/Jenks    $2,648.32          $2,648.32            $0.00          $0.00       AR_HUNT00011484            2012.09.26 KJ Invoice AR_HUNT00011484     Routine Groundwater Monitoring,       Follow up from 2Q2012 groundwater             2012.09.26 KJ Invoice AR_HUNT00011484
                                                                                                                                                                                                                                                                                           Direct Expenses                       monitoring
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Project management
                                                               68780         11/5/2012        3        9/1/2012      9/28/2012    Kennedy/Jenks    $1,445.68          $1,445.68            $0.00          $0.00       AR_HUNT00011481            2012.11.05 KJ Invoice AR_HUNT00011481     Routine Groundwater Monitoring,       Follow up from 2Q2012 groundwater             2012.11.05 KJ Invoice AR_HUNT00011481
                                                                                                                                                                                                                                                                                           Direct Expenses                       monitoring
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Project management
                                                               69085        11/21/2012        3        9/29/2012     10/26/2012   Kennedy/Jenks    $2,851.63          $2,851.63            $0.00          $0.00       AR_HUNT00011478            2012.11.21 KJ Invoice AR_HUNT00011478     Routine Groundwater Monitoring,       Expenses related to groundwater               2012.11.21 KJ Invoice AR_HUNT00011478
                                                                                                                                                                                                                                                                                           Direct Expenses                       monitoring
                                                                                                                                                                                                                                                                                                                                 Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                 Expenses related to groundwater
                                                               69801        12/13/2012        3       10/27/2012     11/30/2012   Kennedy/Jenks    $10,488.05         $10,488.05           $0.00          $0.00       AR_HUNT00011475            2012.12.13 KJ Invoice AR_HUNT00011475     Routine Groundwater Monitoring,                                                     2012.12.13 KJ Invoice AR_HUNT00011475
                                                                                                                                                                                                                                                                                                                                 monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                           2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                 Groundwater monitoring reporting
                                                                                                                                                                                                                                                                                                                                 Laboratory analytical fees for analysis of
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                 VOCs for 9 samples , dissolved gases for 6
                                                              C2-18205       2/6/2013         3           NA            NA        SGS Accutest     $3,003.00          $3,003.00            $0.00          $0.00       AR_HUNT00011566           2013.02.06 SGS Invoice AR_HUNT00011566     Routine Groundwater Monitoring,                                                     2013.02.06 SGS Invoice AR_HUNT00011566
                                                                                                                                                                                                                                                                                                                                 samples and select inorganic constituents
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                 for 6 samples
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,      Project management
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,       Preparation of groundwater monitoring
                                                               71090         2/7/2013         3        12/1/2012     1/25/2013    Kennedy/Jenks    $24,795.63         $24,795.63           $0.00          $0.00       AR_HUNT00011472            2013.02.07 KJ Invoice AR_HUNT00011472                                                                                         2013.02.07 KJ Invoice AR_HUNT00011472
                                                                                                                                                                                                                                                                                           Field Characterization 2010, Direct   report
                                                                                                                                                                                                                                                                                           Expenses                              1Q2013 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         #:17012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #:11096




                                                                                                                                                                                                                                                                                                                                 Laboratory analytical fees for analysis of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Document200-106




                                                                                                                                                                                                                                                                                                                                 VOCs for 7 samples , dissolved gases for 4
                                                              C2-18269       2/8/2013         3           NA            NA        SGS Accutest     $2,065.00          $2,065.00            $0.00          $0.00       AR_HUNT00011568           2013.02.08 SGS Invoice 2 AR_HUNT00011568   NA                                                                                  2013.02.08 SGS Invoice 2 AR_HUNT00011568
                                                                                                                                                                                                                                                                                                                                 samples and select inorganic constituents
                                                                                                                                                                                                                                                                                                                                 for 4 samples
                                                                                                                                                                                                                                                                                                                                 Laboratory analytical fees for analysis of
                                                                                                                                                                                                                                                                                                                                 VOCs for 5 samples , dissolved gases for 3
                                                              C2-18243       2/8/2013         3           NA            NA        SGS Accutest     $1,539.00          $1,539.00            $0.00          $0.00       AR_HUNT00011567           2013.02.08 SGS Invoice AR_HUNT00011567     NA                                                                                  2013.02.08 SGS Invoice AR_HUNT00011567
                                                                                                                                                                                                                                                                                                                                 samples and select inorganic constituents
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            191-3 Filed




                                                                                                                                                                                                                                                                                                                                 for 3 samples




                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                   Preparation and execution of February
                                                                                                                                                                                                                                                                                                                                   2013 meeting/presentation with ADEM
                                                                                                                                                                                                                                                                                                                                   Development of and work plan preparation
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   for future remedial investigations          2013.04.23 KJ Invoice AR_HUNT00011466
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                   Development of future remedial activities   2013.02.21 Slide Presentation Wyle Progress
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Filed04/03/20




                                                               72483         4/23/2013        3        1/26/2013     3/29/2013    Kennedy/Jenks    $92,691.93         $69,792.31        $22,899.62        $0.00       AR_HUNT00011466            2013.04.23 KJ Invoice AR_HUNT00011466     Remedial Investigation, Source Area
                                                                                                                                                                                                                                                                                                                                   2Q2012 groundwater monitoring report        through 2012 meeting with ADEM
                                                                                                                                                                                                                                                                                           Screening & Reporting, Initial Risk
                                                                                                                                                                                                                                                                                                                                   1Q2013 groundwater monitoring               AR_HUNT00005270
                                                                                                                                                                                                                                                                                           Assessment, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   GIS data basing
                                                                                                                                                                                                                                                                                                                                   Assess feasibility of remedial efforts
                                                                                                                                                                                                                                                                                                                                   Development of soil vapor sampling plan
                                                                                                                                                                                                                                                                                                                                   Planning for human health risk assessment
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         04/08/20 Page




                                                                                                                                                                                                                                                                                                                                   Project management
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                                                                                                                                                                                                                                                                                                                                   Development and costing for future
                                                                                                                                                                                                                                                                                                                                   remedial investigations
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   workplan preparation for remedial and
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,
                                                               73112         5/23/2013        3        3/30/2013     4/26/2013    Kennedy/Jenks    $24,570.18         $18,547.06         $6,023.12        $0.00       AR_HUNT00011463            2013.05.23 KJ Invoice AR_HUNT00011463                                             health risk investigations                  2013.05.23 KJ Invoice AR_HUNT00011463
                                                                                                                                                                                                                                                                                           Remedial Investigation, Initial Risk
                                                                                                                                                                                                                                                                                                                                   1Q2013 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Assessment, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   GIS data basing
                                                                                                                                                                                                                                                                                                                                   Planning for remedial efforts
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                                                                                                                                                                                                                                                                                                                                   Planning for health risk assessment
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                                                                                                                                                                                                                                    Exhibit B - Invoice Summary
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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source            Invoice Cost Category Description(s)                Activities/Notes                           Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                                 Notes

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                                                                                                                                                                                                                                                                                                                                   Development and costing for future
                                                                                                                                                                                                                                                                                                                                   remedial investigations
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   workplan preparation for remedial and
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,
                                                               74056         7/18/2013        3        4/27/2013     5/31/2013    Kennedy/Jenks    $16,180.13         $14,395.83         $1,784.30        $0.00       AR_HUNT00011458            2013.07.18 KJ Invoice AR_HUNT00011458                                             health risk investigations                2013.07.18 KJ Invoice AR_HUNT00011458
                                                                                                                                                                                                                                                                                           Remedial Investigation, Initial Risk
                                                                                                                                                                                                                                                                                                                                   1Q2013 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Assessment, Direct Expenses
                                                                                                                                                                                                                                                                                                                                   GIS data basing
                                                                                                                                                                                                                                                                                                                                   Planning for remedial efforts
                                                                                                                                                                                                                                                                                                                                   Planning for health risk assessment
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   GIS data basing
                                                               74717         7/25/2013        3        6/1/2013      6/28/2013    Kennedy/Jenks    $3,506.71          $3,506.71            $0.00          $0.00       AR_HUNT00011455            2013.07.25 KJ Invoice AR_HUNT00011455     Routine Groundwater Monitoring,                                                   2013.07.25 KJ Invoice AR_HUNT00011455
                                                                                                                                                                                                                                                                                                                                   Preparation of 1Q2013 groundwater
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                   monitoring report
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   3Q2013 groundwater monitoring and
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,                                                   2013.09.17 KJ Invoice AR_HUNT00011452
                                                               76023         9/17/2013        3        6/29/2013     8/30/2013    Kennedy/Jenks    $25,695.93         $25,695.93           $0.00          $0.00       AR_HUNT00011452            2013.09.17 KJ Invoice AR_HUNT00011452                                             report preparation
                                                                                                                                                                                                                                                                                           Source Area Screening & Reporting,                                                2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                                   GIS data basing
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                   Planning for soil vapor investigations
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   3Q2013 groundwater monitoring and         2013.10.22 KJ Invoice AR_HUNT00011449
                                                               76897        10/22/2013        3        8/31/2013     9/27/2013    Kennedy/Jenks    $20,186.76         $20,186.76           $0.00          $0.00       AR_HUNT00011449            2013.10.22 KJ Invoice AR_HUNT00011449     Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                   report preparation                        2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                   GIS data basing
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Case2:17-cv-05247-JFW-JEM




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                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,         Review of 3Q2013 groundwater data and     2013.11.27 KJ Invoice AR_HUNT00011447
                                                               77652        11/27/2013        3        9/28/2013     10/25/2013   Kennedy/Jenks    $6,558.60          $6,558.60            $0.00          $0.00       AR_HUNT00011447            2013.11.27 KJ Invoice AR_HUNT00011447
                                                                                                                                                                                                                                                                                           Source Area Screening & Reporting,      groundwater monitoring program            2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                           Direct Expenses                         Planning for soil vapor investigations                                                  No task breakdown provided
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,        Project management
                                                               78492         1/3/2014         3       10/26/2013     11/29/2013   Kennedy/Jenks    $3,277.19          $3,277.19            $0.00          $0.00       AR_HUNT00011444          2014.01.03 KJ Invoice AR_HUNT00011444.pdf   Routine Groundwater Monitoring,         Review of 3Q2013 groundwater data and     2014.01.03 KJ Invoice AR_HUNT00011444.pdf
                                                                                                                                                                                                                                                                                           Direct Expenses                         groundwater monitoring program
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   3Q2013 groundwater monitoring report
                                                               79910         2/11/2014        3       11/30/2013     1/31/2014    Kennedy/Jenks    $19,352.03         $19,352.03           $0.00          $0.00       AR_HUNT00011438          2014.02.11 KJ Invoice AR_HUNT00011438.pdf   Routine Groundwater Monitoring,                                                   2014.02.11 KJ Invoice AR_HUNT00011438.pdf
                                                                                                                                                                                                                                                                                                                                   Preparation for 1Q2014 groundwater
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                   monitoring
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2:17-cv-05247-JFW-JEM Document




                                                               80635         3/14/2014        3        2/1/2014      2/28/2014    Kennedy/Jenks    $20,263.82         $20,263.82           $0.00          $0.00       AR_HUNT00011435          2014.03.14 KJ Invoice AR_HUNT00011435.pdf   Routine Groundwater Monitoring,                                                   2014.03.14 KJ Invoice AR_HUNT00011435.pdf
                                                                                                                                                                                                                                                                                                                                   1Q2014 groundwater monitoring
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,        Project management
                                                               81559         4/8/2014         3        3/1/2014      3/28/2014    Kennedy/Jenks    $10,319.29         $10,319.29           $0.00          $0.00       AR_HUNT00011430          2014.04.08 KJ Invoice AR_HUNT00011430.pdf   Routine Groundwater Monitoring,         Follow up from 1Q2014 groundwater         2014.04.08 KJ Invoice AR_HUNT00011430.pdf     Bates numbers 11434-5 appear to correspond to
                                                                                                                                                                                                                                                                                           Direct Expenses                         monitoring                                                                              a K/J invoice for another project
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,                                                  2014.04.30 KJ Invoice AR_HUNT00011428.pdf
                                                                                                                                                                                                                                                                                                                                   Project management
                                                               82159         4/30/2014        3        3/28/2014     4/25/2014    Kennedy/Jenks    $9,672.12          $9,672.12            $0.00          $0.00       AR_HUNT00011428          2014.04.30 KJ Invoice AR_HUNT00011428.pdf   Routine Groundwater Monitoring,                                                   2014.04.16 Q3 2013 GW Mon Rpt 1 of 2
                                                                                                                                                                                                                                                                                                                                   3Q2013 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Direct Expenses                                                                   AR_HUNT00001969                               No task breakdown provided
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #:17013




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                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,        "initial work on Q1 2013 groundwater     2014.06.17 KJ Invoice AR_HUNT00011425.pdf
                                                               83506         6/17/2014        3        4/26/2014     5/30/2014    Kennedy/Jenks    $6,183.68          $6,183.68            $0.00          $0.00       AR_HUNT00011425          2014.06.17 KJ Invoice AR_HUNT00011425.pdf   Routine Groundwater Monitoring,         monitoring report" - assume to actual be 2013.06.07 KJ Q1 2013 GW Mon Rpt 1 of 5
                                                                                                                                                                                                                                                                                           Direct Expenses                         Q1 2014 groundwater monitoring report as AR_HUNT00001069
                                                                                                                                                                                                                                                                                                                                   Q1 2013 report was submitted 6/7/13

                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      191-3 Filed




                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,        "continued work on Q1 2013 groundwater 2014.07.17 KJ Invoice AR_HUNT00011422.pdf
                                                               84372         7/17/2014        3        5/31/2014     6/27/2014    Kennedy/Jenks    $9,002.11          $9,002.11            $0.00          $0.00       AR_HUNT00011422          2014.07.17 KJ Invoice AR_HUNT00011422.pdf   Routine Groundwater Monitoring,         monitoring report" - assume to actual be 2013.06.07 KJ Q1 2013 GW Mon Rpt 1 of 5
                                                                                                                                                                                                                                                                                           Direct Expenses                         Q1 2014 groundwater monitoring report as AR_HUNT00001069
                                                                                                                                                                                                                                                                                                                                   Q1 2013 report was submitted 6/7/13

                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,        Project management
                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,         1Q2014 groundwater monitoring report
                                                               86197         9/17/2014        3        6/28/2014     8/29/2014    Kennedy/Jenks    $13,141.91         $13,141.91           $0.00          $0.00       AR_HUNT00011419          2014.09.17 KJ Invoice AR_HUNT00011419.pdf                                                                                     2014.09.17 KJ Invoice AR_HUNT00011419.pdf
                                                                                                                                                                                                                                                                                           Field Characterization 2010, Direct     Initial effort on ADEM characterization
                                                                                                                                                                                                                                                                                           Expenses                                report
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Filed04/03/20




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                                                                                                                                                                                                                                                                                           Routine Groundwater Monitoring,         1Q2014 groundwater monitoring report
                                                               86642         10/8/2014        3        8/30/2014     9/26/2014    Kennedy/Jenks    $5,434.35          $5,434.35            $0.00          $0.00       AR_HUNT00011416          2014.10.08 KJ Invoice AR_HUNT00011416.pdf                                                                                     2014.10.08 KJ Invoice AR_HUNT00011416.pdf
                                                                                                                                                                                                                                                                                           Field Characterization 2010, Direct     Initial effort on ADEM characterization
                                                                                                                                                                                                                                                                                           Expenses                                report
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,
                                                                                                                                                                                                                                                                                                                                   Project management                        2014.12.01 KJ Invoice AR_HUNT00011413.pdf
                                                               87949         12/1/2014        3        9/27/2014     10/31/2014   Kennedy/Jenks    $22,864.83         $22,864.83           $0.00          $0.00       AR_HUNT00011413          2014.12.01 KJ Invoice AR_HUNT00011413.pdf   Routine Groundwater Monitoring,
                                                                                                                                                                                                                                                                                                                                   3Q2014 groundwater monitoring             2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                   Project management
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   04/08/20 Page




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                                                                                                                                                                                                                                                                                                                                   "Q4 2014 groundwater monitoring"
                                                               88666        12/19/2014        3        11/1/2014     11/28/2014   Kennedy/Jenks    $19,770.04         $19,770.04           $0.00          $0.00       AR_HUNT00011409          2014.12.19 KJ Invoice AR_HUNT00011409.pdf   Routine Groundwater Monitoring,                                                   2014.12.19 KJ Invoice AR_HUNT00011409.pdf
                                                                                                                                                                                                                                                                                                                                   however, all groundwater monitoring was
                                                                                                                                                                                                                                                                                           Direct Expenses
                                                                                                                                                                                                                                                                                                                                   performed in October 2014.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Page72




                                                                                                                                                                                                                                                                                                                                 Project management
                                                                                                                                                                                                                                                                                                                                                                                                                           The cover letter notes "No activity this period"
                                                                                                                                                                                                                                                                                                                                 "Q4 2014 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,                                                  2015.03.17 KJ Invoice AR_HUNT00011406.pdf     on the cover letter under the "Remedial
                                                                                                                                                                                                                                                                                                                                 preparation" likely refers to the Second
                                                               89477         3/17/2015        3       11/29/2014     12/26/2014   Kennedy/Jenks    $9,382.92          $9,333.88           $49.04          $0.00       AR_HUNT00011406          2015.03.17 KJ Invoice AR_HUNT00011406.pdf   Routine Groundwater Monitoring,                                                   2015.04.30 KJ Second Half 2014 GW Mon Rpt     Invesitation" task (Task 31); however, 0.25 hours
                                                                                                                                                                                                                                                                                                                                 Half 2014 semi annual groundwater
                                                                                                                                                                                                                                                                                           Remediation Planning, Direct Expenses                                             AR_HUNT00005471                               was billed to the "Remediation Planning" task
                                                                                                                                                                                                                                                                                                                                 monitoring report submitted 4/30/15
                                                                                                                                                                                                                                                                                                                                                                                                                           (Task 80) this period
                                                                                                                                                                                                                                                                                                                                 Remediation planning
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                                                                             Invoice /      Roux-                                                                                                     Legal and Doc
                                                                                                                                                                                        Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End      Vendor       Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source           Invoice Cost Category Description(s)                 Activities/Notes                                  Activities Source(s)
                                                                                                                                                                                           Total
                                                                               Date         Phase                                                                                                         Total                                                                                                                                                                                                                                        Notes
                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                  "Q4 2014 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,       preparation" likely refers to the Second          2015.03.20 KJ Invoice AR_HUNT00011403.pdf
                                                               90847         3/20/2015        3       12/26/2014     2/27/2015    Kennedy/Jenks    $9,824.80          $9,824.80            $0.00          $0.00       AR_HUNT00011403          2015.03.20 KJ Invoice AR_HUNT00011403.pdf   Routine Groundwater Monitoring,        Half 2014 semi annual groundwater                 2015.04.30 KJ Second Half 2014 GW Mon Rpt
                                                                                                                                                                                                                                                                                           Direct Expenses                        monitoring report submitted 4/30/15               AR_HUNT00005471
                                                                                                                                                                                                                                                                                                                                  Planning for 2Q2015 groundwater
                                                                                                                                                                                                                                                                                                                                  monitoring

                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                  "Q4 2014 groundwater monitoring report
                                                                                                                                                                                                                                                                                           Project Mgmt. & Quality Control,       preparation" likely refers to the Second          2015.04.21 KJ Invoice AR_HUNT00011398.pdf
                                                               91695         4/21/2015        3        2/28/2015     3/27/2015    Kennedy/Jenks    $22,665.06         $22,665.06           $0.00          $0.00       AR_HUNT00011398          2015.04.21 KJ Invoice AR_HUNT00011398.pdf   Routine Groundwater Monitoring,        Half 2014 semi annual groundwater                 2015.04.30 KJ Second Half 2014 GW Mon Rpt
                                                                                                                                                                                                                                                                                           Direct Expenses                        monitoring report submitted 4/30/15               AR_HUNT00005471
                                                                                                                                                                                                                                                                                                                                  2Q2015 groundwater monitoring


                                                                                                                                                                                                                                                                                                                                  Project management                                                                              New Task Code Headings, under the 2015-16
                                                                                                                                                                                                                                                                                                                                  "Q4 2014 groundwater monitoring report            2015.07.20 KJ Invoice AR_HUNT00011393.pdf     Site Characterization & GWM project, Table 1
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,    preparation" likely refers to the Second          2015.06.18 KJ First Half 2015 GW Mon Rpt      includes costs beginning in 2015
                                                               94131         7/20/2015        3        3/28/2015     6/26/2015    Kennedy/Jenks    $84,080.52         $84,080.52           $0.00          $0.00       AR_HUNT00011393          2015.07.20 KJ Invoice AR_HUNT00011393.pdf   Site Characterization Report,          Half 2014 semi annual groundwater                 AR_HUNT00005620
                                                                                                                                                                                                                                                                                           Risk Assessment, Direct Expenses       monitoring report submitted 4/30/15               2015.04.30 KJ Second Half 2014 GW Mon Rpt     Groundwater monitoring activities appear to be
                                                                                                                                                                                                                                                                                                                                  Q2 2015 groundwater monitoring                    AR_HUNT00005471                               miscategorized under Site Characterization
                                                                                                                                                                                                                                                                                                                                  Risk assessment                                                                                 Report
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case2:17-cv-05247-JFW-JEM




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                                                                                                                                                                                                                                                                                                                                  Site characterization report "includes
                                                                                                                                                                                                                                                                                                                                  preparation of a site characterization
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                  report for activities at the site since 2008" -
                                                                                                                                                                                                                                                                                           Site Characterization Report,                                                            2015.12.29 KJ Invoice AR_HUNT00011385.pdf
                                                               97829        12/29/2015        3        6/27/2015     11/27/2015   Kennedy/Jenks   $125,254.07        $125,254.07           $0.00          $0.00       AR_HUNT00011385          2015.12.29 KJ Invoice AR_HUNT00011385.pdf                                          assume refers to discuss of activities in
                                                                                                                                                                                                                                                                                           Groundwater Monitoring,                                                                  2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                                                                  6/21/16 Site Characterization Report
                                                                                                                                                                                                                                                                                           Risk Assessment, Direct Expenses
                                                                                                                                                                                                                                                                                                                                  Second half 2015 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                  and reporting
                                                                                                                                                                                                                                                                                                                                  Research for Alabama requirements for
                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                  Site characterization report "includes
                                                                                                                                                                                                                                                                                                                                  preparation of a site characterization
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                  report for activities at the site since 2008" -
                                                                                                                                                                                                                                                                                           Site Characterization Report,
                                                               99661         3/23/2016        3       11/28/2015     2/26/2016    Kennedy/Jenks    $35,635.46         $35,635.46           $0.00          $0.00       AR_HUNT00014390          2016.03.23 KJ Invoice AR_HUNT00014390.PDF                                          assume refers to discuss of activities in         2016.03.23 KJ Invoice AR_HUNT00014390.PDF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                           Groundwater Monitoring, Direct
                                                                                                                                                                                                                                                                                                                                  6/21/16 Site Characterization Report
                                                                                                                                                                                                                                                                                           Expenses
                                                                                                                                                                                                                                                                                                                                  Follow up from second half 2015
                                                                                                                                                                                                                                                                                                                                  groundwater monitoring and second half
                                                                                                                                                                                                                                                                                                                                  2015 groundwater m
                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                  Preparation and submission of Second Half         2016.05.09 KJ Invoice AR_HUNT00014348.PDF
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                  2015 groundwater monitoring report                2016.12.30 KJ First Half 2016 GW Mon Rpt
                                                                                                                                                                                                                                                                                           Site Characterization Report,                                                                                                          Period start date is assumed based on end date
                                                              101301         5/9/2016         3        2/27/2016     4/29/2016    Kennedy/Jenks    $38,845.84         $33,009.86           $0.00        $5,835.98     AR_HUNT00014348          2016.05.09 KJ Invoice AR_HUNT00014348.PDF                                          Preparation for first half 2016 (S1 2016)         AR_HUNT00018031
                                                                                                                                                                                                                                                                                           Groundwater Monitoring, Document                                                                                                       of the previous invoice.
                                                                                                                                                                                                                                                                                                                                  groundwater monitoring                            2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                           Inventory, Direct Expeses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          #:17014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           #:11098




                                                                                                                                                                                                                                                                                                                                  Preparation of 6/21/16 Site                       2016.06.27 KJ Invoice AR_HUNT00014353
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Document200-106




                                                                                                                                                                                                                                                                                                                                  Characterization Report
                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                  S1 2016 groundwater monitoring
                                                                                                                                                                                                                                                                                                                                  Site characterization report "includes
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                  preparation of a site characterization
                                                                                                                                                                                                                                                                                           Site Characterization Report,
                                                              102620         6/27/2016        3        4/30/2016     5/27/2016    Kennedy/Jenks    $23,511.07         $22,926.03           $0.00        $585.04       AR_HUNT00014353          2016.06.27 KJ Invoice AR_HUNT00014353.PDF                                          report for activities at the site since 2008" - 2016.06.27 KJ Invoice AR_HUNT00014353.PDF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             191-3 Filed




                                                                                                                                                                                                                                                                                           Groundwater Monitoring, Document
                                                                                                                                                                                                                                                                                                                                  assume refers to discuss of activities in
                                                                                                                                                                                                                                                                                           Inventory. Direct Expenses
                                                                                                                                                                                                                                                                                                                                  6/21/16 Site Characterization Report
                                                                                                                                                                                                                                                                                                                                  Document production in support of
                                                                                                                                                                                                                                                                                                                                  insurance company mediation
                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                  Follow up and expenses from S1 2016
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                  groundwater monitoring                            2016.07.18 KJ Invoice AR_HUNT00014358.PDF
                                                                                                                                                                                                                                                                                           Site Characterization Report,                                                                                                          Period start date is assumed based on end date
                                                              103294         7/18/2016        3        5/28/2016     6/24/2016    Kennedy/Jenks    $17,110.87         $12,253.13           $0.00        $4,857.74     AR_HUNT00014358          2016.07.18 KJ Invoice AR_HUNT00014358.PDF                                          Submission of 6/21/16 Site                        2016.06.27 KJ Invoice AR_HUNT00014353.PDF
                                                                                                                                                                                                                                                                                           Groundwater Monitoring, Document                                                                                                       of the previous invoice.
                                                                                                                                                                                                                                                                                                                                  Characterization Report                           2016.06.21 KJ Site Char Rpt AR_HUNT00012107
                                                                                                                                                                                                                                                                                           Inventory, Direct Expeses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Filed04/03/20




                                                                                                                                                                                                                                                                                                                                  Document production in support of
                                                                                                                                                                                                                                                                                                                                  insurance company mediation
                                                                                                                                                                                                                                                                                                                                  Project management
                                                                                                                                                                                                                                                                                                                                                                                                                                  It appears that some of the time for planning for
                                                                                                                                                                                                                                                                                                                                  Planning for meeting with ADEM
                                                                                                                                                                                                                                                                                           Project Mgmt. & Agency Interaction,                                                                                                    planning for the ADEM meeting is billed under
                                                                                                                                                                                                                                                                                                                                  Expenses for S1 2016 groundwater
                                                                                                                                                                                                                                                                                           Groundwater Monitoring, Risk                                                                                                           the Project Mgmt. & Agency Interaction Task
                                                              104741         9/14/2016        4        6/25/2016     8/26/2016    Kennedy/Jenks    $16,936.79          $861.84          $15,885.69      $189.26       AR_HUNT00014363          2016.09.14 KJ Invoice AR_HUNT00014363.PDF                                          monitoring                                        2016.09.14 KJ Invoice AR_HUNT00014363.PDF
                                                                                                                                                                                                                                                                                           Assessment, Document Inventory,                                                                                                        (Task 01). Based on the cover letter, this
                                                                                                                                                                                                                                                                                                                                  Interactions with ADEM associated with
                                                                                                                                                                                                                                                                                           Direct Expenses                                                                                                                        meeting appears to be associated with risk
                                                                                                                                                                                                                                                                                                                                  risk assessment
                                                                                                                                                                                                                                                                                                                                                                                                                                  assessment.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          04/08/20 Page




                                                                                                                                                                                                                                                                                                                                  Document production in support of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page73
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         73ofof89
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Insurers' Opposition to Summary Judgment Exhibit No. 106
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                                                                                                                                                                                                                                          Exhibit B - Invoice Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case




                                                                             Invoice /      Roux-                                                                                                           Legal and Doc
                                                                                                                                                                                              Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End         Vendor          Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source               Invoice Cost Category Description(s)                  Activities/Notes                              Activities Source(s)
                                                                                                                                                                                                 Total
                                                                               Date         Phase                                                                                                               Total                                                                                                                                                                                                                                             Notes


                                                                                                                                                                                                                                                                                                                                                                                                                                             It appears that some of the time for planning for
                                                                                                                                                                                                                                                                                                                                                                                                                                             the ADEM meeting is billed under the Project
                                                                                                                                                                                                                                                                                                                                                                                                                                             Mgmt. & Agency Interaction Task (Task 01).
                                                                                                                                                                                                                                                                                                                                                                                                                                             Based on the cover letter, this meeting appears
                                                                                                                                                                                                                                                                                                                                                                                                                                             to be associated with risk assessment.

                                                                                                                                                                                                                                                                                                                                                                                                                                             According to the 12/30/16 First Half 2016
                                                                                                                                                                                                                                                                                                                                              Project management
                                                                                                                                                                                                                                                                                                                                                                                                                                             Groundwater Monitoring REport: "Following
                                                                                                                                                                                                                                                                                                                                              Meeting with ADEM associated with risk
                                                                                                                                                                                                                                                                                                                                                                                                                                             submittal of Kennedy/Jenks' Site
                                                                                                                                                                                                                                                                                                    Project Mgmt. & Agency Interaction,       assessment
                                                                                                                                                                                                                                                                                                                                                                                                                                             Characterization Report dated 21 June 2016,
                                                                                                                                                                                                                                                                                                    Groundwater Monitoring, Source Area       Groundwater planning                        2016.10.28 KJ Invoice AR_HUNT00014368.PDF
                                                                                                                                                                                                                                                                                                                                                                                                                                             ADEM and Kennedy/Jenks agreed that routine
                                                              105645        10/28/2016        4        8/27/2016     9/30/2016       Kennedy/Jenks       $19,226.84           $0.00           $19,100.67      $126.18       AR_HUNT00014368          2016.10.28 KJ Invoice AR_HUNT00014368.PDF      Screening & Reporting, Risk               Planning for source area screening &        2016.12.30 KJ First Half 2016 GW Mon Rpt
                                                                                                                                                                                                                                                                                                                                                                                                                                             groundwater monitoring of the entire Site for
                                                                                                                                                                                                                                                                                                    Assessment, Document Inventory,           reporting                                   AR_HUNT00018031
                                                                                                                                                                                                                                                                                                                                                                                                                                             characterization purposes should be
                                                                                                                                                                                                                                                                                                    Direct Expenses                           Document production in support of
                                                                                                                                                                                                                                                                                                                                                                                                                                             discontinued. Going forward, semiannual
                                                                                                                                                                                                                                                                                                                                              insurance company mediation
                                                                                                                                                                                                                                                                                                                                                                                                                                             groundwater monitoring is focused on
                                                                                                                                                                                                                                                                                                                                                                                                                                             supporting the remediation efforts and closely
                                                                                                                                                                                                                                                                                                                                                                                                                                             watching specific wells that are trending."

                                                                                                                                                                                                                                                                                                                                                                                                                                             Source area screening on this and subsequent
                                                                                                                                                                                                                                                                                                                                                                                                                                             invoices characterized as remediation costs
                                                                                                                                                                                                                                                                                                                                                                                                                                             because sampling was to support the risk
                                                                                                                                                                                                                                                                                                                                                                                                                                             assessment (a remediation activity).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                              Project management
                                                                                                                                                                                                                                                                                                                                              ADEM meeting
                                                                                                                                                                                                                                                                                                                                              Groundwater planning
                                                                                                                                                                                                                                                                                                    Project Mgmt. & Agency Interaction,       Preparation of groundwater well
                                                                                                                                                                                                                                                                                                    Groundwater Monitoring, GWM Well          installation work plan                                                                       According to the 4/28/17 Monitoring Well
                                                                                                                                                                                                                                                                                                                                                                                          2016.12.22 KJ Invoice AR_HUNT00014374.PDF
                                                                                                                                                                                                                                                                                                    Installations, RI Field Testing, Source   Planning for remedial investigation field                                                    Installation Work Plan, the Work Plan describes
                                                              107374        12/22/2016        4        10/1/2016     11/25/2016      Kennedy/Jenks       $20,144.37           $0.00           $18,882.62      $1,261.75     AR_HUNT00014374          2016.12.22 KJ Invoice AR_HUNT00014374.PDF                                                                                            2017.04.28 KJ RBI and Bedrock MW installation WP
                                                                                                                                                                                                                                                                                                    Area Screening & Reporting, Risk          testing                                                                                      "the scope and proposed methods for limited
                                                                                                                                                                                                                                                                                                                                                                                          AR_HUNT00019986
                                                                                                                                                                                                                                                                                                    Assessment, Initial Remedial Planning,    Preparation of work plan associated with                                                     remedial investigations at the [Site]."
                                                                                                                                                                                                                                                                                                    Document Inventory, Direct Expenses       source area screening
                                                                                                                                                                                                                                                                                                                                              Planning for risk assessment
                                                                                                                                                                                                                                                                                                                                              Planning for remediation
                                                                                                                                                                                                                                                                                                                                              Activities related to mediation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                                                                                                                                             Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                              Waste Disposal - 2 drums haz groundwater, Invoices - AR_HUNT00026691-00027097p.201-
                                                             72766124        2/10/2017        4        2/9/2017       2/9/2017        Safety Kleen       $2,209.22            $0.00            $2,209.22        $0.00       AR_HUNT00027061      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                                                                                                                            110100, which are predominanrly remediation
                                                                                                                                                                                                                                                                                                                                              2 drums non-haz groundwater               407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                             costs
                                                                                                                                                                                                                                                                                                                                                                                                                                             The preparation of the First Half 2016
                                                                                                                                                                                                                                                                                                                                          Project management                                                                                 Groundwater Monitoring Report and S2 2016
                                                                                                                                                                                                                                                                                                                                          Groundwater planning                                                                               groundwater monitoring are based on the
                                                                                                                                                                                                                                                                                                                                          Preparation of 12/30/16 First Half                                                                 12/30/16 and 4/19/17 Groundwater Monitoring
                                                                                                                                                                                                                                                                                                    Project Mgmt. & Agency Interaction, Groundwater Monitoring Report                     2017.02.15 KJ Invoice AR_HUNT00014380.PDF          Reports as these activites are not described in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     #:17015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      #:11099




                                                                                                                                                                                                                                                                                                    Groundwater Monitoring, RI Field      S2 2016 groundwater monitoring                  2016.12.30 KJ First Half 2016 GW Mon Rpt           the coverletter. The First Half 2016 report would
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Document200-106




                                                              108258         2/15/2017        4       11/26/2016     12/30/2016      Kennedy/Jenks       $37,992.62         $8,246.39         $26,559.67      $3,186.56     AR_HUNT00014380          2017.02.15 KJ Invoice AR_HUNT00014380.PDF      Testing, Source Area Screening &      Planning for remediation investigation field    AR_HUNT00018031                                    fall under the 101 activity code and the S2 2016
                                                                                                                                                                                                                                                                                                    Reporting, Initial Remedial Planning, testing                                         2017.04.19 KJ Second Half 2016 GW Mon Rpt          groundwater monitoring and the "Groundwater
                                                                                                                                                                                                                                                                                                    Document Inventory, Direct Expenses Preparation of work plan for source area          AR_HUNT00018290                                    planning" on the cover letter would correspond
                                                                                                                                                                                                                                                                                                                                          screening                                                                                          to the 101R activity code. Costs for 101R = all
                                                                                                                                                                                                                                                                                                                                          Remedial planning                                                                                  direct expenses under Task 03 and 2/3 labor
                                                                                                                                                                                                                                                                                                                                          Activities related to mediation                                                                    under Task 03. Costs for 101 = 1/3 labor under
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        191-3 Filed




                                                                                                                                                                                                                                                                                                                                                                                                                                             Task 3.
                                                                                                                                                                                                                                                                                                                                              Project management
                                                                                                                                                                                                                                                                                                                                              Preparation of 4/19/2017 Second Half 2016
                                                                                                                                                                                                                                                                                                    Project Mgmt. & Agency Interaction,       Groundwater Monitoring Report
                                                                                                                                                                                                                                                                                                    Groundwater Monitoring, Source Area       Preparation of work plan for source area  2017.03.17 KJ Invoice AR_HUNT00014394.PDF
                                                              109478         3/17/2017        4       12/31/2016     1/27/2017       Kennedy/Jenks       $28,858.89           $0.00            $9,336.40     $19,522.50     AR_HUNT00014394          2017.03.17 KJ Invoice AR_HUNT00014394.PDF      Screening & Reporting, Risk               screening                                 2017.04.19 KJ Second Half 2016 GW Mon Rpt
                                                                                                                                                                                                                                                                                                    Assessment, Initial Remedial Planning,    Risk assessment planning                  AR_HUNT00018290
                                                                                                                                                                                                                                                                                                    Document Inventory, Direct Expenses       Remedial planning
                                                                                                                                                                                                                                                                                                                                              Document inventory (with redacted
                                                                                                                                                                                                                                                                                                                                              description)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Filed04/03/20




                                                                                                                                                                                                                                                                                                                                              Project management
                                                                                                                                                                                                                                                                                                                                              Response to ADEM comments
                                                                                                                                                                                                                                                                                                                                              Preparation of 4/19/17 Second Half 2016
                                                                                                                                                                                                                                                                                                    Project Mgmt. & Agency Interaction,       Groundwater Monitoring Report
                                                                                                                                                                                                                                                                                                    Site Characterization Report,             Preparation of work plan and planning for   2017.03.27 KJ Invoice AR_HUNT00014408.PDF
                                                                                                                                                                                                                                                                                                    Groundwater Monitoring, GWM Well          groundwater monitoring well installation    2017.04.28 KJ RBI and Bedrock MW installation WP
                                                              110100         3/27/2017        4        1/28/2017     2/24/2017       Kennedy/Jenks       $34,922.54         $1,009.40         $21,862.00     $12,051.14     AR_HUNT00014408          2017.03.27 KJ Invoice AR_HUNT00014408.PDF      Installations, RI Field Testing, Source   Planning for remedial investigation field   AR_HUNT00019986
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     04/08/20 Page




                                                                                                                                                                                                                                                                                                    Area Screening & Reporting, Initial       testing                                     2017.04.19 KJ Second Half 2016 GW Mon Rpt
                                                                                                                                                                                                                                                                                                    Remedial Planning, Document               Planning for source are screening field     AR_HUNT00018290
                                                                                                                                                                                                                                                                                                    Inventory, Direct Expenses                work
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Page74




                                                                                                                                                                                                                                                                                                                                              Remedial planning
                                                                                                                                                                                                                                                                                                                                              Document inventory (with redacted
                                                                                                                                                                                                                                                                                                                                              description)
                                                                                                                                                                                                                                                                                                                                              "Sampling with Helium Leak Testing"
                                                                                                                                                                                                                                                                                                                                                                                                                                             Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                              "Additional Sampling - Change from          Invoices - AR_HUNT00026691-00027097p.201-
                                                              170316         3/30/2017        4        3/27/2017     3/30/2017    The Probing Company    $30,110.00           $0.00           $30,110.00        $0.00       AR_HUNT00027093      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                                                                                                                            111600, which are predominanrly remediation
                                                                                                                                                                                                                                                                                                                                              original scope of work - Soil Gas/Leak      407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                             costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    74ofof89




                                                                                                                                                                                                                                                                                                                                              Testing in Summa Canisters"
                                                                                                                                                                                                                                                                                                                                                                                                                                             Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                          Invoices - AR_HUNT00026691-00027097p.201-
                                                             73276439        4/4/2017         4        4/4/2017       4/4/2017        Safety Kleen        $165.68             $0.00             $165.68         $0.00       AR_HUNT00027063      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                             Drums (2)                                                                                      111600, which are predominanrly remediation
                                                                                                                                                                                                                                                                                                                                                                                          407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                             costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
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                                                                                                                                                                                                                                          Exhibit B - Invoice Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case




                                                                             Invoice /      Roux-                                                                                                           Legal and Doc
                                                                                                                                                                                              Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End         Vendor          Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source                Invoice Cost Category Description(s)                Activities/Notes                               Activities Source(s)
                                                                                                                                                                                                 Total
                                                                               Date         Phase                                                                                                               Total                                                                                                                                                                                                                                        Notes
                                                                                                                                                                                                                                                                                                                                             Project management
                                                                                                                                                                                                                                                                                                                                             Transmittal of paper copies of a report to
                                                                                                                                                                                                                                                                                                                                             ADEM
                                                                                                                                                                                                                                                                                                                                             Finalization of Second Half 2016
                                                                                                                                                                                                                                                                                                     Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                             Groundwater Monitoring Report
                                                                                                                                                                                                                                                                                                     Site Characterization Report,
                                                                                                                                                                                                                                                                                                                                             Preparation of work plan and planning for
                                                                                                                                                                                                                                                                                                     Groundwater Monitoring, GWM Well
                                                              111600         5/23/2017        4        2/25/2017     4/28/2017       Kennedy/Jenks       $87,715.86          $477.12          $63,939.52     $23,299.22     AR_HUNT00014415          2017.05.23 KJ Invoice AR_HUNT00014415.PDF                                               groundwater monitoring well installation      2017.05.23 KJ Invoice AR_HUNT00014415.PDF
                                                                                                                                                                                                                                                                                                     Installations, RI Field Testing, Source
                                                                                                                                                                                                                                                                                                                                             Planning for remedial investigation field
                                                                                                                                                                                                                                                                                                     Area Screening & Reporting,
                                                                                                                                                                                                                                                                                                                                             testing
                                                                                                                                                                                                                                                                                                     Document Inventory, Direct Expenses
                                                                                                                                                                                                                                                                                                                                             Installation of soil vapor probes
                                                                                                                                                                                                                                                                                                                                             Planning for risk assessment
                                                                                                                                                                                                                                                                                                                                             Document inventory (with redacted
                                                                                                                                                                                                                                                                                                                                             description)
                                                                                                                                                                                                                                                                                                                                             Per diem - 13 days of 13 man crew
                                                                                                                                                                                                                                                                                                                                             Drill and Sample - 382.5 ft of bedrock and
                                                                                                                                                                                                                                                                                                                                             overburden and well installation
                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-    Assumed to be related to tasks on K/J invoice
                                                             11712696        5/31/2017        4        5/14/2017     5/24/2017          Cascade          $69,721.50           $0.00           $69,721.50        $0.00       AR_H U NT00026964    Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                            Disposal of IDW
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                      112245, which are remediation costs
                                                                                                                                                                                                                                                                                                                                             Well Completion and Development



                                                                                                                                                                                                                                                                                                                                             Soil Gas Sampling                             Invoices - AR_HUNT00026691-00027097p.201-    Assumed to be related to tasks on K/J invoice
                                                              170517         5/31/2017        4        Unknown       Unknown      The Probing Company    $4,500.00            $0.00            $4,500.00        $0.00       AR_HUNT00027095      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                             "Helium Shut In Testing"                      407.pdf                                      112245, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                          Deliver, Setup, Rental & Pickup of Frac
                                                                                                                                                                                                                                                                                                                                          Tank - 17 days                                   Invoices - AR_HUNT00026691-00027097p.201-    Assumed to be related to tasks on K/J invoice
                                                            1001871044       6/5/2017         4        5/15/2017     5/31/2017       Clean Harbors       $2,984.51            $0.00            $2,984.51        $0.00       AR_HUNT00026973      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                          Deliver, Setup, & Rental of Open Top Roll-       407.pdf                                      112245, which are remediation costs
                                                                                                                                                                                                                                                                                                                                          off Box - 17 days
                                                                                                                                                                                                                                                                                                                                          Project management
                                                                                                                                                                                                                                                                                                                                          Transmittal of paper copies of a report to
                                                                                                                                                                                                                                                                                                                                          ADEM
                                                                                                                                                                                                                                                                                                  Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                          S1 2017 groundwater monitoring
                                                                                                                                                                                                                                                                                                  Groundwater Monitoring, GWM Well
                                                                                                                                                                                                                                                                                                                                          Installation of MW-30, 31 and 32
                                                              112245         6/7/2017         4        4/29/2017     5/26/2017       Kennedy/Jenks       $54,672.78           $0.00           $54,672.78        $0.00       AR_HUNT00014422          2017.06.07 KJ Invoice AR_HUNT00014422.PDF    Installations, RI Field Testing, Source                                                  2017.06.07 KJ Invoice AR_HUNT00014422.PDF
                                                                                                                                                                                                                                                                                                                                          Planning for remedial investigation field
                                                                                                                                                                                                                                                                                                  Area Screening & Reporting,
                                                                                                                                                                                                                                                                                                                                          testing
                                                                                                                                                                                                                                                                                                  Document Inventory, Direct Expenses
                                                                                                                                                                                                                                                                                                                                          Follow up from installation of soil vapor
                                                                                                                                                                                                                                                                                                                                          probes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                                                                                                                                        Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-
                                                              802771         6/27/2017        4        Unknown       Unknown             S&ME            $1,280.00            $0.00            $1,280.00        $0.00       AR_HUNT00027059      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                            Monitoring Well Locations Survey                                                           114354, which are predominantly remediation
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                        costs
                                                                                                                                                                                                                                                                                                                                             Deliver, Setup, Rental & Pickup of Frac
                                                                                                                                                                                                                                                                                                                                             Tank - 30 days
                                                                                                                                                                                                                                                                                                                                             Deliver, Setup, & Rental of Open Top Roll-                                                 Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-
                                                            1001907512       7/3/2017         4        6/19/2017     6/30/2017       Clean Harbors       $5,832.64            $0.00            $5,832.64        $0.00       AR_HUNT00026976      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                            off Box - 23 days                                                                          114354, which are predominantly remediation
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            #:17016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             #:11100




                                                                                                                                                                                                                                                                                                                                             Trans & Disposal of Soil Cuttings - 4 ton                                                  costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Document200-106




                                                                                                                                                                                                                                                                                                                                             Trans & Disposal of Groundwater - 4,029
                                                                                                                                                                                                                                                                                                                                             gal

                                                                                                                                                                                                                                                                                                                                             Cleaning Soilds/Heel from Frac Tank via                                                    Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-
                                                            1001931243       7/20/2017        4        7/1/2017       7/1/2017       Clean Harbors       $3,232.00            $0.00            $3,232.00        $0.00       AR_HUNT00026980      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                            CSE                                                                                        114354, which are predominantly remediation
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf
                                                                                                                                                                                                                                                                                                                                             Trans & Disposal of Solids/Heel - 7,500 lbs                                                costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               191-3 Filed




                                                                                                                                                                                                                                                                                                                                                                                                                                        Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                             Deliver, Setup, Rental, & Pickup of Frac      Invoices - AR_HUNT00026691-00027097p.201-
                                                            1001947972       8/1/2017         4        7/1/2017      7/27/2017       Clean Harbors        $404.66             $0.00             $404.66         $0.00       AR_HUNT00026983      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                                                                                                                       114354, which are predominantly remediation
                                                                                                                                                                                                                                                                                                                                             Tank                                          407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                        costs
                                                                                                                                                                                                                                                                                                                                             Project management
                                                                                                                                                                                                                                                                                                                                             Transmittal of paper copies of a report to
                                                                                                                                                                                                                                                                                                                                             ADEM
                                                                                                                                                                                                                                                                                                                                             S2 2017 groundwater monitoring and
                                                                                                                                                                                                                                                                                                     Project Mgmt. & Agency Interaction, preparation of groundwater monitoring
                                                                                                                                                                                                                                                                                                     Site Characterization Report,           report
                                                                                                                                                                                                                                                                                                     Groundwater Monitoring, GWM Well Follow up from installation of MW-30, 31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Filed04/03/20




                                                              114354         8/7/2017         4        5/27/2017     7/28/2017       Kennedy/Jenks      $103,320.29          $105.46          $102,657.92     $556.91       AR_HUNT00014433          2017.08.07 KJ Invoice AR_HUNT00014433.PDF       Installations, RI Field Testing, Source and 32                                        2017.08.07 KJ Invoice AR_HUNT00014433.PDF
                                                                                                                                                                                                                                                                                                     Area Screening & Reporting, Risk        Planning for remedial investigation field
                                                                                                                                                                                                                                                                                                     Assessment, Initial Remedial Planning, testing
                                                                                                                                                                                                                                                                                                     Document Inventory, Direct Expenses Round one soil vapor sampling
                                                                                                                                                                                                                                                                                                                                             Evaluation of initial soil vapor results
                                                                                                                                                                                                                                                                                                                                             Remedial planning
                                                                                                                                                                                                                                                                                                                                             Document inventory (with redacted
                                                                                                                                                                                                                                                                                                                                             description)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            04/08/20 Page




                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-    Assumed to be related to tasks on K/J invoice
                                                             1-7103072      10/30/2017        4       10/30/2017     10/30/2017      ProHydro, Inc.      $1,520.17            $0.00            $1,520.17        $0.00       AR_HUNT00027057      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                            Sampling bottleware
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                      116705, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Page75




                                                                                                                                                                                                                                                                                                                                            Project management
                                                                                                                                                                                                                                                                                                                                            2017 GW Monitoring in Huntsville
                                                                                                                                                                                                                                                                                                                                            Finalization of combined GW Monitoring
                                                                                                                                                                                                                                                                                                     Project Mgmt. & Agency Interaction, and well installation report. Task now
                                                                                                                                                                                                                                                                                                     Groundwater Monitoring, GWM Well complete
                                                                                                                                                                                                                                                                                                     Installation, RI Field Testing, Source Planning for RI Field Testing
                                                              116705         11/9/2017        4        7/29/2017     10/27/2017      Kennedy/Jenks       $69,416.70           $0.00           $65,374.64      $4,042.06     AR_HUNT00026691        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                                                                        Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           75ofof89




                                                                                                                                                                                                                                                                                                     Area Screening and Reporting, Risk     Evaluatoin of soil vapr sampling and report
                                                                                                                                                                                                                                                                                                     Assessment, Initial Remedial Planning, finalization
                                                                                                                                                                                                                                                                                                     Document Inventory                     Preparation for round two of soil vapor
                                                                                                                                                                                                                                                                                                                                            sampling
                                                                                                                                                                                                                                                                                                                                            Evaluation of initial soil vapor results
                                                                                                                                                                                                                                                                                                                                            Remedial planning
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PageIDID
                                                                                                                                                                                                                                              Exhibit B - Invoice Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Case




                                                                             Invoice /      Roux-                                                                                                               Legal and Doc
                                                                                                                                                                                                  Remediation
                                                           Invoice Number   Cover Letter   Assigned   Period Start   Period End          Vendor             Invoice Total   Investigation Total                  Production     Invoice Beg_Bates                  Invoice Document Source              Invoice Cost Category Description(s)                 Activities/Notes                            Activities Source(s)
                                                                                                                                                                                                     Total
                                                                               Date         Phase                                                                                                                   Total                                                                                                                                                                                                                                       Notes

                                                                                                                                                                                                                                                                                                                                                "Three Days of Vapor Sampling"             Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                              171107        11/15/2017        4        Unknown       Unknown      The Probing Company        $5,850.00            $0.00            $5,850.00        $0.00       AR_HUNT00027097      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                "Boring Installation"                      407.pdf                                         116705, which are remediation costs

                                                                                                                                  Suburban Infrastructure                                                                                                                                                                                                                                  Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                              120417         12/4/2017        4        Unknown       Unknown                                 $1,000.00            $0.00            $1,000.00        $0.00       AR_HUNT00027089      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           GPR Survey & Clear Bore Holes
                                                                                                                                         Renewal                                                                                                                                                                                                                                           407.pdf                                         116705, which are remediation costs


                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, Source Area
                                                              119289         2/9/2018         4       10/28/2017     1/26/2018        Kennedy/Jenks          $94,238.52           $0.00           $86,179.54      $8,058.98     AR_HUNT00026699        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Screening and Reporting, Risk          No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Assessment, Initial Remedial Planning,
                                                                                                                                                                                                                                                                                                        Document Inventory, Direct Expenses


                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                             76182007        2/20/2018        4        2/20/2018     2/20/2018         Safety Kleen          $3,070.20            $0.00            $3,070.20        $0.00       AR_HUNT00027065      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           Waste Disposal - 4 drums haz groundwater
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                         121091, which are remediation costs

                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, Risk
                                                                                                                                                                                                                                                                                                        Assessment, Source Area Screening                                                                                                  Receipts not shown directly after invoice, but
                                                              121091         4/20/2018        4        1/27/2018     3/30/2018        Kennedy/Jenks         $103,618.94           $0.00           $29,961.07     $73,657.88     AR_HUNT00026703        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                         No Cover Sheet                                Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        and Reporting, Initial Remedial                                                                                                    are included in Activites Source document.
                                                                                                                                                                                                                                                                                                        Planning, Document Inventory, Direct
                                                                                                                                                                                                                                                                                                        Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                             76855663        5/11/2018        4        5/11/2018     5/11/2018         Safety Kleen           $179.39             $0.00             $179.39         $0.00       AR_HUNT00027067      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           Drums (2)
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                         122534, which are remediation costs


                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, Risk                                                                                                       Receipts not shown directly after invoice, but
                                                              121954         5/24/2018        4        3/31/2018     4/27/2018        Kennedy/Jenks          $47,104.32           $0.00           $30,824.77     $16,279.55     AR_HUNT00026706        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                           No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Assessment, Initial remedial Planning,                                                                                             are included in Activites Source document.
                                                                                                                                                                                                                                                                                                        Document Inventory, Direct Expenses


                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, Risk                                                                                                       Receipts not shown directly after invoice, but
                                                              122534         6/15/2018        4       4/28/2018      5/25/2018        Kennedy/Jenks          $62,019.43           $0.00           $33,945.85     $28,073.58     AR_HUNT00026709        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                           No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Assessment, Initial remedial Planning,                                                                                             are included in Activites Source document.
                                                                                                                                                                                                                                                                                                        Document Inventory, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, Risk
                                                              123519         7/25/2018        4       5/26/2018      6/29/2018        Kennedy/Jenks          $27,164.79           $0.00           $25,745.79      $1,419.00     AR_HUNT00026712        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                           No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Assessment, Initial remedial Planning,
                                                                                                                                                                                                                                                                                                        Document Inventory, Direct Expenses


                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                #:17017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 #:11101




                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, Risk
                                                              124146         8/21/2018        4       6/30/2018      7/27/2018        Kennedy/Jenks          $14,506.50           $0.00           $14,506.50        $0.00       AR_HUNT00026730        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                            No Cover Sheet                             Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Document200-106




                                                                                                                                                                                                                                                                                                        Assessment, Initial Remedial Planning ,
                                                                                                                                                                                                                                                                                                        Direct Expenses

                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                                                                                                                           Receipts for Invoice # 121954, 122534, 125298,
                                                              125298        10/16/2018        4        7/28/2018     9/28/2018        Kennedy/Jenks          $45,353.31           $0.00           $45,353.31        $0.00       AR_HUNT00026734        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Groundwater Monitoring, Initial         No Cover Sheet                             Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                           and 123519 are appended to this invoice
                                                                                                                                                                                                                                                                                                        remedial Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   191-3 Filed




                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                             78052835       10/16/2018        4       10/15/2018     10/15/2018        Safety Kleen          $1,516.44            $0.00            $1,516.44        $0.00       AR_HUNT00027069      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           Waste Disposal - 2 drums haz groundwater
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                         127305, which are remediation costs

                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                             78430481        11/9/2018        4        11/9/2018     11/9/2018         Safety Kleen           $110.31             $0.00             $110.31         $0.00       AR_HUNT00027071      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           Drums (2)
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                         127305, which are remediation costs

                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                                                                                                                                                           Receipts not shown directly after invoice, but
                                                              126225        11/27/2018        4        9/29/2018     10/26/2018       Kennedy/Jenks          $12,338.58           $0.00           $12,338.58        $0.00       AR_HUNT00026756        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Groundwater Monitoring, Initial         No Cover Sheet                             Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                           are included in Activites Source document.
                                                                                                                                                                                                                                                                                                        remedial Planning, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Filed04/03/20




                                                                                                                                                                                                                                                                                                        Project Mgmt. & Agency Interaction,
                                                                                                                                                                                                                                                                                                        Groundwater Monitoring, GWM Well                                                                                                   Receipts for Invoice # 126225 and 127305 are
                                                              127305         1/14/2019        4       10/27/2018     12/28/2018       Kennedy/Jenks          $55,966.84           $0.00           $55,966.84        $0.00       AR_HUNT00026758        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                              No Cover Sheet                           Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Installations, Initial Remedial Planning,                                                                                          appended to this invoice
                                                                                                                                                                                                                                                                                                        Direct Expenses
                                                                                                                                                                                                                                                                                                        Corrective Action Plan, GW
                                                              127577         2/1/2019         5       12/29/2018     1/25/2019        Kennedy/Jenks          $42,180.31           $0.00           $42,180.31        $0.00       AR_HUNT00026773        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Monitoring, PM/Communications,          No Cover Sheet                             Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Pilot Test, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                04/08/20 Page




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                                                             79320658        3/4/2019         5        2/28/2019     2/28/2019         Safety Kleen          $1,589.50            $0.00            $1,589.50        $0.00       AR_HUNT00027073      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           Waste Disposal - 2 drums haz groundwater
                                                                                                                                                                                                                                                                                                                                                                                         407.pdf                                           129466, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Page76




                                                                                                                                                                                                                                                                                                        Corrective Action Plan, GW
                                                              128789         3/19/2019        5        1/26/2019     2/22/2019        Kennedy/Jenks          $26,800.13           $0.00           $26,800.13        $0.00       AR_HUNT00026780        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Monitoring, PM/Communications,          No Cover Sheet                             Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                        Pilot Test, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                           Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                             79507704        3/20/2019        5        3/18/2019     3/18/2019         Safety Kleen          $1,171.83            $0.00            $1,171.83        $0.00       AR_HUNT0002707 5     Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           Drums (12)
                                                                                                                                                                                                                                                                                                                                                                                           407.pdf                                         129466, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               76ofof89




                                                                                                                                                                                                                                                                                                                                                Pump Hoist                                 Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                             11928396        3/28/2019        5       3/20/2019      3/21/2019           Cascade             $10,150.00           $0.00           $10,150.00        $0.00       AR_H U NT00026967    Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                Surface Completions                        407.pdf                                         129466, which are remediation costs

                                                                                                                                  Suburban Infrastructure                                                                                                                                                                                                                                  Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                              3212019        3/28/2019        5        Unknown       Unknown                                  $650.00             $0.00             $650.00         $0.00       AR_HUNT00027091      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                           GPR survey/clear borings
                                                                                                                                         Renewal                                                                                                                                                                                                                                           407.pdf                                         129466, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
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                                                                                                                                                                                                                                                                                 Exhibit B - Invoice Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Case




                                                                                      Invoice /       Roux-                                                                                                                                        Legal and Doc
                                                                                                                                                                                                                                   Remediation
                                                               Invoice Number        Cover Letter    Assigned        Period Start      Period End               Vendor                Invoice Total       Investigation Total                       Production     Invoice Beg_Bates                  Invoice Document Source              Invoice Cost Category Description(s)                 Activities/Notes                            Activities Source(s)
                                                                                                                                                                                                                                      Total
                                                                                        Date          Phase                                                                                                                                            Total                                                                                                                                                                                                                                       Notes
                                                                                                                                                                                                                                                                                                                                           Corrective Action Plan, GW
                                                                                                                                                                                                                                                                                                                                           Monitoring, Wellhead Maintenance,
                                                                   129466             4/22/2019          5            2/23/2019         3/29/2019           Kennedy/Jenks              $48,843.28                $0.00              $48,843.28         $0.00       AR_HUNT00026783        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                          No Cover Sheet                               Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                           PM/Communications, Pilot Test, Direct
                                                                                                                                                                                                                                                                                                                                           Expenses

                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                  79865721            4/25/2019          5            4/23/2019         4/23/2019             Safety Kleen              $2,779.50                $0.00               $2,779.50         $0.00       AR_HUNT00027077      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Drums (30)
                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf                                         129975 or 130547, which are remediation costs

                                                                                                                                                                                                                                                                                                                                                                                  Roll-off Drop off and Rental                Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                 1002816937           5/1/2019           5            4/23/2019         4/30/2019            Clean Harbors              $1,269.12                $0.00               $1,269.12         $0.00       AR_HUNT00026986      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                                                  Rolloff Delivery                            407.pdf                                         129975 or 130547, which are remediation costs

                                                                                                                                                                                                                                                                                                                                                                                  Waste Disposal - 12 drums of hazardous      Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                  79935839            5/6/2019           5            5/2/2019          5/2/2019              Safety Kleen              $4,097.13                $0.00               $4,097.13         $0.00       AR_HUNT00027079      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                                                  and non-hazardous groundwater               407.pdf                                         129975 or 130547, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                  Sonic Drilling - 583 feet
                                                                                                                                                                                                                                                                                                                                                                                  Well Installation - 579 feet
                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                  11929184            5/7/2019           5            4/22/2019         4/30/2019               Cascade                $49,673.50                $0.00              $49,673.50         $0.00       AR_H U NT00026969    Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Waste Management
                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf                                         129975 or 130547, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                  Well Development
                                                                                                                                                                                                                                                                                                                                                                                  Surface Completions
                                                                                                                                                                                                                                                                                                                                           Corrective Action Plan, GW
                                                                   129975             5/14/2019          5            3/30/2019         4/26/2019           Kennedy/Jenks              $49,713.59                $0.00              $49,713.59         $0.00       AR_HUNT00026799        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Monitoring, PM/Communications,         No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                           Pilot Test, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Only first page of invoice provide. No detailed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                                                                                                                                                                                                                                                              backup provided.
                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-
                                                                 1002853864           5/29/2019          5            Unknown           5/31/2019            Clean Harbors               $709.59                 $0.00                $709.59          $0.00       AR_HUNT00026990      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Roll-off Drop off and Rental                                                                Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              131595, which are remediation costs


                                                                                                                                                                                                                                                                                                                                                                                  Waste Disposal - 30 drums of hazardous
                                                                                                                                                                                                                                                                                                                                                                                  and non-hazardous of groundwater and        Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                  80177360            6/4/2019           5            5/31/2019         5/31/2019             Safety Kleen             $23,918.18                $0.00              $23,918.18         $0.00       AR_HUNT00027082      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                                                  semisolids                                  407.pdf                                         131595, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                  Overpacks
                                                                                                                                                                                                                                                                                                                                           Corrective Action Plan, GW
                                                                   130547             6/11/2019          5            4/27/2019         5/24/2019           Kennedy/Jenks              $35,644.89                $0.00              $35,644.89         $0.00       AR_HUNT00026835        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Monitoring, PM/Communications,         No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                           Pilot Test, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                  Waste Disposal - 3 drums of non-hazardous Invoices - AR_HUNT00026691-00027097p.201-         Assumed to be related to tasks on K/J invoice
                                                                  80302933            6/24/2019          5            6/20/2019         6/20/2019             Safety Kleen               $958.50                 $0.00                $958.50          $0.00       AR_HUNT00027084      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                                                                                                                  semisolids                                407.pdf                                           131595, which are remediation costs

                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Only first page of invoice provide. No detailed
                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-       backup provided.
                                                                 1002897335           7/1/2019           5            Unknown           6/20/2019            Clean Harbors               $686.70                 $0.00                $686.70          $0.00       AR_HUNT00026992      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Roll-off Drop off and Rental
                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf                                         Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              131595, which are remediation costs

                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Only first page of invoice provide. No detailed
                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-       backup provided.
                                                                 1002917501           7/16/2019          5            Unknown           7/3/2019             Clean Harbors               $68.67                  $0.00                $68.67           $0.00       AR_HUNT00026994      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Roll-off Drop off and Rental
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    #:17018
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     #:11102




                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf                                         Assumed to be related to tasks on K/J invoice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Document200-106




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                                                                                                                                                                                                                                                                                                                                           Communication Charges, GW
                                                                   131595             7/18/2019          5            5/25/2019         6/28/2019           Kennedy/Jenks              $20,582.88                $0.00              $20,582.88         $0.00       AR_HUNT00026870        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Monitoring, PM/Communications,         No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                           Pilot Test, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                  Bulk Soil Transportation and Disposal - 4   Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                 1002921004           7/19/2019          5            7/3/2019          7/3/2019             Clean Harbors              $1,728.50                $0.00               $1,728.50         $0.00       AR_HUNT00026996      Invoices - AR_HUNT00026691-00027097p.201-407.pdf
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       191-3 Filed




                                                                                                                                                                                                                                                                                                                                                                                  tons                                        407.pdf                                         133259, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                  Sonic Drilling - 35 feet
                                                                                                                                                                                                                                                                                                                                                                                  Well Installation - 35 feet
                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                  11932184            9/11/2019          5            9/3/2019          9/5/2019                Cascade                 $9,775.00                $0.00               $9,775.00         $0.00       AR_HUNT00026971      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Waste Management
                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf                                         133934, which are remediation costs
                                                                                                                                                                                                                                                                                                                                                                                  Well Development
                                                                                                                                                                                                                                                                                                                                                                                  Surface Completions
                                                                                                                                                                                                                                                                                                                                           GW Monitoring, PM/Communications,
                                                                   133259             9/26/2019          5            6/29/2019         8/23/2019           Kennedy/Jenks              $46,523.46                $0.00              $46,523.46         $0.00       AR_HUNT00026882        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                      No Cover Sheet                                   Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                           Pilot Test, Direct Expenses
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Filed04/03/20




                                                                                                                                                                                                                                                                                                                                                                                                                              Invoices - AR_HUNT00026691-00027097p.201-       Assumed to be related to tasks on K/J invoice
                                                                   954366            10/11/2019          5            Unknown           Unknown                  S&ME                    $966.86                 $0.00                $966.86          $0.00       AR_HUNT00027086      Invoices - AR_HUNT00026691-00027097p.201-407.pdf                                          Well locations surveying
                                                                                                                                                                                                                                                                                                                                                                                                                              407.pdf                                         133934, which are remediation costs

                                                                                                                                                                                                                                                                                                                                           GW Monitoring, PM/Communications,
                                                                   133934            10/18/2019          5            8/24/2019         9/27/2019           Kennedy/Jenks              $51,502.59                $0.00              $51,502.59         $0.00       AR_HUNT00026888        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                      No Cover Sheet                                   Invoices - AR_HUNT00026691-00027097p1-200.pdf
                                                                                                                                                                                                                                                                                                                                           Pilot Test, Direct Expenses

                                                                                                                                                                                                                                                                                                                                           GW Monitoring, PM/Communications,                                                                                               $988.80 in "Non-billble Effort" assumed to be
                                                                   134435            11/11/2019          5            9/28/2019        10/25/2019           Kennedy/Jenks              $29,777.77                $0.00              $28,414.65       $1,363.12     AR_HUNT00026934        Invoices - AR_HUNT00026691-00027097p1-200.pdf    Pilot Test, Legal Support, Non-Billable No Cover Sheet                             Invoices - AR_HUNT00026691-00027097p.201-407 remediation costs because all other costs on this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    04/08/20 Page




                                                                                                                                                                                                                                                                                                                                           Effort, Direct Expenses                                                                                                         invoice are remediation costs
                                                                                                                                                                                                                                                                                                                                           Communication Charges, GW
                                                                                                                                                                                                                                                                                                                                           Monitoring, PM/Communications,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Page77




                                                                   134777             12/3/2019          5           10/26/2019        11/22/2019           Kennedy/Jenks              $21,219.73                $0.00              $18,067.93       $3,151.80     AR_HUNT00026947        Invoices - AR_HUNT00026691-00027097p1-200.pdf                                           No Cover Sheet                              Invoices - AR_HUNT00026691-00027097p.201-407
                                                                                                                                                                                                                                                                                                                                           Pilot Test, Legal Support, Direct
                                                                                                                                                                                                                                                                                                                                           Expenses
                                                                                                                                                                            TOTAL INVESTIGATION              $3,785,582.26             70%
                                                                                                                                                                             TOTAL REMEDIATION               $1,438,083.17             26%
                                                                                                                                                              TOTAL LEGAL/DOCUMENT PRODUCTION                 $207,518.23              4%
                                                                                                                                                                                 TOTAL COSTS                 $5,431,183.68
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   77ofof89




                                                           a) Invoice not included in documents produced. Invoice total determined based on "Previous Billings" total on Invoice No. 0040290012 minus "Total Billings" of Invoice No. 0040290010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PageIDID
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                                   Exhibit C
                       Kennedy/Jenks Task Cost Summary




                                 Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                      Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                             Case




                                                                                                                                                                                                                                        Invoice Tasks



                                                                       Invoice /                                                                                      General                            Task N.## [sic] and "**** -- Default Task"                   Site Inspection                     Unassignable Direct Expenses1
                                                            Invoice
                                                                      Cover Letter Period Start   Period End   Invoice Total   Invoice Beg_Bates
                                                            Number
                                                                         Date




                                                                                                                                                        Total         Travel        Tech. Hours           Total          Travel       Tech. Hours           Total             Travel     Tech. Hours          Non-travel         Travel
                                                           0040290001 9/21/2000                    8/18/2000    $8,133.49      AR_HUNT00009530     $     2,964.00   $        -                   0   $          -    $          -               0.00    $     4,712.00    $         -              0.00   $              -   $     457.49
                                                           0040290002 11/20/2000 9/30/2000        10/27/2000    $9,201.63      AR_HUNT00009532     $     9,201.63   $   750.20                18.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290003 12/27/2000 10/28/2000       11/24/2000    $4,845.42      AR_HUNT00009534     $     4,845.42   $        -                 1.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290004 1/30/2001 11/25/2000        12/22/2000    $9,062.38      AR_HUNT00009538     $     9,062.38   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290005 2/27/2001 12/23/2000         1/19/2001    $22,190.19     AR_HUNT00009540     $    22,190.19   $   635.80                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290006 3/26/2001     1/20/2001      2/16/2001    $8,398.16      AR_HUNT00009562     $     8,398.16   $ 1,070.54                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290007 4/23/2001     2/17/2001      3/30/2001    $17,526.91     AR_HUNT00009564     $    17,526.91   $   859.17                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290008 5/18/2001     3/31/2001      4/27/2001    $1,064.00      AR_HUNT00009566     $     1,064.00   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290009 6/27/2001     4/28/2001      5/25/2001    $4,725.20      AR_HUNT00009568     $     4,725.20   $    13.20                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290010 7/25/2001     5/26/2001      6/22/2001    $2,095.00      AR_HUNT00009570     $     2,095.00   $        -                19.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           0040290011 NOT INCLUDED                              $4,024.78                                      NA            NA                NA              NA              NA                 NA                 NA             NA               NA                 NA              NA
                                                           004290012   9/14/2001    7/21/2001      8/31/2001    $1,789.07      AR_HUNT00009572     $     1,690.00   $        -                 3.5   $      56.00    $          -               0.00    $            -    $         -              0.00   $          43.07   $          -
                                                           004290013 11/28/2001     9/1/2001      10/26/2001    $2,248.00      AR_HUNT00009574     $     1,848.00   $        -                   4   $     400.00    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290014 12/14/2001 10/27/2001        11/23/2001    $3,374.45      AR_HUNT00009576     $     1,715.00   $        -                 0.5   $    (456.00)   $          -               0.00    $     1,892.00    $         -             22.00   $          16.07   $     207.37
                                                           004290015   1/10/2002 11/24/2001       12/21/2001    $5,367.23      AR_HUNT00009578     $     5,367.23   $   181.49                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290016   2/12/2002 12/22/2001        1/18/2002    $5,019.34      AR_HUNT00009580     $     4,672.00   $        -                12.5   $          -    $          -               0.00    $       183.00    $         -              0.00   $         164.34   $          -
                                                           004290017   3/13/2002    1/19/2002      2/15/2002    $2,387.59      AR_HUNT00009582     $     2,387.59   $   164.45                   3   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290018   4/16/2002    2/16/2002      3/29/2002      $542.48      AR_HUNT00009584     $       542.48   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290019     5/9/2002   3/30/2002      4/26/2002    $2,084.39      AR_HUNT00009586     $     2,084.39   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290020   6/20/2002    4/27/2002      5/24/2002    $9,715.92      AR_HUNT00009588     $     7,020.50   $        -                   2   $          -    $          -               0.00    $     2,448.00    $         -              0.00   $          17.91   $     229.50
                                                           004290021   7/17/2002    5/25/2002      6/21/2002    $53,068.05     AR_HUNT00009590     $    53,068.05   $ 2,466.81                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290022   8/22/2002    6/22/2002      7/19/2002    $18,114.67     AR_HUNT00009592     $    18,114.67   $ 2,300.85                   7   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290023   9/23/2002    7/20/2002      8/30/2002    $13,026.48     AR_HUNT00009594     $    13,026.48   $   897.95                43.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290024 10/17/2002 8/31/2002          9/27/2002    $10,321.22     AR_HUNT00009596     $    10,321.22   $    65.34                  36   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290025 11/14/2002 9/28/2002         10/25/2002    $16,794.68     AR_HUNT00009598     $    16,794.68   $ 1,223.98                  13   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                              Case2:17-cv-05247-JFW-JEM




                                                           004290026 12/13/2002 10/26/2002        11/22/2002    $11,387.94     AR_HUNT00009600     $    11,387.94   $   127.88                 7.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290027   1/10/2003 11/23/2002       12/20/2002    $4,697.24      AR_HUNT00009602     $     4,697.24   $    43.65                   2   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290028   2/19/2003 12/21/2002        1/31/2003    $11,533.56     AR_HUNT00009604     $    11,533.56   $        -                   1   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290029   3/21/2003    2/1/2003       2/28/2003    $10,724.52     AR_HUNT00009606     $    10,724.52   $   339.90                12.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290030   4/16/2003    3/1/2003       3/28/2003    $9,922.84      AR_HUNT00009608     $     9,922.84   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290031    5/2/2003    3/29/2003      4/25/2003    $16,655.69     AR_HUNT00009610     $    16,655.69   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290032   7/11/2003    5/24/2003      6/20/2003      $509.00      AR_HUNT00009612     $       509.00   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290033   9/23/2003    6/21/2003      8/29/2003    $7,952.50      AR_HUNT00009614     $     7,952.50   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290034 10/14/2003 8/30/2003          9/26/2003    $21,398.00     AR_HUNT00009616     $    21,398.00   $        -                58.5   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290035 11/12/2003 9/27/2003         10/24/2003    $9,550.09      AR_HUNT00009618     $     9,550.09   $ 1,077.05                   5   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290036 12/10/2003 10/25/2003        11/21/2003    $8,518.86      AR_HUNT00009620     $     8,518.86   $   658.91                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290037   1/13/2004 11/22/2003       12/19/2003    $1,866.80      AR_HUNT00009622     $     1,866.80   $        -                   3   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290038   2/18/2004 12/20/2003        1/30/2004    $12,444.24     AR_HUNT00009624     $    12,444.24   $        -                16.5   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                           004290039   3/19/2004    1/31/2004      2/27/2004    $14,805.32     AR_HUNT00009626     $     8,382.00   $        -                 2.5   $          -    $         -                0.00    $     5,015.00    $         -             59.00   $         353.19   $   1,055.12
                                                               618     5/20/2004                   4/30/2004    $41,902.08     AR_HUNT00009628     $    38,536.08   $        -                  46   $          -    $         -                0.00    $     3,366.00    $         -              0.00   $              -   $          -
                                                              1544     6/21/2004                   5/28/2004    $14,841.58     AR_HUNT00009633     $    13,313.05   $ 1,222.43                   0   $          -    $         -                0.00    $     1,528.53    $         -              0.00   $              -   $          -
                                                              2504     7/29/2004    5/29/2004      6/26/2004    $24,166.27     AR_HUNT00009635     $    24,004.50   $        -                   6   $      30.50    $         -                0.00    $       131.27    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                   2:17-cv-05247-JFW-JEM Document




                                                              2790     8/16/2004    6/27/2004      7/30/2004    $41,979.94     AR_HUNT00009640     $    21,565.04   $        -                56.5   $          -    $         -                0.00    $    20,414.90    $         -              0.00   $              -   $          -
                                                               3752    9/20/2004    7/31/2004      8/27/2004    $40,279.85     AR_HUNT00009644     $    34,604.51   $ 1,486.21                  23   $          -    $          -               0.00    $     5,675.34    $         -              0.00   $              -   $          -
                                                               4124    10/11/2004 8/28/2004        9/24/2004    $23,410.59     AR_HUNT00009664     $    23,410.59   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                               5323    12/8/2004    9/25/2004     10/29/2004    $20,925.75     AR_HUNT00009668     $    20,925.75   $        -                12.5   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                               5668    12/17/2004 10/30/2004      11/26/2004    $16,883.77     AR_HUNT00009672     $    12,532.85   $        -                17.5   $   4,209.92    $          -              52.50    $       141.00    $         -              0.00   $              -   $          -
                                                               6474    1/17/2005 11/27/2004       12/31/2004    $15,564.55     AR_HUNT00009674     $    13,714.99   $   846.78                 8.5   $          -    $          -               0.00    $     1,849.56    $     606.09             0.00   $              -   $          -
                                                               7184    2/10/2005     1/1/2005      1/28/2005    $26,062.60     AR_HUNT00009681     $    24,538.20   $        -                   4   $     208.40    $          -               0.00    $     1,316.00    $         -              0.00   $              -   $          -
                                                               7931    3/21/2005    1/29/2005      2/25/2005    $33,496.65     AR_HUNT00009685     $    29,550.67   $ 5,364.57               29.75   $   3,358.00    $          -              46.00    $       587.98    $         -              0.00   $              -   $          -
                                                               8601    4/15/2005    2/26/2005      4/15/2005   $116,448.15     AR_HUNT00009693     $   107,161.86   $        -                   0   $   8,648.08    $   1,893.01              81.00    $       638.21    $     638.21             0.00   $              -   $          -
                                                               8971    5/11/2005    3/26/2005      4/29/2005    $31,795.47     AR_HUNT00009702     $    31,795.47   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                               9766    6/17/2005    4/30/2005      5/27/2005    $23,785.48     AR_HUNT00009708     $    23,404.55   $        -                   1   $          -    $          -               0.00    $       380.93    $     380.93             0.00   $              -   $          -
                                                             10447     7/14/2005    5/28/2005      6/24/2005     $9,330.63     AR_HUNT00009715     $     8,135.00   $        -                  15   $   1,195.63    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                 #:17020
                                                                                                                                                                                                                                                                                                                                                                                  #:11104




                                                             11094     8/12/2005    6/25/2005      7/29/2005    $23,823.78     AR_HUNT00009718     $    15,418.55   $   352.55                  22   $   6,804.00    $          -              81.00    $     1,601.23    $     653.73             0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                          Document200-106




                                                             11731     9/19/2005    7/30/2005      8/26/2005    $25,637.53     AR_HUNT00009722     $    22,058.24   $    41.14                  46   $   1,672.54    $   1,222.16               4.00    $     1,906.75    $         -              0.00   $              -   $          -
                                                             12786     10/25/2005 8/27/2005        9/30/2005    $25,055.85     AR_HUNT00009727     $    24,719.85   $        -                31.5   $     336.00    $          -               4.00    $            -    $         -              0.00   $              -   $          -
                                                             13733     12/8/2005    10/1/2005     11/25/2005    $52,300.43     AR_HUNT00009732     $    43,141.84   $        -                44.5   $   2,344.71    $   1,244.47              12.00    $     6,813.88    $     439.23            60.50   $              -   $          -
                                                             14561       2/8/2006  11/26/2005     12/30/2005    $25,184.91     AR_HUNT00009740     $    24,932.91   $ 1,368.73               26.25   $     252.00    $          -               3.00    $            -    $         -              0.00   $              -   $          -
                                                             15595       3/7/2006  12/31/2005      2/10/2006    $21,975.19     AR_HUNT00009747     $    16,067.69   $   549.23                  28   $   5,880.00    $          -              70.00    $         27.50   $         -              0.00   $              -   $          -
                                                             15980     3/14/2006    2/11/2006      2/24/2006    $8,517.00      AR_HUNT00009751     $     8,517.00   $        -                  11   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             16783     4/25/2006    2/25/2006      3/31/2006    $26,883.53     AR_HUNT00009757     $    23,103.86   $        -                  15   $   1,424.37    $   1,079.33               3.50    $     2,355.30    $         -              0.00   $              -   $          -
                                                             17193     5/12/2006    4/1/2006       4/28/2006    $20,194.60     AR_HUNT00009761     $    14,020.60   $   464.50                 8.5   $   6,174.00    $          -              73.50    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                    191-3 Filed




                                                             17826     6/16/2006    4/29/2006      6/9/2006     $42,849.15     AR_HUNT00009764     $    28,836.80   $        -                15.5   $   1,875.43    $   1,337.47               5.00    $    12,136.92    $      61.17             0.00   $              -   $          -
                                                             18284     7/17/2006    6/10/2006      6/30/2006    $7,056.03      AR_HUNT00009775     $     7,056.03   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             19196     8/16/2006    7/1/2006       7/28/2006    $11,339.86     AR_HUNT00009778     $       666.00   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             19623      9/8/2006    7/29/2006      8/25/2006    $15,404.41     AR_HUNT00009782     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             20483     10/25/2006 8/26/2006        9/29/2006    $6,194.61      AR_HUNT00009791     $            -   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                             20851     11/20/2006 9/30/2006       10/27/2006    $12,683.74     AR_HUNT00009794     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             21367     12/8/2006 10/28/2006       11/24/2006    $12,304.41     AR_HUNT00009798     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             21900     1/10/2007 11/25/2006       12/29/2006     $7,025.01     AR_HUNT00009807     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             22686       2/9/2007  12/30/2006      1/26/2007    $15,223.63     AR_HUNT00009810     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             23131       3/8/2007   1/27/2007      2/23/2007    $22,721.77     AR_HUNT00009815     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             23754     4/25/2007    2/24/2007      3/30/2007    $12,924.17     AR_HUNT00009821     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             25053     6/25/2007    3/31/2007      5/25/2007    $27,529.58     AR_HUNT00009826     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             26031     8/17/2007    5/26/2007      7/27/2007    $18,935.12     AR_HUNT00009835     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                           Filed04/03/20




                                                             26718     9/11/2007    7/28/2007      8/31/2007     $9,623.03     AR_HUNT00009839     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             28687     11/28/2007    9/1/2007     10/26/2007    $13,644.34     AR_HUNT00009842     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             28942     12/12/2007 10/27/2007      11/30/2007    $33,590.68     AR_HUNT00009849     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             29718     1/13/2008    12/1/2007     12/28/2007     $7,304.35     AR_HUNT00009857     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             30404     2/21/2008 12/29/2007        1/25/2008    $13,452.85     AR_HUNT00009861     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             31045     3/27/2008    1/26/2008      2/29/2008    $31,586.66     AR_HUNT00021858     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              31807    4/10/2008     3/1/2008      3/28/2008     $8,712.28     AR_HUNT00021866     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              32516    5/15/2008    3/29/2008      4/25/2008    $10,602.36     AR_HUNT00021869     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              33202     6/11/2008   4/26/2008      5/30/2008     $4,665.45     AR_HUNT00021872     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              33761      7/8/2008   5/31/2008      6/27/2008     $6,621.25     AR_HUNT00009895     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                                 04/08/20 Page




                                                              34474     8/26/2008   6/28/2008      7/25/2008    $25,056.35     AR_HUNT00009892     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              35152     9/29/2008   7/26/2008      8/29/2008    $20,026.18     AR_HUNT00009886     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              35589     10/7/2008   8/30/2008      9/26/2008    $26,786.32     AR_HUNT00009883     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              36811     12/5/2008   9/27/2008     10/31/2008   $137,657.29     AR_HUNT00009877     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              37458    12/30/2008 11/1/2008       11/28/2008    $25,608.67     AR_HUNT00009871     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                                           Page79




                                                              37949     1/22/2009 11/29/2008      12/29/2008    $25,349.96     AR_HUNT00009864     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              38646    2/27/2009 12/29/2008        1/30/2009    $24,310.75     AR_HUNT00009945     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             39124     3/19/2009     2/1/2009       3/6/2009    $65,427.73     AR_HUNT00009941     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             39753     4/22/2009     3/7/2009       4/3/2009    $56,693.00     AR_HUNT00009937     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             40379     5/20/2009     4/4/2009      4/24/2009    $27,098.07     AR_HUNT00009932     $            -   $        -                   0   $          -    $         -                0.00    $            -    $         -              0.00   $              -   $          -
                                                             41541       7/2/2009   4/25/2009      5/29/2009    $59,868.59     AR_HUNT00009927     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             41730     7/21/2009    5/30/2009      6/26/2009    $22,355.90     AR_HUNT00009923     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             42360     8/12/2009    6/27/2009      7/31/2009    $33,811.82     AR_HUNT00009919     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                                                79ofof89




                                                             43009     9/18/2009     8/1/2009      8/28/2009    $53,340.97     AR_HUNT00009915     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                             43843     10/27/2009 8/28/2009        9/25/2009    $40,730.06     AR_HUNT00009911     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              44600    12/18/2009 9/26/2009       10/30/2009    $55,642.02     AR_HUNT00009907     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              45084      1/6/2010  10/31/2009     11/27/2009    $45,313.41     AR_HUNT00009903     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              45690      2/3/2010  11/28/2009     12/25/2009    $42,297.24     AR_HUNT00009898     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              46229      3/1/2010  12/26/2009      1/29/2010    $15,530.97     AR_HUNT00009975     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              46560     3/11/2010   1/31/2010      2/26/2010     $9,209.41     AR_HUNT00009972     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                              47689      5/6/2010   2/27/2010      3/26/2010    $15,700.57     AR_HUNT00009969     $            -   $        -                   0   $          -    $          -               0.00    $            -    $         -              0.00   $              -   $          -
                                                                                                                                                                                                                                                                                                                                                                                                                       89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                        1 of 8
                                                                                                                                                                                                                                                                                                                                                                                                                           PageIDID
                                                                                                                                                                                               Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                      Case




                                                                                                                                                                                                                                                                     Invoice Tasks



                                                                              Invoice /                                                                                                        General                              Task N.## [sic] and "**** -- Default Task"                            Site Inspection                     Unassignable Direct Expenses1
                                                                Invoice
                                                                             Cover Letter Period Start      Period End      Invoice Total      Invoice Beg_Bates
                                                                Number
                                                                                Date



                                                                                                                                                                             Total             Travel        Tech. Hours             Total            Travel        Tech. Hours             Total              Travel        Tech. Hours          Non-travel            Travel
                                                                 47899        5/19/2010       3/27/2010     4/30/2010           $15,751.07     AR_HUNT00009966         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 48567        6/22/2010       5/1/2010      5/28/2010           $22,614.59     AR_HUNT00009963         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 49463        7/22/2010       5/29/2010     6/25/2010           $25,311.43     AR_HUNT00009960         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 49964          9/3/2010      6/26/2010     7/30/2010           $27,027.94     AR_HUNT00009956         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 50622        9/17/2010       7/31/2010     8/27/2010           $45,384.60     AR_HUNT00009953         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 51487        10/28/2010      8/28/2010     9/24/2010           $41,190.39     AR_HUNT00009949         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 52142        11/22/2010      9/25/2010    10/29/2010           $39,290.97     AR_HUNT00011558         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 52708        12/17/2010     10/30/2010    11/26/2010           $31,522.66     AR_HUNT00011555         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 53773          2/3/2011     11/27/2010    12/31/2010           $27,834.93     AR_HUNT00011551         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 54090        2/28/2011       1/1/2011      1/28/2011           $32,831.65     AR_HUNT00011546         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 56161        5/18/2011       3/26/2011     4/29/2011           $76,039.56     AR_HUNT00011379         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 56895        6/17/2011       4/30/2011     5/27/2011           $47,400.25     AR_HUNT00011541         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 57337          7/8/2011      5/28/2011     6/24/2011           $23,957.02     AR_HUNT00011537         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 59006        9/15/2011       6/25/2011     8/26/2011          $108,691.67     AR_HUNT00011526         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 60733        11/29/2011      9/??/2011    10/28/2011           $85,441.91     AR_HUNT00011521         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 60841        12/16/2011     10/29/2011    11/25/2011           $21,360.19     AR_HUNT00011517         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 61782        1/13/2012      11/26/2011    12/30/2011           $30,511.95     AR_HUNT00011512         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 62475          2/8/2012     12/31/2011     1/27/2012           $24,136.58     AR_HUNT00011508         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 63140          3/7/2012      1/28/2012     2/24/2012           $43,985.65     AR_HUNT00011503         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 64042        4/18/2012       2/25/2012     3/30/2012           $19,912.52     AR_HUNT00011499         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  65136       5/31/2012       3/31/2012     4/27/2012           $3,325.81      AR_HUNT00011496         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  66031       7/10/2012       4/28/2012     5/25/2012           $5,482.24      AR_HUNT00011493         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  66351       7/30/2012       5/26/2012     6/29/2012           $42,188.32     AR_HUNT00011490         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  66958         9/7/2012      6/30/2012     7/27/2012           $21,840.88     AR_HUNT00011487         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  68007       9/26/2012       7/28/2012     8/31/2012           $2,648.32      AR_HUNT00011484         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                       Case2:17-cv-05247-JFW-JEM




                                                                  68780       11/5/2012       9/1/2012      9/28/2012           $1,445.68      AR_HUNT00011481         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  69085       11/21/2012      9/29/2012    10/26/2012           $2,851.63      AR_HUNT00011478         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  69801       12/13/2012     10/27/2012    11/30/2012           $10,488.05     AR_HUNT00011475         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  71090         2/7/2013      12/1/2012     1/25/2013           $24,795.63     AR_HUNT00011472         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  72483       4/23/2013       1/26/2013     3/29/2013           $92,691.93     AR_HUNT00011466         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  73112       5/23/2013       3/30/2013     4/26/2013           $24,570.18     AR_HUNT00011463         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  74056       7/18/2013       4/27/2013     5/31/2013           $16,180.13     AR_HUNT00011458         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  74717       7/25/2013       6/1/2013      6/28/2013           $3,506.71      AR_HUNT00011455         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  76023        9/17/2013      6/29/2013     8/30/2013           $25,695.93     AR_HUNT00011452         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  76897       10/22/2013      8/31/2013     9/27/2013           $20,186.76     AR_HUNT00011449         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  77652       11/27/2013      9/28/2013    10/25/2013            $6,558.60     AR_HUNT00011447                        NA                NA                 NA                NA                NA               NA                   NA                 NA               NA                    NA                NA
                                                                  78492         1/3/2014     10/26/2013    11/29/2013            $3,277.19     AR_HUNT00011444         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  79910       2/11/2014      11/30/2013     1/31/2014           $19,352.03     AR_HUNT00011438         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  80635       3/14/2014       2/1/2014      2/28/2014           $20,263.82     AR_HUNT00011435         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  81559         4/8/2014      3/1/2014      3/28/2014           $10,319.29     AR_HUNT00011430         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  82159       4/30/2014       3/28/2014     4/25/2014           $9,672.12      AR_HUNT00011428                        NA                NA                 NA                NA                NA               NA                   NA                 NA               NA                    NA                NA
                                                                  83506       6/17/2014       4/26/2014     5/30/2014           $6,183.68      AR_HUNT00011425         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                            2:17-cv-05247-JFW-JEM Document




                                                                  84372       7/17/2014       5/31/2014     6/27/2014           $9,002.11      AR_HUNT00011422         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  86197       9/17/2014       6/28/2014     8/29/2014           $13,141.91     AR_HUNT00011419         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  86642       10/8/2014       8/30/2014     9/26/2014           $5,434.35      AR_HUNT00011416         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  87949       12/1/2014       9/27/2014    10/31/2014           $22,864.83     AR_HUNT00011413         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  88666       12/19/2014      11/1/2014    11/28/2014           $19,770.04     AR_HUNT00011409         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 89477        3/17/2015      11/29/2014    12/26/2014           $9,382.92      AR_HUNT00011406         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  90847       3/20/2015      12/26/2014     2/27/2015           $9,824.80      AR_HUNT00011403         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  91695       4/21/2015       2/28/2015     3/27/2015           $22,665.06     AR_HUNT00011398         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  94131       7/20/2015       3/28/2015     6/26/2015           $84,080.52     AR_HUNT00011393         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                  97829       12/29/2015      6/27/2015    11/27/2015          $125,254.07     AR_HUNT00011385         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 99661        3/23/2016      11/28/2015     2/26/2016           $35,635.46     AR_HUNT00014390         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 101301         5/9/2016      2/27/2016     4/29/2016           $38,845.84     AR_HUNT00014348         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                                                          #:17021
                                                                                                                                                                                                                                                                                                                                                                                                                           #:11105




                                                                 102620       6/27/2016       4/30/2016     5/27/2016           $23,511.07     AR_HUNT00014353         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                                                   Document200-106




                                                                 103294       7/18/2016       5/28/2016     6/24/2016           $17,110.87     AR_HUNT00014358         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 104741       9/14/2016       6/25/2016     8/26/2016           $16,936.79     AR_HUNT00014363         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 105645       10/28/2016      8/27/2016     9/30/2016           $19,226.84     AR_HUNT00014368         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 107374       12/22/2016      10/1/2016    11/25/2016           $20,144.37     AR_HUNT00014374         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 108258       2/15/2017      11/26/2016    12/30/2016           $37,992.62     AR_HUNT00014380         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 109478       3/17/2017      12/31/2016     1/27/2017           $28,858.89     AR_HUNT00014394         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 110100       3/27/2017       1/28/2017     2/24/2017           $34,922.54     AR_HUNT00014408         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 111600       5/23/2017       2/25/2017     4/28/2017           $87,715.86     AR_HUNT00014415         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                                                             191-3 Filed




                                                                 112245         6/7/2017      4/29/2017     5/26/2017           $54,672.78     AR_HUNT00014422         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 114354         8/7/2017      5/27/2017     7/28/2017          $103,320.29     AR_HUNT00014433         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 116705       11/9/2017       7/29/2017    10/27/2017           $69,416.70     AR_HUNT00026691         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 119289         2/9/2018     10/28/2017     1/26/2018           $94,238.52     AR_HUNT00026699         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 121091       4/20/2018       1/27/2018     3/30/2018          $103,618.94     AR_HUNT00026703         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 121954       5/24/2018       3/31/2018     4/27/2018           $47,104.32     AR_HUNT00026706         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 122534       6/15/2018       4/28/2018     5/25/2018           $62,019.43     AR_HUNT00026709         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 123519       7/25/2018       5/26/2018     6/29/2018           $27,164.79     AR_HUNT00026712         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 124146       8/21/2018       6/30/2018     7/27/2018           $14,506.50     AR_HUNT00026730         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 125298       10/16/2018      7/28/2018     9/28/2018           $45,353.31     AR_HUNT00026734         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 126225       11/27/2018      9/29/2018    10/26/2018           $12,338.58     AR_HUNT00026756         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 127305       1/14/2019      10/27/2018    12/28/2018           $55,966.84     AR_HUNT00026758         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 127577         2/1/2019     12/29/2018     1/25/2019           $42,180.31     AR_HUNT00026773         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                                                                    Filed04/03/20




                                                                 128789       3/19/2019       1/26/2019     2/22/2019           $26,800.13     AR_HUNT00026780         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 129466       4/22/2019       2/23/2019     3/29/2019           $48,843.28     AR_HUNT00026783         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 129975       5/14/2019       3/30/2019     4/26/2019           $49,713.59     AR_HUNT00026799         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 130547       6/11/2019       4/27/2019     5/24/2019           $35,644.89     AR_HUNT00026835         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 131595       7/18/2019       5/25/2019     6/28/2019           $20,582.88     AR_HUNT00026870         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 133259       9/26/2019       6/29/2019     8/23/2019           $46,523.46     AR_HUNT00026882         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 133934       10/18/2019      8/24/2019     9/27/2019           $51,502.59     AR_HUNT00026888         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 134435       11/11/2019      9/28/2019    10/25/2019           $29,777.77     AR_HUNT00026934         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                 134777       12/3/2019      10/26/2019    11/22/2019           $21,219.73     AR_HUNT00026947         $              -    $            -                   0   $            -    $            -              0.00    $              -     $            -              0.00   $                -    $            -
                                                                                                                                                                                                                                                                                                                                                                                                                                          04/08/20 Page




                                                                                                              Totals:      $      5,175,897              --            $      1,012,001 $        24,573        741.00           $      44,414 $          6,776        435.50          $          75,121    $      2,779        141.50         $            595      $      1,949
                                                           Notes:
                                                           1                                                                                                                                                                                                                                         Total K/J Invoices: $
                                                               Unassignable costs due to multiple tasks on an invoice and expenses/subcontractor costs that were not assigned to any particular task.                                                                                                                            5,175,897
                                                           2                                                                                                                                                                                                                         Total K/J Invoices with Task Data: $
                                                               Task 20 known by other names including "Groundwater Monitoring 2006"                                                                                                                                                                                              5,155,642
                                                           3
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page80




                                                               Task 30 known by other names including "Site Characterization 2006," "Regolith GW Well Install and Destruct," and "Field Characterization 2010"                                                                    Total K/J Invoices without Task Data: $          20,256
                                                           4                                                                                                                                                                                                                          Total K/J Response Action Costs: $
                                                               Task 40 known by other names including "Rpt. Seismic Reflection & CPT/MIP"                                                                                                                                                                                        4,967,390
                                                           5                                                                                                                                                                                                                     Total K/J Non-Response Action Costs: $
                                                            Task 50 identified by two different descriptors. Descriptors differ substantially, and are tabulated separately.                                                                                                                                                      208,507
                                                           On invoices for which a service fee (3%) was billed, the service fee is incorporated into the task total at a rate of 3% of the billed labor.                                                                          Total Response Action Travel Costs: $           266,127
                                                           NA: Detailed invoice not available for review.                                                                                                                                                                      Total Non-Response Action Travel Costs: $             9,308
                                                           Refer to Exhibit B for invoice scope of work, categorization, etc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                         80ofof89
                                                                                                                                                                                                                                                                                                                                                                                                                                                                89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                 2 of 8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    PageIDID
                                                                                                                                                                                                                           Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Case




                                                                                                                                                                                                                                                                                                  Invoice Tasks
                                                                                                                                                                                                                                                                                                   Task 40 - Source Area   Task 50 - High Bay Indoor
                                                                                                                                                   Task 10 - Project Mgmt. &                                                                 Task 30 - Field              Task 31 - Remedial           Screening &               Air Screening5          Task 50 - Initial Risk   Task 60 - Bedrock Well Task 70 - Equipment     Task 80 - Remediation
                                                                                                                                                                                                                                 2
                                                                       Invoice /                                                                        Quality Control               Task 20 - Routine Groundwater Monitoring              Characterization3               Investigation               Reporting4                                          Assessment5              Installation WP          Purchase                 Planning
                                                            Invoice
                                                                      Cover Letter Period Start   Period End   Invoice Total   Invoice Beg_Bates
                                                            Number
                                                                         Date




                                                                                                                                                       Total           Travel            Total              Travel     Tech. Hours         Total            Travel          Total        Travel        Total     Travel        Total           Travel        Total     Travel          Total     Travel       Total     Travel       Total      Travel
                                                           0040290001 9/21/2000                    8/18/2000    $8,133.49      AR_HUNT00009530     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290002 11/20/2000 9/30/2000        10/27/2000    $9,201.63      AR_HUNT00009532     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290003 12/27/2000 10/28/2000       11/24/2000    $4,845.42      AR_HUNT00009534     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290004 1/30/2001 11/25/2000        12/22/2000    $9,062.38      AR_HUNT00009538     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290005 2/27/2001 12/23/2000         1/19/2001    $22,190.19     AR_HUNT00009540     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290006 3/26/2001     1/20/2001      2/16/2001    $8,398.16      AR_HUNT00009562     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290007 4/23/2001     2/17/2001      3/30/2001    $17,526.91     AR_HUNT00009564     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290008 5/18/2001     3/31/2001      4/27/2001    $1,064.00      AR_HUNT00009566     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290009 6/27/2001     4/28/2001      5/25/2001    $4,725.20      AR_HUNT00009568     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290010 7/25/2001     5/26/2001      6/22/2001    $2,095.00      AR_HUNT00009570     $           -   $        -     $              -      $            -         0.00   $            -    $         -   $             -    $ -      $            - $ -       $           -   $        -    $        -    $ -        $            - $ -      $        -    $ -      $           -   $  -
                                                           0040290011 NOT INCLUDED                              $4,024.78                                    NA              NA                    NA               NA          NA                 NA            NA                   NA     NA               NA     NA              NA             NA              NA     NA                 NA     NA              NA     NA             NA         NA
                                                           004290012   9/14/2001    7/21/2001      8/31/2001    $1,789.07      AR_HUNT00009572     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290013 11/28/2001     9/1/2001      10/26/2001    $2,248.00      AR_HUNT00009574     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290014 12/14/2001 10/27/2001        11/23/2001    $3,374.45      AR_HUNT00009576     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290015   1/10/2002 11/24/2001       12/21/2001    $5,367.23      AR_HUNT00009578     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290016   2/12/2002 12/22/2001        1/18/2002    $5,019.34      AR_HUNT00009580     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290017   3/13/2002    1/19/2002      2/15/2002    $2,387.59      AR_HUNT00009582     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290018   4/16/2002    2/16/2002      3/29/2002     $542.48       AR_HUNT00009584     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290019    5/9/2002    3/30/2002      4/26/2002    $2,084.39      AR_HUNT00009586     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290020   6/20/2002    4/27/2002      5/24/2002    $9,715.92      AR_HUNT00009588     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290021   7/17/2002    5/25/2002      6/21/2002    $53,068.05     AR_HUNT00009590     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290022   8/22/2002    6/22/2002      7/19/2002    $18,114.67     AR_HUNT00009592     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290023   9/23/2002    7/20/2002      8/30/2002    $13,026.48     AR_HUNT00009594     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290024 10/17/2002 8/31/2002          9/27/2002    $10,321.22     AR_HUNT00009596     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290025 11/14/2002 9/28/2002         10/25/2002    $16,794.68     AR_HUNT00009598     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                            Case2:17-cv-05247-JFW-JEM




                                                           004290026 12/13/2002 10/26/2002        11/22/2002    $11,387.94     AR_HUNT00009600     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290027   1/10/2003 11/23/2002       12/20/2002    $4,697.24      AR_HUNT00009602     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290028   2/19/2003 12/21/2002        1/31/2003    $11,533.56     AR_HUNT00009604     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290029   3/21/2003    2/1/2003       2/28/2003    $10,724.52     AR_HUNT00009606     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290030   4/16/2003    3/1/2003       3/28/2003    $9,922.84      AR_HUNT00009608     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290031    5/2/2003    3/29/2003      4/25/2003    $16,655.69     AR_HUNT00009610     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290032   7/11/2003    5/24/2003      6/20/2003     $509.00       AR_HUNT00009612     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290033   9/23/2003    6/21/2003      8/29/2003    $7,952.50      AR_HUNT00009614     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290034 10/14/2003 8/30/2003          9/26/2003    $21,398.00     AR_HUNT00009616     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290035 11/12/2003 9/27/2003         10/24/2003    $9,550.09      AR_HUNT00009618     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290036 12/10/2003 10/25/2003        11/21/2003    $8,518.86      AR_HUNT00009620     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290037   1/13/2004 11/22/2003       12/19/2003    $1,866.80      AR_HUNT00009622     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290038   2/18/2004 12/20/2003        1/30/2004    $12,444.24     AR_HUNT00009624     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                           004290039   3/19/2004    1/31/2004      2/27/2004    $14,805.32     AR_HUNT00009626     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              618      5/20/2004                   4/30/2004    $41,902.08     AR_HUNT00009628     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              1544     6/21/2004                   5/28/2004    $14,841.58     AR_HUNT00009633     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              2504     7/29/2004    5/29/2004      6/26/2004    $24,166.27     AR_HUNT00009635     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2:17-cv-05247-JFW-JEM Document




                                                              2790     8/16/2004    6/27/2004      7/30/2004    $41,979.94     AR_HUNT00009640     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              3752     9/20/2004    7/31/2004      8/27/2004    $40,279.85     AR_HUNT00009644     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              4124     10/11/2004 8/28/2004        9/24/2004    $23,410.59     AR_HUNT00009664     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              5323     12/8/2004    9/25/2004     10/29/2004    $20,925.75     AR_HUNT00009668     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              5668     12/17/2004 10/30/2004      11/26/2004    $16,883.77     AR_HUNT00009672     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              6474     1/17/2005 11/27/2004       12/31/2004    $15,564.55     AR_HUNT00009674     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              7184     2/10/2005    1/1/2005       1/28/2005    $26,062.60     AR_HUNT00009681     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              7931     3/21/2005    1/29/2005      2/25/2005    $33,496.65     AR_HUNT00009685     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              8601     4/15/2005    2/26/2005      4/15/2005   $116,448.15     AR_HUNT00009693     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              8971     5/11/2005    3/26/2005      4/29/2005    $31,795.47     AR_HUNT00009702     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                              9766     6/17/2005    4/30/2005      5/27/2005    $23,785.48     AR_HUNT00009708     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             10447     7/14/2005    5/28/2005      6/24/2005    $9,330.63      AR_HUNT00009715     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               #:17022
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                #:11106




                                                             11094     8/12/2005    6/25/2005      7/29/2005    $23,823.78     AR_HUNT00009718     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Document200-106




                                                             11731     9/19/2005    7/30/2005      8/26/2005    $25,637.53     AR_HUNT00009722     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             12786     10/25/2005 8/27/2005        9/30/2005    $25,055.85     AR_HUNT00009727     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             13733     12/8/2005    10/1/2005     11/25/2005    $52,300.43     AR_HUNT00009732     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             14561      2/8/2006   11/26/2005     12/30/2005    $25,184.91     AR_HUNT00009740     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             15595      3/7/2006   12/31/2005      2/10/2006    $21,975.19     AR_HUNT00009747     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             15980     3/14/2006    2/11/2006      2/24/2006    $8,517.00      AR_HUNT00009751     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             16783     4/25/2006    2/25/2006      3/31/2006    $26,883.53     AR_HUNT00009757     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             17193     5/12/2006    4/1/2006       4/28/2006    $20,194.60     AR_HUNT00009761     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  191-3 Filed




                                                             17826     6/16/2006    4/29/2006      6/9/2006     $42,849.15     AR_HUNT00009764     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             18284     7/17/2006    6/10/2006      6/30/2006    $7,056.03      AR_HUNT00009775     $       -       $       -      $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             19196     8/16/2006    7/1/2006       7/28/2006    $11,339.86     AR_HUNT00009778     $     40.00     $       -      $        10,633.86    $      521.61         57.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             19623      9/8/2006    7/29/2006      8/25/2006    $15,404.41     AR_HUNT00009782     $  2,669.50     $       -      $        12,734.91    $         -           13.50   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             20483     10/25/2006 8/26/2006        9/29/2006    $6,194.61      AR_HUNT00009791     $    429.00     $       -      $         5,765.61    $    1,161.97         16.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             20851     11/20/2006 9/30/2006       10/27/2006    $12,683.74     AR_HUNT00009794     $  1,662.01     $       -      $        10,616.73    $         -           69.50   $       405.00    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             21367     12/8/2006 10/28/2006       11/24/2006    $12,304.41     AR_HUNT00009798     $  1,178.18     $       -      $        10,186.23    $    1,613.33          8.75   $       940.00    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             21900     1/10/2007 11/25/2006       12/29/2006    $7,025.01      AR_HUNT00009807     $  1,936.00     $       -      $         5,089.01    $         -            5.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             22686      2/9/2007   12/30/2006      1/26/2007    $15,223.63     AR_HUNT00009810     $  2,482.50     $       -      $        12,741.13    $    1,125.74         45.50   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             23131      3/8/2007    1/27/2007      2/23/2007    $22,721.77     AR_HUNT00009815     $  5,085.00     $       -      $        17,636.77    $    2,049.50         32.50   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             23754     4/25/2007    2/24/2007      3/30/2007    $12,924.17     AR_HUNT00009821     $    850.30     $       -      $        11,715.12    $         -            2.50   $       358.75    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             25053     6/25/2007    3/31/2007      5/25/2007    $27,529.58     AR_HUNT00009826     $    118.75     $       -      $        27,410.83    $    1,663.07         83.50   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             26031     8/17/2007    5/26/2007      7/27/2007    $18,935.12     AR_HUNT00009835     $    737.50     $       -      $        16,063.87    $      486.87         85.50   $     2,133.75    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Filed04/03/20




                                                             26718     9/11/2007    7/28/2007      8/31/2007    $9,623.03      AR_HUNT00009839     $  2,157.50     $       -      $         6,748.03    $    1,328.01         11.50   $       717.50    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             28687     11/28/2007   9/1/2007      10/26/2007    $13,644.34     AR_HUNT00009842     $  1,453.76     $       -      $        11,934.33    $      430.20         32.50   $       256.25    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             28942     12/12/2007 10/27/2007      11/30/2007    $33,590.68     AR_HUNT00009849     $    135.00     $       -      $        33,221.93    $    3,418.00         76.50   $       233.75    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             29718     1/13/2008    12/1/2007     12/28/2007    $7,304.35      AR_HUNT00009857     $     67.50     $       -      $         4,161.85    $         -           11.25   $     3,075.00    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             30404     2/21/2008 12/29/2007        1/25/2008    $13,452.85     AR_HUNT00009861     $    645.00     $       -      $        10,893.45    $     (128.69)        14.50   $     1,914.40    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             31045     3/27/2008    1/26/2008      2/29/2008    $31,586.66     AR_HUNT00021858     $  7,960.21     $       -      $        21,371.45    $      500.73         64.50   $     2,255.00    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             31807     4/10/2008    3/1/2008       3/28/2008    $8,712.28      AR_HUNT00021866     $  4,927.50     $       -      $         3,528.53    $    1,513.67          0.00   $       256.25    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             32516     5/15/2008    3/29/2008      4/25/2008    $10,602.36     AR_HUNT00021869     $    951.11     $    353.61    $           325.00    $         -            0.00   $     9,326.25    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             33202     6/11/2008    4/26/2008      5/30/2008    $4,665.45      AR_HUNT00021872     $    436.25     $       -      $           332.50    $         -            3.50   $     3,896.70    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             33761      7/8/2008    5/31/2008      6/27/2008    $6,621.25      AR_HUNT00009895     $    431.25     $       -      $              -      $         -            0.00   $     6,190.00    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               04/08/20 Page




                                                             34474     8/26/2008    6/28/2008      7/25/2008    $25,056.35     AR_HUNT00009892     $    112.50     $       -      $         8,601.84    $      518.09         67.00   $    16,342.01    $ 1,144.01    $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             35152     9/29/2008    7/26/2008      8/29/2008    $20,026.18     AR_HUNT00009886     $    202.50     $       -      $        10,035.36    $         -           16.00   $     9,788.32    $ 1,943.32    $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             35589     10/7/2008    8/30/2008      9/26/2008    $26,786.32     AR_HUNT00009883     $    360.00     $       -      $         2,287.32    $    1,490.84          0.25   $    24,139.00    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             36811     12/5/2008    9/27/2008     10/31/2008   $137,657.29     AR_HUNT00009877     $  1,900.00     $       -      $         7,961.80    $      894.30         35.50   $   127,795.49    $ 2,270.74    $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             37458     12/30/2008 11/1/2008       11/28/2008    $25,608.67     AR_HUNT00009871     $  2,662.50     $       -      $        15,959.92    $      436.70         71.50   $     6,986.25    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Page81




                                                             37949     1/22/2009 11/29/2008       12/29/2008    $25,349.96     AR_HUNT00009864     $  5,424.10     $       -      $        14,067.76    $      561.11         30.50   $     5,858.10    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             38646     2/27/2009 12/29/2008        1/30/2009    $24,310.75     AR_HUNT00009945     $  9,532.50     $       -      $         4,452.50    $         -           18.00   $    10,325.75    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             39124     3/19/2009    2/1/2009       3/6/2009     $65,427.73     AR_HUNT00009941     $  2,330.38     $       -      $        23,212.95    $    1,867.45         67.25   $    39,884.40    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             39753     4/22/2009    3/7/2009       4/3/2009     $56,693.00     AR_HUNT00009937     $    825.29     $       -      $         9,658.45    $         -            0.00   $    43,011.11    $ 6,539.03    $             -    $ -      $    3,198.15 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             40379     5/20/2009    4/4/2009       4/24/2009    $27,098.07     AR_HUNT00009932     $  1,535.99     $       -      $        13,599.36    $      486.43         46.50   $    11,962.73    $ 2,844.34    $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             41541      7/2/2009    4/25/2009      5/29/2009    $59,868.59     AR_HUNT00009927     $  1,982.75     $       -      $        36,535.28    $         -          104.50   $     5,363.71    $      -      $             -    $ -      $         -    $ -       $ 15,986.85     $ 1,081.08    $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             41730     7/21/2009    5/30/2009      6/26/2009    $22,355.90     AR_HUNT00009923     $  2,819.63     $       -      $        10,886.34    $    3,111.91          9.25   $     5,085.11    $      -      $             -    $ -      $         -    $ -       $ 3,564.83      $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             42360     8/12/2009    6/27/2009      7/31/2009    $33,811.82     AR_HUNT00009919     $  2,681.64     $       -      $         9,437.87    $         -            2.00   $    15,211.04    $      -      $             -    $ -      $    6,481.28 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              81ofof89




                                                             43009     9/18/2009    8/1/2009       8/28/2009    $53,340.97     AR_HUNT00009915     $  3,982.16     $     54.00    $        23,421.79    $    1,490.27        146.50   $     9,706.79    $   310.38    $             -    $ -      $   16,230.23 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             43843     10/27/2009 8/28/2009        9/25/2009    $40,730.06     AR_HUNT00009911     $  6,669.25     $       -      $        19,351.90    $    2,209.15         24.00   $     5,825.17    $      -      $             -    $ -      $    8,883.75 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             44600     12/18/2009 9/26/2009       10/30/2009    $55,642.02     AR_HUNT00009907     $  2,078.03     $       -      $        26,051.56    $         -           92.00   $    21,988.43    $      -      $             -    $ -      $    2,340.68 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $   3,183.34 $ -       $       -    $     -
                                                             45084      1/6/2010   10/31/2009     11/27/2009    $45,313.41     AR_HUNT00009903     $    754.48     $       -      $        17,226.32    $      329.29         72.25   $    13,201.51    $      -      $             -    $ -      $   13,827.18 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $     303.93 $ -       $       -    $     -
                                                             45690      2/3/2010   11/28/2009     12/25/2009    $42,297.24     AR_HUNT00009898     $ 13,577.77     $    231.54    $        11,482.16    $    6,061.87          3.00   $    11,966.28    $      -      $             -    $ -      $    5,271.03 $ -        $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $       -    $     -
                                                             46229      3/1/2010   12/26/2009      1/29/2010    $15,530.97     AR_HUNT00009975     $  2,491.31     $       -      $         2,492.46    $    2,273.18          0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $   10,547.20 $ -       $        -    $ -      $       -    $     -
                                                             46560     3/11/2010    1/31/2010      2/26/2010    $9,209.41      AR_HUNT00009972     $  3,029.41     $    230.38    $              -      $         -            0.00   $          -      $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $    6,180.00 $ -       $        -    $ -      $       -    $     -
                                                             47689      5/6/2010    2/27/2010      3/26/2010    $15,700.57     AR_HUNT00009969     $ 11,556.37     $     28.09    $           301.28    $         -            0.00   $     3,629.72    $      -      $             -    $ -      $         -    $ -       $       -       $      -      $        -    $ -        $         -    $ -      $        -    $ -      $    213.21 $      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                               3 of 8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         PageIDID
                                                                                                                                                                                                                                                  Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Case




                                                                                                                                                                                                                                                                                                                          Invoice Tasks
                                                                                                                                                                                                                                                                                                                           Task 40 - Source Area   Task 50 - High Bay Indoor
                                                                                                                                                                         Task 10 - Project Mgmt. &                                                                  Task 30 - Field              Task 31 - Remedial            Screening &               Air Screening5                Task 50 - Initial Risk   Task 60 - Bedrock Well Task 70 - Equipment       Task 80 - Remediation
                                                                                                                                                                                                                                                        2
                                                                              Invoice /                                                                                       Quality Control                Task 20 - Routine Groundwater Monitoring              Characterization3               Investigation                Reporting4                                                Assessment5              Installation WP          Purchase                   Planning
                                                                Invoice
                                                                             Cover Letter Period Start     Period End      Invoice Total       Invoice Beg_Bates
                                                                Number
                                                                                Date




                                                                                                                                                                              Total          Travel             Total             Travel       Tech. Hours         Total            Travel     Total          Travel          Total       Travel       Total                Travel       Total       Travel         Total        Travel       Total     Travel       Total         Travel
                                                                 47899        5/19/2010      3/27/2010      4/30/2010          $15,751.07     AR_HUNT00009966            $   10,954.05     $      -      $        4,099.71    $         -             37.50   $       697.31    $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 48567        6/22/2010      5/1/2010       5/28/2010          $22,614.59     AR_HUNT00009963            $     2,529.68    $      -      $       19,652.31    $      476.06          133.50   $       432.60    $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 49463        7/22/2010      5/29/2010      6/25/2010          $25,311.43     AR_HUNT00009960            $     2,041.98    $      -      $       19,380.17    $    3,443.82            3.00   $     3,889.28    $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 49964         9/3/2010      6/26/2010      7/30/2010          $27,027.94     AR_HUNT00009956            $     4,127.21    $      -      $       15,317.86    $      865.93           38.00   $     7,307.34    $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $     275.53    $ 275.53
                                                                 50622        9/17/2010      7/31/2010      8/27/2010          $45,384.60     AR_HUNT00009953            $     3,263.56    $      -      $       19,883.12    $         -             75.50   $   22,237.92     $     903.53$        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 51487        10/28/2010     8/28/2010      9/24/2010          $41,190.39     AR_HUNT00009949            $     1,971.42    $      -      $        8,015.77    $      799.27           32.25   $   31,203.21     $   4,642.48$        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 52142        11/22/2010     9/25/2010     10/29/2010          $39,290.97     AR_HUNT00011558            $     1,178.84    $      -      $       11,649.30    $    2,700.88           21.50   $   21,589.14     $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   4,873.70    $     -
                                                                 52708        12/17/2010    10/30/2010     11/26/2010          $31,522.66     AR_HUNT00011555            $    1,371.96     $      -      $       19,766.24    $    1,109.32          143.50   $     2,943.74    $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   7,440.72    $     -
                                                                 53773         2/3/2011     11/27/2010     12/31/2010          $27,834.93     AR_HUNT00011551            $     1,371.45    $      -      $       12,095.50    $    2,597.18           14.50   $     8,291.50    $         - $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   6,076.49    $     -
                                                                 54090        2/28/2011      1/1/2011       1/28/2011          $32,831.65     AR_HUNT00011546            $     2,730.53    $      -      $       18,720.90    $         -              2.00   $   11,380.22     `           $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 56161        5/18/2011      3/26/2011      4/29/2011          $76,039.56     AR_HUNT00011379            $   11,158.58     $ 528.98      $       37,704.45    $    3,598.06          140.50   $   25,050.61     $ 2,630.06 $         -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   2,125.92    $     -
                                                                 56895        6/17/2011      4/30/2011      5/27/2011          $47,400.25     AR_HUNT00011541            $   13,346.79     $ 2,227.42    $       13,728.44    $      662.90            9.50   $   18,670.85     $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   1,654.18    $     -
                                                                 57337         7/8/2011      5/28/2011      6/24/2011          $23,957.02     AR_HUNT00011537            $     6,697.56    $      -      $        8,292.35    $         -              6.50   $     8,610.22    $ 3,352.75 $         -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $     356.90    $     -
                                                                 59006        9/15/2011      6/25/2011      8/26/2011         $108,691.67     AR_HUNT00011526            $   16,626.23     $      -      $       61,794.38    $    6,558.81          232.00   $   27,493.67     $      -    $        -        $ -         $   1,086.65    $ -      $           -        $        -    $ 1,690.75     $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 60733        11/29/2011     9/??/2011     10/28/2011          $85,441.91     AR_HUNT00011521            $     7,480.67    $      -      $       34,573.23    $    1,465.66          128.00   $   37,902.22     $ 4,044.25 $     770.44       $ -         $        -      $ -      $           -        $        -    $ 3,850.14     $ -        $           -    $ -      $        -    $ -      $     865.20    $     -
                                                                 60841        12/16/2011    10/29/2011     11/25/2011          $21,360.19     AR_HUNT00011517            $     3,167.77    $      -      $       13,129.97    $      828.14           45.00   $     3,521.57    $      -    $ 1,540.88        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 61782        1/13/2012     11/26/2011     12/30/2011          $30,511.95     AR_HUNT00011512            $     2,002.32    $      -      $       16,375.20    $    5,113.93            3.00   $   12,134.43     $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 62475         2/8/2012     12/31/2011      1/27/2012          $24,136.58     AR_HUNT00011508            $     4,379.05    $      -      $        8,274.58    $      135.00           12.00   $     9,187.60    $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   2,295.36    $     -
                                                                 63140         3/7/2012      1/28/2012      2/24/2012          $43,985.65     AR_HUNT00011503            $     3,225.45    $      -      $       35,584.46    $      758.38          136.00   $     3,090.00    $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $   2,085.75    $     -
                                                                 64042        4/18/2012      2/25/2012      3/30/2012          $19,912.52     AR_HUNT00011499            $       797.22    $      -      $       13,657.14    $    4,166.68            5.00   $     4,143.11    $   184.82 $         -        $ -         $     770.44    $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $     544.61    $     -
                                                                 65136        5/31/2012      3/31/2012      4/27/2012          $3,325.81      AR_HUNT00011496            $       347.63    $      -      $        2,978.19    $      493.81            1.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 66031        7/10/2012      4/28/2012      5/25/2012          $5,482.24      AR_HUNT00011493            $     2,776.88    $      -      $        2,705.36    $      135.00            2.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 66351        7/30/2012      5/26/2012      6/29/2012          $42,188.32     AR_HUNT00011490            $   12,241.55     $      -      $       29,946.77    $    1,159.06          112.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 66958         9/7/2012      6/30/2012      7/27/2012          $21,840.88     AR_HUNT00011487            $     9,464.67    $      -      $       10,218.36    $    3,120.43            5.00   $          -      $      -    $        -        $ -         $   1,926.10    $ -      $           -        $        -    $      -       $ -        $           -    $ -      $        -    $ -      $     231.75    $     -
                                                                 68007        9/26/2012      7/28/2012      8/31/2012          $2,648.32      AR_HUNT00011484            $       728.21    $      -      $        1,920.11    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Case2:17-cv-05247-JFW-JEM




                                                                 68780        11/5/2012      9/1/2012       9/28/2012          $1,445.68      AR_HUNT00011481            $       540.24    $      -      $          905.44    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 69085        11/21/2012     9/29/2012     10/26/2012          $2,851.63      AR_HUNT00011478            $     1,946.19    $      -      $          905.44    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 69801        12/13/2012    10/27/2012     11/30/2012          $10,488.05     AR_HUNT00011475            $       485.65    $      -      $       10,002.40    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 71090         2/7/2013      12/1/2012      1/25/2013          $24,795.63     AR_HUNT00011472            $     4,729.76    $      -      $       19,680.65    $      263.52          100.00   $       385.22    $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 72483        4/23/2013      1/26/2013      3/29/2013          $92,691.93     AR_HUNT00011466            $   35,778.43     $ 2,883.25    $       40,734.26    $    6,787.74          129.00   $          -      $      -    $ 12,519.65       $ -         $   2,118.71    $ -      $           -        $        -    $ 1,540.88     $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 73112        5/23/2013      3/30/2013      4/26/2013          $24,570.18     AR_HUNT00011463            $   11,998.73     $      -      $        9,489.70    $      151.20            0.00   $          -      $      -    $ 1,348.27        $ -         $        -      $ -      $           -        $        -    $ 1,733.49     $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 74056        7/18/2013      4/27/2013      5/31/2013          $16,180.13     AR_HUNT00011458            $     5,565.14    $      -      $        9,444.40    $      135.00            1.00   $          -      $      -    $    385.22       $ -         $        -      $ -      $           -        $        -    $ 618.00       $ -        $           -    $ -      $        -    $ -      $     167.38    $     -
                                                                 74717        7/25/2013      6/1/2013       6/28/2013          $3,506.71      AR_HUNT00011455            $        80.34    $      -      $        3,426.37    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 76023        9/17/2013      6/29/2013      8/30/2013          $25,695.93     AR_HUNT00011452            $     1,801.99    $      -      $       23,316.12    $    1,069.47          116.50   $          -      $      -    $        -        $ -         $     577.83    $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 76897        10/22/2013     8/31/2013      9/27/2013          $20,186.76     AR_HUNT00011449            $     5,460.03    $      -      $       14,726.73    $    4,785.46           27.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 77652        11/27/2013     9/28/2013     10/25/2013          $6,558.60      AR_HUNT00011447                         NA            NA                   NA               NA            NA                 NA            NA            NA         NA                 NA       NA                   NA              NA           NA       NA                   NA     NA              NA     NA              NA           NA
                                                                 78492         1/3/2014     10/26/2013     11/29/2013          $3,277.19      AR_HUNT00011444            $       142.14    $      -      $        3,135.05    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 79910        2/11/2014     11/30/2013      1/31/2014          $19,352.03     AR_HUNT00011438            $     2,070.82    $      -      $       17,281.21    $      270.00           39.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 80635        3/14/2014      2/1/2014       2/28/2014          $20,263.82     AR_HUNT00011435            $       264.20    $      -      $       19,999.62    $      135.00          137.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 81559         4/8/2014      3/1/2014       3/28/2014          $10,319.29     AR_HUNT00011430            $       511.40    $      -      $        9,807.90    $    5,717.76            7.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 82159        4/30/2014      3/28/2014      4/25/2014          $9,672.12      AR_HUNT00011428                         NA            NA                   NA               NA            NA                 NA            NA            NA         NA                 NA       NA                   NA              NA           NA       NA                   NA     NA              NA     NA              NA           NA
                                                                 83506        6/17/2014      4/26/2014      5/30/2014          $6,183.68      AR_HUNT00011425            $     5,510.50    $      -      $          673.18    $      135.00            1.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2:17-cv-05247-JFW-JEM Document




                                                                 84372        7/17/2014      5/31/2014      6/27/2014          $9,002.11      AR_HUNT00011422            $     1,118.07    $      -      $        7,884.04    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 86197        9/17/2014      6/28/2014      8/29/2014          $13,141.91     AR_HUNT00011419            $     6,691.91    $      -      $        1,040.44    $      270.00            0.00   $     5,409.56    $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 86642        10/8/2014      8/30/2014      9/26/2014          $5,434.35      AR_HUNT00011416            $       327.54    $      -      $        3,794.59    $      135.00            0.00   $     1,312.22    $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 87949        12/1/2014      9/27/2014     10/31/2014          $22,864.83     AR_HUNT00011413            $     1,830.83    $      -      $       21,034.01    $      918.22          127.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 88666        12/19/2014     11/1/2014     11/28/2014          $19,770.04     AR_HUNT00011409            $       203.94    $      -      $       19,566.10    $    5,968.46           38.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 89477        3/17/2015     11/29/2014     12/26/2014          $9,382.92      AR_HUNT00011406            $     1,943.10    $      -      $        7,400.95    $      135.00            0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $      38.88    $     -
                                                                 90847        3/20/2015     12/26/2014      2/27/2015          $9,824.80      AR_HUNT00011403            $     2,510.63    $      -      $        7,314.17    $      270.00            3.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 91695        4/21/2015      2/28/2015      3/27/2015          $22,665.06     AR_HUNT00011398            $     3,888.77    $      -      $       18,776.30    $      135.00           98.50   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 94131        7/20/2015      3/28/2015      6/26/2015          $84,080.52     AR_HUNT00011393            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 97829        12/29/2015     6/27/2015     11/27/2015         $125,254.07     AR_HUNT00011385            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 99661        3/23/2016     11/28/2015      2/26/2016          $35,635.46     AR_HUNT00014390            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 101301        5/9/2016      2/27/2016      4/29/2016          $38,845.84     AR_HUNT00014348            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  #:17023
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #:11107




                                                                 102620       6/27/2016      4/30/2016      5/27/2016          $23,511.07     AR_HUNT00014353            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Document200-106




                                                                 103294       7/18/2016      5/28/2016      6/24/2016          $17,110.87     AR_HUNT00014358            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 104741       9/14/2016      6/25/2016      8/26/2016          $16,936.79     AR_HUNT00014363            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 105645       10/28/2016     8/27/2016      9/30/2016          $19,226.84     AR_HUNT00014368            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 107374       12/22/2016     10/1/2016     11/25/2016          $20,144.37     AR_HUNT00014374            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 108258       2/15/2017     11/26/2016     12/30/2016          $37,992.62     AR_HUNT00014380            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 109478       3/17/2017     12/31/2016      1/27/2017          $28,858.89     AR_HUNT00014394            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 110100       3/27/2017      1/28/2017      2/24/2017          $34,922.54     AR_HUNT00014408            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 111600       5/23/2017      2/25/2017      4/28/2017          $87,715.86     AR_HUNT00014415            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     191-3 Filed




                                                                 112245        6/7/2017      4/29/2017      5/26/2017          $54,672.78     AR_HUNT00014422            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 114354        8/7/2017      5/27/2017      7/28/2017         $103,320.29     AR_HUNT00014433            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 116705       11/9/2017      7/29/2017     10/27/2017          $69,416.70     AR_HUNT00026691            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 119289        2/9/2018     10/28/2017      1/26/2018          $94,238.52     AR_HUNT00026699            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 121091       4/20/2018      1/27/2018      3/30/2018         $103,618.94     AR_HUNT00026703            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 121954       5/24/2018      3/31/2018      4/27/2018          $47,104.32     AR_HUNT00026706            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 122534       6/15/2018      4/28/2018      5/25/2018          $62,019.43     AR_HUNT00026709            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 123519       7/25/2018      5/26/2018      6/29/2018          $27,164.79     AR_HUNT00026712            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 124146       8/21/2018      6/30/2018      7/27/2018          $14,506.50     AR_HUNT00026730            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 125298       10/16/2018     7/28/2018      9/28/2018          $45,353.31     AR_HUNT00026734            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 126225       11/27/2018     9/29/2018     10/26/2018          $12,338.58     AR_HUNT00026756            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 127305       1/14/2019     10/27/2018     12/28/2018          $55,966.84     AR_HUNT00026758            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 127577        2/1/2019     12/29/2018      1/25/2019          $42,180.31     AR_HUNT00026773            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Filed04/03/20




                                                                 128789       3/19/2019      1/26/2019      2/22/2019          $26,800.13     AR_HUNT00026780            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 129466       4/22/2019      2/23/2019      3/29/2019          $48,843.28     AR_HUNT00026783            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 129975       5/14/2019      3/30/2019      4/26/2019          $49,713.59     AR_HUNT00026799            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 130547       6/11/2019      4/27/2019      5/24/2019          $35,644.89     AR_HUNT00026835            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 131595       7/18/2019      5/25/2019      6/28/2019          $20,582.88     AR_HUNT00026870            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 133259       9/26/2019      6/29/2019      8/23/2019          $46,523.46     AR_HUNT00026882            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 133934       10/18/2019     8/24/2019      9/27/2019          $51,502.59     AR_HUNT00026888            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 134435       11/11/2019     9/28/2019     10/25/2019          $29,777.77     AR_HUNT00026934            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                 134777       12/3/2019     10/26/2019     11/22/2019          $21,219.73     AR_HUNT00026947            $          -      $      -      $             -      $         -              0.00   $          -      $      -    $        -        $ -         $        -      $ -      $           -        $        -    $       -      $ -        $           -    $ -      $        -    $ -      $        -      $     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  04/08/20 Page




                                                                                                             Totals:      $      5,175,897              --               $     334,244 $        6,537 $           1,209,938 $       105,830     3606.25       $     686,913 $         30,810 $       16,564   $       -   $     62,712    $    -   $     19,552 $              1,081   $    9,433     $     -   $     16,727     $   -    $     3,487   $   -    $     29,246 $       276
                                                           Notes:
                                                           1
                                                               Unassignable costs due to multiple tasks on an invoice and expenses/subcontractor costs that were n
                                                           2
                                                               Task 20 known by other names including "Groundwater Monitoring 2006"
                                                           3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Page82




                                                               Task 30 known by other names including "Site Characterization 2006," "Regolith GW Well Install and
                                                           4
                                                               Task 40 known by other names including "Rpt. Seismic Reflection & CPT/MIP"
                                                           5
                                                            Task 50 identified by two different descriptors. Descriptors differ substantially, and are tabulated sep
                                                           On invoices for which a service fee (3%) was billed, the service fee is incorporated into the task total at
                                                           NA: Detailed invoice not available for review.
                                                           Refer to Exhibit B for invoice scope of work, categorization, etc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 82ofof89
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                                                       4 of 8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            PageIDID
                                                                                                                                                                                                                                Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case




                                                                                                                                                                                                                                                                                                                 Invoice Tasks


                                                                                                                                                   TSK 01 - Project Mgmt. &                    TSK 02 - Site                                                                       TSK 04 - GWM Well                      TSK 05 - RI Field           TSK 06 - Source Area                                                          TSK 08 - Initial Remedial                Phase 01 - Document
                                                                       Invoice /                                                                     Agency Interactions                  Characterization Report        TSK 03 - Groundwater Monitoring                               Installation                           Testing               Screening and Reporting              TSK 07 - Risk Assessment                           Planning                              Inventory
                                                            Invoice
                                                                      Cover Letter Period Start   Period End   Invoice Total   Invoice Beg_Bates
                                                            Number
                                                                         Date




                                                                                                                                                       Total                Travel            Total        Travel       Total                 Travel            Tech. Hours        Total                Travel            Total        Travel         Total                Travel            Total                Travel              Total                Travel             Total                Travel
                                                           0040290001 9/21/2000                    8/18/2000    $8,133.49      AR_HUNT00009530     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290002 11/20/2000 9/30/2000        10/27/2000    $9,201.63      AR_HUNT00009532     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290003 12/27/2000 10/28/2000       11/24/2000    $4,845.42      AR_HUNT00009534     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290004 1/30/2001 11/25/2000        12/22/2000    $9,062.38      AR_HUNT00009538     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290005 2/27/2001 12/23/2000         1/19/2001    $22,190.19     AR_HUNT00009540     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290006 3/26/2001     1/20/2001      2/16/2001    $8,398.16      AR_HUNT00009562     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290007 4/23/2001     2/17/2001      3/30/2001    $17,526.91     AR_HUNT00009564     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290008 5/18/2001     3/31/2001      4/27/2001    $1,064.00      AR_HUNT00009566     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290009 6/27/2001     4/28/2001      5/25/2001    $4,725.20      AR_HUNT00009568     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290010 7/25/2001     5/26/2001      6/22/2001    $2,095.00      AR_HUNT00009570     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           0040290011 NOT INCLUDED                              $4,024.78                                          NA                NA                 NA     NA                    NA                    NA             NA                   NA                NA                 NA     NA                     NA                NA                   NA                NA                     NA                NA                    NA                NA
                                                           004290012   9/14/2001    7/21/2001      8/31/2001    $1,789.07      AR_HUNT00009572     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290013 11/28/2001     9/1/2001      10/26/2001    $2,248.00      AR_HUNT00009574     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290014 12/14/2001 10/27/2001        11/23/2001    $3,374.45      AR_HUNT00009576     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290015   1/10/2002 11/24/2001       12/21/2001    $5,367.23      AR_HUNT00009578     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290016   2/12/2002 12/22/2001        1/18/2002    $5,019.34      AR_HUNT00009580     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290017   3/13/2002    1/19/2002      2/15/2002    $2,387.59      AR_HUNT00009582     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290018   4/16/2002    2/16/2002      3/29/2002     $542.48       AR_HUNT00009584     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290019    5/9/2002    3/30/2002      4/26/2002    $2,084.39      AR_HUNT00009586     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290020   6/20/2002    4/27/2002      5/24/2002    $9,715.92      AR_HUNT00009588     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290021   7/17/2002    5/25/2002      6/21/2002    $53,068.05     AR_HUNT00009590     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290022   8/22/2002    6/22/2002      7/19/2002    $18,114.67     AR_HUNT00009592     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290023   9/23/2002    7/20/2002      8/30/2002    $13,026.48     AR_HUNT00009594     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290024 10/17/2002 8/31/2002          9/27/2002    $10,321.22     AR_HUNT00009596     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290025 11/14/2002 9/28/2002         10/25/2002    $16,794.68     AR_HUNT00009598     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case2:17-cv-05247-JFW-JEM




                                                           004290026 12/13/2002 10/26/2002        11/22/2002    $11,387.94     AR_HUNT00009600     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290027   1/10/2003 11/23/2002       12/20/2002    $4,697.24      AR_HUNT00009602     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290028   2/19/2003 12/21/2002        1/31/2003    $11,533.56     AR_HUNT00009604     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290029   3/21/2003    2/1/2003       2/28/2003    $10,724.52     AR_HUNT00009606     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290030   4/16/2003    3/1/2003       3/28/2003    $9,922.84      AR_HUNT00009608     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290031    5/2/2003    3/29/2003      4/25/2003    $16,655.69     AR_HUNT00009610     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290032   7/11/2003    5/24/2003      6/20/2003     $509.00       AR_HUNT00009612     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290033   9/23/2003    6/21/2003      8/29/2003    $7,952.50      AR_HUNT00009614     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290034 10/14/2003 8/30/2003          9/26/2003    $21,398.00     AR_HUNT00009616     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290035 11/12/2003 9/27/2003         10/24/2003    $9,550.09      AR_HUNT00009618     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290036 12/10/2003 10/25/2003        11/21/2003    $8,518.86      AR_HUNT00009620     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290037   1/13/2004 11/22/2003       12/19/2003    $1,866.80      AR_HUNT00009622     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290038   2/18/2004 12/20/2003        1/30/2004    $12,444.24     AR_HUNT00009624     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                           004290039   3/19/2004    1/31/2004      2/27/2004    $14,805.32     AR_HUNT00009626     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              618      5/20/2004                   4/30/2004    $41,902.08     AR_HUNT00009628     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              1544     6/21/2004                   5/28/2004    $14,841.58     AR_HUNT00009633     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              2504     7/29/2004    5/29/2004      6/26/2004    $24,166.27     AR_HUNT00009635     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2:17-cv-05247-JFW-JEM Document




                                                              2790     8/16/2004    6/27/2004      7/30/2004    $41,979.94     AR_HUNT00009640     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              3752     9/20/2004    7/31/2004      8/27/2004    $40,279.85     AR_HUNT00009644     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              4124     10/11/2004 8/28/2004        9/24/2004    $23,410.59     AR_HUNT00009664     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              5323     12/8/2004    9/25/2004     10/29/2004    $20,925.75     AR_HUNT00009668     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              5668     12/17/2004 10/30/2004      11/26/2004    $16,883.77     AR_HUNT00009672     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              6474     1/17/2005 11/27/2004       12/31/2004    $15,564.55     AR_HUNT00009674     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              7184     2/10/2005    1/1/2005       1/28/2005    $26,062.60     AR_HUNT00009681     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              7931     3/21/2005    1/29/2005      2/25/2005    $33,496.65     AR_HUNT00009685     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              8601     4/15/2005    2/26/2005      4/15/2005   $116,448.15     AR_HUNT00009693     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              8971     5/11/2005    3/26/2005      4/29/2005    $31,795.47     AR_HUNT00009702     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                              9766     6/17/2005    4/30/2005      5/27/2005    $23,785.48     AR_HUNT00009708     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             10447     7/14/2005    5/28/2005      6/24/2005    $9,330.63      AR_HUNT00009715     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     #:17024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      #:11108




                                                             11094     8/12/2005    6/25/2005      7/29/2005    $23,823.78     AR_HUNT00009718     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Document200-106




                                                             11731     9/19/2005    7/30/2005      8/26/2005    $25,637.53     AR_HUNT00009722     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             12786     10/25/2005 8/27/2005        9/30/2005    $25,055.85     AR_HUNT00009727     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             13733     12/8/2005    10/1/2005     11/25/2005    $52,300.43     AR_HUNT00009732     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             14561      2/8/2006   11/26/2005     12/30/2005    $25,184.91     AR_HUNT00009740     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             15595      3/7/2006   12/31/2005      2/10/2006    $21,975.19     AR_HUNT00009747     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             15980     3/14/2006    2/11/2006      2/24/2006    $8,517.00      AR_HUNT00009751     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             16783     4/25/2006    2/25/2006      3/31/2006    $26,883.53     AR_HUNT00009757     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             17193     5/12/2006    4/1/2006       4/28/2006    $20,194.60     AR_HUNT00009761     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        191-3 Filed




                                                             17826     6/16/2006    4/29/2006      6/9/2006     $42,849.15     AR_HUNT00009764     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             18284     7/17/2006    6/10/2006      6/30/2006    $7,056.03      AR_HUNT00009775     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             19196     8/16/2006    7/1/2006       7/28/2006    $11,339.86     AR_HUNT00009778     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             19623      9/8/2006    7/29/2006      8/25/2006    $15,404.41     AR_HUNT00009782     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             20483     10/25/2006 8/26/2006        9/29/2006    $6,194.61      AR_HUNT00009791     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             20851     11/20/2006 9/30/2006       10/27/2006    $12,683.74     AR_HUNT00009794     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             21367     12/8/2006 10/28/2006       11/24/2006    $12,304.41     AR_HUNT00009798     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             21900     1/10/2007 11/25/2006       12/29/2006    $7,025.01      AR_HUNT00009807     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             22686      2/9/2007   12/30/2006      1/26/2007    $15,223.63     AR_HUNT00009810     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             23131      3/8/2007    1/27/2007      2/23/2007    $22,721.77     AR_HUNT00009815     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             23754     4/25/2007    2/24/2007      3/30/2007    $12,924.17     AR_HUNT00009821     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             25053     6/25/2007    3/31/2007      5/25/2007    $27,529.58     AR_HUNT00009826     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             26031     8/17/2007    5/26/2007      7/27/2007    $18,935.12     AR_HUNT00009835     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Filed04/03/20




                                                             26718     9/11/2007    7/28/2007      8/31/2007    $9,623.03      AR_HUNT00009839     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             28687     11/28/2007   9/1/2007      10/26/2007    $13,644.34     AR_HUNT00009842     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             28942     12/12/2007 10/27/2007      11/30/2007    $33,590.68     AR_HUNT00009849     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             29718     1/13/2008    12/1/2007     12/28/2007    $7,304.35      AR_HUNT00009857     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             30404     2/21/2008 12/29/2007        1/25/2008    $13,452.85     AR_HUNT00009861     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             31045     3/27/2008    1/26/2008      2/29/2008    $31,586.66     AR_HUNT00021858     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             31807     4/10/2008    3/1/2008       3/28/2008    $8,712.28      AR_HUNT00021866     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             32516     5/15/2008    3/29/2008      4/25/2008    $10,602.36     AR_HUNT00021869     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             33202     6/11/2008    4/26/2008      5/30/2008    $4,665.45      AR_HUNT00021872     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             33761      7/8/2008    5/31/2008      6/27/2008    $6,621.25      AR_HUNT00009895     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     04/08/20 Page




                                                             34474     8/26/2008    6/28/2008      7/25/2008    $25,056.35     AR_HUNT00009892     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             35152     9/29/2008    7/26/2008      8/29/2008    $20,026.18     AR_HUNT00009886     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             35589     10/7/2008    8/30/2008      9/26/2008    $26,786.32     AR_HUNT00009883     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             36811     12/5/2008    9/27/2008     10/31/2008   $137,657.29     AR_HUNT00009877     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             37458     12/30/2008 11/1/2008       11/28/2008    $25,608.67     AR_HUNT00009871     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Page83




                                                             37949     1/22/2009 11/29/2008       12/29/2008    $25,349.96     AR_HUNT00009864     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             38646     2/27/2009 12/29/2008        1/30/2009    $24,310.75     AR_HUNT00009945     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             39124     3/19/2009    2/1/2009       3/6/2009     $65,427.73     AR_HUNT00009941     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             39753     4/22/2009    3/7/2009       4/3/2009     $56,693.00     AR_HUNT00009937     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             40379     5/20/2009    4/4/2009       4/24/2009    $27,098.07     AR_HUNT00009932     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             41541      7/2/2009    4/25/2009      5/29/2009    $59,868.59     AR_HUNT00009927     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             41730     7/21/2009    5/30/2009      6/26/2009    $22,355.90     AR_HUNT00009923     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             42360     8/12/2009    6/27/2009      7/31/2009    $33,811.82     AR_HUNT00009919     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    83ofof89




                                                             43009     9/18/2009    8/1/2009       8/28/2009    $53,340.97     AR_HUNT00009915     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             43843     10/27/2009 8/28/2009        9/25/2009    $40,730.06     AR_HUNT00009911     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             44600     12/18/2009 9/26/2009       10/30/2009    $55,642.02     AR_HUNT00009907     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             45084      1/6/2010   10/31/2009     11/27/2009    $45,313.41     AR_HUNT00009903     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             45690      2/3/2010   11/28/2009     12/25/2009    $42,297.24     AR_HUNT00009898     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             46229      3/1/2010   12/26/2009      1/29/2010    $15,530.97     AR_HUNT00009975     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             46560     3/11/2010    1/31/2010      2/26/2010    $9,209.41      AR_HUNT00009972     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                             47689      5/6/2010    2/27/2010      3/26/2010    $15,700.57     AR_HUNT00009969     $           -        $        -        $           -    $ -      $            -        $            -                0.00   $           -        $        -        $           -    $ -      $             -        $        -        $           -        $        -        $             -        $        -        $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           89 Page




Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                                           5 of 8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               PageIDID
                                                                                                                                                                                                                                                      Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Case




                                                                                                                                                                                                                                                                                                                                       Invoice Tasks


                                                                                                                                                                         TSK 01 - Project Mgmt. &                    TSK 02 - Site                                                                       TSK 04 - GWM Well                      TSK 05 - RI Field             TSK 06 - Source Area                                                          TSK 08 - Initial Remedial                 Phase 01 - Document
                                                                              Invoice /                                                                                    Agency Interactions                  Characterization Report        TSK 03 - Groundwater Monitoring                               Installation                           Testing                 Screening and Reporting              TSK 07 - Risk Assessment                           Planning                               Inventory
                                                                Invoice
                                                                             Cover Letter Period Start     Period End      Invoice Total       Invoice Beg_Bates
                                                                Number
                                                                                Date




                                                                                                                                                                             Total                Travel            Total      Travel         Total                 Travel            Tech. Hours        Total                Travel            Total     Travel              Total                Travel            Total                Travel              Total                Travel              Total                Travel
                                                                 47899        5/19/2010      3/27/2010      4/30/2010          $15,751.07     AR_HUNT00009966            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 48567        6/22/2010      5/1/2010       5/28/2010          $22,614.59     AR_HUNT00009963            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 49463        7/22/2010      5/29/2010      6/25/2010          $25,311.43     AR_HUNT00009960            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 49964         9/3/2010      6/26/2010      7/30/2010          $27,027.94     AR_HUNT00009956            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 50622        9/17/2010      7/31/2010      8/27/2010          $45,384.60     AR_HUNT00009953            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 51487        10/28/2010     8/28/2010      9/24/2010          $41,190.39     AR_HUNT00009949            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 52142        11/22/2010     9/25/2010     10/29/2010          $39,290.97     AR_HUNT00011558            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 52708        12/17/2010    10/30/2010     11/26/2010          $31,522.66     AR_HUNT00011555            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 53773         2/3/2011     11/27/2010     12/31/2010          $27,834.93     AR_HUNT00011551            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 54090        2/28/2011      1/1/2011       1/28/2011          $32,831.65     AR_HUNT00011546            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 56161        5/18/2011      3/26/2011      4/29/2011          $76,039.56     AR_HUNT00011379            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 56895        6/17/2011      4/30/2011      5/27/2011          $47,400.25     AR_HUNT00011541            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 57337         7/8/2011      5/28/2011      6/24/2011          $23,957.02     AR_HUNT00011537            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 59006        9/15/2011      6/25/2011      8/26/2011         $108,691.67     AR_HUNT00011526            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 60733        11/29/2011     9/??/2011     10/28/2011          $85,441.91     AR_HUNT00011521            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 60841        12/16/2011    10/29/2011     11/25/2011          $21,360.19     AR_HUNT00011517            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 61782        1/13/2012     11/26/2011     12/30/2011          $30,511.95     AR_HUNT00011512            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 62475         2/8/2012     12/31/2011      1/27/2012          $24,136.58     AR_HUNT00011508            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 63140         3/7/2012      1/28/2012      2/24/2012          $43,985.65     AR_HUNT00011503            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 64042        4/18/2012      2/25/2012      3/30/2012          $19,912.52     AR_HUNT00011499            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 65136        5/31/2012      3/31/2012      4/27/2012          $3,325.81      AR_HUNT00011496            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 66031        7/10/2012      4/28/2012      5/25/2012          $5,482.24      AR_HUNT00011493            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 66351        7/30/2012      5/26/2012      6/29/2012          $42,188.32     AR_HUNT00011490            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 66958         9/7/2012      6/30/2012      7/27/2012          $21,840.88     AR_HUNT00011487            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 68007        9/26/2012      7/28/2012      8/31/2012          $2,648.32      AR_HUNT00011484            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Case2:17-cv-05247-JFW-JEM




                                                                 68780        11/5/2012      9/1/2012       9/28/2012          $1,445.68      AR_HUNT00011481            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 69085        11/21/2012     9/29/2012     10/26/2012          $2,851.63      AR_HUNT00011478            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 69801        12/13/2012    10/27/2012     11/30/2012          $10,488.05     AR_HUNT00011475            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 71090         2/7/2013      12/1/2012      1/25/2013          $24,795.63     AR_HUNT00011472            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 72483        4/23/2013      1/26/2013      3/29/2013          $92,691.93     AR_HUNT00011466            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 73112        5/23/2013      3/30/2013      4/26/2013          $24,570.18     AR_HUNT00011463            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $        -         $            -        $        -
                                                                 74056        7/18/2013      4/27/2013      5/31/2013          $16,180.13     AR_HUNT00011458            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 74717        7/25/2013      6/1/2013       6/28/2013          $3,506.71      AR_HUNT00011455            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 76023        9/17/2013      6/29/2013      8/30/2013          $25,695.93     AR_HUNT00011452            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 76897        10/22/2013     8/31/2013      9/27/2013          $20,186.76     AR_HUNT00011449            $           -        $        -        $           -  $ -        $            -        $            -                0.00   $           -        $        -        $           - $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 77652        11/27/2013     9/28/2013     10/25/2013          $6,558.60      AR_HUNT00011447                            NA                NA               NA     NA                      NA                    NA             NA                   NA                NA              NA     NA                          NA                NA                   NA                NA                     NA                 NA                    NA                NA
                                                                 78492         1/3/2014     10/26/2013     11/29/2013          $3,277.19      AR_HUNT00011444            $           -        $        -        $         -    $ -        $            -        $            -                0.00   $           -        $        -        $        -    $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 79910        2/11/2014     11/30/2013      1/31/2014          $19,352.03     AR_HUNT00011438            $           -        $        -        $         -    $ -        $            -        $            -                0.00   $           -        $        -        $        -    $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 80635        3/14/2014      2/1/2014       2/28/2014          $20,263.82     AR_HUNT00011435            $           -        $        -        $         -    $ -        $            -        $            -                0.00   $           -        $        -        $        -    $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 81559         4/8/2014      3/1/2014       3/28/2014          $10,319.29     AR_HUNT00011430            $           -        $        -        $         -    $ -        $            -        $            -                0.00   $           -        $        -        $        -    $ -           $             -        $        -        $           -        $        -        $             -        $         -        $            -        $        -
                                                                 82159        4/30/2014      3/28/2014      4/25/2014          $9,672.12      AR_HUNT00011428                        NA                NA                   NA     NA                 NA                   NA                   NA             NA                  NA                  NA     NA                      NA                NA                 NA                   NA                   NA                      NA             NA                   NA
                                                                 83506        6/17/2014      4/26/2014      5/30/2014          $6,183.68      AR_HUNT00011425            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2:17-cv-05247-JFW-JEM Document




                                                                 84372        7/17/2014      5/31/2014      6/27/2014          $9,002.11      AR_HUNT00011422            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 86197        9/17/2014      6/28/2014      8/29/2014          $13,141.91     AR_HUNT00011419            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 86642        10/8/2014      8/30/2014      9/26/2014          $5,434.35      AR_HUNT00011416            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 87949        12/1/2014      9/27/2014     10/31/2014          $22,864.83     AR_HUNT00011413            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 88666        12/19/2014     11/1/2014     11/28/2014          $19,770.04     AR_HUNT00011409            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 89477        3/17/2015     11/29/2014     12/26/2014          $9,382.92      AR_HUNT00011406            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 90847        3/20/2015     12/26/2014      2/27/2015          $9,824.80      AR_HUNT00011403            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 91695        4/21/2015      2/28/2015      3/27/2015          $22,665.06     AR_HUNT00011398            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 94131        7/20/2015      3/28/2015      6/26/2015          $84,080.52     AR_HUNT00011393            $    4,751.65        $      -          $   43,110.39 $ -         $   34,764.12         $   5,105.03                 77.50   $       -            $      -          $        -    $ -           $           -          $      -          $ 1,454.36           $       -         $          -           $         -        $       -             $      -
                                                                 97829        12/29/2015     6/27/2015     11/27/2015         $125,254.07     AR_HUNT00011385            $    3,455.91        $      -          $   75,962.45 $ -         $   45,078.66         $   6,155.88                178.00   $       -            $      -          $        -    $ -           $           -          $      -          $    757.05          $       -         $          -           $         -        $       -             $      -
                                                                 99661        3/23/2016     11/28/2015      2/26/2016          $35,635.46     AR_HUNT00014390            $    5,074.04        $      -          $   25,872.57 $ -         $    4,688.85         $     405.00                  0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 101301        5/9/2016      2/27/2016      4/29/2016          $38,845.84     AR_HUNT00014348            $    2,681.35        $      -          $   26,361.82 $ -         $    3,966.69         $     270.00                  0.00   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $  5,835.98           $      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              #:17025
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               #:11109




                                                                 102620       6/27/2016      4/30/2016      5/27/2016          $23,511.07     AR_HUNT00014353            $    2,325.74        $      -          $    8,208.59 $ -         $   12,391.71         $        -                   80.50   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $    585.04           $      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Document200-106




                                                                 103294       7/18/2016      5/28/2016      6/24/2016          $17,110.87     AR_HUNT00014358            $    2,351.49        $      -          $    1,342.09 $ -         $    8,559.56         $   3,083.69                  1.50   $       -            $      -          $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $  4,857.74           $      -
                                                                 104741       9/14/2016      6/25/2016      8/26/2016          $16,936.79     AR_HUNT00014363            $   14,497.77        $      -          $         -    $ -        $      861.84         $     270.00                  0.00   $       -            $      -          $        -    $ -           $           -          $      -          $ 1,387.93           $       -         $          -           $         -        $    189.26           $      -
                                                                 105645       10/28/2016     8/27/2016      9/30/2016          $19,226.84     AR_HUNT00014368            $   11,710.29        $ 1,405.91        $         -    $ -        $    2,107.45         $     135.00                  0.00   $       -            $      -          $        -    $ -           $      1,766.45        $      -          $ 3,516.48           $    516.86       $          -           $         -        $    126.18           $      -
                                                                 107374       12/22/2016     10/1/2016     11/25/2016          $20,144.37     AR_HUNT00014374            $    2,080.27        $ 670.94          $         -    $ -        $      655.22         $     270.00                  0.00   $ 1,514.10           $      -          $   1,009.40 $ -            $      8,056.40        $      -          $ 3,329.05           $    202.48       $     2,238.19         $         -        $  1,261.75           $      -
                                                                 108258       2/15/2017     11/26/2016     12/30/2016          $37,992.62     AR_HUNT00014380            $      937.82        $      -          $         -    $ -        $   29,029.05         $   4,111.50                102.50   $       -            $      -          $   2,099.66 $ -            $      1,198.66        $      -          $       -            $       -         $     1,540.88         $         -        $  3,186.56           $      -
                                                                 109478       3/17/2017     12/31/2016      1/27/2017          $28,858.89     AR_HUNT00014394            $      794.39        $      -          $         -    $ -        $    7,276.91         $        -                    0.00   $       -            $      -          $        -    $ -           $        441.61        $      -          $    252.35          $       -         $       571.14         $         -        $ 19,522.50           $ 477.10
                                                                 110100       3/27/2017      1/28/2017      2/24/2017          $34,922.54     AR_HUNT00014408            $    1,556.07        $      -          $    1,009.40 $ -         $    5,052.79         $     270.00                  1.50   $ 8,313.39           $      -          $     359.47 $ -            $      2,439.17        $      -          $       -            $       -         $     4,141.12         $         -        $ 12,051.14           $ 1,530.20
                                                                 111600       5/23/2017      2/25/2017      4/28/2017          $87,715.86     AR_HUNT00014415            $    5,142.54        $ 311.81          $      477.12 $ -         $    6,521.76         $     270.00                 12.50   $ 12,084.22          $      -          $     254.55 $ -            $     37,547.98        $ 2,386.80        $ 2,388.47           $    669.17       $          -           $         -        $ 23,299.22           $ 899.76
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 191-3 Filed




                                                                 112245        6/7/2017      4/29/2017      5/26/2017          $54,672.78     AR_HUNT00014422            $    4,832.25        $      -          $         -    $ -        $   22,457.02         $     135.00                 92.50   $ 25,637.22          $      -          $   1,135.58 $ -            $        610.72        $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 114354        8/7/2017      5/27/2017      7/28/2017         $103,320.29     AR_HUNT00014433            $    4,865.17        $      -          $      105.46 $ -         $   28,926.24         $   4,026.69                 75.25   $ 29,335.60          $ 5,899.50        $   1,640.28 $ -            $     29,970.96        $      -          $ 7,240.90           $       -         $       678.77         $         -        $    556.91           $ 367.55
                                                                 116705       11/9/2017      7/29/2017     10/27/2017          $69,416.70     AR_HUNT00026691            $   13,655.73        $ 713.52          $         -    $ -        $   23,918.44         $   1,983.14                  6.50   $ 10,692.17          $      -          $   4,787.18 $ -            $      4,535.61        $      -          $ 1,537.28           $       -         $     6,248.24         $         -        $  4,042.06           $ 552.68
                                                                 119289        2/9/2018     10/28/2017      1/26/2018          $94,238.52     AR_HUNT00026699            $   20,599.45        $ 1,949.24        $         -    $ -        $   37,481.69         $   5,357.30                 98.75   $       -            $      -          $        -    $ -           $     21,915.83        $      -          $ 4,289.95           $       -         $     1,892.63         $         -        $  8,058.98           $      -
                                                                 121091       4/20/2018      1/27/2018      3/30/2018         $103,618.94     AR_HUNT00026703            $    5,060.86        $      -          $         -    $ -        $    1,593.88         $     143.64                  1.00   $       -            $      -          $        -    $ -           $      2,822.72        $      -          $ 8,813.20           $       -         $    11,670.42         $         -        $ 73,657.88           $      -
                                                                 121954       5/24/2018      3/31/2018      4/27/2018          $47,104.32     AR_HUNT00026706            $    1,703.62        $      -          $         -    $ -        $    3,808.64         $     143.64                  8.00                                          $        -    $ -           $           -          $      -          $ 10,665.39          $       -         $    14,647.12         $         -        $ 16,279.55           $ 3,069.32
                                                                 122534       6/15/2018      4/28/2018      5/25/2018          $62,019.43     AR_HUNT00026709            $      390.11        $      -          $         -    $ -        $   14,817.21         $        -                  109.50   $       -            $        -        $        -    $ -           $           -          $      -          $ 9,648.78           $       -         $     9,089.75         $         -        $ 28,073.58           $ 930.61
                                                                 123519       7/25/2018      5/26/2018      6/29/2018          $27,164.79     AR_HUNT00026712            $    1,482.69        $      -          $         -    $ -        $    3,484.40         $   1,023.49                  0.00   $       -            $        -        $        -    $ -           $           -          $      -          $ 1,852.97           $       -         $    18,925.74         $         -        $  1,419.00           $ 1,229.74
                                                                 124146       8/21/2018      6/30/2018      7/27/2018          $14,506.50     AR_HUNT00026730            $      539.21        $      -          $         -    $ -        $      499.27         $     143.64                  2.00   $       -            $        -        $        -    $ -           $           -          $      -          $ 1,155.66           $       -         $    12,312.36         $         -        $       -             $      -
                                                                 125298       10/16/2018     7/28/2018      9/28/2018          $45,353.31     AR_HUNT00026734            $    2,373.64        $      -          $         -    $ -        $   14,214.35         $   2,713.98                  0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $    28,765.33         $         -        $       -             $      -
                                                                 126225       11/27/2018     9/29/2018     10/26/2018          $12,338.58     AR_HUNT00026756            $    3,816.92        $      -          $         -    $ -        $    1,452.26         $     143.64                  1.50   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $     7,069.41         $         -        $       -             $      -
                                                                 127305       1/14/2019     10/27/2018     12/28/2018          $55,966.84     AR_HUNT00026758            $   14,354.08        $      -          $         -    $ -        $   23,899.59         $   4,615.63                135.00   $    866.75          $        -        $        -    $ -           $           -          $      -          $       -            $       -         $    16,846.42         $         -        $       -             $      -
                                                                 127577        2/1/2019     12/29/2018      1/25/2019          $42,180.31     AR_HUNT00026773            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Filed04/03/20




                                                                 128789       3/19/2019      1/26/2019      2/22/2019          $26,800.13     AR_HUNT00026780            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 129466       4/22/2019      2/23/2019      3/29/2019          $48,843.28     AR_HUNT00026783            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 129975       5/14/2019      3/30/2019      4/26/2019          $49,713.59     AR_HUNT00026799            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 130547       6/11/2019      4/27/2019      5/24/2019          $35,644.89     AR_HUNT00026835            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 131595       7/18/2019      5/25/2019      6/28/2019          $20,582.88     AR_HUNT00026870            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 133259       9/26/2019      6/29/2019      8/23/2019          $46,523.46     AR_HUNT00026882            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 133934       10/18/2019     8/24/2019      9/27/2019          $51,502.59     AR_HUNT00026888            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 134435       11/11/2019     9/28/2019     10/25/2019          $29,777.77     AR_HUNT00026934            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                 134777       12/3/2019     10/26/2019     11/22/2019          $21,219.73     AR_HUNT00026947            $         -          $      -          $         -    $ -        $         -           $        -                    0.00   $       -            $        -        $        -    $ -           $           -          $      -          $       -            $       -         $          -           $         -        $       -             $      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              04/08/20 Page




                                                                                                             Totals:      $      5,175,897              --               $     131,033 $             5,051 $          182,450   $    -    $      337,508        $      40,776             984.00     $     88,443 $              5,900 $           11,286    $      -   $       111,306        $      2,387 $          58,290 $              1,389 $            136,637        $             -    $     203,003 $              9,057
                                                           Notes:
                                                           1
                                                               Unassignable costs due to multiple tasks on an invoice and expenses/subcontractor costs that were n
                                                           2
                                                               Task 20 known by other names including "Groundwater Monitoring 2006"
                                                           3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Page84




                                                               Task 30 known by other names including "Site Characterization 2006," "Regolith GW Well Install and
                                                           4
                                                               Task 40 known by other names including "Rpt. Seismic Reflection & CPT/MIP"
                                                           5
                                                            Task 50 identified by two different descriptors. Descriptors differ substantially, and are tabulated sep
                                                           On invoices for which a service fee (3%) was billed, the service fee is incorporated into the task total at
                                                           NA: Detailed invoice not available for review.
                                                           Refer to Exhibit B for invoice scope of work, categorization, etc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             84ofof89
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Insurers' Opposition to Summary Judgment Exhibit No. 106
                                                                                                                                                                                                                                                                                 6 of 8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        PageIDID
                                                                                                                                                                                                               Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                      Case




                                                                                                                                                                                                                                                              Invoice Tasks


                                                                                                                                                                                  Task: "Communicaiton [sic]                                                  Task: Wellhead
                                                                       Invoice /                                                                   Task: Corrective Action Plan            Charges"                       Task: GW Monitoring                  Maintenance        Task: PM/Communications           Task: Pilot Test                   Phase: Legal      Phase: Non-Billable Effort
                                                            Invoice
                                                                      Cover Letter Period Start   Period End   Invoice Total   Invoice Beg_Bates
                                                            Number
                                                                         Date


                                                                                                                                                                                                                                                Tech.
                                                                                                                                                     Total           Travel          Total         Travel         Total            Travel       Hours       Total        Travel     Total        Travel     Total       Travel         Tech Hours   Total       Travel      Total         Travel
                                                           0040290001 9/21/2000                    8/18/2000    $8,133.49      AR_HUNT00009530
                                                           0040290002 11/20/2000 9/30/2000        10/27/2000    $9,201.63      AR_HUNT00009532
                                                           0040290003 12/27/2000 10/28/2000       11/24/2000    $4,845.42      AR_HUNT00009534
                                                           0040290004 1/30/2001 11/25/2000        12/22/2000    $9,062.38      AR_HUNT00009538
                                                           0040290005 2/27/2001 12/23/2000         1/19/2001    $22,190.19     AR_HUNT00009540
                                                           0040290006 3/26/2001     1/20/2001      2/16/2001    $8,398.16      AR_HUNT00009562
                                                           0040290007 4/23/2001     2/17/2001      3/30/2001    $17,526.91     AR_HUNT00009564
                                                           0040290008 5/18/2001     3/31/2001      4/27/2001    $1,064.00      AR_HUNT00009566
                                                           0040290009 6/27/2001     4/28/2001      5/25/2001    $4,725.20      AR_HUNT00009568
                                                           0040290010 7/25/2001     5/26/2001      6/22/2001    $2,095.00      AR_HUNT00009570
                                                           0040290011 NOT INCLUDED                              $4,024.78
                                                           004290012   9/14/2001    7/21/2001      8/31/2001    $1,789.07      AR_HUNT00009572
                                                           004290013 11/28/2001     9/1/2001      10/26/2001    $2,248.00      AR_HUNT00009574
                                                           004290014 12/14/2001 10/27/2001        11/23/2001    $3,374.45      AR_HUNT00009576
                                                           004290015   1/10/2002 11/24/2001       12/21/2001    $5,367.23      AR_HUNT00009578
                                                           004290016   2/12/2002 12/22/2001        1/18/2002    $5,019.34      AR_HUNT00009580
                                                           004290017   3/13/2002    1/19/2002      2/15/2002    $2,387.59      AR_HUNT00009582
                                                           004290018   4/16/2002    2/16/2002      3/29/2002     $542.48       AR_HUNT00009584
                                                           004290019    5/9/2002    3/30/2002      4/26/2002    $2,084.39      AR_HUNT00009586
                                                           004290020   6/20/2002    4/27/2002      5/24/2002    $9,715.92      AR_HUNT00009588
                                                           004290021   7/17/2002    5/25/2002      6/21/2002    $53,068.05     AR_HUNT00009590
                                                           004290022   8/22/2002    6/22/2002      7/19/2002    $18,114.67     AR_HUNT00009592
                                                           004290023   9/23/2002    7/20/2002      8/30/2002    $13,026.48     AR_HUNT00009594
                                                           004290024 10/17/2002 8/31/2002          9/27/2002    $10,321.22     AR_HUNT00009596
                                                           004290025 11/14/2002 9/28/2002         10/25/2002    $16,794.68     AR_HUNT00009598
                                                                                                                                                                                                                                                                                                                                                                                                       Case2:17-cv-05247-JFW-JEM




                                                           004290026 12/13/2002 10/26/2002        11/22/2002    $11,387.94     AR_HUNT00009600
                                                           004290027   1/10/2003 11/23/2002       12/20/2002    $4,697.24      AR_HUNT00009602
                                                           004290028   2/19/2003 12/21/2002        1/31/2003    $11,533.56     AR_HUNT00009604
                                                           004290029   3/21/2003    2/1/2003       2/28/2003    $10,724.52     AR_HUNT00009606
                                                           004290030   4/16/2003    3/1/2003       3/28/2003    $9,922.84      AR_HUNT00009608
                                                           004290031    5/2/2003    3/29/2003      4/25/2003    $16,655.69     AR_HUNT00009610
                                                           004290032   7/11/2003    5/24/2003      6/20/2003     $509.00       AR_HUNT00009612
                                                           004290033   9/23/2003    6/21/2003      8/29/2003    $7,952.50      AR_HUNT00009614
                                                           004290034 10/14/2003 8/30/2003          9/26/2003    $21,398.00     AR_HUNT00009616
                                                           004290035 11/12/2003 9/27/2003         10/24/2003    $9,550.09      AR_HUNT00009618
                                                           004290036 12/10/2003 10/25/2003        11/21/2003    $8,518.86      AR_HUNT00009620
                                                           004290037   1/13/2004 11/22/2003       12/19/2003    $1,866.80      AR_HUNT00009622
                                                           004290038   2/18/2004 12/20/2003        1/30/2004    $12,444.24     AR_HUNT00009624
                                                           004290039   3/19/2004    1/31/2004      2/27/2004    $14,805.32     AR_HUNT00009626
                                                              618      5/20/2004                   4/30/2004    $41,902.08     AR_HUNT00009628
                                                              1544     6/21/2004                   5/28/2004    $14,841.58     AR_HUNT00009633
                                                              2504     7/29/2004    5/29/2004      6/26/2004    $24,166.27     AR_HUNT00009635
                                                                                                                                                                                                                                                                                                                                                                                                            2:17-cv-05247-JFW-JEM Document




                                                              2790     8/16/2004    6/27/2004      7/30/2004    $41,979.94     AR_HUNT00009640
                                                              3752     9/20/2004    7/31/2004      8/27/2004    $40,279.85     AR_HUNT00009644
                                                              4124     10/11/2004 8/28/2004        9/24/2004    $23,410.59     AR_HUNT00009664
                                                              5323     12/8/2004    9/25/2004     10/29/2004    $20,925.75     AR_HUNT00009668
                                                              5668     12/17/2004 10/30/2004      11/26/2004    $16,883.77     AR_HUNT00009672
                                                              6474     1/17/2005 11/27/2004       12/31/2004    $15,564.55     AR_HUNT00009674
                                                              7184     2/10/2005    1/1/2005       1/28/2005    $26,062.60     AR_HUNT00009681
                                                              7931     3/21/2005    1/29/2005      2/25/2005    $33,496.65     AR_HUNT00009685
                                                              8601     4/15/2005    2/26/2005      4/15/2005   $116,448.15     AR_HUNT00009693
                                                              8971     5/11/2005    3/26/2005      4/29/2005    $31,795.47     AR_HUNT00009702
                                                              9766     6/17/2005    4/30/2005      5/27/2005    $23,785.48     AR_HUNT00009708
                                                             10447     7/14/2005    5/28/2005      6/24/2005    $9,330.63      AR_HUNT00009715
                                                                                                                                                                                                                                                                                                                                                                                                                                          #:17026
                                                                                                                                                                                                                                                                                                                                                                                                                                           #:11110




                                                             11094     8/12/2005    6/25/2005      7/29/2005    $23,823.78     AR_HUNT00009718
                                                                                                                                                                                                                                                                                                                                                                                                                                   Document200-106




                                                             11731     9/19/2005    7/30/2005      8/26/2005    $25,637.53     AR_HUNT00009722
                                                             12786     10/25/2005 8/27/2005        9/30/2005    $25,055.85     AR_HUNT00009727
                                                             13733     12/8/2005    10/1/2005     11/25/2005    $52,300.43     AR_HUNT00009732
                                                             14561      2/8/2006   11/26/2005     12/30/2005    $25,184.91     AR_HUNT00009740
                                                             15595      3/7/2006   12/31/2005      2/10/2006    $21,975.19     AR_HUNT00009747
                                                             15980     3/14/2006    2/11/2006      2/24/2006    $8,517.00      AR_HUNT00009751
                                                             16783     4/25/2006    2/25/2006      3/31/2006    $26,883.53     AR_HUNT00009757
                                                             17193     5/12/2006    4/1/2006       4/28/2006    $20,194.60     AR_HUNT00009761
                                                                                                                                                                                                                                                                                                                                                                                                                                             191-3 Filed




                                                             17826     6/16/2006    4/29/2006      6/9/2006     $42,849.15     AR_HUNT00009764
                                                             18284     7/17/2006    6/10/2006      6/30/2006    $7,056.03      AR_HUNT00009775
                                                             19196     8/16/2006    7/1/2006       7/28/2006    $11,339.86     AR_HUNT00009778
                                                             19623      9/8/2006    7/29/2006      8/25/2006    $15,404.41     AR_HUNT00009782
                                                             20483     10/25/2006 8/26/2006        9/29/2006    $6,194.61      AR_HUNT00009791
                                                             20851     11/20/2006 9/30/2006       10/27/2006    $12,683.74     AR_HUNT00009794
                                                             21367     12/8/2006 10/28/2006       11/24/2006    $12,304.41     AR_HUNT00009798
                                                             21900     1/10/2007 11/25/2006       12/29/2006    $7,025.01      AR_HUNT00009807
                                                             22686      2/9/2007   12/30/2006      1/26/2007    $15,223.63     AR_HUNT00009810
                                                             23131      3/8/2007    1/27/2007      2/23/2007    $22,721.77     AR_HUNT00009815
                                                             23754     4/25/2007    2/24/2007      3/30/2007    $12,924.17     AR_HUNT00009821
                                                             25053     6/25/2007    3/31/2007      5/25/2007    $27,529.58     AR_HUNT00009826
                                                             26031     8/17/2007    5/26/2007      7/27/2007    $18,935.12     AR_HUNT00009835
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Filed04/03/20




                                                             26718     9/11/2007    7/28/2007      8/31/2007    $9,623.03      AR_HUNT00009839
                                                             28687     11/28/2007   9/1/2007      10/26/2007    $13,644.34     AR_HUNT00009842
                                                             28942     12/12/2007 10/27/2007      11/30/2007    $33,590.68     AR_HUNT00009849
                                                             29718     1/13/2008    12/1/2007     12/28/2007    $7,304.35      AR_HUNT00009857
                                                             30404     2/21/2008 12/29/2007        1/25/2008    $13,452.85     AR_HUNT00009861
                                                             31045     3/27/2008    1/26/2008      2/29/2008    $31,586.66     AR_HUNT00021858
                                                             31807     4/10/2008    3/1/2008       3/28/2008    $8,712.28      AR_HUNT00021866
                                                             32516     5/15/2008    3/29/2008      4/25/2008    $10,602.36     AR_HUNT00021869
                                                             33202     6/11/2008    4/26/2008      5/30/2008    $4,665.45      AR_HUNT00021872
                                                             33761      7/8/2008    5/31/2008      6/27/2008    $6,621.25      AR_HUNT00009895
                                                                                                                                                                                                                                                                                                                                                                                                                                                          04/08/20 Page




                                                             34474     8/26/2008    6/28/2008      7/25/2008    $25,056.35     AR_HUNT00009892
                                                             35152     9/29/2008    7/26/2008      8/29/2008    $20,026.18     AR_HUNT00009886
                                                             35589     10/7/2008    8/30/2008      9/26/2008    $26,786.32     AR_HUNT00009883
                                                             36811     12/5/2008    9/27/2008     10/31/2008   $137,657.29     AR_HUNT00009877
                                                             37458     12/30/2008 11/1/2008       11/28/2008    $25,608.67     AR_HUNT00009871
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page85




                                                             37949     1/22/2009 11/29/2008       12/29/2008    $25,349.96     AR_HUNT00009864
                                                             38646     2/27/2009 12/29/2008        1/30/2009    $24,310.75     AR_HUNT00009945
                                                             39124     3/19/2009    2/1/2009       3/6/2009     $65,427.73     AR_HUNT00009941
                                                             39753     4/22/2009    3/7/2009       4/3/2009     $56,693.00     AR_HUNT00009937
                                                             40379     5/20/2009    4/4/2009       4/24/2009    $27,098.07     AR_HUNT00009932
                                                             41541      7/2/2009    4/25/2009      5/29/2009    $59,868.59     AR_HUNT00009927
                                                             41730     7/21/2009    5/30/2009      6/26/2009    $22,355.90     AR_HUNT00009923
                                                             42360     8/12/2009    6/27/2009      7/31/2009    $33,811.82     AR_HUNT00009919
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         85ofof89




                                                             43009     9/18/2009    8/1/2009       8/28/2009    $53,340.97     AR_HUNT00009915
                                                             43843     10/27/2009 8/28/2009        9/25/2009    $40,730.06     AR_HUNT00009911
                                                             44600     12/18/2009 9/26/2009       10/30/2009    $55,642.02     AR_HUNT00009907
                                                             45084      1/6/2010   10/31/2009     11/27/2009    $45,313.41     AR_HUNT00009903
                                                             45690      2/3/2010   11/28/2009     12/25/2009    $42,297.24     AR_HUNT00009898
                                                             46229      3/1/2010   12/26/2009      1/29/2010    $15,530.97     AR_HUNT00009975
                                                             46560     3/11/2010    1/31/2010      2/26/2010    $9,209.41      AR_HUNT00009972
                                                             47689      5/6/2010    2/27/2010      3/26/2010    $15,700.57     AR_HUNT00009969
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                89 Page




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                                                                                                                                                                                                                                                   Exhibit C: Kennedy/Jenks Task Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case




                                                                                                                                                                                                                                                                                                      Invoice Tasks


                                                                                                                                                                                                                Task: "Communicaiton [sic]                                                            Task: Wellhead
                                                                              Invoice /                                                                                      Task: Corrective Action Plan                Charges"                             Task: GW Monitoring                      Maintenance             Task: PM/Communications                     Task: Pilot Test                        Phase: Legal         Phase: Non-Billable Effort
                                                                Invoice
                                                                             Cover Letter Period Start     Period End      Invoice Total       Invoice Beg_Bates
                                                                Number
                                                                                Date


                                                                                                                                                                                                                                                                                      Tech.
                                                                                                                                                                               Total           Travel               Total           Travel            Total               Travel      Hours         Total          Travel          Total          Travel        Total          Travel         Tech Hours        Total        Travel         Total          Travel
                                                                 47899        5/19/2010      3/27/2010      4/30/2010          $15,751.07     AR_HUNT00009966
                                                                 48567        6/22/2010      5/1/2010       5/28/2010          $22,614.59     AR_HUNT00009963
                                                                 49463        7/22/2010      5/29/2010      6/25/2010          $25,311.43     AR_HUNT00009960
                                                                 49964         9/3/2010      6/26/2010      7/30/2010          $27,027.94     AR_HUNT00009956
                                                                 50622        9/17/2010      7/31/2010      8/27/2010          $45,384.60     AR_HUNT00009953
                                                                 51487        10/28/2010     8/28/2010      9/24/2010          $41,190.39     AR_HUNT00009949
                                                                 52142        11/22/2010     9/25/2010     10/29/2010          $39,290.97     AR_HUNT00011558
                                                                 52708        12/17/2010    10/30/2010     11/26/2010          $31,522.66     AR_HUNT00011555
                                                                 53773         2/3/2011     11/27/2010     12/31/2010          $27,834.93     AR_HUNT00011551
                                                                 54090        2/28/2011      1/1/2011       1/28/2011          $32,831.65     AR_HUNT00011546
                                                                 56161        5/18/2011      3/26/2011      4/29/2011          $76,039.56     AR_HUNT00011379
                                                                 56895        6/17/2011      4/30/2011      5/27/2011          $47,400.25     AR_HUNT00011541
                                                                 57337         7/8/2011      5/28/2011      6/24/2011          $23,957.02     AR_HUNT00011537
                                                                 59006        9/15/2011      6/25/2011      8/26/2011         $108,691.67     AR_HUNT00011526
                                                                 60733        11/29/2011     9/??/2011     10/28/2011          $85,441.91     AR_HUNT00011521
                                                                 60841        12/16/2011    10/29/2011     11/25/2011          $21,360.19     AR_HUNT00011517
                                                                 61782        1/13/2012     11/26/2011     12/30/2011          $30,511.95     AR_HUNT00011512
                                                                 62475         2/8/2012     12/31/2011      1/27/2012          $24,136.58     AR_HUNT00011508
                                                                 63140         3/7/2012      1/28/2012      2/24/2012          $43,985.65     AR_HUNT00011503
                                                                 64042        4/18/2012      2/25/2012      3/30/2012          $19,912.52     AR_HUNT00011499
                                                                 65136        5/31/2012      3/31/2012      4/27/2012          $3,325.81      AR_HUNT00011496
                                                                 66031        7/10/2012      4/28/2012      5/25/2012          $5,482.24      AR_HUNT00011493
                                                                 66351        7/30/2012      5/26/2012      6/29/2012          $42,188.32     AR_HUNT00011490
                                                                 66958         9/7/2012      6/30/2012      7/27/2012          $21,840.88     AR_HUNT00011487
                                                                 68007        9/26/2012      7/28/2012      8/31/2012          $2,648.32      AR_HUNT00011484
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case2:17-cv-05247-JFW-JEM




                                                                 68780        11/5/2012      9/1/2012       9/28/2012          $1,445.68      AR_HUNT00011481
                                                                 69085        11/21/2012     9/29/2012     10/26/2012          $2,851.63      AR_HUNT00011478
                                                                 69801        12/13/2012    10/27/2012     11/30/2012          $10,488.05     AR_HUNT00011475
                                                                 71090         2/7/2013      12/1/2012      1/25/2013          $24,795.63     AR_HUNT00011472
                                                                 72483        4/23/2013      1/26/2013      3/29/2013          $92,691.93     AR_HUNT00011466
                                                                 73112        5/23/2013      3/30/2013      4/26/2013          $24,570.18     AR_HUNT00011463
                                                                 74056        7/18/2013      4/27/2013      5/31/2013          $16,180.13     AR_HUNT00011458
                                                                 74717        7/25/2013      6/1/2013       6/28/2013          $3,506.71      AR_HUNT00011455
                                                                 76023        9/17/2013      6/29/2013      8/30/2013          $25,695.93     AR_HUNT00011452
                                                                 76897        10/22/2013     8/31/2013      9/27/2013          $20,186.76     AR_HUNT00011449
                                                                 77652        11/27/2013     9/28/2013     10/25/2013          $6,558.60      AR_HUNT00011447
                                                                 78492         1/3/2014     10/26/2013     11/29/2013          $3,277.19      AR_HUNT00011444
                                                                 79910        2/11/2014     11/30/2013      1/31/2014          $19,352.03     AR_HUNT00011438
                                                                 80635        3/14/2014      2/1/2014       2/28/2014          $20,263.82     AR_HUNT00011435
                                                                 81559         4/8/2014      3/1/2014       3/28/2014          $10,319.29     AR_HUNT00011430
                                                                 82159        4/30/2014      3/28/2014      4/25/2014          $9,672.12      AR_HUNT00011428
                                                                 83506        6/17/2014      4/26/2014      5/30/2014          $6,183.68      AR_HUNT00011425
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              2:17-cv-05247-JFW-JEM Document




                                                                 84372        7/17/2014      5/31/2014      6/27/2014          $9,002.11      AR_HUNT00011422
                                                                 86197        9/17/2014      6/28/2014      8/29/2014          $13,141.91     AR_HUNT00011419
                                                                 86642        10/8/2014      8/30/2014      9/26/2014          $5,434.35      AR_HUNT00011416
                                                                 87949        12/1/2014      9/27/2014     10/31/2014          $22,864.83     AR_HUNT00011413
                                                                 88666        12/19/2014     11/1/2014     11/28/2014          $19,770.04     AR_HUNT00011409
                                                                 89477        3/17/2015     11/29/2014     12/26/2014          $9,382.92      AR_HUNT00011406
                                                                 90847        3/20/2015     12/26/2014      2/27/2015          $9,824.80      AR_HUNT00011403
                                                                 91695        4/21/2015      2/28/2015      3/27/2015          $22,665.06     AR_HUNT00011398
                                                                 94131        7/20/2015      3/28/2015      6/26/2015          $84,080.52     AR_HUNT00011393
                                                                 97829        12/29/2015     6/27/2015     11/27/2015         $125,254.07     AR_HUNT00011385
                                                                 99661        3/23/2016     11/28/2015      2/26/2016          $35,635.46     AR_HUNT00014390
                                                                 101301        5/9/2016      2/27/2016      4/29/2016          $38,845.84     AR_HUNT00014348
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            #:17027
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             #:11111




                                                                 102620       6/27/2016      4/30/2016      5/27/2016          $23,511.07     AR_HUNT00014353
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Document200-106




                                                                 103294       7/18/2016      5/28/2016      6/24/2016          $17,110.87     AR_HUNT00014358
                                                                 104741       9/14/2016      6/25/2016      8/26/2016          $16,936.79     AR_HUNT00014363
                                                                 105645       10/28/2016     8/27/2016      9/30/2016          $19,226.84     AR_HUNT00014368
                                                                 107374       12/22/2016     10/1/2016     11/25/2016          $20,144.37     AR_HUNT00014374
                                                                 108258       2/15/2017     11/26/2016     12/30/2016          $37,992.62     AR_HUNT00014380
                                                                 109478       3/17/2017     12/31/2016      1/27/2017          $28,858.89     AR_HUNT00014394
                                                                 110100       3/27/2017      1/28/2017      2/24/2017          $34,922.54     AR_HUNT00014408
                                                                 111600       5/23/2017      2/25/2017      4/28/2017          $87,715.86     AR_HUNT00014415
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                                                                 112245        6/7/2017      4/29/2017      5/26/2017          $54,672.78     AR_HUNT00014422
                                                                 114354        8/7/2017      5/27/2017      7/28/2017         $103,320.29     AR_HUNT00014433
                                                                 116705       11/9/2017      7/29/2017     10/27/2017          $69,416.70     AR_HUNT00026691
                                                                 119289        2/9/2018     10/28/2017      1/26/2018          $94,238.52     AR_HUNT00026699
                                                                 121091       4/20/2018      1/27/2018      3/30/2018         $103,618.94     AR_HUNT00026703
                                                                 121954       5/24/2018      3/31/2018      4/27/2018          $47,104.32     AR_HUNT00026706
                                                                 122534       6/15/2018      4/28/2018      5/25/2018          $62,019.43     AR_HUNT00026709
                                                                 123519       7/25/2018      5/26/2018      6/29/2018          $27,164.79     AR_HUNT00026712
                                                                 124146       8/21/2018      6/30/2018      7/27/2018          $14,506.50     AR_HUNT00026730
                                                                 125298       10/16/2018     7/28/2018      9/28/2018          $45,353.31     AR_HUNT00026734
                                                                 126225       11/27/2018     9/29/2018     10/26/2018          $12,338.58     AR_HUNT00026756
                                                                 127305       1/14/2019     10/27/2018     12/28/2018          $55,966.84     AR_HUNT00026758
                                                                 127577        2/1/2019     12/29/2018      1/25/2019          $42,180.31     AR_HUNT00026773            $ 8,621.10       $             -       $        -      $        -     $       11,186.61    $       146.30       0.00   $      -       $         -     $   4,738.00   $        -     $ 17,634.60   $         -               0.00   $       -    $        -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Filed04/03/20




                                                                 128789       3/19/2019      1/26/2019      2/22/2019          $26,800.13     AR_HUNT00026780            $ 4,346.60       $             -       $        -      $        -     $        2,718.73    $       146.30       0.00   $      -       $         -     $   3,200.73   $        -     $ 16,534.08   $         -               0.00   $       -    $        -
                                                                 129466       4/22/2019      2/23/2019      3/29/2019          $48,843.28     AR_HUNT00026783            $ 2,153.99       $             -       $        -      $        -     $       34,943.89    $     5,295.32     133.50   $ 3,679.66     $      116.87   $   2,161.46   $        -     $  5,904.29   $      115.69             0.00
                                                                 129975       5/14/2019      3/30/2019      4/26/2019          $49,713.59     AR_HUNT00026799            $   988.80       $             -       $        -      $        -     $       24,914.91    $     4,994.85     100.00   $      -       $         -     $   3,077.13   $        -     $ 20,732.76   $      671.96            26.50   $      -     $        -
                                                                 130547       6/11/2019      4/27/2019      5/24/2019          $35,644.89     AR_HUNT00026835            $   494.40       $             -       $        -      $        -     $        4,148.11    $       157.30       0.00   $      -       $         -     $   2,783.32   $        -     $ 28,219.07   $    4,858.33           109.50   $      -     $        -
                                                                 131595       7/18/2019      5/25/2019      6/28/2019          $20,582.88     AR_HUNT00026870            $      -         $             -       $     327.38    $     327.38   $        1,833.89    $       667.19       0.00   $      -       $         -     $   2,239.22   $        -     $ 16,182.39   $      821.70            42.00   $      -     $        -
                                                                 133259       9/26/2019      6/29/2019      8/23/2019          $46,523.46     AR_HUNT00026882            $      -         $             -       $        -      $        -     $       15,828.98    $       314.60       0.00   $      -       $         -     $   6,218.38   $      77.00   $ 24,476.11   $    4,383.95             0.00   $      -     $        -
                                                                 133934       10/18/2019     8/24/2019      9/27/2019          $51,502.59     AR_HUNT00026888            $      -         $             -       $        -      $        -     $          157.30    $       157.30       0.00   $      -       $         -     $   6,909.35   $   1,240.74   $ 44,435.95   $    3,134.25             0.00   $      -     $        -
                                                                 134435       11/11/2019     9/28/2019     10/25/2019          $29,777.77     AR_HUNT00026934            $      -         $             -       $        -      $        -     $        2,776.08    $       157.30       0.00   $      -       $         -     $   2,213.06   $        -     $ 22,436.72   $    1,687.96            71.00   $ 1,363.12   $     250.72   $    988.80   $         -
                                                                 134777       12/3/2019     10/26/2019     11/22/2019          $21,219.73     AR_HUNT00026947            $      -         $             -       $     382.14    $     382.14   $          616.68    $       157.30       2.00   $      -       $         -     $   5,056.79   $        -     $ 12,012.32   $         -               1.00   $ 3,151.80   $        -     $       -     $         -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            04/08/20 Page




                                                                                                             Totals:      $      5,175,897              --               $       16,605    $                -   $           710 $        710 $            99,125     $       12,194   235.50    $      3,680   $         117 $       38,597 $         1,318 $    208,568 $         15,674      250.00       $     4,515 $         251   $       989    $            -
                                                           Notes:
                                                           1
                                                               Unassignable costs due to multiple tasks on an invoice and expenses/subcontractor costs that were n
                                                           2
                                                               Task 20 known by other names including "Groundwater Monitoring 2006"
                                                           3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Page86




                                                               Task 30 known by other names including "Site Characterization 2006," "Regolith GW Well Install and D
                                                           4
                                                               Task 40 known by other names including "Rpt. Seismic Reflection & CPT/MIP"
                                                           5
                                                            Task 50 identified by two different descriptors. Descriptors differ substantially, and are tabulated sep
                                                           On invoices for which a service fee (3%) was billed, the service fee is incorporated into the task total at
                                                           NA: Detailed invoice not available for review.
                                                           Refer to Exhibit B for invoice scope of work, categorization, etc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           86ofof89
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                                   Exhibit D
                         Groundwater Sampling Summary




                                 Insurers' Opposition to Summary Judgment Exhibit No. 106
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                                                                                                                                                                                                                                                                                                                                                                                                                                                Case




                                                                                                                                                                                                Sampling Data                                                                                                                                                                                 Cost Data

                                                                                                                                                                                                Sampling Information Source Bates                                                                                    Number of Groundwater Samples             2,3
                                                           Sampling Year   Sampling Period    Sampling Date/Date Range   Sampling Information Source                                                                              Sampling Effort Description                                                                                        Invoice No.               Technician Hours Billed4,5                Technician Rate
                                                                                                                                                                                                       Number (first page)                                                                                           Collected1
                                                                                                                                                                                                                                  Sample counts taken from Table 2 of Groundwater Monitoring Report for                                                                    No reasonable way to identify the staff personnel performing monitoring
                                                               2000              Q4          12/6/2000                   Groundwater Monitoring Report, November 2001, dated 2/21/2002          AR_HUNT00016200                                                                                                                     3                     0040290004
                                                                                                                                                                                                                                  November 2001 samples (shows December 2000 samples).                                                                                                             and associated costs.
                                                                                                                                                                                                                                  "On November 6, 2001, water samples were collected from the wells using
                                                               2001              Q4          11/6/2001                   Groundwater Monitoring Report dated 2/21/2002                          AR_HUNT00016200                   standard purge and sample techniques." (page 6).                                                  3                      004290014                                         22.5 $                          86.00
                                                                                                                                                                                                                                  Sample counts taken from Table 2
                                                                                                                                                                                                                                  "Water levels were measured and samples were collected in nine of ten
                                                                                                                         Status Report dated October 9, 2002                                    AR_HUNT00000043                   monitoring wells in late July 2002." (Status Report)
                                                               2002              Q3          7/25/2002                                                                                                                                                                                                                              9                      004290023                                          43 $                           85.00
                                                                                                                         Soil and Groundwater Investigation Report dated February 25, 2003      AR_HUNT00000047                   Table 3 of Soil and Groundwater Investigation report shows date and number of
                                                                                                                                                                                                                                  samples collected.
                                                                                                                                                                                                                                   "Re-sampling. A second round of groundwater monitoring was performed in the
                                                                                                                         Status Report dated October 9, 2002                                    AR_HUNT00000043                    newly installed wells on 25 September 2002. MW-9 remained dry at the time of
                                                               2002              Q3          9/25/2002                                                                                                                                                                                                                              6                      004290024                                          34 $                           85.00
                                                                                                                         Soil and Groundwater Investigation Report dated February 25, 2003      AR_HUNT00000047                    re-sampling." (Status Report)
                                                                                                                                                                                                                                   Table 3 of Soil and Groundwater Investigation report shows 6 wells sampled.
                                                                                                                         Semiannual Groundwater Monitoring Report, September 2003 and                                             9 well samples identified in Table 2 (plus one well that was dry)
                                                               2003              Q3          9/23/2003                                                                                          AR_HUNT00008736                                                                                                                     9                      004290034                                          45 $                           85.00
                                                                                                                         February 2004, dated August 16, 2004                                                                     4 surface water samples identified in Table 6
                                                                                                                         Semiannual Groundwater Monitoring Report, September 2003 and                                             9 well samples identified in Table 2 (plus one well that was dry)
                                                               2004              Q1          2/4/2004                                                                                           AR_HUNT00008736                                                                                                                     9                      004290039                                          59 $                           85.00
                                                                                                                         February 2004, dated August 16, 2004                                                                     5 surface water and 1 spring sample identified in Table 6
                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case2:17-cv-05247-JFW-JEM




                                                                                                                                                                                                                                  "During the November 2004 monitoring event, surface water samples were
                                                                                                                         Semiannual Groundwater Monitoring Report, Fourth Quarter 2004 and                                        collected at 5 sampling locations from Turtle Creek (TC-1 through TC-5)." Also
                                                               2004              Q4          11/16/2004-11/18/2004                                                                         AR_HUNT00005802                                                                                                                          9                               5668                                     46.5 $                          73.00
                                                                                                                         First Quarter 2005, dated September 30, 2005                                                             notes a spring sample. Page 9.
                                                                                                                                                                                                                                  Table 3 shows 9 groundwater samples collected.
                                                                                                                         Semiannual Groundwater Monitoring Report, Fourth Quarter 2004 and                                        Table 3 shows 15 groundwater samples collected, 5 surface water samples, and 1
                                                               2005              Q1          3/15/2005-3/18/2005                                                                                AR_HUNT00005802                                                                                                                    15                               8601                                      81 $                           73.00
                                                                                                                         First Quarter 2005, dated September 30, 2005                                                             spring sample
                                                                                                                         Semiannual Groundwater Monitoring Report, July 2005 and October
                                                               2005              Q3          7/18/2005-7/22/2015                                                                                AR_HUNT00016551                    Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample                              15                              11094                                      81 $                           84.00
                                                                                                                         2005, dated March 10, 2006
                                                                                                                         Semiannual Groundwater Monitoring Report, July 2005 and October
                                                               2005              Q4          10/3/2005-10/7/2005                                                                                AR_HUNT00016551                    Table 10 shows 15 groundwater, 5 surface water, and 1 spring sample                             15                              13733                                     44.5 $                          84.00
                                                                                                                         2005, dated March 10, 2006
                                                                                                                         First Quarter Groundwater Monitoring Report, January 2006, dated
                                                               2006              Q1          1/17/2006-1/20/2006                                                                                AR_HUNT00017264                    Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample                              15                              15595                                      70 $                           84.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                      2:17-cv-05247-JFW-JEM Document




                                                                                                                         May 3, 2006
                                                                                                                         Second Quarter Groundwater Monitoring Report, April 2006, dated July
                                                               2006              Q2          4/17/2006-4/21/2006                                                                                AR_HUNT00008927                    Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample                              15                              17193                                     73.5 $                          84.00
                                                                                                                         31, 2006
                                                                                                                         Third Quarter Groundwater Monitoring Report, July 2006, dated
                                                               2006              Q3          7/26/2006-7/28/2006                                                                                AR_HUNT00009312                   Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample                               15                              19196                                     52.5 $                          84.00
                                                                                                                         October 30, 2006
                                                                                                                         Fourth Quarter Groundwater Monitoring Report, October 2006, dated
                                                               2006              Q4          10/10/2006-10/13/2006                                                                              AR_HUNT00006530                   Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample (dry)                         15                              20851                                      67 $                           84.00
                                                                                                                         December 21, 2006
                                                                                                                         First Quarter Groundwater Monitoring Report, January 2007, dated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    #:17029
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     #:11113




                                                               2007              Q1          1/23/2007-1/25/2007                                                                                AR_HUNT00006822                   Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample                               15                              22686                                     45.5 $                          84.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Document200-106




                                                                                                                         April 6, 2007
                                                                                                                         Second Quarter Groundwater Monitoring Report, April 2007, dated July
                                                               2007              Q2          4/23/2007-4/26/2007                                                                                AR_HUNT00007228                   Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample                               15                              25053                                     74.5 $                          95.00
                                                                                                                         2007
                                                                                                                         Third Quarter Groundwater Monitoring Report, July 2007, dated
                                                               2007              Q3          7/24/2007-7/27/2007                                                                                AR_HUNT00007506                   Table 5 shows 15 groundwater, 5 surface water, and 1 spring sample (dry)                         15                              26031                                     64.5 $                          95.00
                                                                                                                         December 5, 2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       191-3 Filed




                                                                                                                         Fourth Quarter Groundwater Monitoring Report, October/November
                                                               2007              Q4          10/30/2007-11/2/2007                                                                               AR_HUNT00007783                    Table 5 shows 15 groundwater, 5 surface water                                                   15                              28942                                     70.5 $                          95.00
                                                                                                                         2007, dated November 26, 2008
                                                                                                                         First Quarter Groundwater Monitoring Report, January 2008, dated
                                                               2008              Q1          1/29/2008-2/1/2008                                                                                 AR_HUNT00007969                    Table 5 shows 15 groundwater, 5 surface water                                                   15                              31045                                     60.5 $                          95.00
                                                                                                                         January 29, 2009
                                                                                                                         Third Quarter Groundwater Monitoring Report, July 2008, dated                                             Table 5 shows 15 groundwater, 5 surface water. Note that Table 6 indicates that
                                                               2008              Q3          7/21/2008-7/24/2008                                                                                AR_HUNT00008103                                                                                                                    15                              34474                                      67 $                           95.00
                                                                                                                         February 5, 2009                                                                                          no samples were collected in Q2 2008.
                                                                                                                         Fourth Quarter Groundwater Monitoring Report, November 2008,
                                                               2008              Q4          11/5/2008-11/6/2008                                                                                AR_HUNT00008240                    Table 5 shows 6 groundwater samples                                                              6                              37458                                     42.5 $                          95.00
                                                                                                                         dated June 26, 2009
                                                                                                                         First Quarter Groundwater Monitoring Report, February 2009, dated
                                                               2009              Q1          2/3/2009-2/6/2009                                                                                  AR_HUNT00008326                    Table 5 shows 15 groundwater, 5 surface water                                                   15                              39124                                      66 $                           85.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Filed04/03/20




                                                                                                                         August 26, 2009
                                                                                                                                                                                                                                   "Groundwater gauging and sampling were performed during March 2010. The
                                                                                                                                                                                                                                   wells were gauged on 3 May 2010, and sampled between 5 May and 14 May
                                                               2010              Q2          5/5/2010-5/14/2010          Groundwater Monitoring Report dated 4/18/2011                          AR_HUNT00002694                                                                                                                    34                              48567                                    133.5 $                          99.00
                                                                                                                                                                                                                                   2010. Surface water sampling was performed at five locations TC-1 through TC-5
                                                                                                                                                                                                                                   in Turtle Creek on 12 May 2010."
                                                                                                                                                                                                                                   "Groundwater gauging and sampling were performed during August 2010. The
                                                                                                                                                                                                                                                                                                                                                            50622 and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    04/08/20 Page




                                                               2010              Q3          8/23/2010-8/31/2010         Groundwater Monitoring Report dated 5/31/2011                          AR_HUNT00002701                    wells were gauged on 23 August 2010, and sampled between 24 August and 31                       24                                                                       107.5 $                          99.00
                                                                                                                                                                                                                                                                                                                                                               51487
                                                                                                                                                                                                                                   August 2010. Surface water was not sampled in Q3 2010."
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Page88




                                                                                                                                                                                                                                   "Groundwater gauging and sampling were performed during November 2010.
                                                                                                                                                                                                                                   The wells were gauged on 10 November 2010, and sampled between 11
                                                               2010              Q4          11/10/2010-11/20/2010       Groundwater Monitoring Report dated 6/17/2011                          AR_HUNT00003189                                                                                                                    39                              52708                                    143.5 $                          99.00
                                                                                                                                                                                                                                   November and 20 November 2010. Surface water sampling was performed at five
                                                                                                                                                                                                                                   locations TC-1 through TC-5 in Turtle Creek on 15 November 2010."
                                                                                                                                                                                                                                  Unknown. May have the incorrect table attached with the cover page. Attached
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   88ofof89




                                                               2011              Q2          April 2011                  Groundwater Monitoring Report dated 11/10/2011                         AR_HUNT00003604                                                                                                                    38                              56161                                    140.5 $                          99.00
                                                                                                                                                                                                                                  table is a duplicate of Q2 2010 table, include dates.
                                                                                                                                                                                                                                  "Groundwater gauging and sampling were performed during July 2011. The wells
                                                                                                                                                                                                                                  were gauged on 19 July 2011, and samples between 19 July and 5 August 2011.
                                                               2011              Q3          7/19/2011-8/5/2011          Groundwater Monitoring Report dated 11/28/2011                         AR_HUNT00004113                                                                                                                    39                              59006                                     232 $                           99.00
                                                                                                                                                                                                                                  Surface water samples were collected at locations TC-1 through TC-5 22 July
                                                                                                                                                                                                                                  2011."
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          89 Page




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              PageIDID
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                                                                                                                                                                                                                                                                                                                                                                                                                                                  Case




                                                                                                                                                                                                     Sampling Data                                                                                                                                                                                   Cost Data

                                                                                                                                                                                                     Sampling Information Source Bates                                                                                     Number of Groundwater Samples                  2,3
                                                            Sampling Year    Sampling Period     Sampling Date/Date Range     Sampling Information Source                                                                              Sampling Effort Description                                                                                              Invoice No.           Technician Hours Billed4,5             Technician Rate
                                                                                                                                                                                                            Number (first page)                                                                                            Collected1
                                                                2011                Q4         10/22/2011-11/3/2011           Groundwater Monitoring Report dated 3/8/2012                          AR_HUNT00004873                       Statistics of sampling event on Page 2 of report and Table 4.                                    37                             60733                                     128 $                      99.00
                                                                2012                Q1         2/3/2012-2/12/2012             Groundwater Monitoring Report dated 11/16/2012                        AR_HUNT00000309                       Statistics of sampling event on Page 2 of report and Table 4.                                    44                             63140                                     136 $                      99.00
                                                                2012                Q2         6/21/2012-6/26/2012            Groundwater Monitoring Report dated 4/23/2013                         AR_HUNT00000816                       Statistics of sampling event on Page 2 of report and Table 4.                                    23                             66351                                    112.5 $                     99.00
                                                                                                                                                                                                                                                                                                                                                                       71090 and
                                                                2013                Q1         1/19/2013-2/7/2013             First Quarter 2013 Groundwater Monitoring Report, dated June 7, 2013 AR_HUNT00001069                        Statistics of sampling event on Page 2 of report.                                                47                                                                       229 $                      99.00
                                                                                                                                                                                                                                                                                                                                                                          72483
                                                                                                                              Third Quarter 2013 Groundwater Monitoring Report, dated April 16,
                                                                2013                Q3         8/16/2013-8/28/2013                                                                                  AR_HUNT00001969                       Statistics of sampling event on Page 2 of report.                                                29                                 76023                                116.5 $                     99.00
                                                                                                                              2014
                                                                                                                              First Quarter 2014 Groundwater Monitoring Report, dated April 24,                                                                                                                                                                        79910 and
                                                                2014                Q1         1/30/2014-2/19/2014                                                                                  AR_HUNT00005300                       Statistics of sampling event on Page 2 of report.                                                53                                                                       177 $                      99.00
                                                                                                                              2015                                                                                                                                                                                                                                        80635
                                                                                                                              Second Half 2014 Groundwater Monitoring Report, dated April 20,                                                                                                                                                                          87949 and
                                                                2014                S2         10/19/2014-10/31/2014                                                                                AR_HUNT00005471                       Statistics of sampling event on Page 2 of report.                                                30                                                                       166 $                      99.00
                                                                                                                              2015                                                                                                                                                                                                                                        88666
                                                                2015                S1         3/18/2015-4/1/2015             First Half 2015 Groundwater Monitoring Report, dated June 18, 2015    AR_HUNT00005620                       Statistics of sampling event on Page 2 of report.                                                39                                 91695                                 98.5 $                     99.00

                                                                                                                              Second Half 2015 Groundwater Monitoring Report, dated March 11,
                                                                2015                S2         10/4/2015-10/23/2015                                                                               AR_HUNT00010064                      Statistics of sampling event on Page 2 of report.                                                   37                                 97829                                 178 $                      99.00
                                                                                                                              2016
                                                                                                                              First Half 2016 Groundwater Monitoring Report, dated December 30,
                                                                2016                S1         5/15/2016-5/21/2016                                                                                AR_HUNT00018031                      Statistics of sampling event on Page 2 of report.                                                   13                             102620                                    80.5 $                     99.00
                                                                                                                              2016
                                                                                                                              Second Half 2016 Groundwater Monitoring Report, dated April 18,
                                                                2016                S2         12/9/2016-12/15/2016                                                                               AR_HUNT00018290                      Statistics of sampling event on Page 2 of report.                                                   9                              108258                                   102.5 $                     99.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case2:17-cv-05247-JFW-JEM




                                                                                                                              2017
                                                                                               5/7/2017-5/11/2017 and         Well Installation and First Semiannual 2017 Groundwater Monitoring                                       Table 5 provides analytical data that shows 16 groundwater samples and 2 surface
                                                                2017                S1                                                                                                            AR_HUNT00005471                                                                                                                          16                             114354                                   75.25 $                     99.00
                                                                                               5/30/2017-6/2/2017             report, dated December 19, 2017                                                                          water samples were collected.
                                                                                               11/6/2017 and 11/8/2017-       Second Semiannual 2017 Groundwater Monitoring Report, dated April
                                                                2017                S2                                                                                                            AR_HUNT00024813                      Statistics of sampling event on Page 2 of report.                                                   16                             119289                                   98.75 $                     99.00
                                                                                               11/16/2017                     24, 2018
                                                                                               5/6/2018 and 5/8/2018-         First Semiannual 2018 Groundwater Monitoring Report, dated
                                                                2018                S1                                                                                                            AR_HUNT00025526                      Statistics of sampling event on Page 2 of report.                                                   16                             122534                                   109.5 $                     99.00
                                                                                               5/12/2018                      September 21, 2018
                                                                                               11/7/2018-11/8/2018 and        Second Semiannual 2018 Groundwater Monitoring Report, dated
                                                                2018                S2                                                                                                            AR_HUNT00023864                      Statistics of sampling event on Page 2 of report.                                                   15                             127305                                    135 $                      99.00
                                                                                               11/10/2018 - 11/17/2018        January 21, 2019
                                                                2019                                                                                                                Unknown. Groundwater monitoring report not available for review.                                                                                                                      129466                               133.5 $                         99.00
                                                                2019                                                                                                                Unknown. Groundwater monitoring report not available for review.                                                                                                                      129975                                 100 $                         99.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                        2:17-cv-05247-JFW-JEM Document




                                                                                                                                                                                                                                                                                         Subtotal (7/1/2006 to Present):                  739                                  --                             3310.5                               --
                                                                                                                                                                                                                                     Subtotal (events for which number of samples and billing information is available):                  859                                  --                             3910.5                               --
                                                           Notes:                                                                                                                                                                                                                                                 Total:                  862
                                                           1. Does not include duplicate analytical samples.
                                                           2. When the sampling event spans multiple billing period technician hours are the sum of the hours from both billing periods.
                                                           3. Technican scope of work and appropriate task billed were inferred from the incomplete invoice backup provided. Analysis required reasonable assumptions regarding the personnel performing the sampling, and reasonable assumptions regarding which task included groundwater monitoring costs.
                                                           4. Assumes technician is the staff person performing work based on later invoices (after approximately 2005) which show travel and labor costs for a technician that coincides with groundwater sampling event.
                                                           5. Exhibit C captures total technician time billed for the task. This summary assumes only the technician with substantial hours billed performed the sampling. Technician hours billed in Exhibit C may not match technician hours billed in Exhibit D.
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